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                            2013-1665, -1666, -1667



       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                             ADJUSTACAM, LLC,

                                                  Plaintiff-Appellant,
                                        v.

        NEWEGG INC., NEWEGG.COM, INC., & ROSEWILL, INC.,

                                                  Defendants-Cross-Appellants,

                                       and

                      SAKAR INTERNATIONAL, INC.,

                                                  Defendants-Cross-Appellant,


Appeals from the United States District Court for the Eastern District of Texas in
               Case No. 10-cv-329, Chief Judge Leonard Davis


        CORRECTED NON-CONFIDENTIAL JOINT APPENDIX




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Date: December 11, 2014

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                   AdjustaCam LLC v. Newegg, Inc., et al.

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                    Fry's Electronics Inc, Gear Head, LLC,
                    Hewlett-Packard Company, KOHLS
                    CORPORATION D/B/A KOHL'S, Kohl's
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                    KOHLS CORPORATION D/B/A KOHL'S,
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                    Corporation, Newegg, Inc., Newegg.com,
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                  CONFIDENTIAL MATERIAL OMITTED

      Pursuant to Federal Circuit Rule 28(d)(1)(B), material subject to a protective
order entered by a United States District Court has been redacted. Pages noted with
“THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED
CONFIDENTIAL UNDER LICENSE” contain information derived from
confidential third party settlement agreements.




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION
 ADJUSTACAM LLC,                        §
                                        §
                             Plaintiff, §
                                        §
 vs.                                    §            CASE NO. 6:10-CV-329
                                        §
 AMAZON.COM, INC., et al,               §
                                        §
                          Defendants. §

                                    FINAL JUDGMENT

       Pursuant to the Orders granting the parties’ Joint Motions to Dismiss, the Court hereby

enters Final Judgment. Plaintiff Adjustacam LLC filed suit against fifty-nine Defendants in this

case on July 2, 2012. Since that time, all Defendants have been dismissed: Amazon.com, Inc.

(Docket No. 630); Auditek Corporation (Docket No. 647); Blue Microphones, LLC (Docket No.

492); Baltic Latvian Universal Electronics, LLC d/b/a Blue Microphones, LLC d/b/a Blue

Microphone (Docket No. 492); CDW Corporation f/k/a CDW Computer Centers, Inc. (Docket

No. 658); CDW, Inc. (Docket No. 658); CDW, LLC (Docket No. 10); Compusa.com, Inc.

(Docket No. 620); Cobra Digital, LLC (Docket No. 420); Creative Technology Ltd. (Docket No.

348); Creative Labs, Inc. (Docket No. 560); Dell, Inc. (Docket No. 563); Digital Innovations,

LLC (Docket No. 651); Eastman Kodak Company (Docket No. 217); Ezonics Corporation d/ba/

Ezonics Corporation USA d/b/a Ezonics (Docket No. 361); Fry’s Electronics Inc. (Docket No.

675); Gear Head, LLC (Docket No. 665); General Electric Company (Docket No. 8); Hewlett-

Packard Company (Docket No. 677); Incomex, Inc. (Docket No. 342); Jasco Products Company

LLC d/b/a Jasco Products Company d/b/a Jasco (Docket No. 410); Jwin Electronics Corporation

(Docket No. 419); Klip Extreme LLC (Docket No. 341); Kmart Corporation (Docket No. 445);


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Lifeworks Technology Group, LLC (Docket No. 522); Macally Peripherals, Inc. d/b/a Macally

U.S.A. (Docket No. 562); Mace Group, Inc. (Docket No. 562); Micro Electronics, Inc. d/b/a

Micro Center (Docket No. 671); New Compusa Corporation (Docket No. 620); Newegg, Inc.

(Docket No. 720); Newegg.com, Inc. (Docket No. 720); Office Depot, Inc. (Docket No. 672);

Overstock.com, Inc. (Docket No. 535); Phoebe Micro Inc. (Docket No. 412); Prolynkz, LLC

(Docket No. 367); Radioshack Corporation (Docket No. 493); Rosewill Inc. (Docket No. 720);

Sears Brands, LLC (Docket No. 445); Sears Holdings Corporation d/b/a Sears (Docket No. 445);

Sakar International, Inc. (Docket No. 745); Sakar, Inc. (Docket No. 349); SDI Technologies, Inc.

(Docket No. 127); Intcomex, Inc. (Docket No. 342); Software Brokers of America Inc. d/b/a

Intcomex Corporation d/b/a Intcomex (Docket No. 343); Systemax, Inc. d/b/a Compusa (Docket

No. 620); Target Corp. (Docket No. 615); Tigerdirect, Inc. (Docket No. 620); Trippe

Manufacturing Company d/b/a Tripp Lite (Docket No. 312); Wal-Mart Stores, Inc. (Docket No.

674); Sears, Roebuck and Company (Docket No. 445); Best Buy Co., Inc. (Docket No. 673);

Best Buy Stores, LP (Docket No. 673); BestBuy.com, LLC (Docket No. 673); Conns, Inc. d/b/a

Conns (Docket No. 411); J&R Electronics, Inc. d/b/a J&R (Docket No. 586); Kohls Corporation

d/b/a Kohl’s (Docket No. 745); Kohl’s Illinois, Inc. (Docket No. 745); Solid Year Co., Ltd.

(Docket No. 350); and Walgreen Co. d/b/a Walgreens (Docket No. 184).

       It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

and that all pending motions are DENIED AS MOOT. All costs are to be borne by the party

that incurred them.

       It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims,

and third-party claims in the instant suit be DISMISSED in their entirety.




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      The Clerk of the Court is directed to close this case.

              So ORDERED and SIGNED this 20th day of August, 2013.




                                      __________________________________
                                      LEONARD DAVIS
                                      UNITED STATES DISTRICT JUDGE




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                                            A0003
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 ADJUSTACAM, LLC.                                 §
                                                  §
        Plaintiff,                                §
                                                  §
 vs.                                              §       CASE NO. 6:10-CV-329
                                                  §       PATENT CASE
                                                  §
 AMAZON.COM, INC., ET AL.                         §
                                                  §
        Defendants.                               §

                                             ORDER

       Before the Court are Defendants NewEgg Inc., NewEgg.Com Inc. and Rosewill Inc.’s

Opposed Motion for Declaration of Exceptional Case (Docket No. 727) and Defendant Sakar

International, Inc.’s Opposed Motion for Declaration of Exceptional Case (Docket No. 748).

The Court heard arguments regarding the motions on June 28, 2013. Having considered the

parties’ written submissions and oral arguments, the Court DENIES Defendants’ Motions.

                                       BACKGROUND

       On July 2, 2010, AdjustaCam, LLC (“AdjustaCam”) brought suit against 58 defendants

including NewEgg, Inc., NewEgg.Com, Inc., Rosewill Inc. (collectively, “NewEgg”), and Sakar

International, Inc. (“Sakar”), alleging the infringement of U.S. Patent No. 5,855,343 (“the ‘343

Patent”). The ‘343 Patent, entitled “Camera Clip,” is directed to a clip for supporting a portable

webcam. AdjustaCam eventually settled with all the defendants prior to trial; however, Sakar

and NewEgg reserved the right to seek and obtain attorney fees after their dismissal. Docket No.

720; Docket No. 744. Both parties elected to exercise this right and filed motions to obtain

attorney fees pursuant to 35 U.S.C. § 285.


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                                       APPLICABLE LAW

       “The court in exceptional cases may award reasonable attorney fees to the prevailing

party.” 35 U.S.C. § 285 (2006). When determining whether to award attorney fees, a court

engages in a two-step process. Forest Labs, Inc. v. Abbott Labs., 339 F.3d 1324, 1327 (Fed. Cir.

2003). First, a court determines whether the prevailing party has proved by clear and convincing

evidence that the case is exceptional; and second, if the case is exceptional, a court must then

determine “whether an award of attorney fees is justified.”           MarcTec, LLC v. Johnson &

Johnson, 664 F.3d 907, 915–16 (Fed. Cir. 2012).

       A case may be considered exceptional when there is “some material inappropriate

conduct related to the matter in litigation, such as willful infringement, fraud or inequitable

conduct in procuring the patent, misconduct during litigation, vexatious or unjustified litigation,

conduct that violates Fed. R. Civ. P. 11, or like infractions.” Brooks Furniture Mfg. v. Dutailier

Int’l, Inc., 393 F.3d 1378, 1381 (Fed. Cir. 2005). Absent such conduct, an exceptional case may

only be found if “both (1) the litigation is brought in subjective bad faith, and (2) the litigation is

objectively baseless.” Id.

                                            ANALYSIS

       As an initial matter, the Court notes that NewEgg and Sakar (collectively, “the

Defendants”) present nearly identical arguments as to why this case is exceptional. Therefore,

the Court will address both parties’ motions together.

Subjective Bad Faith & Objectively Baseless

       NewEgg and Sakar contend this case is exceptional because AdjustaCam brought this

lawsuit in bad faith and the action was objectively baseless. Docket No. 727 at 3–8; Docket No.

748 at 4–7.     Specifically, Defendants argue that AdjustaCam’s infringement claims were



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untenablee in light off the Court’ss claim consstruction. Thhe Court deefined “rotataably attacheed” as

“limited to a single axis
                     a of rotattion.” Dock
                                         ket No. 627 at 10. Defeendants conttend that beccause

         ducts do nott rotate abou
their prod                       ut a single ax
                                              xis of rotatioon, they coulld never infrringe the assserted

claims off the ‘343 Paatent under any
                                  a reasonab
                                           ble interpretaation.

        Defendants
        D          arrgue their caameras do no
                                             ot rotate aboout a single axis of rotattion becausee their

products use a “ball-aand-socket joint, which facilitates rootation aboutt multiple axxes.” Dockeet No.

727 at 8;; Docket No. 748 at 7–8
                               8. However,, Plaintiff arrgues Defenddants are miisrepresentinng the

nature off the accused products, since the prroducts do nnot have a ppure ball-andd-socket joinnt but

rather a modified
         m        balll-and-sockeet joint with a channel thhat restricts movement. Docket Noo. 735

at 13; Docket No. 749
                  7 at 15. As
                           A one can see in the ffollowing picture, Defeendants’ prooducts

appear to
        o contain a constrained ball
                                b and sock
                                         ket joint:




Docket No.
       N 735 at 4;; Docket No
                            o. 749 at 5. If
                                         I the ball annd socket joiint truly resttricts the rannge of

movemen
      nt such that it cannot ro
                              otate about multiple axees, the consstrained ball and socket joint

could meeet the claim
                    m limitation which
                                 w     requirres the hingee member beeing rotatablly attached tto the

camera in
        n a single ax
                    xis of rotatio
                                 on. Since on
                                            ne could reassonably arguue Defendantts’ products meet

the “rotaatably attach
                     hed” limitattion, AdjusttaCam’s inffringement ttheories aree not objecttively

baseless.

        Furthermore, there is inssufficient evidence that the action w
                                                                     was brought in bad faithh and

for an im
        mproper purrpose. Defeendants argu
                                         ue AdjustaC
                                                   Cam filed thhis action too obtain nuissance


                                                   3
                                                 A0006
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value settlements, as evidenced by its settlements with other parties to this action for amounts far

less than the cost of litigation to encourage quick settlements. For example, several of the

defendants settled for $225,000 or less. Defendants argue these settlements do not comport with

AdjustaCam’s minimum target royalty of $1.25–$1.50 per unit, therefore AdjustaCam must have

sued simply to obtain a settlement.

         While the smaller settlements suggest this case was a settlement driven case, AdjustaCam

noted that its damage model for many of the defendants was small. See Docket No. 735, Exhibit

11, Expert Report of Walt Bratic at 18–32. Therefore, other defendants in this action would have

necessarily settled for small amounts. While practically speaking a plaintiff may not choose to

file a patent infringement lawsuit when the damages are small, there is no minimum damages

requirement to bring such a case. Here, there is no other evidence that AdjustaCam was merely

exploiting the high cost of defending a patent case to obtain a nuisance value settlement,

therefore AdjustaCam did not act in bad faith in bringing this action.1

Litigation Misconduct

         NewEgg and Sakar also argue this case is exceptional because AdjustaCam engaged in

litigation misconduct. Specifically, Defendants allege AdjustaCam acted inappropriately during

this litigation because it continued to assert frivolous infringement claims after the Court’s claim

construction, it maintained baseless invalidity defenses during the litigation, served an untimely

amended infringement report, and fabricated a per-unit royalty to justify its nuisance value

settlements. Docket No. 72 at 8–14; Docket No. 748 at 9–14. AdjustaCam counters that there

has been no litigation misconduct, since AdjustaCam’s infringement and validity arguments were

not baseless, it did not fabricate a per-unit royalty, and it did not serve an untimely expert report.

1
  The Court notes that it seriously considers when a Defendant alleges a case was merely brought as a nuisance
lawsuit, and will not hesitate to award attorney fees if the facts support doing so. However, in this case, the facts did
not support such an award.

                                                           4
                                                         A0007
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        Defendants have failed to prove AdjustaCam acted inappropriately in this case. The

Court has already addressed the merits of AdjustaCam’s infringement arguments, therefore

AdjustaCam’s continued assertion of its infringement claims post–Markman do not amount to

litigation misconduct. Defendants also have failed to demonstrate that AdjustaCam’s validity

arguments were baseless. Defendants contend AdjustaCam committed litigation misconduct by

dragging out the co-pending reexamination proceeding of the ‘343 Patent with meritless validity

arguments until September 2012 in order to collect more nuisance value settlements. Docket No.

727 at 11-14. However, a review of the reexamination proceedings demonstrates there was no

delay attributable to the patent owner.2 While the initial request for reexamination was filed in

December 2010, the USPTO did not issue an office action until August 12, 2011. See docket

No. 727, Exhibit 16, USPTO Office Action dated August 12, 2011. Since the initial office action

though, the reexamination has proceeded normally with another non-final office action issued by

the USPTO prior to its final rejection on August 30, 2012. Additionally, Defendants contend it

was inappropriate for AdjustaCam to raise the same validity arguments in this litigation that it

raised in the reexamination proceedings; however, Defendants have failed to articulate why

AdjustaCam cannot do this, let alone why this is litigation misconduct.

        Defendants further allege AdjustaCam acted inappropriately because AdjustaCam served

a substantively different “supplemental” infringement report the day of its’ infringement expert’s

deposition, without an explanation for the delay. Defendants claim the supplemental report

significantly changed AdjustaCam’s infringement theories, and because Plaintiff failed to

disclose the modified report sooner, AdjustaCam is guilty of misconduct. AdjustaCam contends

that it inadvertently disclosed a draft infringement expert report to Defendants, and did not


2
  AdjustaCam was not a party to the reexamination proceedings because it is not the owner but rather the exclusive
licensee of the ‘343 Patent. Global Media Group LLC is the patent owner. See Docket No. 727 at 11.

                                                         5
                                                      A0008
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realize the mistake until the time of its expert’s deposition. Docket No. 735 at 14; Docket No.

749 at 15. AdjustaCam argues it made every attempt to remedy the situation, before the case

was dismissed.    In the absence of any other dubious behavior, there is no reason to find

AdjustaCam acted inappropriately here. Cf. Eon-Net LP v. Flagstar Bancorp, 653 F.3d 1314,

1324–26 (Fed. Cir. 2011) (finding destruction of relevant documents, a failure to institute a

document retention plan, a lack of regard for judicial system, and failure to engage in the claim

construction process in good faith warranted an exceptional case finding).

       Lastly, Defendants argue AdjustaCam fabricated a per-unit royalty of $1.25–$1.50 to

justify their nuisance value settlements.     Docket No. 727 at 14–15.        Defendants cite to

settlements wherein parties implicitly paid between $.10 per unit and $161.29 per unit as

evidence AdjustaCam’s royalty was simply “bogus.” AdjustaCam counters that its target royalty

was based on prior licenses to the ‘343 Patent, which is an acceptable method of calculating

damages, and that Defendants misinterpret the settlement values since some of the settlements

were not pure lump sum payments for units sold. Docket No. 735 at 18. While the Defendants

may disagree with AdjustaCam’s methodology of calculating damages, there is no evidence this

theory was so outrageous and unreliable to support an award of attorney fees. See MarcTec, LLC

v. Johnson & Johnson, 664 F.3d 907, 921 (Fed. Cir. 2012) (unreliable expert testimony will not

support a finding of litigation misconduct unless the circumstances are sufficiently egregious).

       Accordingly, Defendants have failed to demonstrated this case is exceptional because

AdjustaCam engaged in litigation misconduct.

Rule 11 Violations




                                                 6
                                              A0009
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           Additionally, Sakar argues Adjustcam’s Rule 11 violations provide an additional basis for

finding this case to be exceptional under 34 U.S.C. § 285.3 Sakar argues AdjustaCam violated

Rule 11, because AdjustaCam failed to adequately prepare its 30(b)(6) to answer questions

regarding AdjustaCam’s pre-filing investigations, its pleadings, and its infringement contentions.

Docket No. 748 at 14. Sakar also argues AdjustaCam admitted to violating Rule 11 when its

corporate representative stated he has failed to review: (1) the ‘343 Patent before suing Sakar; (2)

the complaint against Sakar before it was filed; and (3) its infringement contentions against

Sakar. Id. at 15. Sakar further contends AdjustaCam violated Rule 11 because its corporate

representative had no knowledge of: (1) a pre-suit investigation; (2) the Defendants in the case;

and (3) evidence demonstrating the accused products infringed the ‘343 Patent. Id.

           AdjustaCam counters that it never admitted to violating Rule 11. AdjustaCam argues

Sakar misconstrues AdjustaCam’s 30(b)(6) witness’ inability to answer questions regarding any

Rule 11 investigation as admitting wrongdoing.                    Docket No. 749 at 21.             Additionally,

AdjustaCam contends its outside counsel did comply with Rule 11, since it conducted pre-suit

investigations, reviewed the ‘343 Patent and its prosecution history, discussed the claim scope of

the asserted claims, and reconsidered its infringement positions post-Markman. Id. at 21–22.

           While a Rule 11 violation may be a basis for finding a case exceptional under § 285,

Sakar has failed to demonstrate AdjustaCam violated Rule 11 any time during this action. Sakar

cites to deposition testimony wherein AdjustaCam’s Chief Financial Officer (CFO), Mr. Haynes,

stated outside counsel reviewed the ‘343 Patent, reviewed the complaint, gathered evidence

regarding the accused products, and prepared infringement contentions, to support its contention

that AdjustaCam failed to comply with Rule 11.                    Docket No. 748, Exhibit 9, Deposition

Testimony at 35:12–21; 35:23–36:19; 31:6–24; 111:8–19; 112:24–113:8. However, Sakar fails
3
    NewEgg did not raise this argument in its Motion for Declaration of Exceptional Case. See Docket No. 727.

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                                                        A0010
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to explain why it is a Rule 11 violation if only outside counsel performs these functions. In the

context of patent infringement actions, Rule 11 requires an attorney to review the claims of the

patent before filing a complaint, interpret the asserted patent claims, and compare the accused

products to the asserted patent claims before filing a suit alleging patent infringement. See

Antonious v. Spalding & Evenflo Cos., 275 F. 3d 1066, 1072 (Fed. Cir. 2002); Q-Pharma, Inc. v.

The Andrew Jergens Co., 360 F.3d 1295, 1295 (Fed. Cir. 2004). Here, there is evidence that

AdjustaCam’s outside counsel did review the claims of the ‘343 Patent, interpreted the asserted

patent claims and compared the accused products to those asserted claims prior to filing the

action against Sakar. Accordingly, there was no Rule 11 violation which supports finding this

case to be exceptional.

                                        CONCLUSION

       Accordingly, the Court DENIES Defendants’ NewEgg Inc., NewEgg.Com Inc. and

Rosewill Inc.’s Opposed for Declaration of Exceptional Case and Defendant Sakar International,

Inc.’s Opposed Motion for Declaration of Exceptional Case.

       So ORDERED and SIGNED this 19th day of August, 2013.




                             __________________________________
                             LEONARD DAVIS
                             UNITED STATES DISTRICT JUDGE




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                                             A0011
             Case: 13-1665       Document: 97-1       Page: 19     Filed: 12/11/2014

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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 ADJUSTACAM, LLC.                                §
                                                 §
        Plaintiff,                               §
                                                 §
 vs.                                             §         CASE NO. 6:10-CV-329
                                                 §         PATENT CASE
                                                 §
 AMAZON.COM, INC., ET AL.                        §
                                                 §
        Defendants.                              §


                                               ORDER

       The above entitled and numbered civil action has been referred to United States

Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636. The Memorandum Opinion and

Order (Doc. No. 627) containing the Magistrate Judge’s claim construction ruling has been

presented for consideration. Plaintiff and Defendants’ have filed Objections (Doc. Nos. 629,

632) to the Memorandum Opinion and Order. However, the Court is of the opinion that the

findings and conclusions of the Magistrate Judge are correct and are not “clearly erroneous or

contrary to law.” 28 U.S.C. § 636(b)(1)(A). Therefore, the Court hereby overrules Plaintiff’s

and Defendants’ objections and adopts the Memorandum Opinion and Order of the United States

Magistrate Judge as the Opinion and Order of this Court.

        So ORDERED and SIGNED this 7th day of June, 2012.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE
                                             A0012
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

    ADJUSTACAM, LLC.                                       §
                                                           §
           Plaintiff,                                      §
                                                           §
    vs.                                                    §        CASE NO. 6:10-CV-329
                                                           §        PATENT CASE
                                                           §
    AMAZON.COM, INC., ET AL.                               §
                                                           §
           Defendants.                                     §


                             MEMORANDUM OPINION AND ORDER

          This claim construction opinion construes the disputed terms in U.S. Patent No.

5,855,343 (“the ‘343 patent”). Plaintiff Adjustacam, LLC (“Adjustacam”) and Defendants1 have

presented their claim construction positions. (Doc. Nos. 575, “PL.’S BR.;” 595, “DEF.’S RESP.,”

601, “PL.’S REPLY”). On February 9, 2012, the Court held a claim construction hearing and

heard further argument (Doc. No. 614). For the reasons stated herein, the Court adopts the

constructions set forth below.

                              CLAIM CONSTRUCTION PRINCIPLES

          “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention

to which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303,

1312 (Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381

F.3d 1111, 1115 (Fed. Cir. 2004)). The Court examines a patent’s intrinsic evidence to define

the patented invention’s scope.          Id. at 1313-1314; Bell Atl. Network Servs., Inc. v. Covad
1
  Amazon.com, Inc., Auditek Corp., Best Buy Co., Inc., Best Buy Stores, LP, Bestbuy.com, CDW LLC,
CompUSA.com, Inc., Digital Innovations, LLC, Fry’s Electronics, Inc., Gear Head, LLC, Hewlett-Packard Co.,
Kohls, Corp., Kohl’s Illinois, Inc., Micro Electronics, Inc. d/b/a Micro Center, New Compusa Corp., Newegg, Inc.,
Newegg.com, Inc., Office Depot, Inc., Rosewill Inc., Sakar International, Inc., Systemax, Inc., Target Corp.,
Tigerdirect, Inc., and Wal-Mart Stores, Inc. are referred to collectively as “Defendants.”

                                                      A0013
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Commc’ns Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence includes the

claims, the rest of the specification and the prosecution history. Phillips, 415 F.3d at 1312-13;

Bell Atl. Network Servs., 262 F.3d at 1267. The Court gives claim terms their ordinary and

customary meaning as understood by one of ordinary skill in the art at the time of the invention.

Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir.

2003).

         Claim language guides the Court’s construction of claim terms. Phillips, 415 F.3d at

1314. “[T]he context in which a term is used in the asserted claim can be highly instructive.” Id.

Other claims, asserted and unasserted, can provide additional instruction because “terms are

normally used consistently throughout the patent.” Id. Differences among claims, such as

additional limitations in dependent claims, can provide further guidance. Id.

         “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id.

(quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)). “[T]he

specification ‘is always highly relevant to the claim construction analysis.         Usually, it is

dispositive; it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics

Corp.v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex. Inc. v. Ficosa N. Am.

Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). In the specification, a patentee may define his own

terms, give a claim term a different meaning that it would otherwise possess, or disclaim or

disavow some claim scope. Phillips, 415 F.3d at 1316. Although the Court generally presumes

terms possess their ordinary meaning, this presumption can be overcome by statements of clear

disclaimer. See SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys., Inc., 242 F.3d 1337,

1343-44 (Fed. Cir. 2001). This presumption does not arise when the patentee acts as his own



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                                               A0014
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lexicographer. See Irdeto Access, Inc. v. EchoStar Satellite Corp., 383 F.3d 1295, 1301 (Fed.

Cir. 2004).

       The specification may also resolve ambiguous claim terms “where the ordinary and

accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of

the claim to be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325. For

example, “[a] claim interpretation that excludes a preferred embodiment from the scope of the

claim ‘is rarely, if ever, correct.” Globetrotter Software, Inc. v. Elam Computer Group Inc., 362

F.3d 1367, 1381 (Fed. Cir. 2004) (quoting Vitronics Corp., 90 F.3d at 1583). But, “[a]lthough

the specification may aid the court in interpreting the meaning of disputed language in the

claims, particular embodiments and examples appearing in the specification will not generally be

read into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir.

1988); see also Phillips, 415 F.3d at 1323.

       The prosecution history is another tool to supply the proper context for claim

construction because a patentee may define a term during prosecution of the patent. Home

Diagnostics Inc. v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

specification, a patent applicant may define a term in prosecuting a patent”).          The well

established doctrine of prosecution disclaimer “preclud[es] patentees from recapturing through

claim interpretation specific meanings disclaimed during prosecution.” Omega Eng’g Inc. v.

Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). The prosecution history must show that the

patentee clearly and unambiguously disclaimed or disavowed the proposed interpretation during

prosecution to obtain claim allowance. Middleton Inc. v. 3M Co., 311 F.3d 1384, 1388 (Fed. Cir.

2002). “Indeed, by distinguishing the claimed invention over the prior art, an applicant is



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                                              A0015
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indicating what the claims do not cover.” Spectrum Int’l v. Sterilite Corp., 164 F.3d 1372, 1378-

79 (Fed. Cir. 1988) (quotation omitted).        “As a basic principle of claim interpretation,

prosecution disclaimer promotes the public notice function of the intrinsic evidence and protects

the public’s reliance on definitive statements made during prosecution.” Omega Eng’g, Inc., 334

F.3d at 1324.

       Although, “less significant than the intrinsic record in determining the legally operative

meaning of claim language,” the Court may rely on extrinsic evidence to “shed useful light on

the relevant art.” Phillips, 415 F.3d at 1317 (quotation omitted). Technical dictionaries and

treatises may help the Court understand the underlying technology and the manner in which one

skilled in the art might use claim terms, but such sources may also provide overly broad

definitions or may not be indicative of how terms are used in the patent. Id. at 1318. Similarly,

expert testimony may aid the Court in determining the particular meaning of a term in the

pertinent field, but “conclusory, unsupported assertions by experts as to the definition of a claim

term are not useful.” Id. Generally, extrinsic evidence is “less reliable than the patent and its

prosecution history in determining how to read claim terms.” Id.

                                         DISCUSSION

A.     Overview of Patents-in-Suit

       The ‘343 patent, entitled “Camera Clip,” is directed at a clip for supporting a portable

webcam. See ‘343 patent at ABSTRACT. The claimed apparatus is specifically directed to a

structure supporting a webcam both on a flat surface, like a tabletop, and on an edge of a

housing, like a laptop computer screen. Id. at 1:4–9. The camera clip is also intended to protect

the camera lens when the clip is not used as support. Id. Figures 2 and 4 of the patent illustrate



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                                              A0016
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the two different configurations of the camera clip, i.e., on a flat surface (Fig. 2) and on an

inclined object (Fig. 4):




B.     Disputed Terms

“Hinge Member” [cls. 1, 8, 10, 17, 19, 20, and 21]:

Plaintiff’s Proposed Construction              Defendants’ Proposed Construction
A structural element that joins to another for A structural element that may be joined to
rotation                                       another so as to form a hinge joint and is
                                               capable of rotating on that hinge joint


       The parties generally agree that the “hinge member” is “a structural element that joins to

another.” The parties, however, disagree whether the hinge member must form a “hinge joint” or

can include any form of “joint.”




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                                              A0017
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       Plaintiff’s proposed construction evolved over the course of the briefing.         Plaintiff

ultimately argues that the “hinge member” is not limited to hinge joints. Specifically, Plaintiff

contends that the claims and specification describe the “hinge member” as both “rotatably

attached” and “hingedly attached.” Therefore, an object that is “rotatably attached” is necessarily

broader than a “hingedly attached” object. PL.’S BR. at 4–8; PL.’S REPLY at 3–4. Plaintiff raises

secondary arguments regarding the “rotatably attached” terms and their interplay with the hinge

member (Id. at 7–8), however, those arguments are discussed in more detail in the section below

construing the “rotatably attached” terms.

       The claims and the specification of the ‘343 patent disclose the hinge member as both

“rotatably” and “hingedly” attached to another object. For example, claim 1 of the ‘343 patent

describes the support frame as “rotatably attached” to the hinge member. ‘343 patent at 58–60.

On the other hand, claim 19 of the ‘343 patent describes the support frame as “hingedly

attached” to the hinge member. ‘343 patent at 9:24–26. A plain reading of the claims leads to

the conclusion that a rotatable attachment is necessarily broader than a hinged attachment.

Therefore, while a hinge member may include hinge joints and hinged attachments, the claims

explicitly allow for broader attachments.

       The specification, moreover, describes embodiments of the hinge member incorporating

the concept of pivots and pivoting. See, e.g., 4:44–48 (“It is recognized that camera 12 may be

pivoted to any number of positions about second axis 32 in the direction shown by arrow 34.”);

5:37–41 (“A pivot element 80 at proximal end 76 of body 74 rotatably attaches camera 12 to

body 74 so the camera may rotate about first axis 26.”). Therefore, Defendants’ proposed




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                                               A0018
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construction limiting the hinge member to hinge joints would improperly read out the foregoing

preferred embodiments. See Globetrotter Software, Inc., 362 F.3d at 1381.

       Defendants’ proposed construction would also render the “rotatably attached” terms

superfluous by limiting all claimed attachments to “hinged” attachments. Such a result is

untenable. See Curtiss-Wright Flow Control Corp. v. Velan, Inc., 438 F.3d 1374, 1381 (Fed. Cir.

2006) (“[C]laim differentiation takes on relevance in the context of claim construction that

would render additional, or different, language in another independent claim superfluous.”)

(quoting Fantasy Sports Props. v. Sportsline.com, 287 F.3d 1108, 1115-16(Fed. Cir. 2002)).

Defendants’ proposed construction is also unnecessarily permissive because it describes the

hinge member as a structural element that may be joined to another. Neither the specification

nor claims teach a permissive attachment and such a construction would not meaningfully limit

the claims.

       As Defendants advocate, the claimed “hinge member” indeed may include a hinge joint.

However, the claims and the specification disclose that the hinge member is not limited to hinge

joints. Had the patentee intended to limit the patent in such a way, he or she: (1) could have

simply used the term hinge joint, and not the broader term member; or (2) would have used

“hingedly” to describe all the attachments in the claims. Therefore, the Court construes “hinge

member” as “a structural element that joins to another for rotation.”




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                                               A0019
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“Rotatably attached / adapted to be rotatably attached / adapted to rotatably attach” [cls. 1, 10,

19, 20, and 21]

Plaintiff’s Proposed Construction           Defendants’ Proposed Construction
Connected such that the connected object is Connected such that the connected object is
capable of being rotated                    capable of being adjusted to different
                                            configurations via motion over one axis of
                                            rotation


       The crux of the parties disagreement is whether the ‘343 patent claims allow for a

“rotatably attached” object to rotate over more than a single axis.         Plaintiff contends that

“rotatably attached” objects are not limited to one axis of rotation, while Defendants advocate for

the contrary.

       The Court finds that the claims of the ‘343 patent describe “rotatably attached” objects as

rotating over a single axis. For example, claim 1 explains that when the hinge member is

“rotatably attached” to the camera, it rotates “about a first axis of rotation.” ‘343 patent at 6:54–

57. Claim 1 further describes that when the hinge member is rotatably attached to the support

frame, it rotates “about a second axis of rotation.” Id. at 6:58–65. In other words, in claim 1, the

hinge member may rotate about a single axis relative to the camera and a single axis relative to

the support frame, and the two axes are “generally perpendicular” to one another. Id. All of the

remaining claims that discuss “rotatably attached” objects are consistent with this understanding.

See, e.g., ‘343 patent at 7:60–67 (“[A] hinge member . . . rotatably attached to the camera . . .

rotating[] about a first axis of rotation” and “a support frame rotatably attached [to the] hinge

member . . . [with] the hinge member rotating about a second axis of rotation to said support

frame.”); 9:20–32 (“[A] hinge member adapted to be rotatably attached to the camera . . .

rotating about a first axis of rotation.”); 9:35–47 (same); 10:16–45 (same).


                                                 8
                                                A0020
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       The specification is consistent with the claims in disclosing the camera and support frame

rotating over a first and second axis of rotation. See, e.g., 2:12–18 (“The hinge member is

rotatably attached to the camera where the camera rotates over a first axis of rotation”); 4:17–19

(“Hinge member 16 is rotatably attached to camera 12, where camera 12 rotates over a first axis

26.”). Every reference to a “rotatably attached” object in the specification and claims describes

the attachment as permitting motion over a single axis of rotation.

       Plaintiff contends that that claims refer to the apparatus as “comprising” a first and

second axis of rotation; therefore, Plaintiff argues that the use of “comprising” broadens the

claims to allow attachments which rotate over multiple axes. PL.’S BR. at 7. Plaintiff is

mistaken. For example, claim 1 recites:




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                                              A0021
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 ‘343 patent at 6:49–7:6. “Comprising” appears before the individual elements of the claimed

 camera clip, i.e., the hinge member and support frame. Therefore, the word “comprising” may

 suggest that other elements exist beyond the hinge member and support frame. However, the

 term “comprising” does not render each and every word in the claim open-ended as Plaintiff

 suggests. Plaintiff’s position would render the claim language meaningless.

        Plaintiff further contends that the rotatable attachment between the hinge member and the

 camera is a “pivot joint”; therefore, limiting the rotation about a single axis would exclude a

 preferred embodiment. PL.’S BR. at 8. Even assuming the specification does disclose a pivot

 joint, limiting the rotation around a single axis would not read out the embodiment. A pivot

 joint allows for rotation and the specification explicitly describes the “pivot element” as rotating

 around a single axis of rotation. See, e.g., ‘343 patent at 5:38–41 (“A pivot element 80 at

 proximal end 76 of body 74 rotatably attaches camera 12 to body 74 so the camera may rotate

 about first axis 26.”) (emphasis added).

        On the other hand, Defendants’ proposed construction merely restates what is already

 contained in the claims. The claims plainly describe each “rotatably attached” object as rotating

 about a single axis and any further construction would only serve to confuse the jury. In other

 words, Defendants’ construction merely repeats the claim language. Therefore, the Court finds

 that the “rotatably attached” terms do not require construction beyond what is contained in the

 claims. While the Court has not explicitly construed the “rotatably attached” terms, the Court

 has resolved the parties’ dispute regarding the proper scope of the claims, i.e., “rotatably

 attached” objects in the patent-in-suit are limited to a single axis of rotation. See O2 Micro

 Intern. Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (“When



                                                 10
                                                A0022
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 the parties raise an actual dispute regarding the proper scope of the claims, the court, not the jury,

 must resolve that dispute.”). Therefore, the parties may not contradict the Court’s resolution of

 that dispute.

 “Support Frame” [cls. 1–8, 10, 11, 13–17, and 19–21]:

 Plaintiff’s Proposed Construction          Defendants’ Proposed Construction
 A structural element that supports a hinge A physically distinct structural element whose
 member                                     different dispositions enable support of said
                                            hinge member


          Plaintiff and Defendants both propose functional constructions to the extent that they

 agree that the intended purpose of the support frame is to support the hinge member.2 Indeed,

 the function of the support frame is explicitly recited in the claims. See, e.g., 6:57–59 (“[A]

 support frame rotatably attached to said hinge member and configured to support said hinge

 member.”). Defendants, however, argue that the claim language specifically links the ability of

 the support frame to provide support on particular structural arrangements, specifically the “first

 disposition” and “second disposition.” DEF.’S RESP. at 8. Plaintiff disagrees that the different

 dispositions enable support of the hinge member and argues that the specification and claims

 generally provide the relevant structure of the support frame. PL.’S REPLY at 1–2.

          The claims of the ‘343 patent describe two general structural arrangements of the support

 frame. For example, claim 1 of the ‘343 patent describes the support frame as supporting the

 camera on a horizontal surface and an inclined object. ‘343 patent at 6:58–7:2. The specification

 is consistent with this understanding of the claims. See, e.g., ‘343 patent at 2:1–2 (“The clip may

 be rotated to a first position to support the camera on a surface of a table or desk. The clip may

 2
   The parties agree that the “support frame” is a “structural element that supports” the claimed hinge member. PL.’S
 REPLY at 1. While not explicitly contained in Plaintiff’s proposed construction, Plaintiff also agrees that the support
 frame is distinct from and not part of the hinge member. Id. Thus, the parties only dispute is related to the whether
 the support frame is limited to specific structural arrangements, namely, the “different dispositions.”
                                                           11
                                                         A0023
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 be rotated to a second position to support the camera on a display screen of a laptop computer.”);

 2:24–26 (“[T]he rear support element and the first and second front support elements support the

 camera in the first position”); 2:39–41 (“[T]he rear support element and the first and second front

 support elements support the camera in a second position on the first surface”); 4:48–54 (same);

 5:2–14 (same).      Therefore, the claims and the specification identify the first and second

 disposition as particular structural arrangements of the support frame.

         Plaintiff and Defendants generally agree that the structure of the support frame is

 provided in the specification and claims. PL.’S BR. at 10; PL.’S REPLY at 1–2. Plaintiff, however,

 proposes a construction that ignores the different structural arrangements of the support frame,

 i.e. different dispositions.   On the other hand, Defendants’ construction unnecessarily requires

 the actual dispositions of the support frame to functionally provide the support frame its ability

 to “support.” The claims are not limited to the extent that “the different dispositions enable

 support” of the hinge member.

         Support frame is an easily understood term and its function and structure are defined in

 the claims. While the support frame must allow for two structural arrangements as described in

 the claims, the ability to support the hinge member is not directly linked to the two structural

 arrangements. As such, the Court finds that “support frame” is sufficiently defined in the claims

 and no construction is necessary. Nevertheless, the Court has resolved the parties’ dispute

 regarding the scope of the claims. See O2 Micro, 521. F.3d at 1360.




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                                                A0024
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 “Disposition” [cls. 1, 2, 5, 6, and 10]:

 Plaintiff’s Proposed Construction          Defendants’ Proposed Construction
 Plain and ordinary meaning; alternatively, Configuration of the support frame enabling
 configuration or arrangement               support of the hinge member, accomplished
                                            through rotation about the second axis


        Beyond an agreement that a disposition is a “configuration,” the parties’ proposed

 constructions wildly diverge. Plaintiff contends that “disposition” is an easily understood term

 and does not require construction beyond its plain and ordinary meaning. Defendants argue that

 a “disposition” is a functional configuration of the “support frame” and such function can only

 be accomplished through rotational motion through the second axis. DEF.’S RESP. at 11–13.

        A plain reading of the claims discloses that the support frame has two “dispositions” or

 configurations, one allowing for the apparatus to be placed on a generally flat surface, the second

 allowing for the apparatus to be attached to an inclined object. Defendants appear to contend

 that these “dispositions” may only be functionally accomplished through rotational motion of the

 support frame about the second axis. DEF.’S RESP. at 12. On the contrary, the claims describe

 the hinge member, not the support frame, as rotating about the second axis. See, e.g., ‘343 patent

 at 6:60–61 (“[S]aid hinge member rotating about a second axis of rotation.”). Further, the first

 clause of Defendants’ proposed construction is merely a second bite at the same argument they

 advanced in construing “support frame.” The claims, however, do not require the specific

 dispositions of the support frame to enable support of the hinge member.

        Defendants appear to be masquerading a noninfringement position as an issue of claim

 construction by injecting rotation into an easily understood structural term. Accordingly, the

 Court construes “disposition” as “a configuration or arrangement of the support frame.”



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                                               A0025
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                                          CONCLUSION

        For the foregoing reasons, the Court interprets the claim language in this case in the

 manner set forth above.. For ease of reference, the Court’s claim interpretations are set forth in a

 table as Appendix A.




                        So ORDERED and SIGNED this 10th day of April, 2012.




                                                       ___________________________________
                                                                  JOHN D. LOVE
                                                       UNITED STATES MAGISTRATE JUDGE




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                                                A0026
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                                        APPENDIX A

 Claim Term                                   Court’s Construction
 Hinge member                                 a structural element that joins to another for
                                              construction
 Rotatably attached / adapted to be rotatably No construction necessary, sufficiently defined
 attached / adapted to rotatably attach       in the claims; subject to the Court’s resolution
                                              of the scope of the claims
 Support Frame                                No construction necessary, sufficiently defined
                                              in the claims; subject to the Court’s resolution
                                              of the scope of the claims
 Disposition                                  a configuration or arrangement of the support
                                              frame




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                                            A0027
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                                           U.S. District Court [LIVE]
                                        Eastern District of TEXAS (Tyler)
                                 CIVIL DOCKET FOR CASE#: 6:10-cv-00329-LED


  Adjustacam LLC v. Amazon com, Inc. et al                                                        Date Filed: 07/02/2010
  Assigned to: Judge Leonard Davis                                                                Date Terminated: 08/20/2013
  Case in other court: USCA-FEDERAL CIRCUIT, 13-01665                                             Jury Demand: Both
                      USCA-FEDERAL CIRCUIT, 13-01666                                              Nature ofSuit: 830 Patent
                      USCA-FEDERAL CIRCUIT, 13-01667                                              Jurisdiction: Federal Question
  Cause: 35:271 Patent Infringement

  Mediator
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  Plaintiff
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

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  v.
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

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  Defendant
  CDW,LLC                                                                    represented by Anthony S Gabrielson
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

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  Defendant
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

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  Defendant
  Creative Technology Ltd
  TERMINATED: 12/06/2010

  Defendant
  Creative Labs, Inc.,                                                       represented by Eric Hugh Findlay
  TERMINATED: 11/29/2011                                                                    (See above for address)
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                         Case: 13-1665                    Document: 97-1                 Page: 46            Filed: 12/11/2014

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  Digital Innovations, LLC                                                   represented by Bradley Wayne Hoover
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                                                                                            Tyler, TX 75711-7339
                                                                                            903-509-5000
                                                                                            Fax: 903-509-5092
                                                                                            Email: jainsworth@wi1son1awfirm.com


  Defendant
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                                 131136


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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

  E2Xmics Corporation D/B/A Ezonics
  Corporation USA D/B/A Emnics
  TERMINATED: 12/21/2010
  also known as
  Ezonics Corporation USA
  TERMINATED: 12/21/2010

  Defendant
  Fry's Electronics Inc                                                      represented by Ezra Sutton
  TERMINATED: 08/2212012                                                                    Ezra Sutton & Associates PA
                                                                                            900 Route 9 North
                                                                                            VVoodbridge,NJ07095
                                                                                            732-634-3520
                                                                                            Fax: 732-634-3511
                                                                                            Email: esutton@ezrasutton.com
                                                                                            LEAD ATTORNEY
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Bryan Donivan Atkinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 05/10/2012

                                                                                                  Eric Hugh Findlay
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 0511012012

                                                                                                  Roger Brian Craft
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 05/10/2012

  Defendant
  Gear Head, LLC                                                             represented by Patricia L Davidson
  TERMINATED: 08/17/2012                                                                    Mirick, O'Connell, DeMallie & Lougee,
                                                                                            LLP
                                                                                            100 Front Street
                                                                                            VVorcester, MA 01608

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  508-791-8500
                                                                                                  Fax: 508-983-6240
                                                                                                  Email: pdavidson@mirickocormell.com
                                                                                                  LEAD ATTORNEY
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Herbert J Hammond
                                                                                                  Thompson & Knight - Dal1as
                                                                                                  1722 Routh Street
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                                                                                                  Dal1as, TX 75201-2533
                                                                                                  214/969-1607
                                                                                                  Fax: 12149691751
                                                                                                  Email: herbert.hammond@tklaw.com

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Vishal Hemant Patel
                                                                                                  Thompson & Knight - Dal1as
                                                                                                  1722 Routh Street
                                                                                                  Ste 1500
                                                                                                  Dal1as, TX 75201-2533
                                                                                                  214-969-124
                                                                                                  Fax: 214-880-3224
                                                                                                  Email: vishalpatel@tklaw.com

  Defendant
  General Electric Company
  TERMINATED: 07/13/2010

  Defendant
  Hemett-Packard Company                                                     represented by Bryan Donivan Atkinson
  TERMINATED: 0812712012                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Eric Hugh Findlay
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  George Walton Webb, ill
                                                                                                  Ahmad, Zavitsanos, Anaipakos, Alavi &
                                                                                                  Mensing P .C.
                                                                                                  3460 One Houston Center

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  1221 McKirmey St
                                                                                                  Houston, TX 77010
                                                                                                  713-655-1101
                                                                                                  Fax: 713-655-0062
                                                                                                  Email: gwebb@aza1aw.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Roger Brian Craft
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Intcomex, Inc.                                                             represented by Russell T. Wong
  TERMINATED: 12102/2010                                                                    Wong Cabello Lutsch, RutherfOrd &
                                                                                            Brucculeri
                                                                                            20333 SH249
                                                                                            Ste 600
                                                                                            Houston, TX 77070
                                                                                            832/446-2420
                                                                                            Email: rwong@cmmselip.com
                                                                                            TERMINATED: 12107/2010

  Defendant
  Jasco Products Company ILC D/B/A                                           represented by Michael Charles Smith
  Jasco Products Company D/B/A Jasco                                                        Siebman Burg Phillips & Smith, LLP-
  TERMINATED: 03/23/2011                                                                    Marshall
  also known as                                                                             P 0 Box 1556
  Jacso Products Company LLC                                                                Marshall, TX 75671-1556
  TERMINATED: 03/23/2011                                                                    903-938-8900
                                                                                            Fax:19727674620
                                                                                            Email: mi.chae1smith@siebman.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Peter I Sanborn
                                                                                                  Holland & Knight LLP - Boston
                                                                                                  10 StJames Avenue
                                                                                                  11th Floor

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Boston, MA 02116
                                                                                                  617/523-2700
                                                                                                  Fax: 617/523-6850
                                                                                                  Email: peter.sanborn@hk1aw.com
                                                                                                  PRO HAC VICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  R David Donoghue
                                                                                                  Hol1and & Knight - Chicago
                                                                                                  131 South Dearborn Street
                                                                                                  30th Floor
                                                                                                  Chicago, IL 60603
                                                                                                  312/578-6553
                                                                                                  Fax: 312/578-6666
                                                                                                  Email: david.donoghue@hk1aw.com
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Jwin Electronics Corporation                                               represented by Allen Franklin Gardner
  TERMINATED: 04/05/2011                                                                    (See above fur address)
                                                                                            TERMINATED: 09/16/2010

                                                                                                  Michael E Jones
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 09/16/2010

                                                                                                  Philip A Werner
                                                                                                  Werner Ayers LLP
                                                                                                  1800 Bering Drive
                                                                                                  Suite 305
                                                                                                  Houston, TX 77057
                                                                                                  713/626-2233
                                                                                                  Fax: 713-626-9708
                                                                                                  Email: pwemer@wemerayers.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  Defendant
  Klip Extreme LLC                                                           represented by Russell T. Wong
  TERMINATED: 12/02/2010                                                                    (See above fur address)

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                                                                                                  TERMINATED: 12/07/2010

  Defendant
  KMart Corporation                                                          represented by John Hanson Barr, Jr
  TERMINATED: 05124/2011                                                                    Bracewell & Giuliani - Houston
                                                                                            711 Louisiana St
                                                                                            Suite 2300
                                                                                            Houston, TX 77002-2770
                                                                                            713/221-1242
                                                                                            Fax: 17132223206
                                                                                            Email: jolm.barr@bgllp.com
                                                                                            LEAD ATTORNEY

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                                                                                                  Kilpatrick Townsend & Stockton ILP
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                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield
                                                                                                  Bracewell & Giuliani - Houston
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                                                                                                  Fax: 713/222-3225
                                                                                                  Email: chris.shield@bracewellgiulianicom

                                                                                                  John Allen Yates
                                                                                                  Bracewell & Giuliani - Houston
                                                                                                  711 Louisiana St
                                                                                                  Suite 2300
                                                                                                  Houston, TX 77002-2770
                                                                                                  713-221-1375
                                                                                                  Fax: 713-222-3296
                                                                                                  Email: jay.yates@bgllp.com

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  Bracewell & Giuliani - Houston
                                                                                                  711 Louisiana St
                                                                                                  Suite 2300

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Houston, TX 77002-2770
                                                                                                  713-221-1146
                                                                                                  Fax: 713-221-1212
                                                                                                  Email: robert.ayers@bgllp.com

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Lifeworks Technology Group, LLC                                            represented by Bryan Donivan Atkinson
  TERMINATED: 0911512011                                                                    Farney Danie1s, PC
                                                                                            800 South Austin Ave
                                                                                            Ste 200
                                                                                            Georgetown, TX 78626
                                                                                            512-582-2836
                                                                                            Fax: 512-582-2829
                                                                                            Email: BAtkinson@furneydanie1s.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Collin Michael Maloney
                                                                                                  Ire1and Carroll & Kelley
                                                                                                  6101 S Broadway
                                                                                                  Suite 500
                                                                                                  Tyler, TX 75703
                                                                                                  903/561-1600
                                                                                                  Fax: 9035811071
                                                                                                  Email: cmaloney@ick1aw.com
                                                                                                  TERMINATED: 04127/2011

                                                                                                  Jennifer Huang
                                                                                                  Kap1an, Massamillo & Andrews, ILC
                                                                                                  70 East 55th Street
                                                                                                  25th Floor
                                                                                                  New York, NY 10022
                                                                                                  212/922-0450
                                                                                                  Fax: 212/922-0530
                                                                                                  Email: jhuang@kma1awfirm.com
                                                                                                  TERMINATED: 04127/2011

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Thomas Carulli

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Kap1an, Massamillo & Andrews, ILC
                                                                                                  70 East 55th Street
                                                                                                  25th Floor
                                                                                                  New York, NY 10022
                                                                                                  212/922-0450
                                                                                                  Fax: 212/922-0530
                                                                                                  Email: tcarulli@kma1awfirmcom
                                                                                                  TERMINATED: 04/27/2011

                                                                                                  William Bryan Farney
                                                                                                  Farney Danie1s, PC
                                                                                                  800 South Austin Ave
                                                                                                  Ste 200
                                                                                                  Georgetown, TX 78626
                                                                                                  512/582-2828
                                                                                                  Fax: 512/582-2829
                                                                                                  Email: bfiuney@furneydanie1s.com
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Macally Peripherals, Inc. D/B/A                                            represented by Steven Robert Daniels
  Macally U.S.A.                                                                            (See above fur address)
  TERMINATED: 12/01/2011                                                                    ATTORNEY TO BE NOTICED

                                                                                                  Peter M Lukevich
                                                                                                  Apex Juris ILC
                                                                                                  12733 Lake City Way, NE
                                                                                                  Seattle, WA 98125
                                                                                                  206/664-0314
                                                                                                  Fax: 206/664-0329
                                                                                                  Email: peter@ape~uris.com
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Mace Group, Inc.                                                           represented by Steven Robert Daniels
  TERMINATED: 12/01/2011                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Peter M Lukevich
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Micro Electronics, Inc. DBA Micro                                          represented by Bryan Donivan Atkinson
  Center                                                                                    (See above fur address)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                            20/136


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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

  TERMINATED: 08/22/2012                                                                          ATTORNEY TO BE NOTICED

                                                                                                  Eric Hugh Findlay
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  George Walton Webb, ill
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Herbert J Hammond
                                                                                                  Thompson & Knight ILP - DaDas
                                                                                                  1722 Routh Street
                                                                                                  Ste 1500
                                                                                                  DaDas, TX 75201-2533
                                                                                                  214/969-1607
                                                                                                  Fax: 12149691751
                                                                                                  Email: herbert.hamrrond@tklaw.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Roger Brian Craft
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  New Compusa Corporation                                                    represented by David W Denenberg
  TERMINATED: 03/22/2012                                                                    (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            PRO HAC VICE

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Newegg, Inc.                                                               represented by John N Zarian
  TERMINATED: 09/27/2012                                                                    Parsons Behle & Latimer

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  960 Broadway Ave
                                                                                                  Ste 250
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                                                                                                  208-562-4900
                                                                                                  Fax: 208/562-4901
                                                                                                  Email: JZarian@parsonsbehle.com
                                                                                                  LEAD ATTORNEY
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Christopher J Cuneo
                                                                                                  Parsons Behle & Latimer - Boise
                                                                                                  800 W. Main Street
                                                                                                  Suite 1300
                                                                                                  Boise, ID 83706
                                                                                                  (208) 562-4900
                                                                                                  Fax: (208) 562-4901
                                                                                                  Email: ccuneo@parsonsbehle.com
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Dana M Herberholz
                                                                                                  Parsons Behle & Latimer - Boise
                                                                                                  800 W. Main Street
                                                                                                  Suite 1300
                                                                                                  Boise, ID 83706
                                                                                                  208-562-4900
                                                                                                  Fax: 2085624901
                                                                                                  Email: DHerberholz@parsonsbehle.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Debra Elaine Gunter
                                                                                                  Find1ay Craft PC
                                                                                                  102 N College Avenue
                                                                                                  Suite 900
                                                                                                  Tyler, TX 75702
                                                                                                  903.534.1100
                                                                                                  Fax: 903.534.1137
                                                                                                  Email: dgunter@:find1aycraft.com
                                                                                                  TERMINATED: 0611612014

                                                                                                  Herbert A Yarbrough, III
                                                                                                  Attorney at Law
                                                                                                  100 E Ferguson
                                                                                                  Suite 1015
                                                                                                  Tyler, TX 75702

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  903/595-3111
                                                                                                  Fax:19035950191
                                                                                                  Email: trey@yw-lawfirm.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
                                                                                                  Parsons Behle & Latimer - Boise
                                                                                                  800 W. Main Street
                                                                                                  Suite 1300
                                                                                                  Boise, ID 83706
                                                                                                  208-562-4900
                                                                                                  Fax: 208-562-4901
                                                                                                  TERMINATED: 12/30/2010

                                                                                                  Robert A Matson
                                                                                                  Parsons Behle & Latimer
                                                                                                  960 Broadway Ave
                                                                                                  Ste 250
                                                                                                  Boise, ID 83706
                                                                                                  208/562-4900
                                                                                                  Fax: 208/562-4901
                                                                                                  Email: rmatson@parsonsbehle.com
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Newegg.com, Inc.                                                           represented by John N Zarian
  TERMINATED: 09/27/2012                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Christopher J Cuneo
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Dana M Herberholz
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Debra Elaine Gunter

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above for address)
                                                                                                  TERMINATED: 06/16/2014

                                                                                                  Herbert A Yarbrough, III
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 12/30/2010
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
                                                                                                  (See above for address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Office Depot, Inc.                                                         represented by Bryan Donivan Atkinson
  TERMINATED: 08/2212012                                                                    (See above for address)
                                                                                            TERMINATED: 0413012012
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Eric Hugh Findlay
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Herbert J Hammond
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 04/30/2012
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Patricia L Davidson
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Roger Brian Craft

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 04/30/2012
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Vishal Hemant Patel
                                                                                                  Thompson & Knight ILP - Dallas
                                                                                                  1722 Routh Street
                                                                                                  Ste 1500
                                                                                                  Dallas, TX 75201-2533
                                                                                                  214-969-124
                                                                                                  Fax: 214-880-3224
                                                                                                  Email: vishalpatel@tklaw.com
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Overstock.com, Inc.                                                        represented by John Hanson Barr, Jr
  TERMINATED: 09/21/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Schenck
                                                                                                  (See above for address)
                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

                                                                                                  John Allen Yates
                                                                                                  (See above for address)

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Phoebe Micro Inc.                                                          represented by Phoebe Micro Inc.
  TERMINATED: 03/24/2011                                                                    c/o Peter Sedyuen Lui
                                                                                            Phoebe Micro Inc
                                                                                            4 7606 Kato Road

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Freroont, CA 94538
                                                                                                  510-933-1683
                                                                                                  Fax: 510-360-0818
                                                                                                  Email: peter.lui@phoebemicro.com
                                                                                                  PROSE

                                                                                                  NenaWWong
                                                                                                  Attorney at Law
                                                                                                  6080 Center Drive
                                                                                                  Suite 600
                                                                                                  Los Angeles, CA 90045
                                                                                                  3101704-6603
                                                                                                  Fax: 310/689-2339
                                                                                                  Email: nenawong@earthlink.net
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Proly~LLC                                                                  represented by Proly~ LLC
  TERMINATED: 01/10/2011                                                                    c/o Sean Pate
                                                                                            2010 Main Street
                                                                                            Suite 1250
                                                                                            Irvine, CA 92614
                                                                                            949-307-3223
                                                                                            Fax: 949-271-4565
                                                                                            Email: seanpate@gmail.com
                                                                                            PROSE

  Defendant
  Rad.ioshack Corporation                                                    represented by Christopher Michael Joe
  TERMINATED: 0812212011                                                                    Buether Joe & Carpenter, lLC
                                                                                            1700 Pacific Avenue
                                                                                            Suite 2390
                                                                                            Dal1as, TX 75201
                                                                                            (214) 466-1272
                                                                                            Fax: (214) 635-1828
                                                                                            Email: Chris.Joe@bjciplaw.com
                                                                                            TERMINATED: 1012812010

                                                                                                  DanielL Fanis
                                                                                                  Hol1and & Knight - Chicago

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                                                                                                  131 South Dearborn Street
                                                                                                  30th Floor
                                                                                                  Chicago, IL 60603
                                                                                                  (312) 715-5765
                                                                                                  Fax: (312) 578-6666
                                                                                                  Email: danielfurris@hk1aw.com
                                                                                                  PRO HAC VICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Michael Charles Smith
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Peter I Sanborn
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  R David Donoghue
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Rosewill Inc.                                                              represented by John N Zarian
  TERMINATED: 0912712012                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Christopher J Cuneo
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Dana M Herberholz
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Debra Elaine Gunter
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 06/16/2014

                                                                                                  Herbert A Yarbrough, III
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Justin Nell Stewart
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
                                                                                                  (See above for address)
                                                                                                  PRO HAC VICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Sears Brands, LLC                                                          represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Schenck
                                                                                                  (See above for address)
                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

                                                                                                  John Allen Yates
                                                                                                  (See above for address)

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Sears Holdings Corporation D/B/A                                           represented by John Hanson Barr, Jr
  Sears                                                                                     (See above for address)
  TERMINATED: 05/24/2011                                                                    LEAD ATTORNEY
  also known as
  Sears, Roebuck and Company                                                                      Christopher Schenck
  TERMINATED: 05/24/2011                                                                          (See above for address)
                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above for address)

                                                                                                  John Allen Yates
                                                                                                  (See above for address)

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Sakar International, Inc.                                                  represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                    (See above for address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Sakar, Inc.                                                                represented by Ezra Sutton
  TERMINATED: 12/06/2010                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

  Defendant
  SDI Technologies, Inc.                                                     represented by Collin Michael Maloney
  TERMINATED: 09/01/2010                                                                    (See above for address)

  Defendant
  Software Brokers of America Inc. DBA                                       represented by Russell T. Wong
  Intcomex Corporation D/B/A Intcomex                                                       (See above for address)
  TERMINATED: 12/02/2010                                                                    TERMINATED: 12/07/2010

  Defendant
  Systemax, Inc. D/B/A Compusa                                               represented by David W Denenberg
  TERMINATED: 03/2212012                                                                    (See above for address)
                                                                                            PRO HAC VICE

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED


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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

  Defendant
  Target Corp.                                                               represented by Bryan Donivan Atkinson
  TERMINATED: 03/05/2012                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Michael Charles Smith
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Peter I Sanborn
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  R David Donoghue
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Tigerdirect, Inc.                                                          represented by David W Denenberg
  TERMINATED: 03/22/2012                                                                    (See above fur address)
                                                                                            PROHACVICE

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Trippe Manufacturing Company D/B/A                                         represented by David L De Bruin
  Tripp lite                                                                                Michael Best & Freidrich LLP
  TERMINATED: 10/25/2010                                                                    180 N Stetson Avenue
                                                                                            Suite 2000
                                                                                            Chicago, IL 60601
                                                                                            312-222-0800
                                                                                            Fax: 312-222-0818
                                                                                            Email: dldebruin@michaelbest.com
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       301136


                                                                             A0057
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  PROHACVICE

                                                                                                  Larry Saret
                                                                                                  Michael Best & Freidrich LLP
                                                                                                  180 N Stetson Avenue
                                                                                                  Suite 2000
                                                                                                  Chicago, IL 60601
                                                                                                  312-661-2116
                                                                                                  Fax: 312-222-0818
                                                                                                  Email: llsaret@michaelbest.com
                                                                                                  PROHACVICE

  Defendant
  Wal-Mart Stores, Inc.                                                      represented by Laura Lindsay Chapman
  TERMINATED: 08/22/2012                                                                    Sheppard Mullin Richter & Hampton, LLP
                                                                                            - San Francisco
                                                                                            Four Embarcadero Center
                                                                                            17th Floor
                                                                                            San Francisco, CA 94111
                                                                                            415-774-3215
                                                                                            Fax: 415-434-3947
                                                                                            Email: lchapman@sheppardnrullin.com
                                                                                            LEAD ATTORNEY

                                                                                                  Michael Charles Smith
                                                                                                  (See above fur address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)

                                                                                                  Victor DeGyarfas
                                                                                                  Foley & Lardner- Los Angeles
                                                                                                  555 S F1ower Street
                                                                                                  Suite 3500
                                                                                                  Los Angeles, CA 90071
                                                                                                  213/972-4500
                                                                                                  Fax: 213/486-0065
                                                                                                  Email: vdegyarfus@fuley.com

  Defendant

  Sears, Roebuck and Company                                                 represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Christopher Schenck
                                                                                                  (See above for address)
                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

                                                                                                  John Allen Yates
                                                                                                  (See above for address)

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Best Buy Co Inc                                                            represented by Bryan Donivan Atkinson
  D/B/A Best Buy D/B/A Rocketfzsh                                                           (See above for address)
  TERMINATED: 08/22/2012                                                                    ATTORNEY TO BE NOTICED

                                                                                                  George Walton Webb, ill
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Best Buy Stores, LP                                                        represented by Bryan Donivan Atkinson
  TERMINATED: 08/22/2012                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  George Walton Webb, ill
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above for address)

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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  BestBuy.com, LLC                                                           represented by Bryan Donivan Atkinson
  TERMINATED: 08/22/2012                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  George Walton Webb, ill
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Jia-GengLu
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  CONNS, INC. D/B/A CONNS                                                    represented by J Thad Heartfield
  TERMINATED: 03/24/2011                                                                    The Heartfield Law Firm
                                                                                            2195 Dowlen Rd
                                                                                            BealllilOnt, TX 77706
                                                                                            409/866-3318
                                                                                            Fax:14098665789
                                                                                                  Email: thad@heartfieldlawfirm.com

                                                                                                  M. Dru Montgomery
                                                                                                  The Heartfield Law Firm
                                                                                                  2195 Dowlen Road
                                                                                                  BealllilOnt, TX 77706
                                                                                                  409/866-3318
                                                                                                  Fax: 409/866-5789
                                                                                                  Email: dru@heartfie.ldlawfirm.com

                                                                                                  Kent Monison Adams
                                                                                                  Lewis Brisbois Bisgaard & Smith - Houston
                                                                                                  3355 West A1abama
                                                                                                  Suite 400
                                                                                                  Houston, TX 77098

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                                                                             A0060
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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  713-659-6767
                                                                                                  Fax: 7131759-6830
                                                                                                  Email: kadams@lbbslaw.com
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  J&R ELECTRONICS INC. D/B/A                                                 represented by Allen Franklin Gardner
  J&R                                                                                       (See above for address)
  TERMINATED: 01/04/2012
                                                                                                  Daniel Alan Noteware, Jr.
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John Frederick Bufe
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Michael E Jones
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  Farney Danie1s, LLP
                                                                                                  800 S. Austin Ave
                                                                                                  Ste 200
                                                                                                  Georgetown, TX 78626
                                                                                                  512-582-2820
                                                                                                  Fax: 512-582-2829
                                                                                                  Email: SDanie1s@:f.rmeydanie1s.com
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Walter Thomas Henson
                                                                                                  Ratrey & Flock
                                                                                                  100 E Ferguson
                                                                                                  Suite 500
                                                                                                  Tyler, TX 75702-0629
                                                                                                  903/597-3301
                                                                                                  Fax: 9035972413
                                                                                                  Email: thenson@ra.~reyflock.com

  Defendant
  KOHLS CORPORATION D/B/A                                                    represented by Ezra Sutton
  KOHL'S                                                                                    (See above for address)
  TERMINATED: 12/17/2012                                                                    LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


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                                                                             A0061
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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  Kohl's Illinois, Inc.                                                      represented by Ezra Sutton
  TERMINATED: 12117/2012                                                                    (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Defendant
  SOLID YEAR CO., LTD.
  TERMINATED: 12/06/2010

  Defendant
  WALGREEN CO. D/B/A
  WALGREENS
  TERMINATED: 09/14/2010

  Counter Claimant
  Dell, Inc.,                                                                represented by Roger Joseph Fulghum
  TERMINATED: 12/05/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Paula Diane Heyman
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Scott F Partridge
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 05/05/2011


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       35/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Amamn.com, Inc.                                                            represented by James E Geringer
  TERMINATED: 04/24/2012                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Salumeh R Loesch
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Systemax, Inc. D/B/A Compusa                                               represented by David W Denenberg
  TERMINATED: 03/2212012                                                                    (See above for address)
                                                                                            PROHACVICE

  Counter Claimant
  Tigerdirect, Inc.                                                          represented by David W Denenberg
  TERMINATED: 03/2212012                                                                    (See above for address)
                                                                                            PROHACVICE

  Counter Claimant
  New Compusa Corporation                                                    represented by David W Denenberg
  TERMINATED: 03/2212012                                                                    (See above for address)
                                                                                            LEAD ATTORNEY
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       36/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  PROHACVICE

  Counter Claimant
  Compusa.com, Inc.                                                          represented by David W Denenberg
  TERMINATED: 03/2212012                                                                    (See above fur address)
                                                                                            PROHACVICE


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Newegg.com, Inc.                                                           represented by Christopher J Cuneo
  TERMINATED: 09/27/2012                                                                    (See above fur address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 12/30/2010
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Newegg, Inc.                                                               represented by Christopher J Cuneo
  TERMINATED: 0912712012                                                                    (See above fur address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       37/136


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7/30/2014                                                          CM/ECF LIVE- U.S. District Court:bed

                                                                                               (See above fur address)
                                                                                               TERMINATED: 12/30/2010
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Robert A Matson
                                                                                               (See above fur address)
                                                                                               PROHACVICE
                                                                                               ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above fur address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                               Erick Scott Robinson
                                                                                               (See above fur address)
                                                                                               TERMINATED: 1011112011

                                                                                               John J Edmonds
                                                                                               (See above fur address)
                                                                                               ATTORNEY TO BE NOTICED

  Counter Claimant
  Rosewill. Inc.                                                          represented by Christopher J Cuneo
  TERMINATED: 09/27/2012                                                                 (See above fur address)
                                                                                         PROHACVICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                               Justin Neil Stewart
                                                                                               (See above fur address)
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               Robert A Matson
                                                                                               (See above fur address)
                                                                                               PRO HAC VICE
                                                                                               ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above fur address)

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  CONNS, INC. D/B/A CONNS                                                    represented by Kent Morrison Adams
  TERMINATED: 03/24/2011                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Sakar International, Inc.                                                  represented by Ezra Sutton
  TERMINATED: 12117/2012                                                                    (See above for address)
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)

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7/30/2014                                                          CM/ECF LIVE- U.S. District Court:bed

                                                                                               TERMINATED: 1011112011

                                                                                               John J Edmonds
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

  Counter Claimant
  Kohl's Illinois, Inc.                                                   represented by Ezra Sutton
  TERMINATED: 1211712012                                                                 (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

  Counter Claimant
  KOHLS CORPORATION D/B/A                                                 represented by Ezra Sutton
  KOHL'S                                                                                 (See above for address)
  TERMINATED: 12/17/2012                                                                 LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                               Erick Scott Robinson
                                                                                               (See above for address)
                                                                                               TERMINATED: 1011112011

                                                                                               John J Edmonds
                                                                                               (See above for address)
                                                                                               ATTORNEY TO BE NOTICED

  Counter Claimant
  Sakar International, Inc.                                               represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                 (See above for address)
                                                                                         ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

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                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Kohl's Illinois, Inc.                                                      represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Counter Claimant
  KOHLS CORPORATION D/B/A                                                    represented by Ezra Sutton
  KOHL'S                                                                                    (See above fur address)
  TERMINATED: 12/17/2012                                                                    LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Sakar International, Inc.                                                  represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Kohl's Illinois, Inc.                                                      represented by Ezra Sutton
  TERMINATED: 1211712012                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Counter Claimant
  KOHLS CORPORATION D/B/A                                                    represented by Ezra Sutton
  KOHL'S                                                                                    (See above fur address)
  TERMINATED: 12/17/2012                                                                    LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       42/136


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7/30/2014                                                          CM/ECF LIVE- U.S. District Court:bed

                                                                                               ATTORNEY TO BE NOTICED

  Counter Claimant
  KMart Corporation                                                       represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                 (See above fur address)
                                                                                         LEAD ATTORNEY

                                                                                               Christopher Aaron Shield
                                                                                               (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above fur address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                               Erick Scott Robinson
                                                                                               (See above fur address)
                                                                                               TERMINATED: 10/11/2011

                                                                                               Michael James Collins
                                                                                               (See above fur address)
                                                                                               ATTORNEY TO BE NOTICED

                                                                                               John J Edmonds
                                                                                               (See above fur address)
                                                                                               ATTORNEY TO BE NOTICED

  Counter Claimant
  Overstock.com, Inc.                                                     represented by John Hanson Barr, Jr
  TERMINATED: 09/21/2011                                                                 (See above fur address)
                                                                                         LEAD ATTORNEY

                                                                                               Christopher Aaron Shield
                                                                                               (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                          represented by Andrew W. Spangler
                                                                                         (See above fur address)
                                                                                         ATTORNEY TO BE NOTICED


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Sears Holdings Cmporation D/B/A                                            represented by John Hanson Barr, Jr
  Sears                                                                                     (See above fur address)
  TERMINATED: 0512412011                                                                    LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above fur address)

  Counter Claimant
  Sears, Roebuck and Company                                                 represented by John Hanson Barr, Jr
  TERMINATED: 05124/2011                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above fur address)

  Counter Claimant
  Sears Brands, LLC                                                          represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       44/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED


  Counter Claimant
  Overstock.com, Inc.                                                        represented by John Hanson Barr, Jr
  TERMINATED: 09/21/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  KMart Corporation                                                          represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       45/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed



  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Sears Holdings Corporation D/B/A                                           represented by John Hanson Barr, Jr
  Sears                                                                                     (See above for address)
  TERMINATED: 05/24/2011                                                                    LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

  Counter Claimant
  Sears, Roebuck and Company                                                 represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)

  Counter Claimant
  Sears Brands, LLC                                                          represented by John Hanson Barr, Jr
  TERMINATED: 05/24/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Aaron Shield
                                                                                                  (See above for address)


  v.
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       46/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Macally Peripherals, Inc. D/B/A                                            represented by Peter M Lukevich
  Macally U.S.A.                                                                            (See above fur address)
  TERMINATED: 12101/2011                                                                    ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Auditek Corporation                                                        represented by Jen-Feng Lee
  TERMINATED: 05/30/2012                                                                    (See above fur address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Vincent Jerome Allen

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above fur address)

                                                                                                  Zachary Wade Hilton
                                                                                                  (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Macally Peripherals, Inc. D/B/A                                            represented by Peter M Lukevich
  Macally U.S.A.                                                                            (See above fur address)
  TERMINATED: 12101/2011                                                                    ATTORNEY TO BE NOTICED

  Counter Claimant
  Mace Group, Inc.                                                           represented by Peter M Lukevich
  TERMINATED: 12/01/2011                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       48/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed



                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Digital Innovations, LLC                                                   represented by Bradley Wayne Hoover
  TERMINATED: 06/07/2012                                                                    (See above fur address)
                                                                                            TERMINATED: 01/09/2012

                                                                                                  GaryYLeung
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Phillip Brett Philbin
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 07/2912011

                                                                                                  Tamara Danielle Stiner Toomer
                                                                                                  (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                        49/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

  Counter Claimant
  Sakar International, Inc.                                                  represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED



  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Newegg, Inc.                                                               represented by Christopher J Cuneo
  TERMINATED: 09/27/2012                                                                    (See above fur address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Justin Neil Stewart
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 12/30/2010
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       50/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Newegg.com, Inc.                                                           represented by Christopher J Cuneo
  TERMINATED: 09/27/2012                                                                    (See above fur address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Debra Elaine Gunter
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 06/16/2014

                                                                                                  Herbert A Yarbrough, III
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1213012010
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
                                                                                                  (See above fur address)
                                                                                                  PRO HAC VICE
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       51/136


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7/3012014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Rosewill Inc.                                                              represented by Christopher J Cuneo
  TERMINATED: 09/27/2012                                                                    (See above fur address)
                                                                                            PRO HAC VICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Justin Nell Stewart
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Robert A Matson
                                                                                                  (See above fur address)
                                                                                                  PROHACVICE
                                                                                                  ATTORNEY TO BE NOTICED



  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Charles VanCleef
                                                                                                  Charles van Clee~ Attorney at Law, PC
                                                                                                  PO Box2432
                                                                                                  Longview, TX 75606-2432
                                                                                                  903-248-8244
                                                                                                  Fax: 903-248-8249
                                                                                                  Email: charles@vancleefpro
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Wal-Mart Stores, Inc.                                                      represented by Laura Lindsay Chapman
  TERMINATED: 08/22/2012                                                                    (See above fur address)

https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                                52/136


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                         Case: 13-1665                    Document: 97-1                 Page: 87            Filed: 12/11/2014

7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  LEAD ATTORNEY

                                                                                                  Victor DeGyarfas
                                                                                                  (See above for address)
                                                                                                  LEAD ATTORNEY

                                                                                                  Michael Charles Smith
                                                                                                  (See above for address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Overstock.com, Inc.                                                        represented by John Hanson Barr, Jr
  TERMINATED: 09/2112011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY

                                                                                                  Christopher Schenck
                                                                                                  (See above for address)
                                                                                                  PROHACVICE

                                                                                                  Christopher Aaron Shield
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       531136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above fur address)

                                                                                                  John Allen Yates
                                                                                                  (See above fur address)

                                                                                                  Robert Dean Ayers , Jr
                                                                                                  (See above fur address)

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Digital Innovations, LLC                                                   represented by Bradley Wayne Hoover
  TERMINATED: 06/07/2012                                                                    (See above fur address)
                                                                                            TERMINATED: 01/09/2012

                                                                                                  GaryYLeung
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Phillip Brett Philbin
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 0712912011

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Tamara Danielle Stiner Toomer
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                        54/136


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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

                                                                                                  (See above fur address)


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Dell, Inc.,                                                                represented by Roger Joseph Fulghum
  TERMINATED: 12/05/2011                                                                    (See above fur address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  De ron R Dacus
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Paula Diane Heyman
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Scott F Partridge
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 0510512011

                                                                                                  Shannon Marie Dacus
                                                                                                  (See above fur address)
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                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Auditek Corporation                                                        represented by Jen-Feng Lee
  TERMINATED: 05/30/2012                                                                    (See above for address)
                                                                                            PROHACVICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Vincent Jerome Allen
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  ZJtchary Wade Hilton
                                                                                                  (See above for address)
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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed



  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  John J Edmonds
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  Dell, Inc.,                                                                represented by Roger Joseph Fulghum
  TERMINATED: 12/05/2011                                                                    (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  De ron R Dacus
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Paula Diane Heyman
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Scott F Partridge
                                                                                                  (See above for address)
                                                                                                  TERMINATED: 05/05/2011

                                                                                                  Shannon Marie Dacus
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above for address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  .Amamn.com, Inc.                                                           represented by Eric Hugh Findlay
  TERMINATED: 04/24/2012                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Roger Brian Craft
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Salumeh R Loesch
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Walter Wayne Lackey, Jr.
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant

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7/30/2014                                                             CM/ECF LIVE- U.S. District Court:bed

  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  Counter Claimant
  Sakar International, Inc.                                                  represented by Ezra Sutton
  TERMINATED: 12/17/2012                                                                    (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 10/11/2011


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                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

  Counter Claimant
  KOHLS CORPORATION D/B/A                                                    represented by Ezra Sutton
  KOHL'S                                                                                    (See above fur address)
  TERMINATED: 12/17/2012                                                                    LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Steven Robert Daniels
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


  v.
  Counter Defendant
  AdjustaCam LLC                                                             represented by Andrew W. Spangler
                                                                                            (See above fur address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                                  Andrew Patrick Tower
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  Erick Scott Robinson
                                                                                                  (See above fur address)
                                                                                                  TERMINATED: 1011112011

                                                                                                  Michael James Collins
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                  John J Edmonds
                                                                                                  (See above fur address)
                                                                                                  ATTORNEY TO BE NOTICED


   Date Filed                  #      Docket Text
   07/02/2010                   1     COMPLAINT against ArmzDn.com, Inc., Auditek Corporation, Baltic Latvian

https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       60/136


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                                      Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                      Blue Microphones, LLC, CDW CorporationF/K/A CDW Computer Centers, Inc.,
                                      CDW, Inc., CDW, LLC, Cobra Digita~ LLC, Compusa.com, Inc., Creative Labs,
                                      Inc., Creative Teclm.ology Ltd, De~ Inc., Digital Irmovations, LLC, Eastman Kodak
                                      Company, Ezonics Corporation USA, Fry's Electronics Inc, Gear Head, LLC, General
                                      Electric Company, Hewlett-Packard Company, lntcomex, Inc., Jacso Products
                                      Company LLC, Jwin Electronics Corporation, KMart Corporation, Klip Extreme LLC,
                                      Lifeworks Teclm.ology Group, LLC, Macal1y Peripherals, Inc. D/B/A Macal1y U.S.A.,
                                      Mace Group, Inc., Micro Electronics, Inc. DBA Micro Center, New Compusa
                                      Corporation, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Overstock.com,
                                      Inc., Phoebe Micro Inc., Pro~ LLC, Radioshack Corporation, Rosewill Inc., SDI
                                      Teclm.ologies, Inc., Sakar Internationa~ Inc., Sakar, Inc., Sears Brands, LLC, Sears,
                                      Roebuck and Company, Software Brokers of America Inc. DBA lntcomex
                                      Corporation D/B/A Intcomex, Systetmx, Inc. D/B/A Compusa, Target Corp.,
                                      Tigerdirect, Inc., Trippe Manufacturing Company D/B/A Tripp Lite, Wal-Mart Stores,
                                      Inc. (Filing fee$ 350 receipt munber 0540-2559879.), filed by AdjustaCamLLC.
                                      (Attacl:nrents: # 1 Civil Cover Sheet Civil Cover Sheet)(Edmonds, Jolm.) (Entered:
                                      07/02/2010)
   07/02/2010                         Judge Leonard Davis added. (mll,) (Entered: 07/06/2010)
   07/07/2010                   2 E-GOV SEALED SUMMONS Issued as to AmaZDn.com, Inc., Auditek Corporation,
                                      Bahic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue
                                      Microphone, Blue Microphones, LLC, CDW CorporationF/K/A CDW Computer
                                      Centers, Inc., CDW, Inc., CDW, LLC, Cobra Digita~ LLC, Compusa.com, Inc., De~
                                      Inc., Digitallrmovations, LLC, Eastman Kodak Company, Ezonics Corporation D/B/A
                                      Ezonics Corporation USA D/B/A Ezonics, Fry's Electronics Inc, Gear Head, LLC,
                                      General Electric Company, Hewlett-Packard Company, lntcomex, Inc., Jasco Products
                                      Company LLC D/B/A Jasco Products Company D/B/A Jasco, Jwin Electronics
                                      Corporation, KMart Corporation, Klip Extreme LLC, Lifeworks Teclm.ology Group,
                                      LLC., and emailed to pltffor service. (mll,) (Entered: 07/07/2010)
   07/07/2010                   J. E-GOV SEALED SUMMONS Issued as to Macal1y Peripherals, Inc. D/B/A Macal1y
                                      U.S.A., Mace Group, Inc., Micro Electronics, Inc. DBA Micro Center, New Compusa
                                      Corporation, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Overstock.com,
                                      Inc., Phoebe Micro Inc., Pro~ LLC, Radioshack Corporation, Rosewill Inc., SDI
                                      Teclm.ologies, Inc., Sakar Internationa~ Inc., Sakar, Inc., Sears Brands, LLC, Sears
                                      Holdings Corporation D/B/A Sears, Sears, Roebuck and Company, Software Brokers
                                      ofAmerica Inc. DBA lntcomex Corporation D/B/A lntcomex, Systetmx, Inc. D/B/A
                                      Compusa, Target Corp., Tigerdirect, Inc., Trippe Manufacturing Company D/B/A
                                      Tripp Lite, Wal-Mart Stores, Inc., and emailed to pltffor service. (mll,) (Entered:
                                      07/07/2010)

   07/07/2010                   ~     CORPORATE DISCLOSURE STATEMENT filed by AdjustaCamLLC identifYing
                                      Corporate Parent Acacia Patent Acquisition LLC for AdjustaCam LLC. (Edmonds,
                                      Jolm.) (Entered: 07/07/201 0)

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   07/07/2010                   ~     NOTICE of Attorney Appearance by Erick Scott Robinson on behalf of AdjustaCam
                                      LLC (Robinson, Erick) (Entered: 07/07/2010)
   07/08/2010                   {i    NOTICE of Attorney Appearance by Andrew W. Spangler on behalf of AdjustaCam
                                      LLC (Spangler, Andrew) (Entered: 07/08/2010)
   07/12/2010                   1 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attachrnmts: # 1 Text of
                                      Proposed Order Proposed Order)(Edmonds, John) (Entered: 07/12/2010)
   07/13/2010                   .8. ORDER granting 1 Notice ofVohmtary Dismissal filed by AdjustaCam LLC. Pltfs
                                      c1aims against deft General Electric Company are DISMISSED without prejudice.
                                      Signed by Judge Leonard Davis on 07/13/10. cc:attys 7-14-1 O(mll, ) (Entered:
                                      07/14/2010)

   07/19/2010                   2 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attachments:# 1 Text of
                                      Proposed Order Proposed Order)(Edmonds, John) (Entered: 07/19/2010)
   07/20/2010                 10 ORDER granting 2 Notice ofVohmtary Dismissal filed by AdjustaCam LLC. Pltfs
                                 c1aims against CDW LLC are dismissed without prejudice. Signed by Judge Leonard
                                 Davis on 07/20/10. cc:attys 7-20-10(mll,) (Entered: 07/20/2010)
   07/22/2010                 11 APPLICATION to Appear Pro Hac Vice by Attorney David W Denenberg fur
                                      Compusa.com, Inc., Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc .. (mil,)
                                      (Additionalattachment(s) added on 7/22/2010: # 1 Exhibit) (mil,). (Entered:
                                      07/22/2010)

   07/26/2010                 12 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Trippe Manufacturing Company D/B/A Tripp Lite.( Saret, Larry) (Entered:
                                 07/26/2010)

   07/26/2010                 l l NOTICE of Attorney Appearance by David W Denenberg on behalf ofCompusa.com,
                                      Inc., New Compusa Corporation, Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc.
                                      (Denenberg, David) (Entered: 07/26/201 0)
   07/27/2010                 14 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Radioshack Corporation( Joe, Christopher) (Entered: 07/27/2010)
   07/27/2010                  15     ORDER that p1aintiff:file a notice that the case is ready fur scheduling conference when
                                      all of the defendants have either answered or filed a rootion to transfer or dismiss. The
                                      notice shall be filed within five days of the 1ast remaining defendant's answer or rootion
                                      Signed by Judge Leonard Davis on 07/27/10. cc:attys 7-28-10(mll,) (Entered:
                                      07/28/2010)

   07/29/2010                 16 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Systemax, Inc. D/B/A Compusa.( Denenberg, David) (Entered: 07/29/2010)
   07/29/2010                  17 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                  re Compusa.com, Inc .. ( Denenberg, David) (Entered: 07/29/2010)
   07/29/2010                 1.8. Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      reNew Compusa Corporation( Denenberg, David) (Entered: 07/29/2010)
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   07/29/2010                 19 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Tigerdirect, Inc .. ( Denenberg, David) (Entered: 07/29/2010)
   07/30/2010                 20 APPLICATION to Appear Pro Hac Vice by Attorney Larry Saret fur Trippe
                                 Manufacturing Company D/B/A Tripp Lite. (mD, ) (Entered: 07/30/201 0)
   07/30/2010                 21      APPLICATION to Appear Pro Hac Vice by Attorney David L De Bruin fur Trippe
                                      Manufacturing Company D/B/A Tripp Lite. (mD, ) (Entered: 07/30/201 0)
   07/30/2010                 22 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Hewlett-Packard Company.(Daniels, Steven) (Entered: 07/30/2010)
   07/30/2010                 23 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Micro Electronics, Inc. DBA Micro Center.(Daniels, Steven) (Entered: 07/30/201 0)
   07/30/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      12 is granted pursuant to Local Rule CV-12 fur Trippe Manufacturing Company D/B/A
                                      Tripp Lite to 9/4/2010. 30 Days Granted fur Deadline Extension.( mD,) (Entered:
                                      07/30/2010)
   07/30/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      14 is granted pursuant to Local Rule CV-12 fur Radioshack Corporation to 9/6/2010.
                                      30 Days Granted fur Deadline Extension.( mD,) (Entered: 07/30/2010)
   07/30/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      16 is granted pursuant to Local Rule CV-12 fur Systemax, Inc. D/B/A Compusa to
                                      9/9/2010. 30 Days Granted fur Deadline Extension.( mD, ) (Entered: 07/30/201 0)
   07/30/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      17 is granted pursuant to Local Rule CV-12 fur Compusa.com, Inc. to 9/9/2010. 30
                                      Days Granted fur Deadline Extension.( mD,) (Entered: 07/30/2010)
   07/30/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      18 is granted pursuant to Local Rule CV-12 fur New Compusa Corporation to
                                      9/9/2010. 30 Days Granted fur Deadline Extension.( mD, ) (Entered: 07/30/201 0)
   07/30/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      19 is granted pursuant to LocalRule CV-12 furTigerdirect, Inc. to 9/9/2010.30 Days
                                      Granted fur Deadline Extension.( mD,) (Entered: 07/30/2010)
   07/30/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      22 is granted pursuant to Local Rule CV-12 fur Hewlett-Packard Company to
                                      9/3/2010. 30 Days Granted fur Deadline Extension.( mD,) (Entered: 07/30/2010)
   07/30/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      23 is granted pursuant to Local Rule CV-12 fur Micro Electronics, Inc. DBA Micro
                                      Center to 9/3/2010. 30 Days Granted fur Deadline Extension.( mD,) (Entered:
                                      07/30/2010)
   08/02/2010                 24 E-GOV SEALED SUMMONS REISSUED as to Bahic Latvian Universal Electronics,
                                 LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone. (mD,) (Entered:
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       631136


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                                      08/02/2010)
   08/02/2010                 25 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Jasco Products Company LLC D/B/A Jasco Products Company D/B/A Jasco.
                                 (Smith, Michael) (Entered: 08/02/2010)
   08/02/2010                 26 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 reTarget Corp .. (Smith, Michael) (Entered: 08/02/2010)
   08/02/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      25 is granted pursuant to Local Rule CV-12 for Jasco Products Company LLC D/B/A
                                      Jasco Products Company D/B/A Jasco to 9/3/2010. 30 Days Granted for Deadline
                                      Extension( m1I,) (Entered: 08/02/2010)
   08/02/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      26 is granted pursuant to Loca1Rule CV-12 for Target Corp. to 9/3/2010. 30 Days
                                      Granted for Deadline Extension( m1I,) (Entered: 08/02/2010)
   08/02/2010                 27 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Office Depot, Inc .. (Daniels, Steven) (Entered: 08/02/2010)
   08/02/2010                 28 NOTICE of Attorney Appearance by Justin Neil Stewart on behalf ofN ewegg, Inc.,
                                 N ewegg.com, Inc., Rosewill Inc. (Stewart, Justin) (Entered: 08/02/201 0)
   08/02/2010                 29 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Rosewill Inc .. ( Stewart, Justin) (Entered: 08/02/201 0)
   08/02/2010                 30 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Newegg, Inc .. ( Stewart, Justin) (Entered: 08/02/2010)
   08/02/2010                 31      Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      re Newegg.com, Inc .. ( Stewart, Justin) (Entered: 08/02/2010)
   08/02/2010                 32 ReturnofService Executed as to Wa1-Mart Stores, Inc. on 7/14/2010, bycertmail;
                                 answer due: 8/4/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 33 Return of Service Executed as to Trippe Manufacturing Company D/B/A Tripp Lite on
                                 7/15/2010, by cert mail (mll, ) (Entered: 08/03/201 0)
   08/02/2010                 34 Return of Service Executed as to Target Corp. on 7/14/2010, by cert mail (mll, )
                                 (Entered: 08/03/2010)
   08/02/2010                 35 Return of Service Executed as to Systemax, Inc. D/B/A Compusa on 7/16/2010, by
                                 cert mail (mll, ) (Entered: 08/03/201 0)

   08/02/2010                 36 Return of Service Executed as to Software Brokers ofAmerica Inc. DBA lntcorrex
                                 Corporation D/B/A Intcorrex on 7/15/2010, by cert mail; answer due: 8/5/2010. (mll, )
                                 (Entered: 08/03/2010)
   08/02/2010                 37 Return of Service Executed as to SDI Teclmologies, Inc. on 7/14/2010, by cert mail;
                                 answer due: 8/4/2010. (mll,) (Entered: 08/03/2010)


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   08/02/2010                 38 Return ofService Executed as to Sakar, Inc. on 7/15/2010, by cert mail; answer due:
                                 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 39 Return of Service Executed as to Sakar Intemationa~ Inc. on 7/15/2010, by cert mail;
                                 answer due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 40 Return of Service Executed as to Rosewill Inc. on 7/16/2010, by cert mail; answer due:
                                 8/6/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 41      Return of Service Executed as to Radioshack Corporation on 7/14/2010, by cert mail.
                                      (mD, ) (Entered: 08/03/201 0)
   08/02/2010                 42 Return ofService Executed as to Phoebe Micro Inc. on 7/14/2010, by cert mail;
                                 answer due: 8/4/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 43 Return of Service Executed as to Overstock. com, Inc. on 7/15/2010, by cert mail;
                                 answer due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 44 Return of Service Executed as to Office Depot, Inc. on 7/15/2010, by cert mail; answer
                                 due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 45 Return of Service Executed as to N ewegg.com, Inc. on 7/16/2010, by cert mail; answer
                                 due: 8/6/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 46 Return of Service Executed as to N ewegg, Inc. on 7/15/2010, by cert mail; answer due:
                                 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 47 Return of Service Executed as to New Compusa Corporation on 7/15/2010, by cert
                                 mail. (mD,) (Entered: 08/03/2010)
   08/02/2010                 48 Return of Service Executed as to Micro Electronics, Inc. DBA Micro Center on
                                 7/14/2010, by cert mail. (mD,) (Entered: 08/03/2010)

   08/02/2010                 49 Return of Service Executed as to Mace Group, Inc. on 7/16/2010, by cert mail; answer
                                 due: 8/6/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 50 ReturnofService Executed as to MacallyPeripherals, Inc. D/B/A MacallyU.S.A. on
                                 7/16/2010, by cert mail; answer due: 8/6/2010. (mD, ) (Entered: 08/03/201 0)
   08/02/2010                 .ll ReturnofService Executed as to Klip Extreme LLC on 7/15/2010, bycertmail;
                                      answer due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 52 Return of Service Executed as to Jwin Electronics Corporation on 7/15/2010, by cert
                                 mail; answer due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 53 ReturnofService Executed as to lntcomex, Inc. on 7/15/2010, bycertmail; answer
                                 due: 8/5/2010. (mD,) (Entered: 08/03/2010)
   08/02/2010                 54 Return of Service Executed as to Hewlett-Packard Company on 7/14/2010, by cert
                                 mail. (mD,) (Entered: 08/03/2010)
   08/02/2010                 55 Return of Service Executed as to General Electric Company on 7/15/2010, by cert mail;

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                                      answer due: 8/5/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 56 Return of Service Executed as to Gear Head, LLC on 7115/2010, by cert mail; answer
                                 due: 8/5/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 57 Return ofService Executed as to Fry's Electronics Inc on 7/16/2010, by cert mail;
                                 answer due: 8/6/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 58 ReturnofService Executed as to Eastman Kodak Company on 7/14/2010, bycert
                                 mail; answer due: 8/4/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 59 Return of Service Executed as to Dell, Inc., on 7/14/2010, by cert mail; answer due:
                                 8/4/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 60 ReturnofService Executed as to Compusa.com, Inc. on 7/14/2010, bycertmail. (mll,)
                                 (Entered: 08/03/2010)
   08/02/2010                 61      Return ofService Executed as to CDW, Inc. on 7/15/2010, by cert mail; answer due:
                                      8/5/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 62 Return ofService Executed as toCDW Corporation F/K/A CDW Computer Centers,
                                 Inc. on 7/15/2010, by cert mail; answer due: 8/5/2010. (mll, ) (Entered: 08/03/201 0)
   08/02/2010                 64 Return of Service Executed as to Auditek Corporation on 7/14/2010, by cert mail;
                                 answer due: 8/4/2010. (mll,) (Entered: 08/03/2010)
   08/02/2010                 65 ReturnofService Executed as to Amazoncom, Inc. on 7/15/2010, bycertmail; answer
                                 due: 8/5/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 63 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Fry's Electronics Inc.(Danie1s, Steven) (Entered: 08/03/2010)
   08/03/2010                 66 NOTICE of Attorney Appearance by Sahnneh R Loesch on behalf ofAmazon com,
                                 Inc. (Loesch, Sahnneh) (Entered: 08/03/201 0)
   08/03/2010                 67 CORPORATE DISCWSURE STATEMENT filed by Amazoncom, Inc. (Loesch,
                                 Sahnneh) (Entered: 08/03/2010)
   08/03/2010                 68 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Amazoncom, Inc .. ( Loesch, Sahnneh) (Entered: 08/03/2010)
   08/03/2010                 69 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Wal-Mart Stores, Inc .. ( deGyarfas, Victor) (Entered: 08/03/2010)
   08/03/2010                 70 NOTICE of Attorney Appearance by Jemrifer Parker Ainsworth on behalf ofEastman
                                 Kodak Company (Ainsworth, Jemrifer) (Entered: 08/03/2010)
   08/03/2010                 71      Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      re Eastman Kodak Company.( Ainsworth, Jemrifer) (Entered: 08/03/201 0)
   08/03/2010                 72 NOTICE of Attorney Appearance by Roger Joseph Fulglnnn on behalf ofDell, Inc.,
                                 (Fulgln.nn, Roger) (Entered: 08/03/2010)


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   08/03/2010                 73 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Dell, Inc.,.( Fulghmn, Roger) (Entered: 08/03/2010)
   08/03/2010                 74 Return of Service Executed as to Bille Microphones, LLC on 7/22/2010, by cert mail;
                                 answer due: 8/12/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 75 Return of Service Executed as to KMart Corporation on 7/16/2010, by cert mail;
                                 answer due: 8/6/2010. (mll,) (Entered: 08/03/2010)

   08/03/2010                 76 ReturnofService Executed as to Sears Holdings Corporation D/B/A Sears on
                                 7/16/2010, by cert mail; answer due: 8/6/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 77 Return of Service Executed as to Sears, Roebuck and Company on 7/16/2010, by cert
                                 mail; answer due: 8/6/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 78 Return of Service Executed as to Cobra Digita1, LLC on 7/15/2010, by cert mail;
                                 answer due: 8/5/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 79 Return ofService Executed as to Sears Brands, LLC on 7/20/2010, by cert mail;
                                 answer due: 8/10/2010. (mll,) (Entered: 08/03/2010)
   08/03/2010                 80 ReturnofService Executed as to Lifeworks Technology Group, LLC on 7/23/2010, by
                                 cert mail; answer due: 8/13/2010. (mll, ) (Entered: 08/03/201 0)
   08/03/2010                 81      Return of Service Executed as to Tigerdirect, Inc. on 7/23/2010, by cert mail (mll, )
                                      (Entered: 08/03/2010)
   08/03/2010                 82 NOTICE of Attorney Appearance by Victor deGyarfus on beha1f ofWal-Mart Stores,
                                 Inc. (deGyarfus, Victor) (Entered: 08/03/2010)
   08/04/2010                 83 NOTICE of Attorney Appearance by Paula Diane Heyman on beha1f ofDell, Inc.,
                                 (Heyman, Paula) (Entered: 08/04/2010)
   08/04/2010                 84 NOTICE of Attorney Appearance by Scott F Partridge on beha1f ofDell, Inc.,
                                 (Partridge, Scott) (Entered: 08/04/2010)
   08/04/2010                 85 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint is
                                 granted pursuant to Loca1Ru1e CV-12 for Phoebe Micro Inc. to 9/4/2010. 30 Days
                                 Granted for Deadline Extension. ( m1I,) (mll, ). (Entered: 08/04/2010)
   08/04/2010                 86 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re lntcmrex, Inc .. ( Wong, Russell) (Entered: 08/04/2010)
   08/04/2010                 87 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Klip Extreme LLC.( Wong, Russell) (Entered: 08/04/2010)
   08/04/2010                 88 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re Software Brokers of America Inc. DBA lntcomex Corporation D/B/A lntcomex.(
                                 Wong, Russell) (Entered: 08/04/201 0)

   08/04/2010                 89 APPLICATION to Appear Pro Hac Vice by Attorney Ezra Sutton for Fry's
                                 Electronics Inc, Sakar Intemationa~ Inc .. (mll,) (Entered: 08/04/2010)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       67/136


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   08/04/2010                 90 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Sakar lnternationa~ Inc., Sakar, Inc .. ( Sutton, Ezra) (Entered: 08/04/2010)
   08/04/2010                 91      Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      re Fry's Electronics Inc.( Sutton, Ezra) (Entered: 08/04/2010)
   08/04/2010                 92 APPLICATION to Appear Pro Hac Vice by Attorney Peter I Sanborn fur Jasco
                                 Products Company LLC D/B/A Jasco Products Company D/B/A Jasco, Target Corp ..
                                 (mD, ) (Entered: 08/04/201 0)
   08/04/2010                 93      APPLICATION to Appear Pro Hac Vice by Attorney R David Donoghue fur Jasco
                                      Products Company LLC D/B/A Jasco Products Company D/B/A Jasco, Target Corp ..
                                      (mD,) (Entered: 08/04/2010)
   08/04/2010                 94 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Overstock.com, Inc .. ( Shield, Clnistopher) (Entered: 08/04/2010)
   08/05/2010                 95 Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                 re SDI Technologies, Inc .. ( Maloney, Collin) (Entered: 08/05/2010)
   08/05/2010                 96 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Lifeworks Technology Group, LLC.( Maloney, Collin) (Entered: 08/05/201 0)
   08/05/2010                 97 NOTICE of Attorney Appearance by Anthony S Gabrielson on behalf ofCDW
                                 Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., CDW, ILC
                                 (Gabrielson, Anthony) (Entered: 08/05/2010)
   08/05/2010                 98 MOTION to Dismiss by CDW Corporation F/K/A CDW Computer Centers, Inc.,
                                 CDW, Inc., CDW, ILC. (Attachrrents: # 1 Exhibit A, # 2 Text ofProposed Order)
                                 (Gabrielson, Anthony) (Entered: 08/05/2010)
   08/06/2010                 99 ***Filed In Error. Please See Entry 100 For Correction.*** CORPORATE
                                 DISCLOSURE STATEMENT filed by CDW Corporation F/K/A CDW Computer
                                 Centers, Inc., CDW, Inc., CDW, LLC (Gabrielson, Anthony) Modified on 8/6/2010
                                 (~g). (Entered: 08/06/201 0)

   08/06/2010                         ***FILED IN ERROR. Document #99, Corporate Disclosure. PLEASE
                                      IGNORE.***

                                      (~g) (Entered: 08/06/2010)

   08/06/2010                100 CORPORATE DISCLOSURE STATEMENT filed by CDW Corporation F/K/A
                                 CDW Computer Centers, Inc., CDW, Inc., CDW, LLC identifYing Corporate Parent
                                 VH Hold~, Inc. fur CDW Corporation F/K/A CDW Computer Centers, Inc.,
                                 CDW, Inc., CDW, ILC. (Gabrielson, Anthony) (Entered: 08/06/2010)
   08/06/2010                101      Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      re Jwin Electronics Corporation.( Jones, Michael) (Entered: 08/06/201 0)
   08/09/2010                102 APPLICATION to Appear Pro Hac Vice by Attorney Be~amin THorton fur CDW
                                 Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc .. (mD,) (Entered:
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       681136


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                                      08/09/2010)
   08/09/2010                103 APPLICATION to Appear Pro Hac Vice by Attorney Tho:rms L Duston for CDW
                                 Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc .. (mil,) (Entered:
                                 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      27 is granted pursuant to Local Rule CV-12 for Office Depot, Inc. to 9/3/2010. 30
                                      Days Granted for Deadline Extensiot1( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      29 is granted pursuant to Local Rule CV-12 for Rosewilllnc. to 9/9/2010. 30 Days
                                      Granted for Deadline Extensiot1( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      30 is granted pursuant to Local Rule CV-12 forNewegg, Inc. to 9/9/2010. 30 Days
                                      Granted for Deadline Extensiot1( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      31 is granted pursuant to Local Rule CV-12 for Newegg.com, Inc. to 9/9/2010. 30
                                      Days Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      63 is granted pursuant to Local Rule CV-12 for Fry's Electronics Inc to 9/3/2010. 30
                                      Days Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)

   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      68 is granted pursuant to LocalRule CV-12 for Amazotlcom, Inc. to 9/7/2010.30
                                      Days Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      69 is granted pursuant to Local Rule CV-12 for Wal-Mart Stores, Inc. to 9/3/2010. 30
                                      Days Granted for Deadline Extensiot1( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      71 is granted pursuant to Local Rule CV-12 for Eastman Kodak Company to
                                      9/3/2010. 30 Days Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      73 is granted pursuant to Local Rule CV-12 for Dell, Inc., to 9/3/2010. 30 Days
                                      Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      86 is granted pursuant to Local Rule CV-12 for lntcomex, Inc. to 9/7/2010. 30 Days
                                      Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      87 is granted pursuant to Local Rule CV-12 for Klip Extreme LLC to 9/7/2010. 30
                                      Days Granted for Deadline Extensioll( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
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                                      88 is granted pursuant to Local Rule CV-12 fur Software Brokers ofAmerica Inc.
                                      DBA Intcorrex Corporation D/B/A Intcorrex to 917/2010. 30 Days Granted fur
                                      Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      90 is granted pursuant to Local Rule CV-12 fur Sakar Internationa~ Inc. to 9/3/2010.
                                      30 Days Granted fur Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      91 is granted pursuant to Local Rule CV-12 fur Fry's Electronics Inc. 30 Days Granted
                                      fur Deadline Extension.( mil,) (Entered: 08/09/2010)

   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      94 is granted pursuant to Local Rule CV-12 fur Overstock.com, Inc. to 917/2010. 30
                                      Days Granted fur Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      95 is granted pursuant to Local Rule CV-12 fur SDI Teclmologies, Inc. to 9/3/2010. 30
                                      Days Granted fur Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      96 is granted pursuant to Local Rule CV-12 fur Lifeworks Teclmology Group, LLC to
                                      9/13/2010. 30 Days Granted fur Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      101 is granted pursuant to Local Rule CV-12 fur Jwin Electronics Corporation to
                                      917/2010. 30 Days Granted fur Deadline Extension.( mil,) (Entered: 08/09/2010)
   08/09/2010                104 APPLICATION to Appear Pro Hac Vice by Attorney Jarres E Geringer fur
                                 Arnazon.com, Inc .. (mil,) (Entered: 08/10/2010)
   08/10/2010                105 NOTICE of Change of Address by Jolm J Edmmds (Edrronds, Jolm) (Entered:
                                 08/10/201 0)
   08/10/2010                106 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                 re KMart Corporation.( Shield, Christopher) (Entered: 08/10/2010)
   08/10/2010                107 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                 re Sears Brands, LLC.( Shield, Christopher) (Entered: 08/10/2010)
   08/10/2010                108 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                 re Sears, Roebuck and Company.( Shield, Christopher) (Entered: 08/10/2010)
   08/10/2010                109 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                 re Sears Holdings Corporation D/B/A Sears.( Shield, Christopher) (Entered:
                                 08/10/2010)
   08/11/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      106 is granted pursuant to Local Rule CV-12 fur KMart Corporation to 917/2010. 30
                                      Days Granted fur Deadline Extension.( mil,) (Entered: 08/11/2010)

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   08/1112010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      107 is granted pursuant to Local Rule CV-12 for Sears Brands, LLC to 9/9/2010. 30
                                      Days Granted for Deadline Extension.( mil,) (Entered: 08/1112010)
   08/1112010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      108 is granted pursuant to Local Rule CV-12 for Sears, Roebuck and Company to
                                      9/7/2010. 30 Days Granted for Deadline Extension.( mil,) (Entered: 08/1112010)
   08/1112010                         Defendant's Unopposed First Application for Extension ofTime to Answer Comp1aint
                                      109 is granted pursuant to Local Rule CV-12 for Sears Holdings Corporation D/B/A
                                      Sears to 9/7/2010. 30 Days Granted for Deadline Extension.( mil,) (Entered:
                                      08/11/2010)
   08/13/2010                110 NOTICE of Attorney Appearance by Allen Franklin Gardner on behalf ofJwin
                                 Electronics Corporation (Gardner, Allen) (Entered: 08/13/2010)
   08/16/2010                111      AMENDED COMPLAINT against Amazon.com, Inc., Auditek Corporation, Bahic
                                      Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue
                                      Microphone, Blue Microphones, LLC, CDW CorporationF/K/A CDW Computer
                                      Centers, Inc., CDW, Inc., CDW, LLC, Cobra Digita~ LLC, Compusa.com, Inc.,
                                      Creative Labs, Inc., Creative Teclmology Ltd, De~ Inc., Digital Innovations, LLC,
                                      Eastman Kodak Company, Ezonics Corporation D/B/A Ezonics Corporation USA
                                      D/B/A Ezonics, Fry's Electronics Inc, Gear Head, LLC, General Electric Company,
                                      Hewlett-Packard Company, Intcorrex, Inc., Jasco Products CompanyLLC D/B/A
                                      Jasco Products Company D/B/A Jasco, Jwin Electronics Corporation, KMart
                                      Corporation, Klip Extrerre LLC, Lifeworks Techno1ogy Group, LLC, Macally
                                      Peripherals, Inc. D/B/A Macally U.S.A., Mace Group, Inc., Micro Electronics, Inc.
                                      DBA Micro Center, New Compusa Corporation, Newegg, Inc., Newegg.com, Inc.,
                                      Office Depot, Inc., Overstock.com, Inc., Phoebe Micro Inc., Prolynkz, LLC,
                                      Radioshack Corporation, Rosewill Inc., SDI Technologies, Inc., Sakar lnternationa~
                                      Inc., Sakar, Inc., Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears,
                                      Roebuck and Company, Software Brokers of Arrerica Inc. DBA Intcorrex
                                      Corporation D/B/A lntcorrex, Syste:rmx, Inc. D/B/A Compusa, Target Corp.,
                                      Tigerdirect, Inc., Trippe Manufacturing Company D/B/A Tripp Lite, Wal-Mart Stores,
                                      Inc., filed by AdjustaCamLLC.(Edmmds, John) (Entered: 08/16/2010)
   08/18/2010                112 E-GOV SEALED SUMMONS Issued as to Auditek Corporation, Baltic Latvian
                                 Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                 Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, Blue Microphones, LLC,
                                 CONNS, INC. D/B/A CONNS, Cobra Digita~ LLC, Creative Labs, Inc., Creative
                                 Technology Ltd, Digital Innovations, LLC, Ezonics Corporation D/B/A Ezonics
                                 Corporation USA D/B/A Ezonics, Gear Head, LLC, J&R ELECTRONICS INC.
                                 D/B/A J&R, KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Macally
                                 Peripherals, Inc. D/B/A Macally U.S.A., Mace Group, Inc., Phoebe Micro Inc.,
                                 Prolynkz, LLC, SOLID YEAR CO., LTD., WALGREEN CO. D/B/A
                                 WALGREENS, and emailed to pltffor service. (mil,) (Entered: 08/18/2010)
   08/23/2010                113 E-GOV SEALED SUMMONS REISSUED as to Systemax, Inc. D/B/A Compusa.

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                                      (mTI, ) (Entered: 08/23/201 0)
   08/23/2010                114 RESPONSE to Motion re 98 MOTION to Dismiss of CDWfiled by AdjustaCam
                                 LLC. (Attaclnnents: # 1 Exhibit 1, # 2 Exhibit 2)(Edmmds, John) (Additional
                                 attaclnnent(s) added on 8/26/2010: # .3. Text ofProposed Order) (kls, ). (Entered:
                                 08/23/2010)
   08/23/2010                115 Return of Service Executed as to Jasco Products Company LLC D/B/A Jasco Products
                                 Company D/B/A Jasco on 8/2/2010, by cert mail (mTI, ) (Entered: 08/24/201 0)
   08/25/2010                116 Defendant's Unopposed first Application fur Extension ofTime to Answer Comp.laint re
                                 Blue Microphones, LLC.( Harris, Michael) (Entered: 08/25/2010)
   08/26/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      116 is granted pursuant to Local Rule CV-12 fur Blue Microphones, LLC to
                                      9/13/2010. 30 Days Granted fur Deadline Extension( mTI,) (Entered: 08/26/2010)
   08/26/2010                117 E-GOV SEALED SUMMONS REISSUED as to CDW, Inc .. (mTI, ) (Entered:
                                 08/26/2010)
   08/30/2010                118 Etrergency MOTION fur Extension ofTime to File Answer re 111 Amended
                                 Comp.laint,,, and Request for Expedited Briefing by Fry's Electronics Inc, Hewlett-
                                 Packard Company, Micro Electronics, Inc. DBA Micro Center, Office Depot, Inc ..
                                 (Attaclnnents: # 1 Text ofProposed Order Proposed Order fur Expedited Brei:fing, # 2
                                 Text ofProposed Order Proposed Order fur Extension ofTime)(Daniels, Steven)
                                 (Entered: 08/30/2010)

   08/30/2010                119 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                 Proposed Order Proposed Order)(Robinson, Erick) (Entered: 08/30/2010)
   08/31/2010                120 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp.laint re Intcmrex, Inc .. ( Wong, Russell) (Entered: 08/31/2010)
   08/31/2010                121      Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp.laint re Klip Extretre LLC.( Wong, Russell) (Entered: 08/31/201 0)
   08/31/2010                122 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp.laint re Software Brokers of America Inc. DBA Intcotrex Corporation D/B/A
                                 Intcotrex.( Wong, Russell) (Entered: 08/31/2010)
   08/31/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp.laint 120 is granted pursuant to Local Rule CV-12 fur Intcotrex, Inc. to
                                      9/21/2010. 14 Days Granted fur Deadline Extension( mTI,) (Entered: 08/31/2010)
   08/31/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp.laint 121 is granted pursuant to Local Rule CV-12 fur Klip Extretre LLC to
                                      9/21/2010. 14 Days Granted fur Deadline Extension( mTI,) (Entered: 08/31/2010)
   08/31/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp.laint 122 is granted pursuant to Local Rule CV-12 fur Software Brokers of

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                                      America Inc. DBA Intcomex Corporation D/B/A lntcomex to 9/2112010. 14 Days
                                      Granted fur Deadline Extension.( m11,) (Entered: 08/3112010)
   08/3112010                123 ORDER granting 118 Motion fur Expedited Briefing. Pltfs responsive brief shall be due
                                 9-01-2010, and defts' reply is due befOre 12:00 p.m on 9-02-2010. Signed by Judge
                                 Leonard Davis on 08/31110. cc:attys 8-31-10 (m11,) (Entered: 08/3112010)
   08/3112010                124 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re Baltic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A
                                 Blue Microphone.( Harris, Michael) (Entered: 08/31/2010)
   09/0112010                125 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re: KOHLS CORPORATION D/B/A KOHL'S, Kohl's lllinois, Inc., and
                                 Sakar InternationaL Inc .. ( Sutton, Ezra) (Entered: 09/01/2010)

   09/0112010                126 RESPONSE to Motion re 118 Emergency MOTION fur Extension ofTime to File
                                 Answer re 111 Amended Comp1aint,,, and Request for Expedited
                                 BriefingEmergency MOTION fur Extension ofTime to File Answer re 111 Amended
                                 CompJaint,,, and Request for Expedited Briefing filed by AdjustaCam LLC.
                                 (Attaclnnents: # 1 Text ofProposed Order)(Edmonds, Jolm) (Entered: 09/0112010)
   09/0112010                127 ORDER granting 119 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Pltfs
                                 cJaims against deft SDI Teclmologies Inc are dismissed without prejudice. Signed by
                                 Judge Leonard Davis on 09/01/10. cc:attys 9-02-1 O(m11, ) (Entered: 09/02/201 0)
   09/02/2010                128 REPLY to Response to Motion re 118 Emergency MOTION fur Extension of Time to
                                 File Answer re 111 Amended Comp1aint,,, and Request for Expedited
                                 BriefingEmergency MOTION fur Extension ofTime to File Answer re 111 Amended
                                 Comp1aint,,, and Request for Expedited Briefingfiled by Fry's Electronics Inc,
                                 Hewlett-Packard Company, Micro Electronics, Inc. DBA Micro Center, Office
                                 Depot, Inc .. (Daniels, Steven) (Entered: 09/02/2010)

   09/02/2010                129 NOTICE of Attorney Appearance by Roger Brian Craft on behalf ofFry's Electronics
                                 Inc (Craft, Roger) (Entered: 09/02/2010)
   09/02/2010                130 NOTICE of Attorney Appearance by Roger Brian Craft on behalf ofHewlett-Packard
                                 Company (Craft, Roger) (Entered: 09/02/2010)
   09/02/2010                131      NOTICE of Attorney Appearance by Roger Brian Craft on behalf ofMicro Electronics,
                                      Inc. DBA Micro Center (Craft, Roger) (Entered: 09/02/2010)
   09/02/2010                132 NOTICE of Attorney Appearance by Roger Brian Craft on behalf of Office Depot, Inc.
                                 (Craft, Roger) (Entered: 09/02/2010)
   09/02/2010                133 NOTICE of Attorney Appearance by Eric Hugh Find1ay on behalf ofFry's Electronics
                                 Inc (Find1ay, Eric) (Entered: 09/02/2010)
   09/02/2010                134 NOTICE of Attorney Appearance by Eric Hugh Find1ay on behalf ofHewlett-Packard
                                 Company (Find1ay, Eric) (Entered: 09/02/201 0)
   09/02/2010                135 NOTICE of Attorney Appearance by Eric Hugh Find1ay on behalf ofMicro Electronics,

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                                      Inc. DBA Micro Center (Find1ay, Eric) (Entered: 09/02/2010)
   09/02/2010                136 NOTICE of Attorney Appearance by Eric Hugh Find1ay on behalf of Office Depot, Inc.
                                 (Find1ay, Eric) (Entered: 09/02/2010)
   09/02/2010                137 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re Eastman Kodak Company.( Ainsworth, Jennifer) (Entered: 09/02/201 0)
   09/02/2010                138 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re Overstock.com, Inc .. ( Shield, Clnistopher) (Entered: 09/02/2010)
   09/02/2010                139 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re Sears Brands, LLC.( Shield, Clnistopher) (Entered: 09/02/201 0)
   09/02/2010                140 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re Sears Holdings Corporation D/B/A Sears.( Shield, Clnistopher) (Entered:
                                 09/02/2010)
   09/02/2010                141      Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp1aint re Sears, Roebuck and Company.( Shield, Clnistopher) (Entered:
                                      09/02/2010)
   09/02/2010                142 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re KMart Corporation( Shield, Clnistopher) (Entered: 09/02/201 0)
   09/02/2010                143 Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                 re CDW CorporationF/K/A CDW Computer Centers, Inc., CDW, Inc.( Horton,
                                 Benjamin) (Entered: 09/02/2010)
   09/02/2010                144 SUR-REPLY to Reply to Response to Motion re 118 Etrergency MOTION fur
                                 Extension of Time to File Answer re 111 Amended Comp1aint,,, and Request for
                                 Expedited BriefingEtrergency MOTION fur Extension ofTime to File Answer re 111
                                 Amended Comp1aint,,, and Request for Expedited Briefing filed by AdjustaCam
                                 LLC. (Attaclnrents: # 1 Exhibit 1, # 2 Exhibit 2)(Edmmds, Jolm) (Entered:
                                 09/02/2010)
   09/02/2010                145 ORDER GRANTING 118 Etrergency MOTION fur Extension ofTime to File
                                 Answer re 111 Amended Comp1aint and Request for Expedited Briefing filed by
                                 Micro Electronics, Inc. DBA Micro Center, Office Depot, Inc., Fry's Electronics Inc,
                                 Hewlett-Packard Company. Signed by Judge Leonard Davis on 9/2/2010. (gsg)
                                 (Entered: 09/03/2010)

   09/03/2010                146 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 Comp1aint re Trippe Manufacturing Company D/B/A Tripp Lite.( Saret, Larry)
                                 (Entered: 09/03/2010)
   09/03/2010                147 MOTION to Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P.
                                 12(B)(6) by Wal-Mart Stores, Inc .. (Attaclnrents: # 1 Affidavit ofVictor de Gyarfus, #
                                 2 Exhibit 1 to de Gyarfus Dec~ # .J. Exhibit 2 to de Gyarfus Dec~ # 1 Exhibit 3 to de
                                 Gyarfus Dec~ # ~ Exhibit 4 to de Gyarfus Dec~ # .{i Exhibit 5 to de Gyarfus Dec~ # 1
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                                      Exhibit 6 to de Gyarfus Dec~ # .8 Exhibit 7 to de Gyarfus Dec~ # .2 Exhibit 8 to de
                                      Gyarfus Dec~# 10 Text ofProposed Order)(deGyarfus, Victor) (Entered: 09/03/2010)
   09/03/2010                148 NOTICE ofDisclosure byWal-Mart Stores, Inc. (deGyarfus, Victor) (Entered:
                                 09/03/2010)
   09/03/2010                149 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 CompJaint re Jwin Electronics Corporation.( Jones, Michael) (Entered: 09/03/201 0)
   09/03/2010                150 Defendant Dell Inc's ANSWER to 111 Amended CompJaint,,, and,
                                 COUNTERCLAIM againstAdjustaCamLLC by De~ lnc.,.(Fulghum, Roger)
                                 (Entered: 09/03/2010)
   09/03/2010                151      CORPORATE DISCLOSURE STATEMENT filed by De~ Inc., (Fulghum, Roger)
                                      (Entered: 09/03/2010)
   09/03/2010                152 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                 MOTION to Join Defendant Wal-Mart Stores, Inc.s Partial Motion to Dismiss fur
                                 Failure to State a Claimre 147 MOTION to Dismiss [PARTIAL] FOR FAILURE TO
                                 STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL] FOR
                                 FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                 [PARTIAL] FORFAILURE TO STATE A CLAIM, F.RC.P.l2(B)(6)byJasco
                                 Products Company LLC D/B/A Jasco Products Company D/B/A Jasco. (Attaclnnents:
                                 # 1 Text ofProposed Order)(Smith, Michael) Modified on 9/7/2010 (Jl!ic, ). (Entered:
                                 09/03/2010)
   09/03/2010                153 ANSWER to 111 Amended Complaint,,, by Jasco Products Company LLC D/B/A
                                 Jasco Products Company D/B/A Jasco.(Smith, Michael) (Entered: 09/03/2010)

   09/03/2010                154 CORPORATE DISCLOSURE STATEMENT filed by Jasco Products Company LLC
                                 D/B/A Jasco Products Company D/B/A Jasco identifYing Corporate Parent Jasco
                                 Products Company fur Jasco Products Company LLC D/B/A Jasco Products
                                 Company D/B/A Jasco. (Smith, Michael) (Entered: 09/03/2010)
   09/03/2010                155 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                 MOTION to Join Defendant Wal-Mart Stores, Inc.s Partial Motion to Dismiss fur
                                 Failure to State a Claimre 147 MOTION to Dismiss [PARTIAL] FOR FAILURE TO
                                 STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL] FOR
                                 FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                 [PARTIAL] FORFAILURE TO STATE A CLAIM, F.RC.P.l2(B)(6)byTarget
                                 Corp .. (Attaclnnents: # 1 Text ofProposed Order)(Smith, Michael) Modified on
                                 9/7/2010 (Jl!ic, ). (Entered: 09/03/2010)
   09/03/2010                156 ANSWER to 111 Amended Complaint,,, by Target Corp .. (Smith, Michael) (Entered:
                                 09/03/2010)
   09/03/2010                157 CORPORATE DISCLOSURE STATEMENT filed by Target Corp. identii)ring
                                 Corporate Parent Target Corporation fur Target Corp .. (Smith, Michael) (Entered:
                                 09/03/2010)

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   09/03/2010                158 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                 MOTION to Dismiss Plaintiffs Allegations of Indirect Infringement and Willful
                                 Infringement for Failure to State a Claim by Dell, Inc.,. (Attachments:# 1 Text of
                                 Proposed Order)(Fulglunn, Roger) Modified on 9/8/2010 (~c, ). (Entered:
                                 09/03/2010)
   09/03/2010                159 ANSWER and AFFIRMATIVE DEFENSES to 111 Atmnded Complaint, by Phoebe
                                 Micro Inc .. (mll,) (Entered: 09/07/2010)
   09/07/2010                160 E-GOV SEALED SUMMONS REISSUED as to J&RELECTRONICS INC. D/B/A
                                 J&R (mll,) (Entered: 09/07/2010)
   09/07/2010                         NOTICE of Deficiency regarding the 152 Motion to Join submitted by Jasco Products
                                      Company LLC D/B/A Jasco Products Company D/B/A Jasco. Docmnent does not
                                      contain a Certificate of Conference. Correction should be made by one business day.
                                      (~c,) (Entered: 09/07/2010)


   09/07/2010                         NOTICE of Deficiency regarding the 155 Motion to Join submitted by Target Corp.
                                      Docmnent does not contain a Certificate of Conference. Correction should be made by
                                      one business day. (~c,) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      124 is granted pursuant to Local Rule CV-12 fur Baltic Latvian Universal Electronics,
                                      LLC D/B/A Bhre Microphones, LLC D/B/A Bhre Microphone to 10/6/2010. 30 Days
                                      Granted fur Deadline Extension.( mll,) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Complaint 125 is granted pursuant to Local Rule CV-12 fur KOHLS
                                      CORPORATION D/B/A KOHL'S to 9/17/2010; Sakar, Inc. to 9/17/2010; Kohl's
                                      Illinois, Inc. to 9/17/2010. 14 Days Granted fur Deadline Extension.( mll,) (Entered:
                                      09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Complaint 13 7 is granted pursuant to Local Rule CV-12 fur Eastman Kodak Company
                                      to 9/17/2010. 14 Days Granted fur Deadline Extension.( mll, ) (Entered: 09/07/201 0)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Complaint 138 is granted pursuant to Local Rule CV-12 fur Overstock.com, Inc. to
                                      9/17/2010. 13 Days Granted fur Deadline Extension.( mll,) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Complaint 139 is granted pursuant to Local Rule CV-12 fur Sears Brands, LLC to
                                      9/17/2010. 8 Days Granted fur Deadline Extension.( mll,) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Complaint 140 is granted pursuant to Local Rule CV-12 fur Sears Holdings
                                      Corporation D/B/A Sears to 9/17/2010. 12 Days Granted fur Deadline Extension.( mll,
                                      ) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
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                                      Comp1aint 141 is granted pursuant to Local Rule CV-12 fur Sears, Roebuck and
                                      Company to 9/17/2010. 12 Days Granted fur Deadline Extension.( mD,) (Entered:
                                      09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp1aint 142 is granted pursuant to Local Rule CV-12 fur KMart Corporation to
                                      9/17/2010. 12 Days Granted fur Deadline Extension.( mD,) (Entered: 09/07/2010)

   09/07/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      143 is granted pursuant to Local Rule CV-12 fur CDW, Inc. to 9/17/2010; CDW
                                      Corporation FIK/A CDW Computer Centers, Inc. to 9117/2010. 15 Days Granted fur
                                      Deadline Extension.( mD,) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp1aint 146 is granted pursuant to Local Rule CV-12 fur Trippe Manufacturing
                                      Company D/B/A Tripp Lite to 9/14/2010. 7 Days Granted fur Deadline Extension.( mD,
                                      ) (Entered: 09/07/2010)
   09/07/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Comp1aint 149 is granted pursuant to Local Rule CV-12 fur Jwin Electronics
                                      Corporation to 9/14/2010. 7 Days Granted fur Deadline Extension.( mD,) (Entered:
                                      09/07/2010)
   09/07/2010                161 NOTICE by Jasco Products Company LLC D/B/A Jasco Products Company D/B/A
                                 Jasco re 147 MOTION to Dismiss [PARTIAL} FOR FAILURE TO STATE A
                                 CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL} FOR FAILURE TO
                                 STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL] FOR
                                 FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) (NOTICE OF JOINDER)
                                 (Smith, Michael) (Entered: 09/07/201 0)
   09/07/2010                162 NOTICE by Target Corp. re 147 MOTION to Dismiss [PARTIAL} FOR FAILURE
                                 TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL} FOR
                                 FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                 [PARTIAL] FORFAILURE TOSTATEA CLAIM, F.RC.P.12(B)(6) (NOTICE
                                 OF JOINDER) (Smith, Michael) (Entered: 09/07/2010)
   09/07/2010                163 Defendant Amazon. com, Inc. s ANSWER to 111 Amended Comp1aint,,, For
                                 Patent Infringement, COUNTERCLAIM againstAdjustaCamLLC by Amazon.com,
                                 Inc .. (Geringer, Jrures) (Entered: 09/07/2010)
   09/08/2010                         ***FILED IN ERROR. Document# 158 , Motion to Dismiss. CORRECTED
                                      DOCUMENT TO BE FILED BY ATTY. PLEASE IGNORE.***
                                      (~c,) (Entered: 09/08/2010)

   09/08/2010                164 MOTION to Dismiss Plaintiff's Allegations of Indirect Infringement and Willful
                                 Infringement for Failure to State a Claim (Corrected) by DeD, Inc.,. (Attachments:#
                                 1 Text ofProposed Order)(Fulghum, Roger) (Entered: 09/08/2010)
   09/08/2010                165 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attachments: # 1 Text of

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                                      Proposed Order)(Robinson, Erick) (Entered: 09/08/2010)
   09/08/2010                166 NOTICE ofDisclosure by Compusa.com, Inc., New Compusa Corporation,
                                 Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc. Fed.RCiv.P. 7.1 Disclosure
                                 Statement (Denenberg, David) (Entered: 09/08/2010)

   09/08/2010                167 ***DISREGARD ENTRY- NOT SEARCHABLE PDF***

                                      Defendants COMPUSA. COM, INC.'S, NEW COMPUSA CORP.'S, SYSTEMAX
                                      INC.'S AND TIGERDIRECT, INC.'S ANSWER to 111 Amended Comp1aint,,,
                                      COUNTERCLAIM against AdjustaCam LLC by Systemax, Inc. D/B/A Compusa,
                                      Tigerdirect, Inc., New Compusa Corporation, Compusa.com, Inc .. (Denenberg, David)
                                      Modified on 9/10/2010 (Ids,). (Entered: 09/08/2010)
   09/08/2010                168 NOTICE byRadioshack Corporationre 147 MOTION to Dismiss [PARTIAL] FOR
                                 FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                 [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to
                                 Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6)
                                 (Notice of Joinder) (Smith, Michael) (Entered: 09/08/2010)

   09/08/2010                169 ANSWER to 111 Amended Comp1aint,,, by Radioshack Corporation.(Smith,
                                 Michael) (Entered: 09/08/2010)
   09/08/2010                170 CORPORATE DISCWSURE STATEMENT filed by Radioshack Corporation
                                 identifYing Corporate Parent None fur Radioshack Corporation. (Smith, Michael)
                                 (Entered: 09/08/2010)
   09/09/2010                171 Newegg Inc. and Newegg.com Inc. s ANSWER to 111 Amended Comp1aint,,,,
                                 COUNTERCLAIM and Affirmative Defenses against AdjustaCam LLC by
                                 Newegg.com, Inc., Newegg, Inc .. (Stewart, Justin) (Entered: 09/09/2010)
   09/09/2010                172 Rosewill Inc. s ANSWER to 111 Amended Comp1aint,,,, COUNTERCLAIM and
                                 Affirmative Defenses against AdjustaCam LLC by Rosewill Inc .. (Stewart, Justin)
                                 (Entered: 09/09/2010)

   09/09/2010                173 CORPORATE DISCWSURE STATEMENT filed byNewegg, Inc., Newegg.com,
                                 Inc. (Stewart, Justin) (Entered: 09/09/2010)
   09/09/2010                174 CORPORATE DISCWSURE STATEMENT filed by Rosewill Inc. identifYing
                                 Corporate Parent N ewegg Inc., Corporate Parent Magnell Associate Inc. fur Rosewill
                                 Inc., Rosewill Inc .. (Stewart, Justin) (Entered: 09/09/201 0)
   09/09/2010                175 NOTICE by N ewegg, Inc., N ewegg.com, Inc. re 164 MOTION to Dismiss Plaintiffs
                                 Allegations of Indirect Infringement and Willful Infringement for Failure to State
                                 a Claim (Corrected) (Stewart, Justin) (Entered: 09/09/2010)

   09/09/2010                176 NOTICE by Rosewill Inc. re 164 MOTION to Dismiss Plaintiffs Allegations of
                                 Indirect Infringement and Willful Infringement for Failure to State a Claim
                                 (Corrected) (Stewart, Justin) (Entered: 09/09/2010)


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   09/10/2010                177 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                 CompJaint re Lifeworks Teclmology Group, LLC.( Maloney, Collin) (Entered:
                                 09/10/2010)
   09/10/2010                178 CORPORATE DISCWSURE STATEMENT filed by Compusa.com, Inc., New
                                 Compusa Corporation, Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc. (Denenberg,
                                 David) (Entered: 09/10/2010)
   09/10/2010                179 RESPONSE to 111 Arrended Complaint,,, Defendants' Compusa.com, Inc. s, New
                                 Compusa Corp. s, Systemax Inc. s and Tigerdirect, Inc. s Answer to Plaintiffs
                                 First Amended Complaint by Compusa.com, Inc., New Compusa Corporation,
                                 Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc .. (Denenberg, David) (Entered:
                                 09/10/2010)
   09/13/2010                180 NOTICE by Dell, Inc., re 164 MOTION to Dismiss Plaintiffs Allegations of
                                 Indirect Infringement and Willful Infringement for Failure to State a Claim
                                 (Corrected) Notice ofAdditional Authority (Attachments: # 1 Exhibit A)(Fulghum,
                                 Roger) (Entered: 09/13/2010)
   09/13/2010                181      Conn s, Inc., d/b/a Conn s ANSWER to 1 Complaint,,, Defenses and,
                                      COUNTERCLAIM against AdjustaCam LLC by CONNS, INC. D/B/A CONNS.
                                      (Adam;, Kent) (Entered: 09/13/2010)
   09/13/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      CompJaint 177 is granted pursuant to Local Ru1e CV-12 fur Lifeworks Teclm.ology
                                      Group, LLC to 9/17/2010. 5 Days Granted fur Deadline Extension( m1I,) (Entered:
                                      09/13/2010)


   09/14/2010                182 Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                 re Trippe Manufitcturing Company D/B/A Tripp Lite.( Saret, Larry) (Entered:
                                 09/14/2010)
   09/14/2010                183 Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                 re Jwin Electronics Corporation( Jones, Michael) (Entered: 09/14/201 0)
   09/14/2010                184 ORDER granting 165 Notice ofVohmtaryDismissalfiled by AdjustaCamLLC. Phfs
                                 cJaims against deft Walgreen Co are dismissed without prejudice. Signed by Judge
                                 Leonard Davis on 09/14/10. cc:attys 9-15-1 O(mll, ) (Entered: 09/15/201 0)
   09/15/2010                185 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attachments: # 1 Text of
                                 Proposed Order Prposed Order)(Ed.m>nds, Jolm.) (Entered: 09/15/2010)
   09/15/2010                186 Unopposed MOTION to Withdraw as Attorney Michael E. Jones and Allen F.
                                 Gardner of the Potter Minton, PC law firm by Jwin Electronics Corporation
                                 (Attachments:# 1 Text ofProposed Order)(Jones, Michael) (Entered: 09/15/2010)
   09/15/2010               .l.81 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      reCreative Labs, lnc.,.(Daniels, Steven) (Entered: 09/15/2010)
   09/16/2010                         Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
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                                      182 is granted pursuant to Local Rule CV-12 fur Trippe Manu.:tacturing Company
                                      D/B/A Tripp Lite to 9/20/2010. 6 Days Granted fur Deadline Extension.( mD,)
                                      (Entered: 09/16/2010)
   09/16/2010                         Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                      183 is granted pursuant to Local Rule CV-12 fur Jwin Electronics Corporation to
                                      9/2112010. 7 Days Granted fur Deadline Extension.( mD,) (Entered: 09/16/2010)
   09/16/2010                         Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint
                                      187 is granted pursuant to Local Rule CV-12 fur Creative Labs, Inc., to 9/23/2010. 7
                                      Days Granted fur Deadline Extension.( mD,) (Entered: 09/16/2010)
   09/16/2010                188 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                 Defendant Sakar International, Inc. s Answer to Amended Complaint, Affirmative
                                 Defenses, Counterclaims, and Jury Demand ANSWER to 111 Arrended
                                 Comp1aint,,,, COUNTERCLAIM against AdjustaCam LLC by Sakar lnternationa~
                                 Inc .. (Sutton, Ezra) Modified on 9/20/2010 (~c, ). (Entered: 09/16/2010)

   09/16/2010                189 ORDER granting 186 Motion to Withdraw as Attorney. Attorney Allen Franklin
                                 Gardner and Michael E Jones terminated. Signed by Judge Leonard Davis on 09/16/10.
                                 cc:attys 9-16-10 (mD, ) (Entered: 09/16/201 0)
   09/16/2010                190 Unopposed MOTION fur Extension ofTime to File Answer re 111 Arrended
                                 Comp1aint,,, by KMart Corporation, Overstock. com, Inc., Sears Brands, LLC, Sears
                                 Holdings Corporation D/B/A Sears, Sears, Roebuck and Company. (Attachments:# 1
                                 Text ofProposed Order proposed Order)(Barr, Jolm) (Entered: 09/16/201 0)
   09/17/2010                191 Defendant j WIN Electronics Corps Original ANSWER to 111 Arrended
                                 Comp1aint,,, by Jwin Electronics Corporation.(Werner, Philip) (Entered: 09/17/201 0)
   09/17/2010                192 Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                 re Software Brokers of Arrerica Inc. DBA Intcomex Corporation D/B/A Intcomex.(
                                 Wong, Russell) (Entered: 09/17/2010)
   09/17/2010                193 Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                 re Intcomex, Inc .. ( Wong, Russell) (Entered: 09/17/2010)
   09/17/2010                194 Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                 re Klip Extreme LLC.( Wong, Russell) (Entered: 09/17/2010)
   09/17/2010                195 E-GOV SEALED SUMMONS Issued as to SOLID YEAR CO., LTD. (kls,)
                                 (Entered: 09/17/201 0)
   09/17/2010                196 NOTICE by Fry's Electronics Inc re 164 MOTION to Dismiss Plaintiffs Allegations
                                 of Indirect Infringement and Willful Infringement for Failure to State a Claim
                                 (Corrected), 180 Notice (Other), Notice (Other) Notice ofJoinder (Daniels, Steven)
                                 (Entered: 09/17/201 0)
   09/17/2010                197 NOTICE by Hewlett-Packard Company re 164 MOTION to Dismiss Plaintiffs
                                 Allegations of Indirect Infringement and Willful Infringement for Failure to State
                                 a Claim (Corrected), 180 Notice (Other), Notice (Other) Notice of Joinder (Daniels,
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                                      Steven) (Entered: 09/17/201 0)
   09/17/2010                198 NOTICE by Micro Electronics, Inc. DBA Micro Center re 164 MOTION to Dismiss
                                 Plaintiff's Allegations of Indirect Infringement and Willful Infringement for
                                 Failure to State a Claim (Corrected), 180 Notice (Other), Notice (Other) Notice of
                                 Joinder (Daniels, Steven) (Entered: 09/17/201 0)

   09/17/2010                199 NOTICE by Office Depot, Inc. re 164 MOTION to Dismiss Plaintiff's Allegations of
                                 Indirect Infringement and Willful Infringement for Failure to State a Claim
                                 (Corrected), 180 Notice (Other), Notice (Other) Notice ofJoinder (Daniels, Steven)
                                 (Entered: 09/17/201 0)
   09/17/2010               200 Defendants Kohl's fllinois, Inc. and Kohl's Corporation's Answer to Amended
                                Complaint, Affirmative Defenses, Counterclaims, and Jury Demand ANSWER to
                                1 Comp1aint,,,, COUNTERCLAIM against AdjustaCam LLC by Kohl's 11linois, Inc.,
                                KOHLS CORPORATION D/B/A KOHL'S.(Sutton, Ezra) (Entered: 09/17/2010)
   09/17/2010               201       ANSWER to 111 Amended Comp1aint,,, by Fry's Electronics lnc.(Daniels, Steven)
                                      (Entered: 09/17/2010)
   09/17/2010               202 ANSWER to 111 Amended Comp1aint,,, by Office Depot, Inc .. (Daniels, Steven)
                                (Entered: 09/17/201 0)
   09/17/2010               203       ANSWER to 111 Amended Comp1aint,,, by Hewlett-Packard Company.(Daniels,
                                      Steven) (Entered: 09/17/201 0)
   09/17/2010               204 ANSWER to 111 Amended Comp1aint,,, by Micro Electronics, Inc. DBA Micro
                                Center.(Daniels, Steven) (Entered: 09/17/201 0)
   09/17/2010               205 CORPORATE DISCWSURE STATEMENT filed by Micro Electronics, Inc. DBA
                                Micro Center (Daniels, Steven) (Entered: 09117/2010)
   09/17/2010               206 CORPORATE DISCWSURE STATEMENT filed by Hewlett-Packard Company
                                (Daniels, Steven) (Entered: 09/17/201 0)
   09/17/2010               207 CORPORATE DISCWSURE STATEMENT filed by Fry's Electronics Inc (Daniels,
                                Steven) (Entered: 09117/201 0)
   09/17/2010               208 ORDER granting 190 Motion fur Extension ofTime to Answer. Defts Overstock.com,
                                Krnart Corporation, and Sears defundants sballbave to 10-01-2010 to answer or
                                otherwise respond to phfs First Amended Comp1aint. Signed by Judge Leonard Davis
                                on 09/17/10. cc:attys 9-17-10 (rnll, ) (Entered: 09/17/201 0)
   09/17/2010               209 ANSWER to 1 Comp1aint,,, by Gear Head, LLC.(Harmmnd, Herbert) (Entered:
                                09/17/2010)

   09/17/2010               210 CORPORATE DISCWSURE STATEMENT filed by Office Depot, Inc. identifYing
                                Other Affiliate AllianceBernstein L.P. fur Office Depot, Inc .. (Daniels, Steven) (Entered:
                                09/17/2010)
   09/17/2010               211       ANSWER to 111 Amended Comp1aint,,, by Lifuworks Teclmology Group, LLC.
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                                      (Maloney, Collin) (Entered: 09/17/201 0)
   09/17/2010               212 NOTICE of Attorney Appearance by Vishal Hemant Patel on behalf of Gear Head,
                                LLC (Pate~ Vishal) (Entered: 09/17/201 0)
   09/17/2010               213 NOTICE by L:ifuworks Teclmology Group, LLC re 164 MOTION to Dismiss
                                Plaintiff's Allegations of Indirect Infringement and Willful Infringement for
                                Failure to State a Claim (Corrected), 180 Notice (Other), Notice (Other) Of
                                Joinder (Maloney, Collin) (Entered: 09/17/201 0)

   09/17/2010               214 ANSWER to 111 Amended Complaint,,, by CDW, LLC.(Duston, Thomas) (Entered:
                                09/17/2010)
   09/17/2010               215 CORPORATE DISCLOSURE STATEMENT filed by CDW, LLC identifYing
                                Corporate Parent VH Holdings, Inc. fur CDW, LLC. (Duston, Thomas) (Entered:
                                09/17/2010)
   09/17/2010               216 Consent MOTION fur Extension ofTime to File Answer re 111 Amended
                                Complaint,,, up to and including October 6, 2010 by Blue Microphones, LLC.
                                (Attachments: # 1 Text ofProposed Order)(Jones, Michael) (Entered: 09/17/201 0)
   09/20/2010               217 ORDER granting 185 Notice ofVohmtaryDismissalfiled by AdjustaCamLLC. Pltfs
                                claims against deft Eastman Kodak Company are DISMISSED without prejudice.
                                Signed by Judge Leonard Davis on 09/20/10. cc:attys 9-20-10(mll,) (Entered:
                                09/20/2010)
   09/20/2010               218 ORDER granting 216 Motion fur Extension ofTime to Answer. The deadline fur deft
                                Blue Microphones LLC to answer, move or otherwise respond to pltfs First Amended
                                Complaint is extended to 10-06-2010. Signed by Judge Leonard Davis on 09/20/10.
                                cc:attys 9-20-10 (mil,) (Entered: 09/20/2010)
   09/20/2010               219 Unopposed MOTION for Extension of Time to File Response/Reply as to 147
                                MOTION to Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P.
                                12(B)(6) MOTION to Dismiss [PARTIAL] FOR FAlLURE TO STATE A CLAIM,
                                F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL] FOR FAILURE TO STATE A
                                CLAIM, F.RC.P. 12(B)(6) by AdjustaCamLLC. (Attachments:# 1 Text ofProposed
                                Order Proposed Order)(Robinson, Erick) (Entered: 09/20/2010)

   09/20/2010                         NOTICE of Deficiency regarding the 188 Answer to Amended Complaint submitted by
                                      Sak:ar Internationa1, Inc. Docl.llrent does not contain a Certificate of Service. Correction
                                      should be made by one business day. (n]c,) (Entered: 09/20/2010)
   09/21/2010                         Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                      192 is granted pursuant to Local Ru1e CV-12 fur Software Brokers ofAmerica Inc.
                                      DBA Intcorrex Corporation D/B/A Intcorrex to 10/5/2010. 14 Days Granted fur
                                      Deadline Extension.( mil,) (Entered: 09/21/2010)
   09/21/2010                         Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                      193 is granted pursuant to Loca1Ru1e CV-12 fur lntcomex, Inc. to 10/5/2010. 14 Days
                                      Granted fur Deadline Extension.( mil,) (Entered: 09/21/2010)
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   09/2112010                         Defendant's Unopposed Third Application fur Extension ofTime to Answer Complaint
                                      194 is granted pursuant to Local Rule CV-12 fur Klip Extreme LLC to 10/5/2010. 14
                                      Days Granted fur Deadline Extension.( mD,) (Entered: 09/2112010)
   09/2112010               220 Defendant Sakar International, Inc. s Answer to Amended Complaint, Affirmative
                                Defenses, Counterclaims, and Jury Demand ANSWER to 1 Complaint,,,,
                                COUNTERCLAIM against AdjustaCam LLC by Sakar Internationa~ Inc .. (Sutton,
                                Ezra) (Entered: 09/2112010)
   09/2112010               221       ***DISREGARD ENTRY- NOT .pdf SEARCHABLE FORMAT***

                                      Defendant Kohls Answer to Amended Complaint, Affirmative Defenses,
                                      Counterclaims, and Jury Demand ANSWER to 111 Amended Complaint,,,,
                                      COUNTERCLAIM against AdjustaCam LLC by Kohl's Illinois, Inc., KOHLS
                                      CORPORATION D/B/A KOHL'S.(Sutton, Ezra) Modified on 9/23/2010 (Ids,).
                                      (Entered: 09/2112010)
   09/2112010               222 ORDER granting 219 Motion fur Extension ofTime to File Response/Reply re 147
                                MOTION to Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P.
                                12(B)(6); Responses due by 9/24/2010. Signed by Judge Leonard Davis on 09/21110.
                                cc:attys 9-21-10 (mD,) (Entered: 09/21/2010)

   09/2112010               223       CORPORATE DISCLOSURE STATEMENT filed by Gear Head, LLC (Hamrrond,
                                      Herbert) (Entered: 09/2112010)
   09/2112010               224 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                Unopposed MOTION fur Extension ofTime to File Answer of Defendant Trippe
                                Manufacturing Company by AdjustaCam LLC. (Robinson, Erick) Modified on
                                9/23/2010 (111ic, ). (Entered: 09/2112010)
   09/23/2010               225 Defendant's Unopposed Fomth Application fur Extension ofTime to Answer Complaint
                                re Trippe Manufacturing Company.( Robinson, Erick) (Entered: 09/23/2010)
   09/23/2010               226 NOTICE by Creative Labs, Inc., re 164 MOTION to Dismiss Plaintiff's Allegations
                                of Indirect Infringement and Willful Infringement for Failure to State a Claim
                                (Corrected), 180 Notice (Other), Notice (Other) Notice ofJoinder (Daniels, Steven)
                                (Entered: 09/23/2010)
   09/23/2010               227 ANSWER to 111 Amended Complaint,,, by Creative Labs, Inc.,.(Daniels, Steven)
                                (Entered: 09/23/2010)
   09/23/2010               228 CORPORATE DISCLOSURE STATEMENT filed by Creative Labs, Inc., identifYing
                                Corporate Parent Creative Holdings, Inc., Other Affiliate Creative Technology Ltd. fur
                                Creative Labs, Inc.,. (Daniels, Steven) (Entered: 09/23/2010)
   09/23/2010                         NOTICE of Deficiency regarding the 224 Unopposed Motion fur Extension of Time
                                      submitted by Trippe Manufacturing Company D/B/A Tripp Lite. Document is the
                                      Unopposed Application fur Extension ofTime. Correction should be made by one
                                      business day (111ic,) (Entered: 09/23/2010)
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   09/24/2010                         Defendant's Unopposed Fomth Application fur Extension ofTitm to Answer Complaint
                                      225 is granted pursuant to Local Rule CV-12 fur Trippe Manufucturing Company
                                      D/B/A Tripp Lite to 9/24/2010. 4 Days Granted fur Deadline Extension (Filed bypltf
                                      on behalf of deft.)( m1I,) (Entered: 09/24/2010)
   09/24/2010               229 NOTICE of Attorney Appearance by Michael James Collins on behalf of AdjustaCam
                                LLC (Collins, Michael) (Entered: 09/24/2010)
   09/24/2010               230 Defendant Sakar International, Inc. s Answer to Amended Complaint, Affirmative
                                Defenses, Counterclaims, and Jury Demand ANSWER to 220 Answer to
                                CompJaint, Cotmterclaim, COUNTERCLAIM against AdjustaCam.LLC by Sakar
                                lntemationa~ Inc .. (Sutton, Ezra) (Entered: 09/24/2010)

   09/24/2010               231       Defendant Kohls Answer to Amended Complaint, Affirmative Defenses,
                                      Counterclaims, and Jury Demand ANSWER to 221 Answer to Amended Complaint,
                                      Cotmterclaim,, COUNTERCLAIM against AdjustaCam LLC by Kohl's Illinois, Inc.,
                                      KOHLS CORPORATION D/B/A KOHL'S.(Sutton, Ezra) (Entered: 09/24/2010)
   09/24/2010               232 Amended ANSWER to 111 Amended Complaint,,, by Gear Head, LLC.(Hamrrond,
                                Herbert) (Entered: 09/24/2010)
   09/24/2010               233 NOTICE of Attorney Appearance by Herbert A Yarbrough, III on behalf ofN ewegg,
                                Inc., Newegg.com, Inc., Rosewilllnc. (Yarbrough, Herbert) (Entered: 09/24/2010)
   09/24/2010               234 NOTICE of Attorney Appearance by Debra Elaine Gtmter on behalf ofNewegg, Inc.,
                                Newegg.com, Inc., Rosewilllnc. (Gtmter, Debra) (Entered: 09/24/2010)
   09/24/2010               235 RESPONSEinOppositionre 147 MOTION to Dismiss [PARTIAL] FOR FAILURE
                                TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss [PARTIAL] FOR
                                FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                [PARTIAL] FORFAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6)filed by
                                AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order)(Robinson, Erick)
                                (Entered: 09/24/2010)
   09/24/2010               236 APPLICATION to Appear Pro Hac Vice by Attorney M Kala Sarvaiya fur Baltic
                                Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue
                                Microphone, Blue Microphones, LLC. (mll,) (Entered: 09/27/2010)
   09/24/2010               237 APPLICATION to Appear Pro Hac Vice by Michael D Harris fur Blue Microphones,
                                LLC and Latvian Universal Electronics, LLC. (mll,) (Entered: 09/27/2010)
   09/27/2010               238 Unopposed MOTION to Withdraw as Attorney and Substitute Counsel by
                                Radioshack Corporation (Attachments:# 1 Text ofProposed Order)(Smith, Michael)
                                (Entered: 09/27/2010)
   09/27/2010               239 ANSWER and AFFIRMATIVE DEFENSES to 1 Complaint by Phoebe Micro Inc ..
                                (mll,) (Entered: 09/27/2010)
   09/27/2010               240 ANSWER to 150 Answer to Amended Complaint, Counterclaim of Defendant Dell,
                                Inc. by AdjustaCam.LLC.(Edmmds, John) (Entered: 09/27/2010)

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   09/27/2010               241       STIPULATION ofDismissal of Defendant Trippe Manufacturing Company by
                                      AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order Proposed Order)
                                      (Robinson, Erick) (Entered: 09/27/2010)

   09/27/2010               242       RESPONSE in Opposition re 164 MOTION to Dismiss Plaintiff's Allegations of
                                      Indirect Infringement and Willful Infringement for Failure to State a Claim
                                      (Corrected) filed by AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order)
                                      (Robinson, Erick) (Entered: 09/27/2010)

   09/27/2010               243       APPLICATION to Appear Pro Hac Vice by Attorney Jen-Feng Lee fur Auditek
                                      Corporation (rnll,) (Entered: 09/28/2010)

   09/28/2010               244       ANSWER to 171 Answer to Amended Comp1aint, Counterc1aim of Defendants
                                      Newegg Inc. and Newegg.com Inc. by AdjustaCamLLC.(E<hronds, Jolrn.) (Entered:
                                      09/28/2010)

   09/28/2010               245       ANSWER to 172 Answer to Amended Comp1aint, Counterc1aim of Defendant
                                      Rosewill, Inc. by AdjustaCamLLC.(E<hronds, Jolrn.) (Entered: 09/28/2010)
   09/28/2010               246       ANSWER to 167 Answer to Amended Comp1aint, Counterclaim,, ofDefendants
                                      CompUSA.com, Inc., New CompUSA Corp., TigerDirect, Inc. and Systemax, Inc.
                                      by AdjustaCamLLC.(E<hronds, Jolrn.) (Entered: 09/28/2010)

   09/28/2010               247       ANSWER to 163 Answer to Amended Comp1aint, Counterc1aim of Defendant
                                      Amazon.com, Inc. by AdjustaCamLLC.(E<hronds, Jolrn.) (Entered: 09/28/2010)
   09/29/2010               248       APPLICATION to Appear Pro Hac Vice by Attorney N ena W Wong fur Phoebe
                                      Micro Inc .. (rnll,) (Entered: 09/29/2010)

   09/30/2010               249       Defendant's Unopposed First Application fur Extension ofTime to Answer Comp1aint
                                      re J&R ELECTRONICS INC. D/B/A J&R( Henson, Waher) (Entered: 09/30/2010)

   10/01/2010               250       Original ANSWER to 111 Amended Comp1aint,,, and, COUNTERCLAIM against
                                      AdjustaCam LLC by KMart Corporation (Barr, Jolrn.) (Entered: 10/01/201 0)

   10/01/2010               251       NOTICE ofDisclosure by CONNS, INC. D/B/A CONNS Corporate Disclosure
                                      Statement (Adarm, Kent) (Entered: 10/01/2010)
   10/01/2010               252       Original ANSWER to 111 Amended Comp1aint,,, and, COUNTERCLAIM against
                                      AdjustaCamLLC byOverstock.com, Inc .. (Barr, Jolrn.) (Entered: 10/01/2010)

   10/01/2010               253       Original ANSWER to 111 Amended Comp1aint,,, and, COUNTERCLAIM against
                                      AdjustaCam LLC by Sears Ho1dings Corporation D/B/A Sears, Sears, Roebuck and
                                      Company, Sears Brands, LLC.(Barr, Jolrn.) (Entered: 10/01/2010)

   10/01/2010               254       NOTICE of Disclosure by Overstock. com, Inc. (Barr, Jolrn.) (Entered: 10/011201 0)

   10/01/2010               255       CORPORATE DISCWSURE STATEMENT filed by KMart Corporation, Sears
                                      Brands, LLC, Sears Hokiings Corporation D/B/A Sears, Sears, Roebuck and
                                      Company (Barr, Jolrn.) (Entered: 10/01/2010)


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   10/0112010               257 APPLICATION to Appear Pro Hac Vice by Attorney Thorms Carulli fur Lifuworks
                                Technology Group, LLC. (mll, ) (Entered: 10/04/201 0)
   10/01/2010               258 APPLICATION to Appear Pro Hac Vice by Attorney Jennifur Huang fur Lifuworks
                                Technology Group, LLC. (mll,) (Entered: 10/04/2010)
   10/04/2010               256 REPLY to Response to Motionre 147 MOTION to Dismiss [PARTIAL] FOR
                                FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to Dismiss
                                [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to
                                Dismiss [PARTIAL] FOR FAlLURE TO STATE A CLAIM, F.R C.P. 12(B)(6) filed
                                by Wal-Mart Stores, Inc .. (deGyarfus, Victor) (Entered: 10/04/2010)

   10/05/2010               259 ***MOTION WITHDRAWN BY DOCUMENT #289***

                                      Unopposed MOTION fur Extension ofTirre to File Response/Reply as to 179
                                      Response to Non-Motion, by AdjustaCamLLC. (Attaclnrents: # 1 Text ofProposed
                                      Order Proposed Order)(Edrronds, John) Modified on 10/8/2010 (Ids,). (Entered:
                                      10/05/2010)
   10/05/2010               260 ANSWER to 181 Answer to Comp1aint, Counterc1airn by AdjustaCamLLC.
                                (Edmonds, John) (Entered: 10/05/2010)
   10/05/2010               261       NOTICE by Overstock. com, Inc. re 164 MOTION to Dismiss Plaintiffs Allegations
                                      of Indirect Infringement and Willful Infringement for Failure to State a Claim
                                      (Corrected), 180 Notice (Other), Notice (Other) of Joinder (Barr, John) (Entered:
                                      10/05/2010)
   10/05/2010               262 NOTICE by KMart Corporation re 164 MOTION to Dismiss Plaintiffs Allegations
                                      of Indirect Infringement and Willful Infringement for Failure to State a Claim
                                      (Corrected), 180 Notice (Other), Notice (Other) of Joinder (Barr, John) (Entered:
                                      10/05/2010)
   10/05/2010               263       SUPPLEMENTAL CORPORATE DISCLOSURE STATEMENT filed by CDW,
                                      LLC identifYing Corporate Parent CDW Corporation ofDe1aware fur CDW, LLC.
                                      (Horton, Benjamin) (Entered: 10/05/2010)
   10/05/2010               264 NOTICE by Sears Brands, LLC re 164 MOTION to Dismiss Plaintiffs Allegations
                                      of Indirect Infringement and Willful Infringement for Failure to State a Claim
                                      (Corrected), 180 Notice (Other), Notice (Other) Notice ofJoinder (Barr, John)
                                      (Entered: 10/05/2010)
   10/05/2010               265 NOTICE by Sears Holdings Corporation D/B/A Sears re 164 MOTION to Dismiss
                                      Plaintiff's Allegations of Indirect Infringement and Willful Infringement for
                                      Failure to State a Claim (Corrected), 180 Notice (Other), Notice (Other) Notice of
                                      Joinder (Barr, John) (Entered: 10/05/2010)

   10/05/2010               266 NOTICE by Sears, Roebuck and Company re 164 MOTION to Dismiss Plaintiffs
                                      Allegations of Indirect Infringement and Willful Infringement for Failure to State
                                      a Claim (Corrected), 180 Notice (Other), Notice (Other) Notice of Joinder (Barr,
                                      John) (Entered: 10/05/2010)
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   10/05/2010               267 AMENDED ANSWER to Plaintiffs First 111 Atmnded Complaint,,, and First,
                                Atmnded COUNTERCLAIM against AdjustaCam LLC by Overstock. com, Inc ..
                                (Barr, John) (Entered: 10/05/2010)
   10/05/2010               268 AMENDED ANSWER to Plaintiffs First 111 Atmnded Complaint,,, and First,
                                Atmnded COUNTERCLAIM against AdjustaCam LLC by KMart Corporation
                                (Barr, John) (Entered: 10/05/2010)
   10/05/2010               269 AMENDED ANSWER to Plaintiffs First 111 Atmnded Complaint,,, and First,
                                Atmnded COUNTERCLAIM against AdjustaCam LLC by Sears Holdirlgfi
                                Corporation D/B/A Sears, Sears, Roebuck and Company, Sears Brands, LLC. (Barr,
                                John) (Entered: 10/05/2010)
   10/05/2010               270 Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                re Intcomex, Inc .. ( Wong, Russell) (Entered: 10/05/2010)
   10/05/2010               271       Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                      re Software Brokers of.Atmrica Inc. DBA Intcomex Corporation D/B/A Intcomex.(
                                      Wong, Russell) (Entered: 10/05/2010)
   10/05/2010               272 Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                re Klip Extreme LLC.( Wong, Russell) (Entered: 10/05/2010)
   10/06/2010                         Defendant's Unopposed First Application for Extension ofTime to Answer Complaint
                                      249 is granted pursuant to Local Rule CV-12 for J&RELECTRONICS INC. D/B/A
                                      J&R to 111112010. 30 Days Granted for Deadline Extension( mTI,) (Entered:
                                      10/06/2010)
   10/06/2010                         Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                      270 is granted pursuant to LocalRule CV-12 forlntcomex, Inc. to 10/6/2010. 1 Days
                                      Granted for Deadline Extension( mTI,) (Entered: 10/06/2010)
   10/06/2010                         Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                      271 is granted pursuant to Local Rule CV-12 for Software Brokers of.Atmrica Inc.
                                      DBA Intcomex Corporation D/B/A Intcomex to 10/6/2010. 1 Days Granted for
                                      Deadline Extension( mTI, ) (Entered: 10/06/201 0)
   10/06/2010                         Defendant's Unopposed Fomth Application for Extension ofTirre to Answer Complaint
                                      272 is granted pursuant to LocalRule CV-12 forKlip Extreme LLC to 10/6/2010. 1
                                      Days Granted for Deadline Extension( mTI,) (Entered: 10/06/2010)
   10/06/2010               273 REPLY to Response to Motion re 164 MOTION to Dismiss Plaintiff's Allegations of
                                Indirect Infringement and Willful Infringement for Failure to State a Claim
                                (Corrected) filed by Dell, Inc.,. (Attachments: # 1 Exhibit)(Fu1ghmn, Roger) (Entered:
                                10/06/2010)
   10/06/2010               274 MOTION to Dismiss for Lack of Personal Jurisdiction, Improper Venue and
                                Failure to State a Claim or in the Alternative to Transfer to the Southern District
                                of Florida by Intcomex, Inc., Klip Extreme LLC, Software Brokers of Atmrica Inc.
                                DBA Intcomex Corporation D/B/A Intcomex. (Attachments:# 1 Declaration ofRussell

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                                      A. Olson)(Wong, Russell) (Additional attac~nt(s) added on 10/8/2010: # 2 Text of
                                      Proposed Order) (n1ic, ). (Entered: 10/06/2010)
   10/06/2010               275 CORPORATE DISCWSURE STATEMENT filed by Intcorrex, Inc., Klip Extrerre
                                LLC, Software Brokers of Arrerica Inc. DBA Intcorrex Corporation D/B/A Intcorrex
                                (Wong, Russell) (Entered: 10/06/201 0)
   10/06/2010               276 MOTION to Dismiss and Notice ofJoinder in Defendant Wal-Mart Stores, Inc. s
                                and Dell, Inc. s Motions to Dismiss Plaintiffs Allegations of Indirect Infringement
                                and Willful Infringement for Failure to State a Claim by Baltic Latvian Universal
                                Electronics, LLC D/B/A Bhre Microphones, LLC D/B/A Bhre Microphone, Bhre
                                Microphones, LLC. (Attac~nts: # 1 Text ofProposed Order)(Gardner, Allen)
                                (Entered: 10/06/2010)
   10/06/2010               277 CORPORATE DISCWSURE STATEMENT filed by Bahic Latvian Universal
                                Electronics, LLC D/B/A Bhre Microphones, LLC D/B/A Bhre Microphone, Bhre
                                Microphones, LLC identifYing Corporate Parent None fur Baltic Latvian Universal
                                Electronics, LLC D/B/A Bhre Microphones, LLC D/B/A Bhre Microphone, Bhre
                                Microphones, LLC. (Gardner, Allen) (Entered: 10/06/2010)
   10/06/2010               278 Defendant's Unopposed first Application fur Extension ofTirre to Answer Comp1aint re
                                Best Buy Co lnc.(Daniels, Steven) (Entered: 10/06/2010)
   10/06/2010               279 Defendant's Unopposed first Application fur Extension ofTirre to Answer Comp1aint re
                                Best Buy Stores, LP.(Daniels, Steven) (Entered: 10/06/2010)
   10/06/2010               280 Defendant's Unopposed first Application fur Extension ofTirre to Answer Comp1aint re
                                BestBuy.com, LLC.(Daniels, Steven) (Entered: 10/06/2010)
   10/07/2010               281       CORPORATE DISCWSURE STATEMENT filed by Jwin Electronics Corporation
                                      (Wemer, Philip) (Entered: 10/07/201 0)
   10/07/2010               282 NOTICE by Hewlett-Packard Company re 273 Rep1y to Response to Motion, Notice
                                of Joinder (Daniels, Steven) (Entered: 10/07/2010)

   10/07/2010               283 NOTICE by Creative Labs, Inc., re 273 Rep1y to Response to Motion, Notice of
                                Joinder (Daniels, Steven) (Entered: 10/07/201 0)

   10/07/2010               284 NOTICE by Fry's Electronics Inc re 273 Rep1y to Response to Motion, Notice of
                                Joinder (Daniels, Steven) (Entered: 10/07/201 0)

   10/07/2010               285 NOTICE by Office Depot, Inc. re 273 Rep1y to Response to Motion, Notice of
                                Joinder (Daniels, Steven) (Entered: 10/07/201 0)

   10/07/2010               286 NOTICE by Micro Electronics, Inc. DBA Micro Center re 273 Rep1y to Response to
                                Motion, Notice of Joinder (Daniels, Steven) (Entered: 10/07/2010)

   10/07/2010               287 NOTICE by N ewegg, Inc., N ewegg.com, Inc. re 273 Rep1y to Response to Motion,
                                Notice of Joinder (Stewart, Justin) (Entered: 10/07/2010)

   10/07/2010               288 NOTICE by Rosewill Inc. re 273 Rep1y to Response to Motion, Notice of Joinder
                                (Stewart, Justin) (Entered: 10/07/201 0)
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   10/08/2010               289 NOTICE by AdjustaCam LLC re 259 Unopposed MOTION fur Extension of Time to
                                File Response/Rep]y as to 179 Response to Non-Motion, Notice of Withdrawal
                                (Edmonds, John) (Entered: 10/08/2010)
   10/08/2010                         Defendant's Unopposed First Application fur Extension ofTirne to Answer Comp1aint
                                      278 is granted pursuant to Local Rule CV-12 fur Best Buy Co Inc to 10/13/2010. 26
                                      Days Granted fur Deadline Extension.( mD,) (Entered: 10/08/2010)
   10/08/2010                         Defendant's Unopposed First Application fur Extension ofTirne to Answer Comp1aint
                                      279 is granted pursuant to Local Rule CV-12 fur Best Buy Stores, LP to 10/13/2010.
                                      26 Days Granted fur Deadline Extension.( mD,) (Entered: 10/08/2010)
   10/08/2010                         Defendant's Unopposed First Application fur Extension ofTirne to Answer Comp1aint
                                      280 is granted pursuant to Local Rule CV-12 fur BestBuy.com, LLC to 10/13/2010.
                                      26 Days Granted fur Deadline Extension.( mD,) (Entered: 10/08/2010)
   10/08/2010               290 ANSWER to 111 Amended Comp1aint,,,, COUNTERCLAIM against AdjustaCam
                                LLC byMacallyPeripherals, Inc. D/B/A MacallyU.S.A..(Luk:evich, Peter) (Entered:
                                10/08/2010)
   10/11/2010               291       NOTICE by CONNS, INC. D/B/A CONNS re 164 MOTION to Dismiss Plaintiffs
                                      Allegations of Indirect Infringement and Willful Infringement for Failure to State
                                      a Claim (Corrected), 180 Notice (Other), Notice (Other), 273 Rep]yto Response to
                                      Motion, Joinder Thereof(Adams, Kent) (Entered: 10/11/2010)
   10/12/2010               292 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                Comp1aint re Best Buy Co Inc.(Daniels, Steven) (Entered: 10/12/2010)
   10/12/2010               293 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                CompJaint re Best Buy Stores, LP.(Daniels, Steven) (Entered: 10/12/2010)
   10/12/2010               294 Defendant's Unopposed Second Application fur Extension of Time to Answer
                                CompJaintre BestBuy.com, LLC.(Daniels, Steven) (Entered: 10/12/2010)
   10/14/2010               295 NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                Compusa, Tigerdirect, Inc. OF JOINDER IN DEFENDANT DELL INC.'S
                                      CORRECTED MOTION TO DISMISS PLAINTIFF'S ALLEGATIONS OF
                                      INDIRECT INFRINGEMENT AND WILLFUL INFRINGEMENT FOR FAILURE
                                      TO STATE A CLAIM (Denenberg, David) (Entered: 10/14/2010)

   10/14/2010               296 SUR-REPLY to Reply to Response to Motionre 147 MOTION to Dismiss
                                [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6) MOTION to
                                Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P. 12(B)(6)
                                MOTION to Dismiss [PARTIAL] FOR FAILURE TO STATE A CLAIM, F.RC.P.
                                12(B)(6) filed by AdjustaCam LLC. (Attaclnrents: # 1 Exhibit Exhibit A)(Robinson,
                                Erick) (Entered: 10/14/2010)
   10/15/2010                         Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      CompJaint 292 is granted pursuant to Local Rule CV-12 fur Best Buy Co Inc to
                                      10/25/2010. 10 Days Granted fur Deadline Extension.( mD,) (Entered: 10/15/2010)
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   10/15/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Comp1aint 293 is granted pursuant to Local Ru1e CV-12 fur Best Buy Stores, LP to
                                      10/25/2010. 10 Days Granted fur Deadline Extension.( mD,) (Entered: 10/15/2010)
   10/15/2010               297 NOTICE of Attorney Appearance by Roger Brian Craft on behalf ofAmazon. com, Inc.
                                (Craft, Roger) (Entered: 10/15/2010)
   10/15/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      CompJaint 294 is granted pursuant to Local Ru1e CV-12 fur BestBuy.com, LLC to
                                      10/25/2010. 16 Days Granted fur Deadline Extension.( mD,) (Entered: 10/15/2010)
   10/15/2010               298 NOTICE of Attorney Appearance by Eric Hugh Findlay on behalf ofAmazon. com, Inc.
                                (Findlay, Eric) (Entered: 10/15/2010)
   10/15/2010               299 Unopposed MOTION fur Extension ofTirre to File Answer re 200 Answer to
                                CompJaint, Cmmterclaim,, by AdjustaCam LLC. (Attaclnrents: # 1 Text ofProposed
                                Order Proposed Order)(Robinson, Erick) (Entered: 10/15/2010)
   10/15/2010               300 Unopposed MOTION fur Extension ofTirre to File Answer re 230 Answer to
                                Cmmterclaim,, by AdjustaCam LLC. (Attaclnrents: # 1 Text ofProposed Order
                                Proposed Order)(Robinson, Erick) (Entered: 10/15/2010)
   10/15/2010               301       SUR-REPLY to Reply to Response to Motion re 164 MOTION to Dismiss Plaintiffs
                                      Allegations of Indirect Infringement and Willful Infringement for Failure to State
                                      a Claim (Corrected) filed by AdjustaCam LLC. (Attaclnrents: # 1 Exhibit A)
                                      (Robinson, Erick) (Entered: 10/15/2010)
   10/18/2010               302 Unopposed MOTION fur Extension ofTirre to File Response/Reply as to 231 Answer
                                to Counterc]aim,, by AdjustaCam LLC. (Attaclnrents: # 1 Text ofProposed Order
                                Proposed Order)(Robinson, Erick) (Entered: 10/18/2010)
   10/18/2010               303 NOTICE ofVoluntary Dismissal by AdjustaCam LLC (Attaclnrents: # 1 Text of
                                Proposed Order Proposed Order)(Robinson, Erick) (Entered: 10/18/2010)
   10/19/2010               304 ORDER granting 299 Motion fur Extension ofTirre to Answer. Phfs tirre to respond to
                                Kohl's Illinois Inc and Kohl's Corporation's Counterclaims is extended to 10-18-2010.
                                Signed by Judge Leonard Davis on 10/19/10. cc:attys 10-20-10 (mD,) (Entered:
                                10/20/2010)
   10/19/2010               305 ORDER granting 300 Motion fur Extension ofTirre to Answer. Phfs tirre to respond to
                                Sakar International's Counterclaims is extended to 10-18-2010. Signed by Judge
                                Leonard Davis on 10/19/10. cc:attys 10-20-10 (mD,) (Entered: 10/20/2010)
   10/20/2010               306 ORDER granting 302 Motion fur Extension ofTirre to File Response/Reply. Phfs tirre
                                to respond to Kohl's Illinois Inc and Kohl's Corporation's Counterclaims is extended
                                tmtil such tirre as Kohl defts amend their Counterclaims to remove inequitable conduct
                                allegations. Signed by Judge Leonard Davis on 10/20/10. cc:attys 10-20-10 (mD,)
                                (Entered: 10/20/2010)
   10/21/2010               307 Unopposed MOTION fur Extension ofTirre to File Response/Reply as to 274

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                                      MOTION to Dismiss for Lack of Personal Jurisdiction, Improper Venue and
                                      Failure to State a Claim or in the Alternative to Transfer to the Southern District
                                      of Florida by AdjustaCamLLC. (Attaclnnents: # 1 Text ofProposed Order Proposed
                                      Order)(Edmonds, John) (Entered: 10/2112010)
   10/21/2010               308 E-GOV SEALED SUMMONS REISSUED as to Digital Innovations, LLC. (mD, )
                                (Entered: 10/21/2010)

   10/25/2010               309 NOTICE by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC re 164
                                MOTION to Dismiss Plaintiff's Allegations of Indirect Infringement and Willful
                                Infringement for Failure to State a Claim (Corrected), 180 Notice (Other), Notice
                                (Other), 273 Reply to Response to Motion, Notice ofJoinder (Daniels, Steven)
                                (Entered: 10/25/201 0)
   10/25/2010               310 ANSWER to 111 First Amended Complaint by Best Buy Co Inc, Best Buy Stores, LP,
                                BestBuy.com, LLC.(mD,) (Entered: 10/25/2010)
   10/25/2010               311       CORPORATE DISCWSURE STATEMENT filed by Best Buy Co Inc, Best Buy
                                      Stores, LP, BestBuy.com, LLC identifYing Corporate Parent Best Buy Stores, L.P. for
                                      BestBuy.com, LLC; Corporate Parent BBC Property Co. for Best Buy Stores, LP.
                                      (Daniels, Steven) (Entered: 10/25/2010)
   10/25/2010               312 ORDER granting 303 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Phfs
                                claims against deft Trippe Manufuctwing Company are DISMISSED with prejudice.
                                Signed by Judge Leonard Davis on 10/25/10. cc:attys 10-25-10(mD,) (Entered:
                                10/25/2010)
   10/25/2010               313 RESPONSE to 250 Answer to Amended Complaint, Counterclaim of K.Mart by
                                AdjustaCamLLC. (Edmmds, John) (Entered: 10/25/2010)
   10/25/2010               314 RESPONSE to 253 Answer to Amended Complaint, Counterclaim of Sears by
                                AdjustaCamLLC. (Edmonds, John) (Entered: 10/25/2010)
   10/25/2010               315 RESPONSE to 252 Answer to Amended Complaint, Counterclaim of Overstock by
                                AdjustaCamLLC. (Edmonds, John) (Entered: 10/25/2010)
   10/26/2010               316 ORDER granting 307 Motion for Extension ofTime to File Response/Reply re 274
                                MOTION to Dismiss for Lack of Personal Jurisdiction, Improper Venue and
                                Failure to State a Claim or in the Alternative to Transfer to the Southern District
                                of Florida; Responses due by 11/8/2010. Signed by Judge Leonard Davis on
                                10/26/10. cc:attys 10-26-10 (mD,) (Entered: 10/26/2010)
   10/27/2010               317 Unopposed MOTION for Discovery by AdjustaCam LLC. (Attaclnnents: # 1 Text of
                                Proposed Order Proposed Order)(Edmonds, John) (Entered: 10/27/2010)
   10/27/2010               318 Unopposed MOTION for Extension ofTime to File Response/Reply as to 274
                                MOTION to Dismiss for Lack of Personal Jurisdiction, Improper Venue and
                                Failure to State a Claim or in the Alternative to Transfer to the Southern District
                                of Florida by AdjustaCamLLC. (Attaclnnents: # 1 Text ofProposed Order Proposed
                                Order)(Edmonds, John) (Entered: 10/27/2010)
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   10/28/2010               319 ORDER granting 238 Motion to Withdraw as Attorney. Added attorney R David
                                Donoghue,Peter I Sanborn fur Radioshack Corporation Attorney Christopher Michael
                                Joe terminated. Signed by Judge Leonard Davis on 10/28/10. cc:attys 10-28-10 (mll,)
                                (Entered: 10/28/2010)
   10/28/2010               320 ORDER granting 318 Motion fur Extension ofTime to File Response/Reply re 274
                                MOTION to Dismiss for Lack of Personal Jurisdiction, Improper Venue and
                                Failure to State a Claim or in the Alternative to Transfer to the Southern District
                                of Florida; Responses due by 12/27/2010. Signed by Judge Leonard Davis on
                                10/28/10. cc:attys 10-28-10 (mll,) (Entered: 10/28/2010)
   10/29/2010               321       ORDER granting 317 Motion for Discovery. Signed by Judge Leonard Davis on
                                      10/28/10. cc:attys 10-29-10(mll,) (Entered: 10/29/2010)
   1110112010               322 RESPONSE to 111 Arrended Complaint,,, ---Answer to Plaintiffs First Amended
                                Complaint for Patent Infringement by J&R ELECTRONICS INC. D/B/A J&R.
                                (Jones, Michael) (Entered: 111011201 0)
   1110112010               323 CORPORATE DISCLOSURE STATEMENT filed by J&R ELECTRONICS INC.
                                D/B/A J&R identifYing Corporate Parent None fur J&R ELECTRONICS INC. D/B/A
                                J&R. (Jones, Michael) (Entered: 11101/2010)
   1110112010               324 RESPONSE to 290 Answer to Arrended Complaint, Cm.mterclaim ofMacally by
                                AdjustaCamLLC. (Edrmnds, Jolm) (Entered: 1110112010)
   11108/2010               325 Unopposed MOTION fur Extension ofTime to File Answer re 230 Answer to
                                Cm.mterclaim,, by AdjustaCam LLC. (Attaclnrents: # 1 Text ofProposed Order
                                Proposed Order)(Robinson, Erick) (Entered: 11/08/2010)
   11109/2010               326 ORDER granting 325 Motion fur Extension ofTime to Answer re 230 Answer to
                                Cm.mterclaim. ORDERED that Plaintiff AdjustaCam, LLCs time to respond to
                                Defendant Sakar International lnc.s Counterclaims is extended until such time Defendant
                                Sakar International Inc. amends its Counterclaims to remove its inequitable conduct
                                allegations. Signed by Judge Leonard Davis on 1119/2010. (gsg) (Entered: 11/09/2010)

   11115/2010               327 MOTION fur Extension ofTime to File Answer re 111 Arrended Complaint,,, by
                                Digital Innovations, LLC. (Attaclnrents: # 1 Text ofProposed Order)(Philbin, Phillip)
                                (Entered: 11115/201 0)
   11/17/2010               328 ANSWER to 111 Arrended Complaint,,,, COUNTERCLAIM against AdjustaCam
                                LLC by Auditek Corporation(Lee, Jen-Feng) (Entered: 11/17/2010)
   11117/2010               329 ORDER granting 327 Motion fur Extension ofTime to Answer. Deft Digital Innovations
                                LLC shall have unti112-16-2010 to answer or otherwise respond to pltfs Complaint.
                                Signed by Judge Leonard Davis on 11117/10. cc:attys 11-17-10 (mll,) (Entered:
                                11117/2010)
   11117/2010               330 1st Amended ANSWER to 111 Arrended Complaint,,, Affirmative Defenses,
                                COUNTERCLAIM againstAdjustaCamLLC byMacallyPeripherals, Inc. D/B/A
                                Macally U.S.A., Mace Group, Inc .. (Lukevich, Peter) (Entered: 11117/2010)

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   11119/2010               331       Unopposed MOTION fur Extension ofTime to File Answer re 111 Amended
                                      CompJaint,,, or Otherwise Respond by Cobra Digita~ LLC. (Attaclnnents: # 1 Text of
                                      Proposed Order)(Lackey, Waher) (Entered: 11/19/2010)
   11122/2010               332 ORDER granting 331 Motion fur Extension ofTime to Answer. Deft Cobra Digital
                                LLC shall have to 11-26-2010 to rrove, answer, or otherwise respond to pltfs
                                CompJaint. Signed by Judge Leonard Davis on 11122/10. cc:attys 11-22-10 (mil, )
                                (Entered: 11122/2010)
   11129/2010               333 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order Proposed Order)(Edrronds, John) (Entered: 11129/2010)
   11129/2010               334 NOTICE of Attorney Appearance by Eric Hugh Findlay on behalf ofCDW
                                Corporation FIK/A CDW Computer Centers, Inc., CDW, Inc. (Findlay, Eric)
                                (Entered: 11129/2010)
   11129/2010               335 NOTICE of Attorney Appearance by Roger Brian Craft on behalfofCDW
                                Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc. (Craft, Roger)
                                (Entered: 11129/2010)
   11129/2010               336 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order Proposed Order)(Edrronds, John) (Entered: 11129/2010)

   11129/2010               337 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order Proposed Order)(Edrronds, John) (Entered: 11129/2010)
   12/02/2010               338 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order)(Edrronds, John) (Entered: 12/02/2010)
   12/02/2010               339 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order)(Edrronds, John) (Entered: 12/02/2010)
   12/02/2010               340 NOTICE ofVohnrtary Dismissal by AdjustaCam LLC (Attaclnnents: # 1 Text of
                                Proposed Order)(Edrronds, John) (Entered: 12/02/2010)
   12/02/2010               341       ORDER granting 333 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Pltfs
                                      cJaims against deft Klip Xtrerre LLC are dismissed with prejudice. Signed by Judge
                                      Leonard Davis on 12/02/10. cc:attys 12-03-10(mll,) (Entered: 12/03/2010)
   12/02/2010               342 ORDER granting 336 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Pltfs
                                cJaims against deft lntcorrex Inc are DISMISSED with prejudice. Signed by Judge
                                Leonard Davis on 12/02/10. cc:attys 12-03-10(mll,) (Entered: 12/03/2010)
   12/02/2010               343       ORDER granting 33 7 Notice ofVohmtary Dismissal filed by AdjustaCam LLC. Pltfs
                                      cJaims against deft Software Brokers of America Inc are DISMISSED with prejudice.
                                      Signed by Judge Leonard Davis on 12/02/10. cc:attys 12-03-10(mll,) (Entered:
                                      12/03/2010)
   12/03/2010               344 NOTICE by J&R ELECTRONICS INC. D/B/A J&Rfor Termination of Electronic
                                Notices (Henson, Waher) (Entered: 12/03/2010)


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   12/03/2010               345 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attac~nts: # 1 Text of
                                Proposed Order)(Edmonds, John) (Entered: 12/03/2010)
   12/06/2010               346 NOTICE by Intcomex, Inc., Klip Extreme LLC, Software Brokers ofAmerica Inc.
                                DBA Intcomex Corporation D/B/A Intcomex Withdrawal (yV ong, Russell) (Entered:
                                12/06/2010)
   12/06/2010               347 Defendant's Unopposed First Application fur Extension ofTime to Answer Complaint is
                                granted pursuant to LocalRule CV-12 furProlynkz, LLC to 1/5/2011.30 Days
                                Granted fur Deadline Extension.( mD,) (mD, ). (Entered: 12/06/2010)
   12/06/2010               348 ORDER granting 338 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Pltfs
                                c1aims against deft Creative Technology Ltd are DISMISSED without prejudice. Signed
                                by Judge Leonard Davis on 12/06/10. cc:attys 12-06-1 O(mD, ) (Entered: 12/06/201 0)
   12/06/2010               349 ORDER granting 339 Notice ofVohmtary Dismissal filed by AdjustaCam LLC. Pltfs
                                claims against deft Sakar Inc are DISMISSED without prejudice. Signed by Judge
                                Leonard Davis on 12/06/10. cc:attys 12-06-10(mD,) (Entered: 12/06/2010)
   12/06/2010               350 ORDER granting 340 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Pltfs
                                claims against deft Solid Year Co, Ltd are DISMISSED without prejudice. Signed by
                                Judge Leonard Davis on 12/06/10. cc:attys 12-06-10 (mD,) (Entered: 12/06/2010)
   12/08/2010               351       ANSWER to 330 Answer to Amended Complaint, Counterclaim of Defendants
                                      Macally Peripherals, Inc. d/b/a Macally U.S.A. and Mace Group, Inc. by
                                      AdjustaCamLLC.(Edmonds, John) (Entered: 12/08/2010)
   12/08/2010               352 ANSWER to 328 Answer to Amended Complaint, Counterclaim of Defendant
                                Auditek Corp. by AdjustaCamLLC.(Edmonds, John) (Entered: 12/08/2010)

   12/09/2010               353       ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD,***
                                      Defendant's Unopposed Second Application fur Extension of Time to Answer
                                      Complaint re Cobra Digita~ LLC.( Miller, Allison) Modified on 12/10/2010 (mjc, ).
                                      (Entered: 12/09/2010)
   12/09/2010               354 ANSWER to 111 Amended Complaint,,, by Cobra Digita~ LLC.(Miller, Allison)
                                (Entered: 12/09/2010)
   12/09/2010               355 Unopposed MOTION fur Extension ofTime to File Answer re 354 Answer to
                                Amended Complaint , as well as Motion to File Instanter Answer to First Amended
                                Complaint by Cobra Digita~ LLC. (Attac~nts: # 1 Text ofProposed Order
                                GRANTING Motion to File Instanter Answer to First Amended Complaint)(Miller,
                                Allison) (Additional attac~nt(s) added on 12/10/2010: # 2. Text ofProposed Order
                                Corrected) (mjc, ). (Entered: 12/09/2010)
   12/10/2010                         NOTICE ofDe:ficiency regarding the 353 Unopposed Application fur Extension of
                                      Tirre submitted by Cobra Digita~ LLC. The party's name is incorrect on the application.
                                      Correction should be made by one business day. (mjc, ) (Entered: 12/10/201 0)
   12/10/2010               356 Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                Complaint re Cobra Digita~ LLC.( Miller, Allison) (Entered: 12/10/201 0)
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       94/136


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   12/13/2010                         Defendant's Unopposed Second Application fur Extension ofTirre to Answer
                                      Comp1aint 356 is granted pursuant to Local Rule CV-12 fur Cobra Digita~ LLC to
                                      12/9/2010. 13 Days Granted fur Deadline Extension( mil,) (Entered: 12113/2010)
   12/13/2010               357 ORDER granting 355 Motion fur Extension ofTirre to Answer. Deft Cobra Digial's
                                answer is deemed tirrely filed as of12-09-2010. Signed by Judge Leonard Davis on
                                12/13/10. cc:attys 12-13-10 (mil,) (Entered: 12/13/2010)
   12/16/2010               358 ANSWER to 111 Amended Comp1aint,,, COUNTERCLAIM against AdjustaCam
                                LLC byDigitallrmovations, LLC.(Philbin, Phillip) (Entered: 12/16/2010)
   12/20/2010               359 NOTICE ofVohmtary Dismissal by AdjustaCam LLC (Attaclnrents: # 1 Text of
                                Proposed Order Proposed Order)(Edmonds, John) (Entered: 12/20/2010)
   12/20/2010               360 NOTICE by AdjustaCam LLC re 15 Order, regarding Notice of Readiness for
                                Scheduling Conference (Edmonds, John) (Entered: 12/20/2010)

   12/2112010               361       ORDER granting 359 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Phfs
                                      c1airns against deft Ezonics Corporation are dismissed without prejudice. Signed by
                                      Judge Leonard Davis on 12/21/10. cc:attys 12-21-lO(mll,) (Entered: 12/2112010)
   12/22/2010               362 Unopposed MOTION to Withdraw as Attorney by N ewegg, Inc., N ewegg.com, Inc ..
                                (Attaclnrents: # 1 Text ofProposed Order)(Stewart, Justin) (Entered: 12/22/2010)
   12/30/2010               363       ORDER granting 362 Motion to Withdraw as Attorney. Attorney Justin Neil Stewart
                                      terminated as counsel ofrecord fur defts N ewegg Inc and N ewegg.com Inc. Signed by
                                      Judge Leonard Davis on 12/30/10. cc:attys 12-30-10 (mil,) (Entered: 12/30/2010)
   01106/2011               364 NOTICE of Attorney Appearance by Christopher Schenck on behalf ofKMart
                                Corporation, Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears,
                                Roebuck and Company (Schenck, Christopher) (Entered: 01106/2011)
   01106/2011               365 NOTICE of Attorney Appearance by Christopher Schenck on behalf of
                                Overstock.com, Inc. (Schenck, Christopher) (Entered: 01106/2011)


   01106/2011               366 ANSWER to 358 Answer to Amended Comp1aint, Counterc1aim of Defendant Digital
                                Innovations, LLC by AdjustaCamLLC.(Edmonds, John) (Entered: 01106/2011)

   01110/2011               367 ORDER granting 345 Notice ofVohmtary Dismissal filed by AdjustaCamLLC. Phfs
                                c1airns against Prolynkz LLC are dismissed without prejudice. Signed by Judge Leonard
                                Davis on 01110/11. cc:attys 1-10-11 (mil, ) (Entered: 01110/2011)
   01112/2011               368 NOTICE of Attorney Appearance by John Allen Yates on behalfofOverstock.com,
                                Inc. (Yates, John) (Entered: 01/12/2011)
   01112/2011               369 NOTICE of Attorney Appearance by John Allen Yates on behalf ofKMart
                                Corporation, Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears,
                                Roebuck and Company (Yates, John) (Entered: 01112/2011)
   01113/2011               370 MOTION to Stay and Sever Claims as to Reseller Defendants Based on the

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                                      Customer Suit Exception by AlmzDncom, Inc., Audit:ek Corporation, Bahic Latvian
                                      Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                      Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, Blue Microphones, LLC,
                                      CDW CorporationF/K/A CDW Computer Centers, Inc., CDW, Inc., CDW, LLC,
                                      Cobra Digita~ LLC, Compusa.com, Inc., Creative Labs, Inc., Dell, Inc., Digital
                                      Innovations, LLC, Fry's Electronics Inc, Gear Head, LLC, Hewlett-Packard Company,
                                      JwinElectronics Corporation, KMartCorporation, KOHLS CORPORATION D/B/A
                                      KOHL'S, Kohl's Illinois, Inc., Lifeworks Teclmology Group, LLC, Macally Peripherals,
                                      Inc. D/B/A Macally U.S.A., Mace Group, Inc., Micro Electronics, Inc. DBA Micro
                                      Center, New Compusa Corporation, Newegg, Inc., Newegg.com, Inc., Office Depot,
                                      Inc., Overstock. com, Inc., Phoebe Micro Inc., Rosewill Inc., Sakar lnternationa~ Inc.,
                                      Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears, Roebuck and
                                      Company, Systemax, Inc. D/B/A Compusa, Target Corp., Tigerdirect, Inc., Wal-Mart
                                      Stores, Inc .. (Attaclnnents: # 1 Affidavit Declaration of B. Atkinson, # 2. Exhibit A, # .3.
                                      Exhibit B, # 1 Exhibit C, # ~ Exhibit D, # .Q Exhibit E, # 1 Text ofProposed Order)
                                      (Daniels, Steven) (Entered: 01113/2011)
   01113/2011               371       ORDER re Agreed Docket Control and Discovery Orders. Signed by Judge Leonard
                                      Davis on 1113/2010. (gsg) (Entered: 01/14/2011)
   01124/2011               372 NOTICE of Attorney Appearance by J Thad Heart:field on behalfofCONNS, INC.
                                D/B/A CONNS (Heartfield, J) (Entered: 01124/2011)
   01124/2011               373 NOTICE of Attorney Appearance by M. Dru Montgomery on behalf ofCONNS,
                                INC. D/B/A CONNS (Montgomery, M.) (Entered: 01124/2011)
   01124/2011               374 NOTICE of Attorney Appearance by Deron R Dacus on behalf ofDell, Inc., (Dacus,
                                Deron) (Entered: 01124/2011)
   01126/2011               375 ***DISREGARD ENTRY- DEFICIENT FILING***

                                      Unopposed MOTION to Withdraw as Attorney of Record by Jwin Electronics
                                      Corporation (Attaclnnents: # 1 Text ofProposed Order)(Werner, Philip) Modified on
                                      1126/2011 (kls, ). (Entered: 01126/2011)
   01126/2011                         NOTICE ofDe:ficiency regarding the #375 Motion to Withdraw as Attorney submitted
                                      by Jwin Electronics Corporation Motion/Proposed Order not in searchabJe.pdffurrmt.
                                      Date and Signature line nrust be reiDJved from proposed order. Correction shouki be
                                      made by Next Business Day (kls, ) (Entered: 01126/2011)
   01126/2011               376 Unopposed MOTION to Withdraw as Attorney of Record by Jwin Electronics
                                Corporation (Attaclnnents: # 1 Text ofProposed Order)(Werner, Philip) (Entered:
                                01126/2011)
   01128/2011               377 APPLICATION to Appear Pro Hac Vice by Attorney Christopher J Cmeo fur
                                Newegg, Inc., Newegg.com, Inc. (mil,) (Entered: 01128/2011)
   0113112011               378 RESPONSE in Opposition re 370 MOTION to Stay and Sever Claims as to Reseller
                                Defendants Based on the Customer Suit Exception filed by AdjustaCam LLC.

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                                      (Attacltrrents: # 1 Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, # 1 Exhibit 4, # ~ Exhibit 5, #
                                      .Q Exhibit 6, # 1 Exhibit 7)(Edmmds, Jolm) (Additional attachment(s) added on
                                      2/3/2011: # .8. Text ofProposed Order) (Ids,). (Entered: 01/3112011)
   02/02/2011               379 NOTICE of Attorney Appearance by Andrew Patrick Tower on behalf of AdjustaCam
                                LLC (Tower, Andrew) (Entered: 02/02/2011)
   02/07/2011               380 NOTICE of Attorney Appearance by Eric Hugh Findlay on behalf of Creative Labs,
                                Inc., (Findlay, Eric) (Entered: 02/07/2011)
   02/07/2011               381       NOTICE of Attorney Appearance by Roger Brian Craft on behalf of Creative Labs,
                                      Inc., (Craft, Roger) (Entered: 02/07/2011)
   02/07/2011               382 NOTICE of Attorney Appearance by Michael Charles Smith on behalf ofWal-Mart
                                Stores, Inc. (Smith, MichaeQ (Entered: 02/07/2011)
   02/07/2011               385 2.7.11 Minute Entry- Status Conference: for proceedings held before Judge
                                Leonard Davis and Judge JolmLove: Status Conference held on2/7/2011. (Cmnt
                                Reporter Shea Sloan) (Attacltrrents: # 1 Attorney Sign-In Sheet) (rlf;) (Entered:
                                02/11/2011)
   02/07/2011               386 2.7.11 Minute Entry- Status Conference: for proceedings held before Judge
                                Leonard Davis: Status Conference held on 2/7/2011. (Cmnt Reporter Shea Sloan)
                                (Attacltrrents: # 1 Attorney Sign-In Sheet) (rlf;) (Entered: 02/1112011)
   02/07/2011                         ELECTRONIC Minute Entry for proceedings held before Magistrate Judge Jolm D.
                                      Love and Judge Davis: Status Conference held on 2/7/2011. (refer to docum::nt #385)
                                      (Court Reporter Shea Sloan) (~m,) (Entered: 02/14/2011)
   02/08/2011               383       ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                      NOTICE of Attorney Appearance by Herbert J Hammond on behalf of Gear Head,
                                      LLC {Hat:mrond, Herbert) Modified on 2/1112011 (~c, ). (Entered: 02/08/2011)
   02/1112011                         ***FILED IN ERROR. Document# 383 , Notice of Appearance. PLEASE
                                      IGNORE. TO BE REFILED USING CORRECT PASSWORD AND
                                      LOGIN.***
                                      (~c,) (Entered: 02/11/2011)

   02/1112011               384 REPLY to Response to Motion re 370 MOTION to Stay and Sever Claims as to
                                Reseller Defendants Based on the Customer Suit Exception filed by Amazon.com,
                                Inc., Auditek Corporation, Baltic Latvian Universal Electronics, LLC D/B/A Blue
                                Microphones, LLC D/B/A Blue Microphone, Best Buy Co Inc, Best Buy Stores, LP,
                                BestBuy.com, LLC, Blue Microphones, LLC, CDW Corporation FIK/A CDW
                                Computer Centers, Inc., CDW, Inc., CDW, LLC, Cobra Digital, LLC,
                                Compusa.com, Inc., Creative Labs, Inc., Dell, Inc., Digital Innovations, LLC,
                                Fry's Electronics Inc, Gear Head, LLC, Hewlett-Packard Company, Jwin
                                Electronics Corporation, KMart Corporation, KOHLS CORPORATION D/B/A
                                KOHL'S, Kohl's Illinois, Inc., Lifeworks Technology Group, LLC, Macally
                                Peripherals, Inc. D/B/A Macally U.S.A., Mace Group, Inc., Micro Electronics, Inc.
                                DBA Micro Center, New Compusa Corporation, Newegg, Inc., Newegg.com, Inc.,
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                                      Office Depot, Inc., Overstock. com, Inc., Phoebe Micro Inc., Rosewill Inc., Sakar
                                      International, Inc., Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears,
                                      Sears, Roebuck and Company, Systemax, Inc. D/B/A Compusa, Target Corp.,
                                      Tigerdirect, Inc., Wal-Mart Stores, Inc .. (Attachments:# 1 Exhibit Table of Accused
                                      Products)(Daniels, Steven) (Entered: 02/11/2011)
   02/1112011               387 STIPULATION ofDismissal of Defendant Jasco Products Company LLC D/B/A
                                Jasco Products Company D/B/A Jasco by AdjustaCam LLC. (Attachments:# 1 Text
                                ofProposed Order Proposed Order)(Edmmds, Jolm) (Entered: 02/11/2011)
   02/1112011               388 APPLICATION to Appear Pro Hac Vice by Attorney Gary Y Leung for Digital
                                hmovations, LLC (mil,) (Entered: 02/14/2011)
   02/15/2011               389 NOTICE of Attorney Appearance by Patricia L Davidson on behalf of Gear Head,
                                LLC (Davidson, Patricia) (Entered: 02/15/2011)
   02/18/2011               390 ORDER denying 376 Motion to Withdraw as Attorney. Signed by Judge Leonard
                                Davis on 02/18/11. cc:attys 2-18-11 (mil, ) (Entered: 02/18/2011)
   02/2112011               391       Joint MOTION for Extension ofTirre to File Proposed Docket Control Order and
                                      Discovery Order by Amazoncorn, Inc., CDW CorporationF/K/A CDW Computer
                                      Centers, Inc., Fry's Electronics Inc, Hewlett-Packard Company, Micro Electronics, Inc.
                                      DBA Micro Center, Office Depot, Inc .. (Attachments: # 1 Text ofProposed Order)
                                      (Craft, Roger) (Entered: 02/2112011)
   02/22/2011               392 SUR-REPLY to Reply to Response to Motion re 370 MOTION to Stay and Sever
                                Claims as to Reseller Defendants Based on the Customer Suit Exception filed by
                                AdjustaCam LLC. (Edtmnds, Jolm) (Entered: 02/22/2011)

   02/23/2011               393 ORDER granting 391 Motion for Extension ofTirre. Parties are given 14 days after the
                                follow up status conference to file an agreed Docket Control Order and Discovery
                                Order or competing versions. Signed by Judge Leonard Davis on 02/23/11. cc:attys 2-
                                23-11 (mil,) (Entered: 02/23/2011)
   02/28/2011               394 NOTICE by AdjustaCamLLC OF COMPLIANCE AND REQUEST TO
                                RESCHEDULE CASE MANAGEMENT CONFERENCE (Edtmnds, Jolm)
                                (Entered: 02/28/2011)

   03/0112011               395 ORDER setting Status Conference for 3/24/2011 09:00AM before Judge Leonard
                                Davis. Signed by Judge Leonard Davis on 03/01/11. cc:attys 3-02-11 (mil, ) (Entered:
                                03/02/2011)
   03/17/2011               396 NOTICE by Amazoncorn, Inc., Auditek Corporation, Baltic Latvian Universal
                                Electronics, LLC D/B/A Bhre Microphones, LLC D/B/A Bhre Microphone, Best Buy
                                Co Inc, Best Buy Stores, LP, BestBuy.corn, LLC, Bhre Microphones, LLC, CDW
                                Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., Cobra Digita~ LLC,
                                Compusa.corn, Inc., Creative Labs, Inc., De~ Inc., Digital hmovations, LLC, Fry's
                                Electronics Inc, Gear Head, LLC, Hewlett-Packard Company, Jwin Electronics
                                Corporation, KMart Corporation, KOHLS CORPORATION D/B/A KOHL'S,

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                                      Kohl's Illinois, Inc., Lifuworks Teclmology Group, LLC, Macally Periphera1s, Inc.
                                      D/B/A Macally U.S.A., Mace Group, Inc., Micro Electronics, Inc. DBA Micro Center,
                                      New Compusa Corporation, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc.,
                                      Overstock. com, Inc., Phoebe Micro Inc., Rosewill Inc., Sakar lnternationa~ Inc., Sears
                                      Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears, Roebuck and
                                      Company, Systemax, Inc. D/B/A Compusa, Target Corp., Tigerdirect, Inc., Wal-Mart
                                      Stores, Inc. re 370 MOTION to Stay and Sever Claims as to Reseller Defendants
                                      Based on the Customer Suit Exception, 384 Reply to Response to Motion,,,
                                      (Attaclnrents: # 1 Exhibit A (Itex, Inc. v. Westex, Inc. et al (N.D.. Ill. 2011) Order),#
                                      2 Exhibit B (Mitutoyo Corp. v. Central Purchasing, LLC (Fed. Cir. 2007) opinion))
                                      (Danie1s, Steven) (Entered: 03/17/2011)
   03/21/2011               397 Unopposed MOTION to Withdraw as Attorney by Cobra Digita~ LLC. (Attaclnrents:
                                # 1 Text ofProposed Order)(Lackey, Waher) (Entered: 03/21/2011)
   03/22/2011               398 NOTICE of Attorney Appearance by Jolm Frederick Bu:fu on behalf ofBaltic Latvian
                                Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                Blue Microphones, LLC, J&R ELECTRONICS INC. D/B/A J&R (Bu:fu, Jolm)
                                (Entered: 03/22/2011)
   03/22/2011               399 NOTICE of Attorney Appearance by Michael E Jones on behalf ofBaltic Latvian
                                Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone
                                (Jones, Michael) (Entered: 03/22/2011)
   03/22/2011               403       ORDER granting 397 Motion to Withdraw as Attorney. Attorney Waher Wayne
                                      Lackey, Jr tenninated. Signed by Judge Leonard Davis on 03/22/11. cc:attys 3-23-11
                                      (mTI, ) (Entered: 03/23/2011)

   03/23/2011               400 NOTICE of Attorney Appearance by Shatmon Marie Dacus on behalf ofDea Inc.,
                                (Dacus, Sharmon) (Entered: 03/23/2011)
   03/23/2011               401       NOTICE of Attorney Appearance by Vincent Jerorre Allen on behalf of Auditek
                                      Corporation (Allen, Vincent) (Entered: 03/23/2011)
   03/23/2011               402 NOTICE of Attorney Appearance by Zachary Wade Hilton on behalf of Auditek
                                Corporation (Hilton, Zachary) (Entered: 03/23/2011)
   03/23/2011               404 NOTICE of Attorney Appearance by Robert Dean Ayers, Jr on behalf of
                                Overstock.com, Inc. (Ayers, Robert) (Entered: 03/23/2011)
   03/23/2011               405 NOTICE of Attorney Appearance by Robert Dean Ayers, Jr on behalf ofKMart
                                Corporation, Sears Brands, LLC, Sears Holdings Corporation D/B/A Sears, Sears,
                                Roebuck and Company (Ayers, Robert) (Entered: 03/23/2011)
   03/23/2011               406 Unopposed MOTION to Substitute Attorney and Withdraw Counsel by Lifuworks
                                Teclmology Group, LLC. (Attaclnrents: # 1 Text ofProposed Order)(Danie1s, Steven)
                                (Entered: 03/23/2011)
   03/23/2011               407 STIPULATION ofDismissal WITHOUT PREJUDICE ofDefendant Conns, Inc.
                                d/b/a Conns by AdjustaCam LLC. (Attaclnrents: # 1 Text ofProposed Order)

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                                      (Edmonds, John) (Entered: 03/23/2011)
   03/23/2011               408 STIPULATION ofDismissal With Prejudice of Defendant Phoebe Micro Inc. by
                                AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order)(Edmonds, John)
                                (Entered: 03/23/2011)
   03/23/2011               410 ORDER granting 387 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                counterclaim; in this action between pltfand deft Jasco Products Company LLC are
                                dismissed with prejudice, with each party to bear their own costs, expenses, and
                                attorney's fees. Signed by Judge Leonard Davis on 03/23/11. cc:attys 3-24-11(mD,)
                                (Entered: 03/24/2011)
   03/24/2011               409 NOTICE by AdjustaCamLLC re 396 Notice (Other), Notice (Other), Notice (Other),
                                Notice (Other), Notice (Other), Notice (Other) re Supplemental Movant's Authority
                                (Attachments:# 1 Exhibit Ex. 1 - Bratic Declaration)(Edmonds, John) (Entered:
                                03/24/2011)

   03/24/2011               411       ORDERgranting 407 StipulationofDismissalfiled by AdjustaCamLLC. All claim; and
                                      counterclaim; in this action between pltfand deft Com's Inc are dismissed without
                                      prejudice, with each party to bear their own costs, expenses, and attorney's fees. Signed
                                      by Judge Leonard Davis on 03/24/11. cc:attys 3-24-11(mD,) (Entered: 03/24/2011)
   03/24/2011               412 ORDER granting 408 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                counterclaim; in this action between pltf and deft Phoebe Micro Inc are dismissed with
                                prejudice, with each party to bear their own costs, expenses, and attorney's fees. Signed
                                by Judge Leonard Davis on 03/24/11. cc:attys 3-24-11(mD,) (Entered: 03/24/2011)
   03/24/2011               413 3.24.11 Minute Entry- Status Conference: for proceedings held before Judge
                                Leonard Davis: Status Conference held on 3/24/2011. (Comt Reporter Shea Sloan.)
                                (Attachments:# 1 Attorny Sign-In Sheets) (rlt;) (Entered: 03/29/2011)
   03/30/2011               414 STIPULATION ofDismissal With Prejudice of Defendant jWIN Electronics
                                Corporation by AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order)
                                (Edmonds, John) (Entered: 03/30/2011)
   03/30/2011               415 STIPULATION ofDismissal Without Prejudice of Defendant Cobra Digital, LLC
                                by AdjustaCam LLC. (Attachments: # 1 Text ofProposed Order)(Edmonds, John)
                                (Entered: 03/30/2011)
   03/30/2011               416 NOTICE OF FILING OF OFFICIAL TRANSCRIPT ofStatus Conference
                                Proceedings held on 217/11 before Judge Leonard Davis. Comt Reporter: Shea Sloan,
                                shea_sloan@txed.uscomts.gov. 20 pages.

                                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                      business days to file with the Court a Notice oflntent to Request Redaction of
                                      this transcript. If no such Notice is filed, the transcript will be made remotely
                                      electronically available to the public without redaction after 90 calendar days.
                                      The policy is located on our website at www.txeduscourts.gov


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                                      Transcript may be viewed at the comt public terminal or purchased tlrrough the Comt
                                      Reporter!franscriber befure the deadline fur Release of Transcript Restriction. After
                                      that date it may be obtained tlrrough PACER. Redaction Request due 4/25/2011.
                                      Redacted Transcript Deadline set fur 5/5/2011. Release ofTranscript Restriction set fur
                                      7/1/2011. (sm;,) (Entered: 03/30/2011)
   03/31/2011               417 MEMORANDUM OPINION AND ORDER granting in part 98 Motion to Dismiss.
                                Phf is granted leave to rurend its complaint within 15 days. Signed by Judge Leonard
                                Davis on 03/31/11. cc:attys 3-31-11 (mil,) (Entered: 03/31/2011)
   03/31/2011               418 NOTICE OF FILING OF OFFICIAL TRANSCRIPT ofStatus Conference
                                Proceedings held on 3/24/11 befure Judge Leonard Davis. Comt Reporter: Shea Sloan.
                                27 pages.

                                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                      business days to file with the Court a Notice oflntent to Request Redaction of
                                      this transcript If no such Notice is filed, the transcript will be made re100tely
                                      electronically available to the public without redaction after 90 calendar days.
                                      The policy is located on our website at www.txeduscourts.gov

                                      Transcript may be viewed at the comt public terminal or purchased tlrrough the Comt
                                      Reporter!franscriber befure the deadline fur Release of Transcript Restriction. After
                                      that date it may be obtained tlrrough PACER. Redaction Request due 4/25/2011.
                                      Redacted Transcript Deadline set fur 5/5/2011. Release ofTranscript Restriction set fur
                                      7/5/2011. (sm;, ) (Entered: 03/31/2011)
   04/05/2011               419 ORDER re 414 Stipulation ofDismissal filed by AdjustaCam LLC, dismissing with
                                prejudice all claims and cmmterclaims between plainti:fl; Adjustacam LLC, and
                                defendant, Jwin Electronics Corporation. Each party to bear its own costs. Signed by
                                Judge Leonard Davis on 4/4/11. (II!ic, ) (Entered: 04/05/2011)
   04/05/2011               420 ORDER re 415 Stipulation ofDismissal filed by AdjustaCam LLC, dismissing without
                                prejudice all claims and comrterclaims asserted between plainti:fl; AdjustaCam LLC, and
                                defendant, Cobra Digita~ LLC. Each party to bear its own costs. Signed by Judge
                                Leonard Davis on 4/4111. (II!ic, ) (Entered: 04/05/2011)
   04/07/2011               421       Joint MOTION fur Extension ofTirre to File Proposed Docket Control Order and
                                      Discovery Order by Amazon.com, Inc., CDW CorporationF/K/A CDW Computer
                                      Centers, Inc., Fry's Electronics Inc, Hewlett-Packard Company, Micro Electronics, Inc.
                                      DBA Micro Center, Office Depot, Inc .. (Attaclnnents: # 1 Text ofProposed Order)
                                      (Craft, Roger) (Entered: 04/07/2011)

   04/14/2011               422 Joint MOTION fur Extension ofTirre to File Proposed Docket Control Order and
                                Discovery Order by Amazon.com, Inc., CDW CorporationF/K/A CDW Computer
                                Centers, Inc., CDW, Inc., Fry's Electronics Inc, Hewlett-Packard Company, Micro
                                Electronics, Inc. DBA Micro Center, Office Depot, Inc .. (Attaclnnents: # 1 Text of
                                Proposed Order)(Craft, Roger) (Entered: 04114/2011)
   04/18/2011               423       APPLICATION to Appear Pro Hac Vice by Attorney DanielL Farris fur Radioshack
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       101/136


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                                      Corporation (mll,) (Entered: 04/18/2011)
   04/20/2011               424 ORDER granting 422 Motion for Extension ofTime. Parties shall have to 4-27-2011 to
                                file an agreed Docket Control Order and Discovery Order or competing versions if
                                agreement cannot be reached. Signed by Judge Leonard Davis on 04/20/11. cc:attys 4-
                                20-11 (mll, ) (Entered: 04/20/2011)
   04/27/2011               425 ORDER granting 406 Motion to Substitute Attorney. Added attorneys Steven Daniels,
                                William Bryan Farney, and Bryan Donivan Atkinson for Lifeworks Technology Group,
                                LLC. Attorneys Collin Michael Maloney; Thomas Carulli and Jennifer Huang
                                terminated. Signed by Judge Leonard Davis on 04/27/11. cc:attys 4-27-11 (mll,)
                                (Entered: 04/27/2011)
   04/27/2011               426 ORDER denying 370 Motion to Stay and Sever Claims as to Reseller Defendants
                                Based on the Customer Suit Exception; granting parties' request for leave to file an ear]y
                                summary judgment trotion regarding damages. Parties are to submit agreed Docket
                                Control and Discovery Orders to the Cm.n1: by 5-09-2011. For purposes of computing
                                the time deadlines under the local patent rules, the Comt deems 5-09-2011 as the
                                effective Ru1e 16 Initial Case Management Conference date, and thus plainti:fl's PR 3-1
                                and 3-2 disclosures will be due 4-29-2011. Signed by Judge Leonard Davis on
                                04/2 7/11. cc :attys 4-2 7-11 (mll, ) (Entered: 04/2 7/20 11)
   05/03/2011               427 Unopposed MOTION to Withdraw as Attorney and Substitute Roger Fulghum as
                                Lead Attorney, by Dell, Inc.,. (Attachments:# 1 Text ofProposed Order)(Partridge,
                                Scott) (Entered: 05/03/2011)
   05/05/2011               428 ORDER granting 427 Motion to Withdraw as Attorney. Attorney Scott F Partridge
                                terminated; Roger Fulgl:u.nn is substituted as Lead Attorney. Signed by Judge Leonard
                                Davis on 05/05/11. cc:attys 5-05-11 (mll, ) (Entered: 05/05/2011)

   05/09/2011               429 Submission ofProposed Agreed Docket ControVScheduling order by AdjustaCam
                                LLC. (Attachments: # 1 Proposed Docket Control Order, # 2. Proposed Discovery
                                Order)(Edtronds, John) (Entered: 05/09/2011)
   05/16/2011               430 NOTICE ofDisclosure by Gear Head, LLC Initial (Davidson, Patricia) (Entered:
                                05/16/2011)
   05/20/2011               431       STIPULATION ofDismissal Without Prejudice of defendants Sears Brands, LLC;
                                      Sears, Roebuck and Company; Sears Holdings Corporation d/b/a Sears; and
                                      Kmart Corporation by AdjustaCam LLC. (Attachments: # 1 Text ofProposed Order)
                                      (Edtronds, John) (Entered: 05/20/2011)
   05/23/2011               432 NOTICE by CDW Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc.
                                Notice of Service of Initial Disclosures (Findlay, Eric) (Entered: 05/23/2011)

   05/23/2011               433 NOTICE by Wal-Mart Stores, Inc. of Compliance of Service of Its Initial
                                Disclosures (DeGyarfus, Victor) (Entered: 05/23/2011)

   05/23/2011               434 Unopposed MOTION for Extension ofTime to Complete Discovery and Serve Initial
                                Disclosures by Amazon com, Inc .. (Attachments:# 1 Text ofProposed Order)

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                                      (Findlay, Eric) (Entered: 05/23/2011)
   05/23/2011               435 NOTICE by Digital Innovations, LLC of Compliance (Leung, Gary) (Entered:
                                05/23/2011)
   05/23/2011               436 NOTICE by Creative Labs, Inc., Fry's Electronics Inc, Hewlett-Packard Company,
                                Micro Electronics, Inc. DBA Micro Center, Office Depot, Inc. Notice of Service of
                                Initial Disclosures (Findlay, Eric) (Entered: 05/23/2011)

   05/24/2011               437 NOTICE by Overstock. com, Inc. re 429 Proposed Agreed Docket
                                Contro1'Scheduling, Protective or Discovery Order (Barr, John) (Entered: 05/24/2011)
   05/24/2011               438       ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                      NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                      Compusa, Tigerdirect, Inc. Defendants COMPUSA. COM, INC.S, NEW COMPUSA
                                      CORP.S, SYSTEMAX INC.S and TIGERDIRECT, INC.S Notice of Compliance
                                      (Denenberg, David) Modified on 5/24/2011 (ll!ic, ). (Entered: 05/24/2011)
   05/24/2011               439 NOTICE by Sakar Internationa~ Inc. Notice of Compliance (Sutton, Ezra) (Entered:
                                05/24/2011)
   05/24/2011                         NOTICE of Deficiency regarding the 438 Notice submitted by Compusa.com, Inc.,
                                      New Compusa Corporation, Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc.
                                      Docl.llrent does not contain a Certificate of Service. Correction shouk:l be made by one
                                      business day. (ll!ic,) (Entered: 05/24/2011)
   05/24/2011               440 NOTICE by Baltic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC
                                D/B/A Blue Microphone, Blue Microphones, LLC Notice of Compliance (Sarvaiya,
                                M) (Entered: 05/24/2011)
   05/24/2011               441       NOTICE by L:ifuworks Technology Group, LLC Notice of Service of Initial
                                      Disclosures (Atkinson, Bryan) (Entered: 05/24/2011)
   05/24/2011               442 NOTICE by De~ Inc., Service of Initial Disclosures, (Fu1glnnn, Roger) (Entered:
                                05/24/2011)
   05/24/2011               443 NOTICE by Auditek Corporation Service of Initial Disclosures (Lee, Jen-Feng)
                                (Entered: 05/24/2011)
   05/24/2011               444 ORDER granting 434 Motion for Extension ofTirne to Complete Discovery. A.maron
                                shall have to 5-27-2011 to serve its Initial Disclosures. Signed by Judge Leonard Davis
                                on 05/24/11. cc:attys 5-25-11 (mil,) (Entered: 05/25/2011)
   05/24/2011               445       ORDER granting 431 Stipulation ofDismissa~ filed by AdjustaCam LLC. All claims
                                      and counterclaims in this action between pltf and defts Sears Brands LLC, Sears
                                      Roebuck and Company, Sears Holdings Corporation, and Kmart Corporation are
                                      dismissed without prejudice, with each party to bear their own costs, expenses, and
                                      attorney's fees. Signed by Judge Leonard Davis on 05/24/11. cc:attys 5-25-11(mll,)
                                      (Entered: 05/25/2011)
   05/25/2011               446 NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A

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                                      Compusa, Tigerdirect, Inc. Defendants COMPUSA. COMS, NEW COMPUSA
                                      CORP.S, SYSTEMAX INC.S and TIGERDIRECT, INC.S Notice of Compliance
                                      (Denenberg, David) (Entered: 05/25/2011)
   05/26/2011               447 NOTICE by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW
                                Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., Creative Labs, Inc.,
                                Hewlett-Packard Company, Lifeworks Technology Group, LLC, Target Corp. of
                                change of Firm Name and Address for W. Bryan Farney, Steven R Daniels, and
                                Bryan D. Atkinson (Atkinson, Bryan) (Entered: 05/26/2011)


   05/26/2011               448 NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                Compusa, Tigerdirect, Inc. Defendants COMPUSA. COMS, NEW COMPUSA
                                CORP.S, SYSTEMAX INC.S, and TIGERDIRECT, INC.S Notice of Compliance
                                (Denenberg, David) (Entered: 05/26/2011)
   05/26/2011               449 ORDER denying as moot 421 Motion fur Extension ofTirre to Submit Agreed Docket
                                Control Order and Discovery Order. Signed by Judge Leonard Davis on 05/26/11.
                                cc:attys 5-27-11 (mll,) (Entered: 05/27/2011)
   05/26/2011               450 DISCOVERY ORDER Signed by Judge Leonard Davis on 05/26/11. cc:attys 5-27-
                                11(mll,) (Entered: 05/27/2011)
   05/26/2011               451       DOCKET CONTROL ORDER Signed by Judge Leonard Davis on 05/26/11.
                                      cc:attys 5-27-11(mll,) (Entered: 05/27/2011)
   05/26/2011                         Deadlines set per 451 Docket Control Order: Amended Pleadings due by 11/9/2011;
                                      Respond to Amended Pleadings by 11-23-2011. Discovery due by 6/25/2012. Expert
                                      Witness List due by 4/23/2012; Rebuttal expert witnesses designated by 5-23-2012.
                                      IdentifY trial witnesses by 7/25/2012; Rebuttal Trial Witnesses identified by 8-08-2012.
                                      Joinder ofParties due by 7/23/2011, fur defts. Jury instructions due by 10/2/2012.
                                      Mediation Completion due by 2/2/2012. James Knowles is appointed as Mediator
                                      in this cause. Dispositive Motions due by 8/8/2012. Response to Dispositive Motions
                                      due 9-10-2012. Proposed Pretrial Order due by 10/2/2012. Motions in Limine due 12-
                                      7-20 12; Responses to Motions in Limine due 12-10-2012. Jury Selection set fur
                                      1/7/2013 09:00AM befOre Judge Leonard Davis. Jury Trial set fur 1/14/2013 09:00
                                      AM befOre Judge Leonard Davis. Markman Hearing set fur 2/9/2012 09:00AM
                                      befOre Judge Leonard Davis. Pretrial Conference set fur 12/18/2012 09:00AM befOre
                                      Judge Leonard Davis. Estimated length oftrial is 5 days. (mll, ) (Entered: 05/31/2011)
   05/27/2011               452 NOTICE ofDiscoveryDisclosure byNewegg, Inc., Newegg.com, Inc., Rosewilllnc.
                                (Yarbrough, Herbert) (Entered: 05/27/2011)
   05/27/2011               453 NOTICE by Digital Innovations, LLC of Compliance (Leung, Gary) (Entered:
                                05/27/2011)
   05/27/2011               454 NOTICE by Overstock. com, Inc. re 451 Order /Notice of Compliance (Barr, John)
                                (Entered: 05/27/2011)
   05/27/2011               455 NOTICE ofDiscovery Disclosure by Amazon com, Inc. (Craft, Roger) (Entered:

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                                      05/27/2011)
   05/27/2011               456 NOTICE of Discovery Disclosure by CDW Corporation FIK/A CDW Computer
                                Centers, Inc., CDW, Inc. (Craft, Roger) (Entered: 05/27/2011)
   05/27/2011               457 NOTICE by Wal-Mart Stores, Inc. of Compliance of Service of Damages
                                Disclosures (DeGyarfas, Victor) (Entered: 05/27/2011)

   05/27/2011               458 NOTICE by Baltic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC
                                D/B/A Blue Microphone, Blue Microphones, LLC of Compliance of Damages
                                Disclosures (Sarvaiya, M) (Entered: 05/27/2011)

   05/27/2011               459 NOTICE by Amazoncom, Inc. of Service of Initial Disclosures (Craft, Roger)
                                (Entered: 05/27/2011)
   06/0112011               460 NOTICE by Dell, Inc., Service of Damages Disclosures (Fulghum, Roger) (Entered:
                                06/0 1120 11)
   06/0112011               461       NOTICE of Discovery Disclosure by Best Buy Co Inc, Best Buy Stores, LP,
                                      BestBuy.com, LLC, Creative Labs, Inc., Fry's Electronics Inc, Hewlett-Packard
                                      Company, Lifeworks Technology Group, LLC, Office Depot, Inc., Target Corp. re
                                      Damages Disclosures (Atkinson, Bryan) (Entered: 06/0112011)

   06/0112011               462 NOTICE by Auditek Corporation of Damages Disclosure (Lee, Jen-Feng) (Entered:
                                06/0 1120 11)
   06/10/2011               463 NOTICE of Attorney Appearance by Waher Wayne Lackey, Jr on behalf of
                                Amazoncom, Inc. (Lackey, Waher) (Entered: 06/10/2011)
   06/14/2011               464 NOTICE of Attorney Appearance by Allen Franklin Gardner on behalf of J&R
                                ELECTRONICS INC. D/B/A J&R (Gardner, Allen) (Entered: 06/14/2011)
   06/22/2011               465 Unopposed MOTION for Extension ofTilre to File Initial Disclosures by J&R
                                ELECTRONICS INC. D/B/A J&R (Attachrrents: # 1 Text ofProposed Order)
                                (Jones, Michael) (Entered: 06/22/2011)
   06/24/2011               466 ORDER granting 465 Motion for Extension ofTilre. Deft J&R Electronics Inc shall
                                have to 6-21-2011 to serve its Initial Disclosures. Signed by Judge Leonard Davis on
                                06/24/11. cc :attys 6-2 7-11 (mil, ) (Entered: 06/2 7/20 11)

   07/26/2011               467 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                Unopposed MOTION to Withdraw as Attorney Phillip Philbin, Unopposed
                                MOTION to Substitute Attorney Bradley W. Hoover by Digital Innovations, LLC.
                                (Attachrrents: # 1 Text ofProposed Order Proposed Order)(Hoover, Bradley)
                                Modified on 7/27/2011 (ll!ic, ). (Entered: 07/26/2011)
   07/27/2011               468 Unopposed MOTION to Withdraw as Attorney Phillip Philbin, Unopposed
                                MOTION to Substitute Attorney Bradley W. Hoover by Digital Innovations, LLC.
                                (Attachrrents: # 1 Text ofProposed Order Proposed Order)(Hoover, Bradley)
                                (Entered: 07/27/2011)

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   07/27/2011                         NOTICE of Deficiency regarding the 467 Unopposed Motion to Withdraw submitted
                                      by Digital Irmovations, LLC. Doclllllent is not in searchab]e pdffurmat. Correction
                                      should be made by one business day. (nYc, ) (Entered: 07/27/2011)
   07/28/2011               469 AMENDED COMPLAINT (Second) against Amazoncom, Inc., Auditek
                                Corporation, Baltic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC
                                D/B/A Blue Microphone, Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC,
                                Blue Microphones, LLC, CDW CorporationFIK/A CDW Computer Centers, Inc.,
                                CDW, Inc., CDW, LLC, CONNS, INC. D/B/A CONNS, Cobra Digita~ LLC,
                                Compusa.com, Inc., Creative Labs, Inc., Creative Technology Ltd, De~ Inc., Digital
                                Irmovations, LLC, Eastman Kodak Company, Ezonics Corporation D/B/A Ezonics
                                Corporation USA D/B/A Ezonics, Fry's Electronics Inc, Gear Head, LLC, General
                                Electric Company, Hewlett-Packard Company, lntcomex, Inc., J&R ELECTRONICS
                                INC. D/B/AJ&R, Jasco Products CompanyLLC D/B/AJasco Products Company
                                D/B/A Jasco, Jwin Electronics Corporation, KMart Corporation, KOHLS
                                CORPORATION D/B/A KOHL'S, Klip Extreme LLC, Kohl's Illinois, Inc., Lifeworks
                                Technology Group, LLC, Macally Peripherals, Inc. D/B/A Macally U.S.A., Mace
                                Group, Inc., Micro Electronics, Inc. DBA Micro Center, New Compusa Corporation,
                                Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Overstock.com, Inc., Phoebe
                                Micro Inc., Pro~ LLC, Radioshack Corporation, Rosewill Inc., SDI Technologies,
                                Inc., SOLID YEAR CO., LTD., Sakar Internationa~ Inc., Sakar, Inc., Sears Brands,
                                LLC, Sears Holdings Corporation D/B/A Sears, Sears, Roebuck and Company,
                                Software Brokers ofAmerica Inc. DBA lntcomex Corporation D/B/A lntcomex,
                                Systemax, Inc. D/B/A Compusa, Target Corp., Tigerdirect, Inc., Trippe Manufacturing
                                Company D/B/A Tripp Lite, WALGREEN CO. D/B/A WALGREENS, Wal-Mart
                                Stores, Inc., filed by AdjustaCam LLC.(Edmonds, John) (Entered: 07/28/2011)
   07/29/2011               470 ORDER granting 468 Motion to Withdraw as Attorney. Attorney Phillip Brett Philbin
                                terminated; granting 468 Motion to Substitute Attorney, and substituting Bradley
                                Hoover as attorney fur Digital Irmovations LLC. Signed by Judge Leonard Davis on
                                07/29/11. cc:attys 7-29-11 (mll,) (Entered: 07/29/2011)
   07/29/2011               471       Unopposed MOTION to Seal Doclllllent by Auditek Corporation, Baltic Latvian
                                      Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                      Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, Blue Microphones, LLC,
                                      Compusa.com, Inc., Digital Irmovations, LLC, Fry's Electronics Inc, Gear Head, LLC,
                                      Hewlett-Packard Company, J&R ELECTRONICS INC. D/B/A J&R, KOHLS
                                      CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA
                                      Micro Center, New Compusa Corporation, Office Depot, Inc., Overstock.com, Inc.,
                                      Sakar lnternationa~ Inc., Systemax, Inc. D/B/A Compusa, Target Corp., Tigerdirect,
                                      Inc .. (Attachments: # 1 Text ofProposed Order)(Daniels, Steven) (Additional
                                      attachment(s) added on 8/112011: # 2. Certificate ofService) (nYc,). (Entered:
                                      07/29/2011)
   07/29/2011               472 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD. SEALED BY
                                COURT.***
                                Opposed MOTION fur Surmnary Judgment by Auditek Corporation, Baltic Latvian

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                                      Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue Microphone,
                                      Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, Blue Microphones, LLC,
                                      Compusa.com, Inc., Digital Innovations, LLC, Fry's Electronics Inc, Gear Head, LLC,
                                      Hewlett-Packard Company, J&R ELECTRONICS INC. D/B/A J&R, KOHLS
                                      CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA
                                      Micro Center, New Compusa Corporation, Office Depot, Inc., Overstock.com, Inc.,
                                      Sakar Internationa~ Inc., SystetmX, Inc. D/B/A Compusa, Target Corp., Tigerdirect,
                                      Inc .. (Attachtrents: # 1 Exhibit, # 2. Text ofProposed Order)(Daniels, Steven) Modified
                                      on 8/112011 (mjc, ). (Entered: 07/29/2011)
   08/01/2011               473       Opposed SEALED MOTION for Partial Summary Judgment by Auditek
                                      Corporation, Bahic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC
                                      DIB/A Blue Microphone, Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC,
                                      Blue Microphones, LLC, Compusa.com, Inc., Digital Innovations, LLC, Fry's
                                      Electronics Inc, Gear Head, LLC, Hewlett-Packard Company, J&R ELECTRONICS
                                      INC. D/B/A J&R, KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc.,
                                      Micro Electronics, Inc. DBA Micro Center, New Compusa Corporation, Office Depot,
                                      Inc., Overstock.com, Inc., Sakar Internationa~ Inc., SystetmX, Inc. D/B/A Compusa,
                                      Target Corp., Tigerdirect, Inc .. (Attachments:# 1 Exhibit, # 2. Text ofProposed Order)
                                      (Daniels, Steven) (Additional attachtrent(s) added on 8/4/2011: # .3. Certificate of
                                      Authorization to File Under SeaQ (mjc, ). (Entered: 08/01/2011)
   08/01/2011               474 ***NOTICE OF DOCKET CORRECTION. ATTACHED CERTIFICATE OF
                                SERVICE TO Document# 471 Motion to Seal. PLEASE NOTE.***
                                (mjc,) (Entered: 08/01/2011)
   08/03/2011               475 ANSWER to 469 Amended Complaint,,,, Defendant Sakar International, Inc. s
                                Answer to Second Amended Complaint, Affirmative Defenses, Counterclaims, and
                                Jury Demand, COUNTERCLAIM against AdjustaCamLLC by Sakar Internationa~
                                Inc .. (Sutton, Ezra) (Entered: 08/03/2011)
   08/04/2011               476 NOTICE by Dell, Inc., re 473 Opposed SEALED MOTION for Partial Summary
                                Judgment -Notice of Joinder in Motion (Attachments:# 1 Exhibit 1 - Declaration of
                                Anthony Peterman, # 2. Text ofProposed Order Granting Motion as to Dell Inc.)
                                (Fu1ghwn, Roger) (Entered: 08/04/2011)
   08/04/2011               477 NOTICE of Attorney Appearance by Daniel Alan N oteware, Jr on behalf of J&R
                                ELECTRONICS INC. D/B/A J&R (Noteware, DanieQ (Entered: 08/04/2011)
   08/04/2011               478 NOTICE of Attorney Appearance by Daniel Alan N oteware, Jr on behalf ofBaltic
                                Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC D/B/A Blue
                                Microphone, Blue Microphones, LLC (Noteware, Daniel) (Entered: 08/04/2011)
   08/04/2011               479 ***NOTICE OF DOCKET CORRECTION. ATTACHED CERTIFICATE OF
                                AUTHORIZATION TO FILE UNDER SEAL TO Document# 473 Sealed
                                Motion. PLEASE NOTE.***
                                (mjc, ) (Entered: 08/04/2011)

   08/08/2011               480 MOTION to Seal Document Declaration of Defendants Newegg Inc. and Rosewill
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                                      Inc. by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc .. (Attaclnnents: # 1 Text of
                                      Proposed Order)(Ctm.eo, Christopher) (Additional attaclnnent(s) added on 8/9/2011: #
                                      2 Certificate ofService) (II!ic, ). (Entered: 08/08/2011)
   08/08/2011               481       ***DOCUMENT Fll..ED IN ERROR. PLEASE DISREGARD. ATTACHED
                                      CERTIFICATE OF SERVICE TO DOCKET ENTRY 480 . ***
                                      NOTICE byNewegg, Inc., Newegg.com, Inc., Rosewilllnc. re 480 MOTION to Seal
                                      Do current Declaration of Defendants N ewegg Inc. and Rosewill Inc. Certificate of
                                      Service (Ctm.eo, Christopher) Modified on 8/9/2011 (II!ic, ). (Entered: 08/08/2011)

   08/08/2011               482 ***DOCUMENT Fll..ED IN ERROR. PLEASE DISREGARD.***
                                MOTION for Joinder in Defendants Motion for Partial Summary Judgment that
                                AdjustaCam is Not Entitled to Pre-Suit Damages Pursuant to 35 U.S. C.§ 287(a)
                                byNewegg, Inc., Newegg.com, Inc., Rosewilllnc .. (Ctm.eo, Christopher) Modified on
                                8/8/2011 (II!ic, ). (Entered: 08/08/2011)
   08/08/2011                         ***FILED IN ERROR. Document# 482 Motion for Joinder. PLEASE
                                      IGNORE.***

                                      (II!ic, ) (Entered: 08/08/2011)
   08/08/2011               483 NOTICE byNewegg, Inc., Newegg.com, Inc. re 473 Opposed SEALED MOTION
                                for Partial Summary Judgment Notice of Joinder (Ctm.eo, Christopher) (Entered:
                                08/08/2011)
   08/08/2011               484 ***DOCUMENT Fll..ED IN ERROR. PLEASE DISREGARD.***
                                SEALED Dec1aration ofDerendants N ewegg Inc. and Rosewill Inc. in support of 483
                                Notice ofJoinder. (Ctm.eo, Christopher) Modified on 8/9/2011 (II!ic, ). (Entered:
                                08/08/2011)
   08/09/2011                         NOTICE of Deficiency regarding the 484 Sealed Dec1aration submitted by N ewegg,
                                      Inc., Rosewill Inc. Docurrent does not contain a Certificate of Authorization to File
                                      Under Seal or a Certificate of Service. Correction should be made by one business day.
                                      (II!ic,) (Entered: 08/09/2011)

   08/09/2011               485 AMENDED COMPLAINT (THIRD) againstAllDerendants, filed by AdjustaCam
                                LLC.(Edmonds, Jolm) (Entered: 08/09/2011)
   08/10/2011               486 NOTICE by Digital Innovations, LLC Notice of Request for Termination of
                                Electronic Notices (Philbin, Phillip) (Entered: 08/10/2011)

   08/10/2011               487 ORDER granting 471 Motion to Seal Docurrent. Signed by Judge Leonard Davis on
                                08/10/11. cc:attys 8-10-11 (mD, ) (Entered: 08/10/2011)
   08/10/2011               488 SEALED Dec1aration ofDerendants N ewegg Inc. and Rosewill Inc. in support of 483
                                Notice ofJoinder. (Ctm.eo, Christopher) (Entered: 08/10/2011)
   08/17/2011               489 RESPONSE in Opposition re 473 Opposed SEALED MOTION for Partial
                                     Summary Judgment andre Motions/Notices of Joinder at Dkt Nos. 476 and 483
                                     filed by AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order, # 2 Text of

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                                      Proposed Order)(Edmonds, John) (Entered: 08/17/2011)
   08/18/2011               490 STIPULATION ofDismissal of Defendants Baltic Latvian Universal
                                Electronics,LLC and Blue Microphones, LLC by AdjustaCam LLC. (Attacln:rents: #
                                1 Text ofProposed Order Proposed Order)(Edmonds, John) (Entered: 08/18/2011)
   08/19/2011               491       STIPULATION ofDismissal of Defendant, RadioShack Corporation by
                                      AdjustaCamLLC. (Attacln:rents: # 1 Text ofProposed Order Proposed Order)
                                      (Edmonds, John) (Entered: 08/19/2011)
   08/22/2011               492 ORDER granting 490 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                counterclaim; in this action between pltf and de:fts Ba1tic Latvian Universal Electronics
                                LLC and Blue Microphones LLC are dismissed with prejudice. Each party shall bear
                                their own costs, expenses, and attorney's fees. Signed by Judge Leonard Davis on
                                08/22/11. cc:attys 8-23-11(mD,) (Entered: 08/23/2011)
   08/22/2011               493       ORDERgranting 491 StipulationofDismissal:filed by AdjustaCamLLC. All claim; and
                                      cmmterclaim; asserted in this suit between plaintiff and defendant, Radio Shack
                                      Corporation, are hereby dismissed without prejudice tmti110-04-2011, at which time,
                                      unless earlier withdrawn, the dismissal shall become WITII PREJUDICE. All costs,
                                      expenses and attorneys fees are to be borne by the party that incurred them Signed by
                                      Judge Leonard Davis on 08/22/11. cc:attys 8-23-11 (mD,) (Entered: 08/23/2011)

   08/26/2011               494 Defendants COMPUSA.com, Inc.s, New COMPUSA Corp.s, Systemax Inc.s and
                                Tigerdirect, Inc.s ANSWER to 485 Amended Complaint (Third) by Compusa.com,
                                Inc., New Compusa Corporation, Systemax, Inc. D/B/A Compusa, Tigerdirect, Inc ..
                                (Denenberg, David) (Entered: 08/26/2011)
   08/26/2011               495 Defendants Newegg Inc. and Newegg.com Inc. s ANSWER to 485 Amended
                                CompJaint, COUNTERCLAIM againstAdjustaCamLLC byNewegg, Inc.,
                                Newegg.com, lnc .. (Cuneo, Clrristopher) (Entered: 08/26/2011)
   08/26/2011               496 Defendant Rosewill Inc. s ANSWER to 485 Amended Complaint,
                                COUNTERCLAIM against AdjustaCam LLC by Rosewill Inc .. (Cuneo, Clrristopher)
                                (Entered: 08/26/2011)
   08/26/2011               497 ANSWER to 485 Amended Complaint [THIRD], COUNTERCLAIM against
                                AdjustaCamLLC byWal-Mart Stores, Inc .. (DeGyarfus, Victor) (Entered:
                                08/26/2011)
   08/26/2011               498 Second ANSWER to 485 Amended Complaint, COUNTERCLAIM against
                                AdjustaCam LLC by Overstock. com, Inc .. (Yates, John) (Entered: 08/26/2011)
   08/29/2011               499 ANSWER to 485 Amended Complaint, COUNTERCLAIM against AdjustaCam LLC
                                by Digital Irmovations, LLC.(Leung, Gary) (Entered: 08/29/2011)
   08/29/2011               500 Dell Inc. s ANSWER to 485 Amended Complaint Third Amended Complaint,
                                COUNTERCLAIM/or Patent Infringement againstAdjustaCamLLC by Dell, Inc.,.
                                (Fulghum, Roger) (Entered: 08/29/2011)
   08/29/2011               501       ANSWER to 485 Amended Complaint, COUNTERCLAIM against AdjustaCam LLC
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       109/136


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                                      by Auditek Corporation(Lee, Jen-Feng) (Entered: 08/29/2011)
   08/29/2011               502 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD. DUPLICATE
                                      ENTRY.***
                                      ANSWER to Complaint Dell Inc. s Answer to Adjustacam LLCs Third Amended
                                      Complaint and, COUNTERCLAIM against AdjustaCam LLC by Dell, Inc.,.
                                      (Fulghum, Roger) Modified on 8/29/2011 (n]c, ). (Entered: 08/29/2011)
   08/29/2011               503 ANSWER to 485 Amended Complaint, COUNTERCLAIM against AdjustaCam LLC
                                by Amazoncom, Inc .. (Findlay, Eric) (Entered: 08/29/2011)

   08/29/2011               504 Defendants ANSWER to 485 Amended Complaint by J&R ELECTRONICS INC.
                                D/B/A J&R(Jones, Michael) (Entered: 08/29/2011)
   08/29/2011               505 ANSWER to 485 Amended Complaint by Best Buy Co Inc, Best Buy Stores, LP,
                                BestBuy.com, LLC.(Daniels, Steven) (Entered: 08/29/2011)
   08/29/2011               506 ANSWER to 485 Amended Complaint by CDW Corporation FIK/A CDW Computer
                                Centers, Inc., CDW, Inc., CDW, LLC.(Daniels, Steven) (Entered: 08/29/2011)
   08/29/2011               507 ANSWER to 485 Amended Complaint by Creative Labs, Inc.,.(Daniels, Steven)
                                (Entered: 08/29/2011)
   08/29/2011               508 ANSWER to 485 Amended Complaint by Fry's Electronics Inc. (Daniels, Steven)
                                (Entered: 08/29/2011)
   08/29/2011               509 ANSWER to 485 Amended Complaint by Hewlett-Packard Company. (Daniels,
                                Steven) (Entered: 08/29/2011)
   08/29/2011               510 ANSWER to 485 Amended Complaint by Micro Electronics, Inc. DBA Micro Center.
                                (Daniels, Steven) (Entered: 08/29/2011)
   08/29/2011               511       ANSWER to 485 Amended Complaint by Office Depot, Inc .. (Daniels, Steven)
                                      (Entered: 08/29/2011)
   08/29/2011               512 ANSWER to 485 Amended Complaint by Target Corp .. (Daniels, Steven) (Entered:
                                08/29/2011)
   08/30/2011               513 Defendant, Gear Head, LLCs ANSWER to 485 Amended CompJaint [Third] for
                                Patent Infringement by Gear Head, LLC.(Davidson, Patricia) (Entered: 08/30/2011)
   08/30/2011               514 ORDER granting 480 Motion to Seal Docmnent. Signed by Judge Leonard Davis on
                                8/30/2011. (gsg) (Entered: 08/30/2011)
   08/30/2011               515 ORDER denying as moot 276 Motion to Dismiss. Signed by Judge Leonard Davis on
                                08/30/11. cc:attys 8-31-11 (mil,) (Entered: 08/3112011)
   09/0112011               516 NOTICE by Baltic Latvian Universal Electronics, LLC D/B/A Blue Microphones, LLC
                                D/B/A Blue Microphone, Blue Microphones, LLC Requesting Termination of
                                Electronic Notices (Sarvaiya, M) (Entered: 09/0112011)
   09/08/2011               517 ORDER denying as moot 147 Motion to Dismiss; denying as moot 164 Motion to
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       110/136


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                                      Dismiss. Signed by Judge Leonard Davis on 09/08/11. cc:attys 9-08-11 (mTI, )
                                      (Entered: 09/08/2011)

   09/09/2011               518 NOTICE by CDW, LLC re 4 73 Opposed SEALED MOTION for Partial Summary
                                Judgment -Notice of Joinder in Motion (Attachments:# 1 Exhibit 1 - Dec1aration of
                                CDW LLC, # 2. Text ofProposed Order Granting Motion as to CDW LLC)(Daniels,
                                Steven) (Entered: 09/09/2011)
   09/13/2011               519 STIPULATION ofDismissal of Defendant Lifeworks Technology Group, LLC by
                                AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order Proposed Order)
                                (Edmonds, John) (Entered: 09/13/2011)
   09/14/2011               520 Defendant Sakar International, Inc. s Answer to the Third Amended Complaint,
                                Affirmative Defenses, Counterclaims, and Jury Demand ANSWER to 485
                                Amended Complaint, COUNTERCLAIM against AdjustaCam LLC by Sakar
                                lnternationa~ Inc .. (Sutton, Ezra) (Entered: 09/14/2011)

   09/14/2011               521       Defendant Kohls fllinois, Inc. & Kohls Corporations Answer to Third Amended
                                      Complaint, Affirmative Defenses, Counterclaims, and Jury Demand ANSWER to
                                      485 Amended Complaint, COUNTERCLAIM against AdjustaCamLLC by KOHLS
                                      CORPORATION D/B/A KOHL'S.(Sutton, Ezra) (Entered: 09/14/2011)
   09/15/2011               522 ORDER granting 519 StipulationofDismissalfiled by AdjustaCamLLC. Allclairm and
                                cmmterclairm in this action between phf and deft Lifuworks Technology Group, LLC
                                are dismissed with prejudice, with each party to bear their own costs, expenses, and
                                attorney's tees. Signed by Judge Leonard Davis on 09/15/11. cc:attys 9-15-11(mTI,)
                                (Entered: 09/15/2011)
   09/19/2011               523       ANSWER to 503 Answer to Amended Complaint, Cmmterclaim of Defendant
                                      Amazon.com, Inc. by AdjustaCamLLC.(Edmonds, John) (Entered: 09/19/2011)
   09/19/2011               524 ANSWER to 501 Answer to Amended Complaint, Counterclaim of Defendant
                                Auditek Corp. by AdjustaCamLLC.(Edmonds, John) (Entered: 09/19/2011)
   09/19/2011               525 ANSWER to Complaint /Counterclaim of Defendants CompUSA.com, Inc., New
                                CompUSA Corp., TigerDirect, Inc. and Systemax, Inc. by AdjustaCamLLC.
                                (Edmonds, John) (Entered: 09/19/2011)
   09/19/2011               526 ANSWER to 500 Answer to Amended Complaint, Counterclaim of Defendant Dell,
                                Inc. by AdjustaCamLLC.(Edmonds, John) (Entered: 09/19/2011)

   09/19/2011               527 ANSWER to 499 Answer to Amended Complaint, Counterclaim of Defendant Digital
                                Innovations, LLC by AdjustaCamLLC.(Edmonds, John) (Entered: 09/19/2011)
   09/19/2011               528 ANSWER to 521 Answer to Amended Complaint, Counterclaim,, ofDefendants
                                Kohls fllinois, Inc. and Kohls Corporation by AdjustaCam LLC.(Edmonds, John)
                                (Entered: 09/19/2011)
   09/19/2011               529 ANSWER to 495 Answer to Amended Complaint, Counterclaim of Defendants
                                Newegg Inc. and Newegg.com Inc. by AdjustaCamLLC.(Edmonds, John) (Entered:
https://ecf. bed.uscourts.g c:Mcg i-bi n/Dk!Rpt.pl?113578892922227-L_1_0-1                                                       111/136


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                                      09/19/2011)
   09/19/2011               530 ANSWER to 498 Answer to Amended Comp1aint, Counterc1aim of Defendant
                                Overstock.com, Inc. by AdjustaCamiLC.(Edmmds, Jolm) (Entered: 09/19/2011)

   09/19/2011               531       ANSWER to 496 Answer to Amended Comp1aint, Counterc1aim of Defendant
                                      Rosewill, Inc. by AdjustaCamLLC.(Echmnds, Jolm) (Entered: 09/19/2011)

   09/19/2011               532 ANSWER to 520 Answer to Amended Comp1aint, Counterc1aim,, ofDefendant
                                Sakar International, Inc. by AdjustaCam ILC.(Echmnds, Jolm) (Entered:
                                09/19/2011)
   09/19/2011               533       ANSWER to 497 Answer to Amended Comp1aint, Counterc1aim of Defendant Wal-
                                      Mart Stores, Inc. by AdjustaCamLLC.(Echmnds, Jolm) (Entered: 09/19/2011)

   09/20/2011               534 STIPULATION ofDismissal of Defendant Overstock. com, Inc. by AdjustaCam
                                LLC. (Attachrrents: # 1 Text ofProposed Order Proposed Order)(Echmnds, Jolm)
                                (Entered: 09/20/2011)
   09/2112011               535       ORDER granting 534 Stipulation ofDismissal filed by AdjustaCam LLC. All c1aim; and
                                      cmmterc1aim; in this action between phf and deft Overstock. com Inc are dismissed with
                                      prejudice, with each party to bear their own costs, expenses, and attorney's fees. Signed
                                      by Judge Leonard Davis on 09/21/11. cc:attys 9-21-11(mTI,) (Entered: 09/2112011)
   09/30/2011               536 RESPONSE in Opposition re 4 73 Opposed SEALED MOTION for Partial
                                Summary Judgment- Defendant CDW's Notice ofJoinder filed by AdjustaCam
                                LLC. (Attachrrents: # 1 Text ofProposed Order Order No. 1, # 2. Text ofProposed
                                Order Order No. 2)(Echmnds, Jolm) (Entered: 09/30/2011)
   10/04/2011               537 Unopposed MOTION to Withdraw as Attorney by AdjustaCam ILC. (Attachrrents: #
                                1 Text ofProposed Order Proposed Order)(Echmnds, Jolm) (Entered: 10/04/2011)
   10/04/2011               538       ORDER that parties meet and confer and resubmit an agreed Docket Control Order
                                      incorporating letter brief deadlines. Signed by Judge Leonard Davis on 10/04/11.
                                      cc:attys 10-04-11 (mTI, ) (Entered: 10/04/2011)
   10/1112011               539 ORDER granting 53 7 Motion to Withdraw as Attorney. Attorney Erick Scott Robinson
                                tenninated. Signed by Judge Leonard Davis on 10/11/11. cc:attys 10-11-11 (mTI,)
                                (Entered: 10/1112011)
   10/28/2011               540 NOTICE by J&R ELECTRONICS INC. D/B/A J&R re 451 Order OF
                                COMPLIANCE REGARDING PRIVILEGE LOG (Gardner, Allen) (Entered:
                                10/28/2011)
   1110112011               541       NOTICE by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc. Notice of Change of
                                      Firm Name (Cuneo, Clrristopher) (Entered: 11101/2011)

   1110112011               542 NOTICE by Wal-Mart Stores, Inc. of Compliance Regarding Privilege Log
                                (DeGyarfus, Victor) (Entered: 1110112011)
   11102/2011               543 NOTICE by Creative Labs, Inc., of Compliance Regarding Privilege Log (Daniels,
                                Steven) (Entered: 11/02/2011)
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   11102/2011               544 NOTICE by Hewlett-Packard Company of Compliance Regarding Privilege Log
                                (Daniels, Steven) (Entered: 11/02/2011)
   11/02/2011               545 NOTICE by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC of
                                Compliance Regarding Privilege Log (Daniels, Steven) (Entered: 11102/2011)

   11102/2011               546 NOTICE by Target Corp. of Compliance Regarding Privilege Log (Daniels, Steven)
                                (Entered: 11102/2011)
   11/02/2011               547 NOTICE by Office Depot, Inc. of Compliance Regarding Privilege Log (Daniels,
                                Steven) (Entered: 11/02/2011)
   11102/2011               548 NOTICE by Micro Electronics, Inc. DBA Micro Center of Compliance Regarding
                                Privilege Log (Daniels, Steven) (Entered: 11/02/2011)

   11/02/2011               549 NOTICE by CDW, LLC of Compliance Regarding Privilege Log (Daniels, Steven)
                                (Entered: 11102/2011)
   11102/2011               550 NOTICE by Fry's Electronics Inc of Compliance Regarding Privilege Log (Daniels,
                                Steven) (Entered: 11/02/2011)

   11/02/2011               551       NOTICE by Amazon com, Inc. of Compliance Regarding Privilege Log (Craft,
                                      Roger) (Entered: 11/02/2011)
   11102/2011               552 NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                Compusa, Tigerdirect, Inc. Notice Of Compliance Regarding Privliege Log For
                                Defendants COMPUSA. COM, INC., NEW COMPUSA CORP., SYSTEMAX INC.,
                                and TIGERDIRECT, INC. (Denenberg, David) (Entered: 11102/2011)
   11110/2011               553 REPORT ofMediation by Jarres W Knowles. Mediation resuh: Partial Settlement I
                                Suspended(Knowles, Jarres) (Entered: 11/10/2011)
   1111112011               554 Unopposed MOTION fur Extension ofTirre to File /Comply with P.R 4-3 by
                                AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order Proposed Order)
                                (Edmonds, John) (Entered: 1111112011)
   11/15/2011               555 ORDER granting 554 Motion fur Extension ofTirre to Comply with P.R 4-3 from
                                November 11, 2011 to November 16, 2011. Signed by Judge Leonard Davis on
                                11114/11. (n]c,) (Entered: 11115/2011)
   11/16/2011               556 NOTICE of Attorney Appearance by Dana M Herberho1z on behalf ofN ewegg, Inc.,
                                Newegg.com, Inc., Rosewilllnc. (Herberholz, Dana) (Entered: 11116/2011)
   11116/2011               557 CLAIM CONSTRUCTION BRIEF filed by AdjustaCamLLC. (Attaclnnents: # 1
                                Exhibit Exhibit A, # 2 Exhibit Exhibit B)(Edmonds, John) (Entered: 11116/2011)
   11/28/2011               558 STIPULATION ofDismissal of Defendant Creative Labs, Inc., by AdjustaCam
                                LLC. (Attaclnnents: # 1 Text ofProposed Order Proposed Order)(Edmonds, John)
                                (Entered: 11128/2011)
   11129/2011               560 ORDER granting 558 Stipulation ofDismissal filed by AdjustaCam LLC. All cla.irm and
                                cmmterc1airm asserted in this suit between p1aintifl; and defendant, Creative Labs, Inc.,
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                                      are hereby dismissed with prejudice. All costs, expenses and attorneys fees are to be
                                      borne by the party that incurred them Signed by Judge Leonard Davis on 11/29/11.
                                      cc:attys 11-30-11 (mll, ) (Entered: 11/30/2011)
   11/30/2011               559 STIPULATION ofDismissalofDefendants MACE GROUP, Inc and MACALLY
                                PERIPHERALS, INC. d/b/aMACALLYU.S.A., by AdjustaCamLLC. (Attaclnrents:
                                # 1 Text ofProposed Order Proposed Order)(Edmmds, John) (Entered: 11/30/2011)

   12/01/2011               561       STIPULATION ofDismissalofDefendant Dell, Inc. by AdjustaCamLLC.
                                      (Attaclnrents: # 1 Text ofProposed Order Proposed Order)(Edmonds, John) (Entered:
                                      12/01/2011)
   12/01/2011               562 ORDER granting 559 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                counterclaim; asserted in this suit between plaintiff; and defendant, MACE GROUP, Inc
                                and MAC ALLY PERIPHERALS, INC. d/b/a MAC ALLY U.S.A., are hereby
                                dismissed without prejudice unti17-07-2012, at which titre, unless earlier withdrawn,
                                the dismissal shall become with prejudice. All costs, expenses and attorneys fees are to
                                be borne by the party that incurred them Signed by Judge Leonard Davis on 12/01111.
                                cc:attys 12-01-11(mll,) (Entered: 12/01/2011)
   12/05/2011               563 ORDER granting 561 StipulationofDismissal:filed by AdjustaCamLLC. All claim; and
                                cmmterclaitm asserted in this suit between plaintifl; and defendant, Dell, Inc., are hereby
                                dismissed with prejudice. All costs, expenses and attorneys fees are to be borne by the
                                party that incurred them Signed by Judge Leonard Davis on 12/05/11. cc:attys 12-06-
                                11(mll,) (Entered: 12/06/2011)
   12/14/2011               564 NOTICE by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW
                                Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., Fry's Electronics Inc,
                                Hewlett-Packard Company, Office Depot, Inc., Target Corp. re: Technical Tutorial
                                (Atkinson, Bryan) (Entered: 12/14/2011)
   12/14/2011               565 NOTICE byWal-Mart Stores, Inc. re Technology Tutorial (DeGya.rfus, Victor)
                                (Entered: 12/14/2011)
   12/14/2011               566 NOTICE by AdjustaCam LLC (MARKMAN TUTORIAL) (Edmonds, John) (Entered:
                                12/14/2011)
   12/15/2011               567 NOTICE by Atmzon.com, Inc. of Joinder Regarding Technical Tutorial (Craft,
                                Roger) (Entered: 12/15/2011)
   12/15/2011               568 NOTICE by Digital Innovations, LLC of Joinder Regarding Technical Tutorial
                                (Leung, Gary) (Entered: 12/15/2011)
   12/15/2011               569 NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                Compusa, Tigerdirect, Inc. Defendants' Notice of Joinder Regarding Technical
                                Tutorial (Denenberg, David) (Entered: 12/15/2011)

   12/15/2011               570 NOTICE by J&R ELECTRONICS INC. D/B/A J&R re 564 Notice (Other), Notice
                                (Other) of Joinder regarding Technical Tutorial (Gardner, Allen) (Entered:
                                12/15/2011)

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   12/15/2011               571       NOTICE by Compusa.com, Inc., New Compusa Corporation, Systemax, Inc. D/B/A
                                      Compusa, Tigerdirect, Inc. Defendants' Notice of Compliance (Denenberg, David)
                                      (Entered: 12/15/2011)
   12/15/2011               572 NOTICE by N ewegg, Inc., N ewegg.com, Inc., Rosewilllnc. ofJoinder Regarding
                                Technical Tutorial (Yarbrough, Herbert) (Entered: 12/15/2011)

   12/16/2011               573 Unopposed MOTION for Extension ofTime to File its opening brief and any
                                evidence supporting its claim construction by AdjustaCam LLC. (Attaclnnents: # 1
                                Text ofProposed Order Proposed Order)(Edmmds, Jolm) (Entered: 12/16/2011)
   12/19/2011               574 ORDER granting 573 Motion for Extension ofTime. Plainti:OS deadline to file its opening
                                brief and any evidence supporting its claim construction is extended to 12-19-2011.
                                Signed by Judge Leonard Davis on 12/19/11. cc:attys 12-19-11 (mll,) (Entered:
                                12/19/2011)
   12/19/2011               575 CLAIM CONSTRUCTION BRIEF filed by AdjustaCamLLC. (Attaclnnents: # 1
                                Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, # 1 Exhibit 4)(Edmmds, Jolm) (Additional
                                attaclnnent(s) added on 12/21/2011: # .5. Exhibit 1 Searchable) (~c, ). (Entered:
                                12/19/2011)
   12/22/2011               576 ORDER that by 1-02-2012, parties are to meet and con:ter and submit: (1) an agreed
                                Docket Control Order incorporating letter brief deadlines and (2)a proposed teclmical
                                advisor or a statement that they have :fuiled to reach agreement as to any potential
                                teclmicaladvisor. Signed by Judge Leonard Davis on 12/22/11. cc:attys 12-22-11(mll,
                                ) (Entered: 12/22/2011)
   12/23/2011               577 ***DOCUMENT FILED IN ERROR. PLEASE DISREGARD.***
                                NOTICE by Gear Head, LLC Defendant Gear Head, LLC's Notice of Joinder
                                Regarding Technical Tutorial (Davidson, Patricia) Modified on 12/27/2011 (~c, ).
                                (Entered: 12/23/2011)
   12/27/2011                         NOTICE ofDeficiency regarding the 577 Notice submitted by Gear Head, LLC.
                                      Docurrent does not contain a Certificate of Service. Correction shou1d be made by one
                                      business day. (~c,) (Entered: 12/27/2011)
   12/27/2011               578 NOTICE by Gear Head, LLC of Joinder Regarding Technical Tutorial (Davidson,
                                Patricia) (Entered: 12/27/2011)

   01/03/2012               579 Joint MOTION FOR DISMISSAL WITH PREJUDICE by AdjustaCam LLC, J&R
                                ELECTRONICS INC. D/B/A J&R (Attaclnnents: # 1 Text ofProposed Order)
                                (Gardner, Allen) (Entered: 01/03/2012)
   01/03/2012               580 NOTICE of Attorney Appearance by JolmN Zarianon behalfofNewegg, Inc.,
                                Newegg.com, Inc., Rosewilllnc. (Zarian, Jolm) (Entered: 01/03/2012)
   01/03/2012               581       NOTICE by N ewegg, Inc. re 451 Order Notice of Compliance Regarding Privilege
                                      Log (Herberho1z, Dana) (Entered: 01/03/2012)


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   01103/2012               582 NOTICE by N ewegg.com, Inc. re 451 Order Notice of Compliance Regarding
                                Privilege Log (Herberho1z, Dana) (Entered: 01103/2012)
   01103/2012               583 NOTICE by Rosewill Inc. re 451 Order Notice of Compliance Regarding Privilege
                                Log (Herberho1z, Dana) (Entered: 01103/2012)

   01103/2012               584 Joint MOTION to Amend/Correct Docket Control Order (reLetter Briefs) by
                                AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order)(Edrronds, John)
                                (Entered: 01103/2012)
   01103/2012               585 NOTICE by AdjustaCam LLC (re Technical Advisor) (EdmJnds, John) (Entered:
                                01103/2012)
   01104/2012               586 ORDER granting 579 Motion to Dismiss. The c1aims and counterc1aims between
                                Adjustacam LLC and Defendant J&R Electronics Inc. are hereby dismissed with
                                prejudice, and each party is to bear its own attorneys fees and costs. Signed by Judge
                                Leonard Davis on 01104/12. cc:attys 1-05-12 (mil,) (Entered: 01/05/2012)
   01105/2012               587 Unopposed MOTION to Substitute Attorney by Digital Innovations, LLC.
                                (Attachments:# 1 Text ofProposed Order)(Leung, Gary) (Additional attachment(s)
                                added on 119/2012: # 2 Text ofProposed Order Corrected) (II1ic, ). (Entered:
                                01105/2012)
   01105/2012               588 AMENDED DOCKET CONTROL ORDER Discovery due by 6/25/2012. Expert
                                Witness List due by 4/23/2012; Rebuttal Expert Witnesses designated by 5-23-2012.
                                IdentifY trial witnesses by 7/25/2012; Rebuttal Trial Witnesses identified by 8-08-2012.
                                Jmy instructions due by 10/2/2012. Dispositive Motions due by 8/8/2012; Response to
                                Dispositive Motions due 9-10-2012. Proposed Pretrial Order due by 10/2/2012. Jmy
                                Selection set for 1/7/2013 09:00AM before Judge Leonard Davis. Jmy Trial set for
                                1114/2013 09:00AM before Judge Leonard Davis. Markman Hearing set for 2/9/2012
                                09:00AM before Judge Leonard Davis. Pretrial Conference set for 12/18/2012 09:00
                                AM before Judge Leonard Davis. Expected Length ofTrial5 days. Signed by Judge
                                Leonard Davis on 01104/12. cc:attys 1-05-12(mll,) (Entered: 01105/2012)

   01105/2012               589 Unopposed MOTION for Extension ofTime to File responsive brief and supporting
                                evidence under P.R 4-5(b) by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com,
                                LLC, CDW Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., Fry's
                                Electronics Inc, Hewlett-Packard Company, Micro Electronics, Inc. DBA Micro
                                Center, Office Depot, Inc., Target Corp .. (Attachments:# 1 Text ofProposed Order)
                                (Daniels, Steven) (Entered: 01105/2012)
   01106/2012               590 ORDER granting 589 Motion for Extension ofTime. Defendants deadline to file their
                                responsive brief and supporting evidence is extended to 1-17-2012. Signed by Judge
                                Leonard Davis on 01106/12. cc:attys 1-06-12 (mil,) (Entered: 01/06/2012)
   01109/2012               591       NOTICE of Attorney Appearance by Bryan Donivan Atkinson on behalf ofBest Buy
                                      Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW Corporation FIK/A CDW
                                      Computer Centers, Inc., CDW, Inc., CDW, LLC, Fry's Electronics Inc, Hewlett-
                                      Packard Company, Micro Electronics, Inc. DBA Micro Center, Office Depot, Inc.,

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                                      Target Corp. (Atkinson, Bryan) (Entered: 01109/2012)
   01109/2012               592 NOTICE of Attorney Appearance by Jia-geng Lu on beha1f ofBest Buy Co Inc, Best
                                Buy Stores, LP, BestBuy.com, LLC, CDW Corporation F/KJA CDW Computer
                                Centers, Inc., CDW, Inc., CDW, LLC, Fry's Electronics Inc, Hewlett-Packard
                                Company, Micro Electronics, Inc. DBA Micro Center, Office Depot, Inc., Target
                                Corp. (Lu, Jia-geng) (Entered: 01109/2012)
   01109/2012               593       ORDER granting 587 Motion to Substitute Attorney. Added attorney Tanma Danielle
                                      Stiner Toomer for Digital Innovations, LLC. Attorney Bradley Wayne Hoover
                                      terminated. Signed by Judge Leonard Davis on 01109/12. cc:attys 1-10-12 (rnll,)
                                      (Entered: 01110/2012)
   01117/2012               594 NOTICE by CONNS, INC. D/B/A CONNS- Request for Termination of
                                Electronic Notices (Heart:field, J) (Entered: 01117/2012)

   01117/2012               595 CLAIM CONSTRUCTION BRIEF filed by Arnazon.com, Inc., Auditek Corporation,
                                Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW Corporation F/KJA
                                CDW Computer Centers, Inc., CDW, Inc., CDW, LLC, Compusa.com, Inc., Digital
                                Innovations, LLC, Fry's Electronics Inc, Gear Head, LLC, Hewlett-Packard Company,
                                KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics,
                                Inc. DBA Micro Center, New Compusa Corporation, Newegg, Inc., Newegg.com,
                                Inc., Office Depot, Inc., Rosewilllnc., Sakar Internationa~ Inc., Systemax, Inc. D/B/A
                                Compusa, Target Corp., Tigerdirect, Inc., Wal-Mart Stores, Inc .. (Attachrrents: # 1
                                Declaration, # 2 Exhibit A, # .J. Exhibit B, # 1: Exhibit C, # ~ Exhibit D, # .Q Exhibit E)
                                (Daniels, Steven) (Entered: 01117/2012)
   01118/2012               596 NOTICE by Blue Microphones, LLC, J&R ELECTRONICS INC. D/B/A J&R
                                Request for Termination of Electronic Notices (Gardner, Allen) (Entered:
                                01118/2012)
   01127/2012               597 NOTICE by Arnazon.com, Inc., Auditek Corporation, Best Buy Co Inc, Best Buy
                                Stores, LP, BestBuy.com, LLC, CDW CorporationF/K/A CDW Computer Centers,
                                Inc., CDW, Inc., CDW, LLC, Compusa.com, Inc., Digital Innovations, LLC, Fry's
                                Electronics Inc, Gear Head, LLC, Hewlett-Packard Company, KOHLS
                                CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA
                                Micro Center, New Compusa Corporation, Newegg, Inc., Newegg.com, Inc., Office
                                Depot, Inc., Rosewilllnc., Sakar Internationa~ Inc., Systemax, Inc. D/B/A Compusa,
                                Target Corp., Tigerdirect, Inc., Wal-Mart Stores, Inc. Regarding Time for Markman
                                Hearing (Lu, Jia-geng) (Entered: 01127/2012)

   01128/2012               598 NOTICE by AdjustaCam LLC re Time Requested for Markman Hearing (Edmmds,
                                Jolm) (Entered: 01128/2012)
   01130/2012               599 ORDER referring this case for claim construction only to United States Magistrate
                                Judge Jolm D. Love for disposition. The tmdersigned will continue to oversee all other
                                matters. Signed by Judge Leonard Davis on 01130/12. cc:attys 1-30-12(rnll,) (Entered:
                                01130/2012)

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   0113112012               600 Joint MOTION to request an extension of the Courts mediation deadline by
                                AdjustaCam LLC. (Attachments:# 1 Text ofProposed Order Proposed Order)
                                (Edmmds, John) (Entered: 0113112012)

   0113112012               601       REPLY to 595 Claim Construction Brie~, filed by AdjustaCam LLC. (Attachments:#
                                      1 Exhibit !)(Edmonds, John) (Entered: 01131/2012)
   02/0112012               602 ORDER granting 600 Motion fur Extension ofTime. The mediation deadline fur this
                                case is extended to 3-06-2012. Signed by Judge Leonard Davis on 02/01112. cc:attys
                                2-01-12 (mD,) (Entered: 02/01/2012)
   02/02/2012               603 NOTICE by KMart Corporation, Overstock. com, Inc., Sears Brands, LLC, Sears
                                Holdings Corporation D/B/A Sears, Sears, Roebuck and Company of Request for
                                Termination of Electronic Notices (Barr, John) (Entered: 02/02/2012)

   02/02/2012               604 JOINT CLAIM CONSTRUCTION CHART filed by AdjustaCamLLC.
                                (Attachments:# 1 Exhibit Chart)(Edmonds, John) (Entered: 02/02/2012)
   02/08/2012               605 NOTICE by Digital Innovations, LLC of Joinder Regarding Claim Construction
                                Hearing (Leung, Gary) (Entered: 02/08/2012)

   02/08/2012               606 NOTICE by KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Sakar
                                Internationa~ Inc. NOTICE OF JOINDER REGARDING CLAIM CONSTRUCTION
                                HEARING (Sutton, Ezra) (Entered: 02/08/2012)

   02/08/2012               607 NOTICE by Auditek Corporation OF JOINDER RE CLAIM CONSTRUCTION
                                (Lee, Jen-Feng) (Entered: 02/08/2012)
   02/08/2012               608 Opposed MOTION fur Extension of Time to File Reply by AdjustaCam LLC.
                                (Attachments: # 1 Exhibit 1, # 2. Text ofProposed Order)(Edmonds, John) (Entered:
                                02/09/2012)
   02/09/2012               609 Minute Entry fur proceedings held befure Magistrate Judge John D. Love: Markman
                                Hearing held on 2/9/2012. (Court Reporter Shelly Hohnes) (Attachments:# 1 Attorney
                                Sign-In Sheet) (~m) (Entered: 02/10/2012)
   02/15/2012               610 RESPONSE to Motion re 608 Opposed MOTION fur Extension ofTime to File Reply
                                filed by Auditek Corporation, Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com,
                                LLC, CDW Corporation FIKIA CDW Computer Centers, Inc., CDW, Inc.,
                                 Compusa.com, Inc., Digital Innovations, LLC, Fry's Electronics Inc, Gear Head,
                                LLC, Hewlett-Packard Company, KOHLS CORPORATION D/B/A KOHL'S, Kohl's
                                Illinois, Inc., Micro Electronics, Inc. DBA Micro Center, New Compusa
                                 Corporation, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Rosewill Inc.,
                                Sakar International, Inc., Systemax, Inc. D/B/A Compusa, Target Corp.,
                                 Tigerdirect, Inc., Wal-Mart Stores, Inc .. (Atkinson, Bryan) (Additional attachment(s)
                                added on2/16/2012: # 1 Text ofProposed Order) (~c, ). (Entered: 02/15/2012)

   02/28/2012               611       NOTICE of Attorney Appearance by Charles VanCleef on behalf ofAdjustaCam
                                      LLC (Van Clee~ Charles) (Entered: 02/28/2012)

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   03/0112012               612 NOTICE by AdjustaCam LLC of Change of Firm Name (Spangler, Andrew)
                                (Entered: 03/0112012)
   03/02/2012               613       Joint MOTION to Dismiss Target Corporation by AdjustaCam LLC, Target Corp ..
                                      (Attaclnrents: # 1 Text ofProposed Order)(Daniels, Steven) (Entered: 03/02/2012)
   03/02/2012               614 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of CLAIM
                                CONSTRUCTION HEARING held on 2/9/12 befOre Judge John D. Love. Cotn1:
                                Reporter/Transcriber: Shelly Hohnes, CSR, Telephone number: (903) 593-3213. (98
                                Pages)

                                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                      business days to file with the Court a Notice oflntent to Request Redaction of
                                      this transcript If no such Notice is filed, the transcript will be made remotely
                                      electronically available to the public without redaction after 90 calendar days.
                                      The policy is located on our website at www.txeduscourts.gov

                                      Transcript may be viewed at the cotn1: public terminal or purchased through the Cotn1:
                                      Reporter/Transcriber befOre the deadline fur Release of Transcript Restriction After
                                      that date it maybe obtained through PACER Redaction Request due 3/26/2012.
                                      Redacted Transcript Deadline set fur 4/5/2012. Release ofTranscript Restriction set fur
                                      6/4/2012. (~a,) (Entered: 03/02/2012)
   03/05/2012               615       ORDER granting 613 Motion to Dismiss. All c1aims and cmmterc1airm asserted in this
                                      suit between plainti:fl; and defundant Target Corporation are hereby dismissed
                                      WITHOUT PREJUDICE. All costs, expenses and attorneys fues are to be borne by
                                      the party that incurred them Signed by Judge Leonard Davis on 03/05/12. cc:attys 3-
                                      05-12 (mll,) (Entered: 03/05/2012)
   03/06/2012               616 NOTICE of Attorney Appearance by Johnathan K Yazdani on behalf of AdjustaCam
                                LLC (Yazdani, Johnathan) (Entered: 03/06/2012)

   03/08/2012               617 REPORT ofMediation by James W Knowles. Mediation resuh: Partial
                                Settletrents(Knowles, Jatres) (Entered: 03/08/2012)
   03/2112012               618       STIPULATION ofDismissal of Defendants CompUSA.com Inc., New CompUSA
                                      Corp., Systemax Inc.,and TigerDirect, Inc. by AdjustaCamLLC. (Attaclnrents: # 1
                                      Text ofProposed Order Proposed Order)(Edmmds, John) (Additional attachment(s)
                                      added on 3/22/2012: # 2. Corrected Proposed Order) (gsg, ). (Entered: 03/2112012)
   03/22/2012               619 NOTICE of Attorney Appearance by Laura Lindsay Chapman on behalf ofWa1-Mart
                                Stores, Inc. (Chapman, Laura) (Entered: 03/22/2012)
   03/22/2012               620 ORDER granting 618 Stipulated Motion fur Dismissal With Prejudice. It is ordered that
                                all claim; and comrterclaims asserted in this suit between PlaintiffAdjustacam LLC and
                                Defundants CompUSA.com, New CompUSA Corporation, Systemax Inc, and Tiger
                                Direct Inc, are hereby dismissed with prejudice. All costs, expenses and attorney's fues
                                are to be borne by the party that incurred them Signed by Judge Leonard Davis on
                                3/22/2012. Oeh,) (Entered: 03/22/2012)
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   03/23/2012               621       Joint MOTION To Ammd Docket Control Order and For Extension Of Certain
                                      Deadlines by N ewegg, Inc., N ewegg.com, Inc .. (Attachments:# 1 Text ofProposed
                                      Order)(Yarbrough, Herbert) (Entered: 03/23/2012)
   03/26/2012               622 REPORT ofMediation by Jarms W Knowles. Mediation resuh: Settlement -
                                Auditek(Knowles, James) (Entered: 03/26/2012)
   03/26/2012               623       ORDER granting 621 Motion to Amend Docket Control Order and Extension of
                                      Certain Deadlines. Signed by Judge Leonard Davis on 03/26/12. cc:attys 3-26-12 (mll,
                                      ) (Entered: 03/26/2012)
   03/30/2012               624 Unopposed MOTION for Protective Order by Best Buy Co Inc, Best Buy Stores, LP,
                                BestBuy.com, ILC, CDW CorporationF/K/A CDW Computer Centers, Inc., CDW,
                                Inc., Fry's Electronics Inc, Hewlett-Packard Company, Office Depot, Inc ..
                                (Attachments:# 1 Text ofProposed Order)(Atkinson, Bryan) (Entered: 03/30/2012)
   04/02/2012               625 AGREED PROTECTIVE ORDER Signed by Judge Leonard Davis on4/2/2012. (leh,
                                ) (Entered: 04/02/2012)

   04/04/2012               626 NOTICE of Attorney Appearance by Joshua Brooks Long on behalf of AdjustaCam
                                LLC (Long, Joshua) (Entered: 04/04/2012)
   04/10/2012               627 MEMORANDUM OPINION AND ORDER The Cotn1: interprets the claim language
                                in this case in the manner set forth in this Order. Signed by Magistrate Judge Jolm D.
                                Love on04/10/12. cc:attys 4-10-12(m11,) (Entered: 04/10/2012)
   04/23/2012               628       STIPULATION ofDismissalofDefendant, Amazon.com, Inc. by AdjustaCamiLC.
                                      (Attachments: # 1 Text ofProposed Order Proposed Order)(Edmonds, Jolm) (Entered:
                                      04/23/2012)
   04/24/2012               629 APPEAL OF MAGISTRATE JUDGE DECISION to District Cotn1: by AdjustaCam
                                LLC re 627 Order (Attachments:# 1 Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3(1), # :1
                                Exhibit 3(II), # ~ Text ofProposed Order)(Edmonds, Jolm) (Entered: 04/24/2012)
   04/24/2012               630 ORDER granting 628 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                col.IDterclairn; asserted in this suit between plaintiff; and defendant, Amazon com, Inc.
                                are hereby dismissed with prejudice. All costs, expenses and attorneys fees are to be
                                borne by the party that incurred them Signed by Judge Leonard Davis on 04/24/12.
                                cc:attys 4-25-12(m11,) (Entered: 04/25/2012)
   04/27/2012               631       Unopposed MOTION to Substitute Attorney by Office Depot, Inc .. (Attachments: # 1
                                      Text ofProposed Order)(PateL VishaQ (Entered: 04/27/2012)
   04/27/2012               632 APPEAL OF MAGISTRATE JUDGE DECISION to District Cotn1: by Best Buy Co
                                Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW Corporation FIK/A CDW
                                Computer Centers, Inc., CDW, Inc., Digital Innovations, LLC, Fry's Electronics Inc,
                                Gear Head, LLC, Hewlett-Packard Company, KOHLS CORPORATION D/B/A
                                KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA Micro Center, Newegg,
                                Inc., N ewegg.com, Inc., Office Depot, Inc., Rosewill Inc., Sakar InternationaL Inc.,
                                Wal-Mart Stores, Inc. re 627 Order (Attachments:# 1 A:flidavit B. Atkinson in Support
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                                      ofObjections, # 2 Exhibit A (United States Patent No. 5,855,343), # .3. Exhibit B
                                      (excerpts - C1aim Construction Hearing), # ~ Exhibit C (Photographs), # ~ Text of
                                      Proposed Order)(Danie1s, Steven) (Entered: 04/27/20 12)
   04/30/2012               633       ORDER granting 631 Motion to Substitute Counsel Mirick, O'CormeD, Detmllie &
                                      Lougee, l.LP and Thompson & Knight are substituted as attorneys ofrecord fur deft
                                      Office Depot. Signed by Judge Leonard Davis on 04/30/12. cc:attys 4-30-12 (mD, )
                                      (Entered: 04/30/2012)

   05/07/2012               634 Joint MOTION To Amend Docket Control Order and For Extension Of Certain
                                Deadlines by AdjustaCam ILC, Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com,
                                LLC, CDW Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., CDW,
                                LLC, Digital Innovations, LLC, Gear Head, LLC, Hewlett-Packard Company,
                                KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics,
                                Inc. DBA Micro Center, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc.,
                                Rosewill Inc., Sakar Internationa~ Inc., Target Corp., Wal-Mart Stores, Inc ..
                                (Attaclnnents: # 1 Text ofProposed Order)(Yarbrough, Herbert) (Entered:
                                05/07/2012)
   05/07/2012               635 RESPONSE to 629 Appeal ofMagistrate Judge Decision to District Court by Best Buy
                                Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW, LLC, Digital Innovations,
                                LLC, Fry's Electronics Inc, Gear Head, LLC, Hewlett-Packard Company, KOHLS
                                CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA
                                Micro Center, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Rosewilllnc.,
                                Sakar lnternatio~ Inc., Wal-Mart Stores, Inc .. (Attaclnnents: # 1 Exhibit A)(Danie1s,
                                Steven) (Additional attaclnnent(s) added on 5/8/2012: # 2 Text ofProposed Order)
                                (leh, ). (Entered: 05/07/2012)
   05/07/2012               636 RESPONSE to 632 Appeal ofMagistrate Judge Decision to District Court,, by
                                AdjustaCamLLC. (Attaclnnents: # 1 Text ofProposed Order Proposed Order,# 2
                                Exhibit 1- Marktmn Order, # .3. Exhibit 2- 343 Patent, # ~ Exhibit 3- 343 file history-
                                Part I,# ~ Exhibit 3- 343 file history- Part II)(Edmonds, Jolm) (Entered: 05/07/2012)
   05/08/2012               637 NOTICE of Attorney Appearance by George Wahon Webb, III on behalf ofBest Buy
                                Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, Hewlett-Packard Company, Micro
                                Electronics, Inc. DBA Micro Center (Webb, George) (Entered: 05/08/2012)
   05/08/2012               638 ORDER granting 634 Motion to extend deadlines. Discovery Deadline reset to 8-06-
                                2012. Expert Witnesses designated by 6-25-2012; Rebuttal Expert Witnesses
                                designated by 7-25-2012. Signed by Judge Leonard Davis on 05/08/12. cc:attys 5-08-
                                12 (mD,) (Entered: 05/08/2012)
   05/08/2012               639 Unopposed MOTION to Withdraw as Attorney and Substitute Counsel by Fry's
                                Electronics Inc. (Attaclnnents: # 1 Text ofProposed Order)(Danie1s, Steven) (Entered:
                                05/08/2012)
   05/10/2012               640 ORDER granting 639 Motion to Withdraw as Attorney. Attorney Jia-geng Lu; Bryan
                                Donivan Atkinson and Steven Robert Danie1s terminated as counsel fur deft Fry's

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                                      Electronics Inc. Signed by Judge Leonard Davis on 05/10/12. cc:attys 5-10-12 (mD,)
                                      (Entered: 05/10/2012)
   05/16/2012               641       NOTICE of Attorney Appearance by Herbert J Hammond on behalf ofMicro
                                      Electronics, Inc. DBA Micro Center (Hammond, Herbert) (Entered: 05/16/2012)
   05/17/2012               642 RESPONSE to 635 Response to Non-Motion,, PLAINTIFFS REPLY TO
                                DEFENDANTS OPPOSITION TO PLAINTIFFS OBJECTIONS TO THE
                                MAGISTRATES ORDER ON CLAIM CONSTRUCTION by AdjustaCamLLC.
                                (Attaclnnents: # 1 Exhibit 1)(Edmonds, Jolm) (Entered: 05/17/2012)
   05/18/2012               643 NOTICE by Systemax, Inc. D/B/A CompusaRequest to Terminate Electronic
                                Notice (Denenberg, David) (Entered: 05/18/2012)

   05/18/2012               644 RESPONSE to 636 Response to Non-Motion, DEFENDANTS REPLY TO
                                PLAINTIFFS RESPONSETO DEFENDANTS OBJECTIONS TO CLAIM
                                CONSTRUCTION ORDER by Best Buy Co Inc, Best Buy Stores, LP, BestBuy.com,
                                LLC, CDW Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc., Digital
                                Innovations, LLC, Fry's Electronics Inc, Gear Head, LLC, Hewlett-Packard Company,
                                KOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc., Micro Electronics,
                                Inc. DBA Micro Center, Newegg, Inc., Newegg.com, Inc., Office Depot, Inc., Sakar
                                Internationa~ Inc., Wal-Mart Stores, Inc .. (Daniels, Steven) (Entered: 05/18/2012)

   05/29/2012               645 ORDER granting 608 Motion for Extension ofTime to File Markman Reply. Signed by
                                Judge Leonard Davis on 05/29/12. cc:attys 5-29-12 (mD,) (Entered: 05/29/2012)
   05/29/2012               646 STIPULATION ofDismissal with Prejudice between Plaintiff Acijustacam LLC
                                and Defendant Auditek Corporation by AdjustaCamLLC. (Attaclnnents: # 1 Text of
                                Proposed Order)(Edmonds, Jolm) (Entered: 05/29/2012)
   05/30/2012               647 ORDER granting 646 Stipulation ofDismissa1 filed by AdjustaCam LLC. All claims and
                                cmmterclaims asserted in this suit between plaintifl; and defendant, Auditek
                                Corporation, are hereby dismissed with prejudice. All costs, expenses and attorneys
                                fees are to be borne by the party that inctnTed them Signed by Judge Leonard Davis on
                                05/30/12. cc:attys 5-30-12(mD,) (Entered: 05/30/2012)


   06/06/2012               648       ***FILED IN ERROR PER ATTORNEY. SEE ENTRY 649 FOR
                                      CORRECTED FILING.*** STIPULATION ofDismissal with Prejudice between
                                      Plaintiff Acijustacam LLC and Defendant Digital Innovations, LLC by Digital
                                      Innovations, LLC. (Attaclnnents: # 1 Text ofProposed Order)(Edmonds, Jolm)
                                      Modified on 6/6/2012 (gig). (Entered: 06/06/2012)
   06/06/2012               649 STIPULATION ofDismissal with Prejudice between Plaintiff Acijustacam LLC
                                and Defendant Digital Innovations, LLC by AdjustaCam LLC. (Attaclnnents: # 1
                                Text ofProposed Order)(Edmonds, Jolm) (Entered: 06/06/2012)
   06/06/2012                         ***FILED IN ERROR PER ATTORNEY. Document # 648, Stipulation of
                                      DismissaL PLEASE SEE ENTRY 649 FOR CORRECTED FILING.***


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                                      (gsg) (Entered: 06/06/2012)
   06/07/2012               650 ORDER overruling phfs objections 629 and defts' objections 632 , and adopting 627
                                Memorandwn Opinion and Order ofthe US Magistrate Judge as the Opinion of this
                                Court. Signed by Judge Leonard Davis on 06/07/12. cc:attys 6-07-12(mll,) (Entered:
                                06/07/20 12)
   06/07/2012               651       ORDER granting 649 Stipu1ation ofDismissal filed by AdjustaCam LLC. All clairm and
                                      cmmterclairm asserted in this suit between plaintiff; and defendant, Digital Innovations,
                                      LLC, are hereby dismissed with prejudice. All costs, expenses and attorneys fees are to
                                      be borne by the party that incurred them Signed by Judge Leonard Davis on 06/07/12.
                                      cc:attys 6-07-12(mll,) (Entered: 06/07/2012)
   06/07/2012               652 Joint MOTION to Amend/Correct 588 Order, Set Schedu1ing Order Dead1ines, Set
                                Hearings,,,,, and For Extension of Certain Deadlines by AdjustaCam LLC, Best
                                Buy Co Inc, Best Buy Stores, LP, BestBuy.com, LLC, CDW, LLC, Fry's Electronics
                                Inc, Gear Head, LLC, Hewlett-Packard Company, KOHLS CORPORATION D/B/A
                                KOHL'S, Kohl's Illinois, Inc., Micro Electronics, Inc. DBA Micro Center, Newegg,
                                Inc., N ewegg.com, Inc., Office Depot, Inc., Rosewill Inc., Sak.ar Internationa~ Inc.,
                                Wal-Mart Stores, Inc .. (Attaclnnents: # 1 Text ofProposed Order)(Yarbrough,
                                Herbert) (Entered: 06/07/2012)

   06/1112012               653       ORDER granting 652 Motion to Amend/Correct Docket Control Order. Signed by
                                      Judge Leonard Davis on 06/11/12. cc:attys 6-11-12 (mll,) (Entered: 06/1112012)
   06/1112012                         Schedu1ing Order Dead1ines reset per 653 Order: IdentifY trial witnesses by 8/13/20 12;
                                      Rebuttal Trial Witnesses identified by 8-27-2012. Dispositive Motions due by
                                      10/12/2012; Response to Dispositive Motions due 11-02-2012. Submit opening letter
                                      briefS by 8-13-2012; Submit answering letter briefS by 8-27-2012; Submit reply letter
                                      briefS by 9-03-2012. (mll,) (Entered: 06/12/2012)
   06/18/2012               654 NOTICE by Auditek Corporation Request for Termination of Electronic Notices
                                (Hihon, Zachary) (Entered: 06/18/2012)
   07/13/2012               655 Joint MOTION to Dismiss CDW with Prejudice by AdjustaCam LLC, CDW
                                Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc .. (Attaclnnents: # 1 Text
                                ofProposed Order)(Edmonds, John) (Entered: 07/13/2012)
   07/25/2012               656 Unopposed MOTION fur Extension of Time to Complete Discovery of their Rebuttal
                                Expert Witness Report by AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed
                                Order Proposed Order)(Edmonds, John) (Entered: 07/25/2012)
   07/26/2012               657 ORDER granting 656 Motion fur Extension ofTime to Complete Discovery. Plaintiff
                                and Defendants deadline to submit their Rebuttal Expert Witness Report is extended to
                                7-26-2012. Signed by Judge Leonard Davis on 07/26/12. cc:attys 7-26-12 (mll,)
                                (Entered: 07/26/20 12)
   07/27/2012               658 ORDER granting 655 Motion to Dismiss. All c1airns and counterclairm asserted in this
                                suit between plainti:fl; and defendant, CDW Corporation and CDW Inc, are hereby

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                                      dismissed with prejudice. All costs, expenses and attorneys fues are to be borne by the
                                      party that incurred them Signed by Judge Leonard Davis on 07/27/12. cc:attys 7-27-
                                      12 (mil,) (Entered: 07/27/2012)
   08/02/2012               659 Joint MOTION to Amend/Correct 588 Order, Set Schedu1ing Order Dead1ines, Set
                                Hearings,,,, 653 Order on Motion to Amend/Correct- to Amend Docket Control
                                Order and For Extension of Certain Deadlines by AdjustaCam LLC, Best Buy Co
                                Inc, Best Buy Stores, LP, BestBuy.com, LLC, Fry's Electronics Inc, Gear Head, LLC,
                                Hewlett-Packard Company, KOHLS CORPORATION D/B/A KOHL'S, Kohl's
                                Illinois, Inc., Micro Electronics, Inc. DBA Micro Center, Newegg, Inc., Newegg.com,
                                Inc., Office Depot, Inc., Rosewill Inc., Sakar Intemationa~ Inc., Wal-Mart Stores, Inc ..
                                (Attaclnnents: # 1 Text ofProposed Order)(Yarbrough, Herbert) (Entered:
                                08/02/2012)


   08/03/2012               660 ORDER granting 659 Joint Motion to Amend 588 Docket Control Order and fur
                                Extension of Certain Dead1ines. Signed by Judge Leonard Davis on 8/2/2012. (leh, )
                                (Entered: 08/03/2012)
   08/03/2012               661       APPLICATION (APPROVED)to Appear Pro Hac Vice by Attorney Robert A
                                      Matson fur N ewegg, Inc.,N ewegg.com, Inc. and fur Rosewill Inc .. (pkb, ) (Entered:
                                      08/03/2012)
   08/06/2012               662 NOTICE by CDW Corporation F/K/A CDW Computer Centers, Inc., CDW, Inc.,
                                CDW, LLC Request for Termination of Electronic Notices (Horton, Be~Yamin)
                                (Entered: 08/06/2012)
   08/15/2012               663       REPORT ofMediation by Jarres W Knowles. Mediation resuh: Follow-Up Report of
                                      Settlerrents(Knowles, Jarres) (Entered: 08/15/2012)
   08/15/2012               664 STIPULATION ofDismissal of Defendant PC Gear Head, LLC flk/a Gear Head
                                LLC by AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order Order)
                                (Edmmds, John) (Entered: 08/15/2012)
   08/17/2012               665 ORDER granting 664 Stipulated Motion fur Dismissal With Prejudice. It is ordered that
                                all claims and counterclaims asserted in this suit between PlaintiffAdjustacam LLC and
                                Defendant PC Gear Head t7k/a Gear Head LLC, are dismissed with prejudice. All
                                costs, expenses and attorney fues are to be borne by the party that incurred them
                                Signed by Judge Leonard Davis on 8/17/2012. (leh,) (Entered: 08/17/2012)
   08/20/2012               666 STIPULATION ofDismissal of Defendant Micro Electronics, Inc., d/b/a Micro
                                Center by AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order Order)
                                (Edmonds, John) (Entered: 08/20/2012)
   08/20/2012               667 STIPULATION ofDismissal of Defendant Office Depot, Inc., by AdjustaCam LLC.
                                (Attaclnnents: # 1 Text ofProposed Order Order)(Edmonds, John) (Entered:
                                08/20/2012)
   08/20/2012               668       STIPULATION ofDismissal of Defendant Best Buy Co., Inc., Best Buy Stores, L.P.,
                                      and BestBuy.com, LLC., by AdjustaCamLLC. (Attaclnnents: # 1 Text ofProposed

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                                      Order Order)(Edmmds, Jolm) (Entered: 08/20/2012)
   08/20/2012               669 STIPULATION ofDismissal of Defendant Wal-Mart Stores, Inc by AdjustaCam
                                LLC. (Attaclnnents: # 1 Text ofProposed Order Order)(Edmonds, Jolm) (Entered:
                                08/20/2012)
   08/2112012               670 STIPULATION ofDismissal between AdjustaCam LLC and Fry's Electronics Inc.
                                by AdjustaCam LLC, Fry's Electronics Inc. (Attaclnnents: # 1 Text ofProposed Order)
                                (Edmonds, Jolm) (Entered: 08/2112012)
   08/22/2012               671       ORDER granting 666 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                      counterclaim; asserted in this suit between pia~ and defendant, Micro Electronics,
                                      Inc., d/b/a Micro Center, are hereby dismissed with prejudice. All costs, expenses and
                                      attorneys fees are to be borne by theparty that incurred them Signed by Judge Leonard
                                      Davis on 08/22/12. cc:attys 8-22-12(mll,) (Entered: 08/22/2012)
   08/22/2012               672 ORDER granting 667 Stipulation ofDismissal filed by AdjustaCam LLC. All claim; and
                                cmmterclaim; asserted in this suit between pia~ and defendant, Office Depot, Inc.,
                                are hereby dismissed with prejudice. All costs, expenses and attorneys fees are to be
                                borne by the party that incurred them Signed by Judge Leonard Davis on 08/22/12.
                                cc:attys 8-22-12(mll,) (Entered: 08/22/2012)
   08/22/2012               673       ORDER granting 668 Stipulation ofDismissa1 filed by AdjustaCam LLC. All claim; and
                                      cmmterclaim; asserted in this suit between pia~ and defendants, Best Buy Co., Inc.,
                                      Best Buy Stores, L.P ., and BestBuy.com, LLC., are hereby dismissed with prejudice.
                                      All costs, expenses and attorneys fees are to be borne by the party that incurred them
                                      Signed by Judge Leonard Davis on 08/22/12. cc:attys 8-22-12(mll,) (Entered:
                                      08/22/2012)
   08/22/2012               674 ORDER granting 669 Stipulation ofDismissa1 filed by AdjustaCam LLC. All claim; and
                                cmmterclaim; asserted in this suit between pia~ and defendant, Wal-Mart Stores,
                                Inc., are hereby dismissed with prejudice. All costs, expenses and attorneys fees are to
                                be borne by the party that incurred them Signed by Judge Leonard Davis on 08/22/12.
                                cc:attys 8-22-12(mll,) (Entered: 08/22/2012)
   08/22/2012               675 ORDER granting 670 Stipulation ofDismissa1 filed by Fry's Electronics Inc,
                                AdjustaCam LLC. All claims and cmmterclaim; asserted in this suit between pia~
                                and defendant, Frys Electronics, Inc., are hereby dismissed with prejudice. All costs,
                                expenses and attorneys fees are to be borne by the party that incurred them Signed by
                                Judge Leonard Davis on 08/22/12. cc:attys 8-22-12(mll,) (Entered: 08/22/2012)

   08/24/2012               676 Joint MOTION to Dismiss HP by AdjustaCam LLC. (Attaclnnents: # 1 Text of
                                Proposed Order)(Edmonds, Jolm) (Entered: 08/24/2012)
   08/27/2012               677 ORDER granting 676 Motion to Dismiss. All claims and counterclaim; asserted in this
                                suit between plaintiff; and defendant, Hewlett-Packard Company, arehereby dismissed
                                with prejudice. All costs, expenses and attorneys fees are to be borne by the party that
                                incurred them Signed by Judge Leonard Davis on 08/27/12. cc:attys 8-27-12 (mil,)
                                (Entered: 08/27/2012)
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   08/27/2012               678 Opposed SEALED MOTION TO DISMISS CLAIMS AND COUNTERCLAIMS
                                INVOLVING NEWEGG AND ROSEWILL by AdjustaCamLLC. (Attaclnnents: # 1
                                Exhibit 1, # 2. Text ofProposed Order Order re Expedited Briefing and Oral Hearing, #
                                .3. Text ofProposed Order Order Granting Motion to Dismiss)(Edmonds, John)
                                (Entered: 08/27/2012)
   08/31/2012               679 Letter Brief:filed by Sakar Internationa~ Inc. (Sutton, Ezra) (Entered: 08/31/2012)
   08/31/2012               680 LetterBrief:filed byKOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc.,
                                Newegg, Inc., Newegg.com, Inc., Rosewilllnc., Sakar lnternationa~ Inc. (Attaclnnents:
                                # 1 Exhibit !)(Yarbrough, Herbert) (Entered: 08/31/2012)
   08/31/2012               682 Letter Brief :filed by Newegg, Inc. (Herberholz, Dana) (Entered: 08/31/2012)
   08/31/2012               683       Letter Brief :filed by AdjustaCamLLC (Attaclnnents: # 1 Exhibit A (Letter Brief),# 2.
                                      Exhibit A(l ), # .3. Exhibit A(2), # 1 Exhibit A(3), # ~ Exhibit A(4))(Edmonds, John)
                                      (Entered: 08/31/2012)
   08/31/2012               684 SEALED NOTICE OF COMPLIANCE ReLetter BriefFiled by AdjustaCamLLC.
                                (Attaclnnents: # 1 Exhibit A, # 2. Exhibit A(l ), # .3. Exhibit A(2))(Edmonds, John)
                                (Entered: 08/3112012)
   08/31/2012               685 Letter Brief filed by N ewegg, Inc. (Attaclnnents: # 1 Exhibit)(Herberholz, Dana)
                                (Entered: 08/31/2012)

   09/04/2012               686 SEALED Letter Brief :filed by KOHLS CORPORATION D/B/A KOHL'S, Kohl's
                                Illinois, Inc., N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc., Sakar lnternationa~ Inc.
                                (Attaclnnents: #(1) Exhibit !)(Yarbrough, Herbert) (Entered: 09/04/2012)
   09/05/2012               687 NOTICE of Attorney Appearance by Stephen F Sch1ather on behalf of AdjustaCam
                                LLC (Sch1ather, Stephen) (Entered: 09/05/2012)
   09/06/2012               688 NOTICE by Gear Head, LLC of Request for Termination of Electronic Notices
                                (Hamrrond, Herbert) (Entered: 09/06/2012)
   09/06/2012               689 NOTICE by Digital Innovations, LLC of Request for Termination of Electronic
                                Notices (Stiner Toomer, Tamara) (Entered: 09/06/2012)

   09/07/2012               690 Trial Witness List by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc .. (Zarian, John)
                                (Entered: 09/07/2012)
   09/07/2012               691       ***DEFICIENT DOCUMENT. DISREGARD.*** NOTICE by Sakar
                                      Internationa~ Inc. Designation of Trial Witnesses (Sutton, Ezra) Modified on
                                      9/11/2012 (gsg). (Entered: 09/07/2012)
   09/08/2012               692 P1aintifi's Trial Witness List by AdjustaCam LLC. (Edmonds, John) (Entered:
                                09/08/2012)
   09/11/2012               693 NOTICE by Sakar lnternationa~ Inc. Revised Designation of Trial Witnesses of
                                Sakar International, Inc., Kohl's Illinois, Inc., and Kohl's Corporation (Sutton,
                                Ezra) (Entered: 09/11/2012)
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   09/14/2012               694 Rebuttal Witness List by AdjustaCam LLC. (Schlather, Stephen) (Entered:
                                09/14/2012)
   09/14/2012               695 NOTICE by KOHLS CORPORATION D/B/A KOHL'S, Sak.ar Internationa~ Inc.
                                Designation of Rebuttal Trial Witnesses of Sakar International, Inc., Kohl's
                                Illinois, Inc., and Kohl's Corporation (Sutton, Ezra) (Entered: 09/14/2012)

   09/14/2012               696 Letter Brief :filed by KOHLS CORPORATION D/B/A KOHL'S, Sak.ar lnternationa~
                                Inc. (Attachtrents: # 1 Exhibit A,# 2 Exhibit B)(Sutton, Ezra) (Entered: 09/14/2012)
   09/14/2012               697 Letter Brief :filed by KOHLS CORPORATION D/B/A KOHL'S, Sak.ar Internationa~
                                Inc. (Sutton, Ezra) (Entered: 09/14/2012)


   09/14/2012               698 Rebuttal Trial Witness List by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc ..
                                (Herberholz, Dana) (Entered: 09/14/2012)
   09/14/2012               699 RESPONSE to Motion re 678 Opposed SEALED MOTION TO DISMISS CLAIMS
                                AND COUNTERCLAIMS INVOLVING NEWEGG AND ROSE WILL filed by
                                Newegg, Inc., Newegg.com, Inc., Rosewill Inc .. (Za.rian, John) (Entered: 09/14/2012)

   09/14/2012               700 Letter Brieffiled by AdjustaCamLLC (Attachtrents: # 1 Exhibit 1)(Edmonds, John)
                                (Entered: 09/14/2012)
   09/14/2012               701       Letter Brieffiled by AdjustaCamLLC (Attachtrents: # 1 Exhibit 1)(Edmonds, John)
                                      (Entered: 09/14/2012)
   09/14/2012               702 Letter Brief:filed by AdjustaCamLLC (Attachtrents: # 1 Exhibit 1)(Edmonds, John)
                                (Entered: 09/14/2012)
   09/14/2012               703       Letter Brieffiled by AdjustaCamLLC (Attachtrents: # 1 Exhibit 1)(Edmonds, John)
                                      (Entered: 09/14/2012)
   09/14/2012               704 Letter Brief:filed by AdjustaCamLLC (Attachtrents: # 1 Exhibit 1)(Edmonds, John)
                                (Entered: 09/14/2012)
   09/14/2012               705       SEALED Letter Brief:filed byNewegg, Inc., Newegg.com, Inc., Rosewilllnc.
                                      (Attachtrents: # 1 Exhibit 1 - Letter Brief; # 2 Exhibit A, # .3. Exhibit B, # 1 Exhibit C)
                                      (Matson, Robert) (Entered: 09/14/2012)
   09/14/2012               706 SEALED Letter Brief:filed byNewegg, Inc., Newegg.com, Inc., Rosewilllnc.
                                (Attachtrents: # 1 Exhibit 1 - Letter Brief; # 2 Errata A, # .3. Exhibit B)(Matson, Robert)
                                (Entered: 09/14/2012)
   09/17/2012               707 REPLY to Response to Motion re 678 Opposed SEALED MOTION TO DISMISS
                                 CLAIMS AND COUNTERCLAIMS INVOLVING NEWEGG AND ROSEWILL
                                filed by AdjustaCam LLC. (Attachtrents: # 1 Text ofProposed Order Order)
                                (Edmonds, John) (Entered: 09/17/2012)
   09/18/2012               708 NOTICE byWal-Mart Stores, Inc. Of Request For Termination Of Electronic
                                Notices (Chapman, Laura) (Entered: 09/18/2012)

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   09/19/2012               709 Unopposed MOTION fur Extension ofTime to File Response/Reply as to 705
                                SEALED Notice ofCompliance- Letter Brie~ 706 SEALED Notice ofCompliance-
                                Letter Briefby AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order)
                                (Edmonds, John) (Entered: 09/19/2012)
   09/20/2012               710 ORDER granting 709 Motion fur Extension ofTime to File Response/Reply. Signed by
                                Judge Leonard Davis on 09/20/12. cc:attys 9-20-12 (mll,) (Entered: 09/20/2012)
   09/20/2012               711       NOTICE by AdjustaCam LLC of Cancellation ofAsserted Claims (Attaclnnents: # 1
                                      Exhibit 1)(Edmonds, John) (Entered: 09/20/2012)
   09/21/2012               712 Letter Brief :filed by Kohl's Illinois, Inc., Sakar Internationa~ Inc. (Attaclnnents: # 1
                                Exhibit A,# 2 Exhibit B, # J Exhibit C, # :1 Exhibit D)(Sutton, E:zra) (Entered:
                                09/21/2012)
   09/21/2012               713       Letter Brief :filed by AdjustaCam LLC (Attaclnnents: # 1 Exhibit A)(Edmonds, John)
                                      (Entered: 09/21/2012)
   09/21/2012               714 SEALED Letter Brieffiled byNewegg, Inc., Newegg.com, Inc., Rosewilllnc.
                                (Attaclnnents: # 1 Exhibit 1 - Letter Brief)(Zarian, John) (Entered: 09/21/2012)
   09/21/2012               715 REPLY to Notice of Compliance - Letter Briefre 680 Notice of Compliance - Letter
                                Brief:filed byRosewilllnc., Newegg.com, Inc., KOHLS CORPORATION D/B/A
                                KOHL'S, Kohl's Illinois, Inc., Sakar Internationa~ Inc., Newegg, Inc. Filed by
                                N ewegg.com, Inc., Rosewill Inc., N ewegg, Inc. by N ewegg.com, Inc., Rosewill Inc.,
                                N ewegg, Inc .. (Attaclnnents: # 1 Exhibit 1 - Letter Brief)(Zarian, John) (Entered:
                                09/21/2012)
   09/2112012               716 REPLY to Notice of Compliance- Letter Briefre 685 Notice ofCompliance- Letter
                                Brief:filed byNewegg, Inc. Filed byNewegg.com, Inc., Rosewilllnc., Newegg, Inc. by
                                N ewegg.com, Inc., Rosewill Inc., N ewegg, Inc .. (Attaclnnents: # 1 Exhibit 1 - Letter
                                Brief)(Zarian, John) (Entered: 09/21/2012)
   09/21/2012               717 LetterBrief:filed byKOHLS CORPORATION D/B/A KOHL'S, Kohl's Illinois, Inc.,
                                N ewegg, Inc., Rosewill Inc., Sakar Internationa~ Inc. (Attaclnnents: # 1 Exhibit 1)
                                (Zarian, John) (Entered: 09/21/2012)
   09/24/2012               718 Letter Brief :filed by AdjustaCam LLC (Attaclnnents: # 1 Exhibit A)(Edmonds, John)
                                (Entered: 09/25/2012)
   09/27/2012               719 Unopposed MOTION to Dismiss involving Defendants/Counter-claimants Newegg
                                Inc., Newegg.com Inc., and Rosewill, Inc. by AdjustaCamLLC. (Attaclnnents: # 1
                                Text ofProposed Order Proposed Order)(Edmonds, John) (Entered: 09/27/2012)
   09/27/2012               720 ORDER granting 719 Motion to Dismiss. Plainti:OS claims against de:fts Newegg Inc.,
                                Newegg.comlnc., and Rosewill, Inc are DISMISSED WITH PREJUDICE; de:fts'
                                cmmterclaitm are DISMISSED WITHOUT PREJUDICE. Signed by Judge Leonard
                                Davis on09/27/12. cc:attys 9-27-12 (mll,) (Entered: 09/27/2012)
   09/30/2012               721       Opposed MOTION to Dismiss Remaining Defendants Sakar and Kohl's by
                                      AdjustaCamLLC. (Attaclnnents: # 1 Exhibit 1, # 2 Exhibit 2, # J Text ofProposed
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                                      Order Proposed Order fur Oral Hearing and Expedited Briefing, # 1 Text ofProposed
                                      Order Proposed Order Granting Motion to Dismiss)(Edmonds, John) (Entered:
                                      09/30/2012)
   10/0112012               722 ORDER that Derendants Sakar lnternationa~ Inc., Kohls Illinois, Inc., and Kohls
                                Corporation, Inc. file a response to AdjustaCams 721 Motion to Dismiss by 10-08-
                                2012. AdjustaCams Reply, ifany, SHALL be due on 10-12-2012,and Defundants
                                Sur-Reply, if any, SHALL be due on 10-16-2012. Signed by Judge Leonard Davis on
                                10/01112. cc:attys 10-02-12(mll,) (Entered: 10/02/2012)
   10/02/2012               723       Proposed Pretrial Order (Joint) by AdjustaCam LLC. (Attaclnrents: # 1 Exhibit 1
                                      (Plaintiffs Witness List), # 2 Exhibit 2 (Derendants' Witness List), # .3. Exhibit 3
                                      (Plaintifi's Exhibit List), # 1 Exhibit 4 (Derendants' Exhibit List), # ~ Exhibit 5 (Proposed
                                      Jmy Charge),# _n Exhibit 6 (Proposed Jmy Verdict Form))(Edmmds, John) (Additional
                                      attaclnrent(s) added on 10/3/2012: # 1 Text ofProposed Order) (gsg, ). (Entered:
                                      10/02/2012)
   10/03/2012               724 NOTICE by AdjustaCam LLC of Supplemental Authority in support of its opposed
                                Motion to Dismiss (Attachments:# 1 Exhibit A)(Edmonds, John) (Entered:
                                10/03/2012)
   10/08/2012               725 RESPONSE in Opposition re 721 Opposed MOTION to Dismiss Remaining
                                Defendants Sakar and Kohl's Counterclaims filed by Sakar International, Inc ..
                                (Attaclnrents: # 1 Exhibit A, # 2 Exhibit B, # .3. Exhibit C, # 1 Exhibit D)(Sutton, Ezra)
                                (Additionalattaclnrent(s) added on 10/26/2012: # ~ Text ofProposed Order) (gsg, ).
                                (Entered: 10/08/2012)
   10/1112012               726 PROPOSED BILL OF COSTS filed byNewegg, Inc., Newegg.com, Inc., Rosewill
                                Inc .. (Herberholz, Dana) (Entered: 10/1112012)
   10/1112012               727 SEALED MOTION For Declaration of Exceptional Case and Award of Fees and
                                Nontaxable Expenses byNewegg, Inc., Newegg.com, Inc., Rosewilllnc ..
                                (Attaclnrents: # 1 Text ofProposed Order)(Herberholz, Dana) (Entered: 10/11/2012)


   10/1112012               728       SEALED ADDITIONAL ATTACHMENTS to Main Document: 727 SEALED
                                      MOTION For Declaration of Exceptional Case and Award of Fees and
                                      Nontaxable Expenses. (Attachments:# 1 Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, # 1
                                      Exhibit 4, # ~ Exhibit 5, # _n Exhibit 6, # 1 Exhibit 7, # .8. Exhibit 8, # 2 Exhibit 9, # 10
                                      Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                                      Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                                      Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                                      Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                                      Exhibit 30, # .3.1 Exhibit 31)(Herberholz, Dana) (Entered: 10/1112012)
   10/12/2012               729 REPLY to Response to Motion re 721 Opposed MOTION to Dismiss Remaining
                                Defendants Sakar and Kohl's filed by AdjustaCam LLC. (Attaclnrents: # 1 Exhibit
                                A)(Edmonds, John) (Entered: 10/12/2012)


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   10/18/2012               730 NOTICE of Attorney Appearance by Ja.~res A Fussell, III on behalf ofAdjustaCam
                                LLC (Fussell, Ja.~res) (Entered: 10/18/2012)
   10/29/2012               731       Unopposed MOTION fur Extension ofTime to File to Defendants Newegg Sealed
                                      Motion For Declaration of Exceptional Case and Award of Fees and Nontaxable
                                      Expenses by AdjustaCamLLC. (Attacl:nrents: # 1 Text ofProposed Order Proposed
                                      Order)(Edmonds, John) (Entered: 10/29/2012)
   10/29/2012               732 Joint MOTION to Amend/Correct (Amend) Docket Control Order by AdjustaCam
                                LLC. (Attacl:nrents: # 1 Text ofProposed Order Order)(Edmonds, John) (Entered:
                                10/29/2012)
   10/29/2012               733       ORDER granting 731 Motion fur Extension ofTime. PlaintifiS deadline to file its
                                      Response to Defendants Newegg Inc., Newegg.comlnc., and Rosewilllnc. Sea1ed
                                      Motion For Declaration ofExceptional Case and Award ofFees and NontaxabJe
                                      Expenses 727 is extended to 11-05-2012. Signed by Judge Leonard Davis on
                                      10/29/12. cc:attys 10-29-12 (mll,) (Entered: 10/29/2012)
   11105/2012               734 Unopposed MOTION fur Extension ofTime to File Response to Defendants Newegg
                                Sealed Motion For Declaration of Exceptional Case and Award of Fees and
                                Nontaxable Expenses by AdjustaCamLLC. (Attacl:nrents: # 1 Text ofProposed
                                Order Order)(Edmonds, John) (Entered: 11105/2012)


   11107/2012               735 SEALED RESPONSE to Motion re 727 SEALED MOTION For Declaration of
                                Exceptional Case and Award of Fees and Nontaxable Expenses filed by
                                AdjustaCamLLC. (Edmonds, John) (Entered: 11107/2012)
   11/08/2012               736 SEALED ADDITIONAL ATTACHMENTS to Main Document:. (Attacl:nrents: # 1
                                Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, # 1 Exhibit 4, # ~ Exhibit 5, # .6 Exhibit 6, # 1
                                Exhibit 7, # .8. Exhibit 8, # .2 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12,
                                # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, #
                                18 Exhibit 18, # 19 Exhibit 19 (part 1), # 20 Exhibit 19 (part 2), # 21 Exhibit 20, # 22
                                Exhibit 21 (part 1), # 23 Exhibit 21 (part 2), # 24 Exhibit 22, # 25 Text ofProposed
                                Order)(Edmonds, John) (Entered: 11/08/2012)
   11108/2012               737 ORDER granting 734 Motion fur Extension ofTime. Signed by Judge Leonard Davis
                                on 11108/12. cc:attys 11-08-12 (mll, ) (Entered: 11/08/2012)
   11113/2012               738 ORDER Setting Hearing on Motion 721 Opposed MOTION to Dismiss Remaining
                                Defendants Sakar and Kohl's: Motion Hearing set fur 12/5/2012 02:00PM befure
                                Judge Leonard Davis. Signed by Judge Leonard Davis on 11113/12. cc:attys 11-13-
                                12(mll,) (Entered: 11113/2012)
   11113/2012               739 Unopposed MOTION to Amend/Correct 737 Order on Motion fur Extension ofTime
                                to File Reply Brief by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc .. (Attacl:nrents: #
                                1 Text ofProposed Order)(Herberho1z, Dana) (Entered: 11/13/2012)
   11113/2012               740 ORDER denying as moot 678 SeaJed Motion to Dismiss. Signed by Judge Leonard
                                Davis on 11113/12. cc:attys 11-13-12 (mll,) (Entered: 11113/2012)
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   11114/2012               741       ORDER granting 739 Motion to Atrend/Correct Order. N ewegg Defendants' deadline
                                      to file their reply in support oftheir Sealed Motion For Dec1aration ofExceptional Case
                                      and Award ofFees and Nontaxable Expenses 727 is correctly identified as 11-26-
                                      2012. Signed by Judge Leonard Davis on 11114/12. cc:attys 11-14-12 (mD,) (Entered:
                                      11114/2012)
   11126/2012               742 SEALED REPLY to Response to Motion re 727 SEALED MOTION For
                                Declaration of Exceptional Case and Award of Fees and Nontaxable Expenses
                                filed byNewegg, Inc., Newegg.com, Inc., Rosewilllnc .. (Herberholz, Dana) (Entered:
                                11126/2012)

   12/04/2012                         NOTICE ofHearing on Motion 721 Opposed MOTION to Dismiss Remaining
                                      Defendants Sakar and Kohl's :Motion Hearing set 12/5/2012 02:00 PM has been
                                      RESCHEDULED and will be heard at Pretrial Conference on 12/18/2012 09:00
                                      AM before Judge Leonard Davis. (cwk) (Entered: 12/04/2012)
   12/06/2012               743       SEALED SUR-REPLY to Motionre 727 SEALED MOTION For Declaration of
                                      Exceptional Case and Award of Fees and Nontaxable Expenses filed by
                                      AdjustaCamLLC. (Edmmds, Jolm) (Entered: 12/06/2012)
   12/14/2012               744 Unopposed MOTION to Dismiss claims and counterclaims involving
                                Defendants/Counter-claimants Sakar International, Inc., Kohls Illinois, Inc., Kohls
                                Corporation, Inc. and Kohls Department Stores, Inc. by AdjustaCam LLC.
                                (Attaclnnents: # 1 Text ofProposed Order)(Edmmds, Jolm) (Entered: 12/14/2012)
   12/17/2012               745 ORDER granting 744 Motion to Dismiss. Plaintiffi; c1aims against defts Sakar
                                Internationa~ Inc., Kohls Illinois, Inc., Kohls Corporation, Inc. and Kohls Departrrent
                                Stores, Inc are DISMISSED WITH PREJUDICE; Defendants' cmmterclaims are
                                DISMISSED WITHOUT PREJUDICE. Signed by Judge Leonard Davis on 12/17/12.
                                cc:attys 12-17-12 (mD,) (Entered: 12/17/2012)
   12/2112012               746 Unopposed MOTION for Extension ofTime to File by Sakar Internationa~ Inc ..
                                (Sutton, Ezra) (Entered: 12/2112012)
   12/2112012               747 ORDER granting 746 Motion for Extension ofTime. Deft's Deadline to file a Motion for
                                Declaration ofEx.ceptional Case and Award ofFees and Nontaxable Expenses is
                                extended to 1-16-2013. Signed by Judge Leonard Davis on 12/21112. cc:attys 12-21-
                                12 (mD,) (Entered: 12/21/2012)
   01116/2013               748       SEALED MOTION DEFENDANT SAKARINTERNATIONAL, INC.'S OPPOSED
                                      MOTION FOR DECLARATION OF EXCEPTIONAL CASE AND AWARD OF
                                      FEES AND NONTAXABLE EXPENSES by Sakar Internationa~ Inc .. (Attaclnnents: #
                                      1 Declaration ofEzra Sutton, # 2 Exhibit 1, # .3. Exhibit 2, # 1 Exhibit 3, # ~ Exhibit 4, #
                                      .Q Exhibit 5, # 1 Exhibit 5A, # .8. Exhibit 6, # .2. Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9,
                                      # 12 Exhibit 9A, # ll Exhibit 10, # 14 Exhibit 11, # 15 Exhibit 12, # 16 Exhibit 13, #
                                       17 Exhibit 14, # 18 Exhibit 15, # 19 Exhibit 16, # 20 Exhibit 17, # 21 Exhibit 18, # 22
                                      Exhibit 19, # 23 Exhibit 20, # 24 Exhibit 21, # 25 Exhibit 22)(Sutton, Ezra) (Additional
                                      attaclnnent(s) added on 1/18/2013: # 26 Text ofProposed Order) (gsg, ). (Entered:

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                                      01/16/2013)
   02/05/2013               749 SEALED RESPONSE to Motion re 748 SEALED MOTION DEFENDANT SAKAR
                                INTERNATIONAL, INC.'S OPPOSED MOTION FOR DECLARATION OF
                                EXCEPTIONAL CASE AND AWARD OF FEES AND NONTAXABLE EXPENSES
                                filed by AdjustaCamLLC. (Attachrrents: # 1 Exhibit 1, # 2 Exhibit 2, # .3. Exhibit 3, # ~
                                Exhibit 4, # ~ Exhibit 5, # 2 Exhibit 6, # 1 Exhibit 7, # .8. Exhibit 8, # 2 Exhibit 9, # 10
                                Exhibit 10, part 1, # 11 Exhibit 10, part 2, # 12 Exhibit 11, # 13 Exhibit 12, # 14
                                Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19
                                Exhibit 18, # 20 Exhibit 19, # 21 Errata 20, part 1, # 22 Exhibit 20, part 1, # 23 Exhibit
                                21, # 24 Exhibit 22, # 25 Exhibit 23, # 26 Exhibit 24, # 27 Text ofProposed Order)
                                (Edmonds, John) (Entered: 02/05/2013)
   02/11/2013               750 SEALED REPLY to Response to Motionre 748 SEALED MOTION DEFENDANT
                                SAKARINTERNATIONAL, INC.'S OPPOSED MOTION FOR DECLARATION OF
                                EXCEPTIONAL CASE AND AWARD OF FEES AND NONTAXABLE EXPENSES
                                filed by Sakar InternationaL Inc .. (Attachrrents: # 1 Exhibit A)(Sutton, Ezra) (Entered:
                                02/1112013)
   02/22/2013               751       SEALED SUR-REPLY to Motionre 748 SEALED MOTION DEFENDANT
                                      SAKARINTERNATIONAL, INC.'S OPPOSED MOTION FOR DECLARATION OF
                                      EXCEPTIONAL CASE AND AWARD OF FEES AND NONTAXABLE EXPENSES
                                      filed by AdjustaCam LLC. (Attachrrents: # 1 Exhibit 1, # 2 Exhibit 2)(Edmonds, John)
                                      (Entered: 02/22/2013)
   03/04/2013               752 ORDER denying as moot 721 Motion to Dismiss. Signed by Judge Leonard Davis on
                                03/04/13. cc:attys 3-04-13 (mTI,) (Entered: 03/04/2013)
   04/18/2013               753       ORDER Setting Hearing on Motion 727 SEALED MOTION For Declaration of
                                      Exceptional Case and Award of Fees and Nontaxable Expenses, 748 SEALED
                                      MOTION DEFENDANT SAKAR INTERNATIONAL, INC.'S OPPOSED MOTION
                                      FOR DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES AND
                                      NONTAXABLE EXPENSES :Motion Hearing set fur 5/22/2013 01:30PM befure
                                      Judge Leonard Davis. Parties shall meet and confer in good :faith to resolve these issues
                                      prior to the hearing. The parties are ORDERED to file a status report regarding which
                                      motions are still pending by noon on 5-17-2013. Signed by Judge Leonard Davis on
                                      04/18/13. (mTI,) (Entered: 04/18/2013)

   04/27/2013               754 Unopposed MOTION to Continue Hearing by AdjustaCam LLC. (Attachrrents: # 1
                                Text ofProposed Order)(Edmonds, John) (Entered: 04/27/2013)
   04/30/2013               755 ORDER granting 754 Motion to Continue. The hearing is rescheduled fur 6-26-2013 at
                                1:30 p.m Signed by Judge Leonard Davis on 04/30/13. (mTI,) (Entered: 04/30/2013)
   05/07/2013                         Set/Reset Deadlines as to 727 SEALED MOTION For Declaration of Exceptional
                                      Case and Award of Fees and Nontaxable Expenses, 748 SEALED MOTION
                                      DEFENDANT SAKARINTERNATIONAL, INC.'S OPPOSED MOTION FOR
                                      DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES AND

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                                      NONTAXABLE EXPENSES. Motion Hearing set for 6/26/2013 at 01:30PM
                                      before Judge Leonard Davis. (rlf) (Entered: 05/07/2013)
   05/17/2013               756 STATUS REPORT (Joint) Regarding Motions At Doc Nos. 727 And 748 by
                                AdjustaCamLLC. (Edmmds, Jolm) (Entered: 05/17/2013)

   06/06/2013               757 Unopposed MOTION to Withdraw as Attorney by AdjustaCam LLC. (Attachrrents: #
                                1 Text ofProposed Order)(Long, Joshua) (Entered: 06/06/2013)
   06/11/2013               758       ORDER granting 757 Motion to Withdraw as Attorney. Attorney Joshua Brooks Long
                                      terminated. Signed by Judge Leonard Davis on 06/11/13. (mll,) (Entered: 06/1112013)
   06/26/2013               759 Mimrte Entry for proceedings held before Judge Leonard Davis: Motion Hearing held on
                                6/26/2013 re 727 SEALED MOTION For Declaration of Exceptional Case and
                                Award of Fees and Nontaxable Expenses filed byRosewilllnc., Newegg.com, Inc.,
                                Newegg, Inc., 748 SEALED MOTION DEFENDANT SAKARINTERNATIONAL,
                                INC.'S OPPOSED MOTION FOR DECLARATION OF EXCEPTIONAL CASE
                                AND AWARD OF FEES AND NONTAXABLE EXPENSES filed by Sakar
                                Internationa~ Inc. (Court Reporter Shea Sloan.) (Attachrrents: # 1 Sign in sheet) (cwk)
                                (Entered: 06/26/2013)
   08/15/2013               760 ORDER denying as moot 732 Motion to Amend/Correct Docket Control Order.
                                Signed by Judge Leonard Davis on 08/15/13. (mll,) (Entered: 08/15/2013)
   08/19/2013               761       ORDER denying 727 Sealed Motion for Declaration ofExceptional Case; denying 748
                                      Sealed Motion for Declaration ofExceptional Case. Signed by Judge Leonard Davis on
                                      8/19/13. (II1ic,) (Entered: 08/19/2013)
   08/20/2013               762 FINAL JUDGMENT that the parties take nothing and that all pending motions are
                                DENIED AS MOOT. All costs are to be borne by the party that incmred them All
                                c.laims, comrterc.laims, and third-party c.laims in the instant suit are DISMISSED in their
                                entirety. The Clerk of the Court is directed to close this case. Signed by Judge Leonard
                                Davis on 08/20/13. (mll,) (Entered: 08/20/2013)
   09/05/2013               763       **WITHDRAWN PER 782 ORDER**
                                      MOTION to Amend/Correct 762 Judgrrent, byNewegg, Inc., Newegg.com, Inc.,
                                      Rosewilllnc .. (Attaclnnents: # 1 Exhibit 1)(Herberho1z, Dana) (Additionalattachrrent(s)
                                      added on 9/16/2013: # 2. Text ofProposed Order, # 3. Proposed Final Judgrrent) (gsg,
                                      ). Modified on 3/31/2014 (mll, ). (Entered: 09/05/20 13)
   09/17/2013               764 NOTICE OF APPEAL- FEDERAL CIRCUIT as to 761 Order on Sealed Motion,
                                762 Judgrrent, by N ewegg, Inc., N ewegg.com, Inc., Rosewill Inc .. Filing fee $ 455,
                                receipt number 0540-4319110. (Herberho1z, Dana) (Entered: 09/17/2013)
   09/17/2013               765 NOTICE OF APPEAL- FEDERAL CIRCUIT as to 650 Order, 627 Order, 762
                                Judgrrent, by AdjustaCamLLC. Filing fee$ 455, receipt number 0540-4319236.
                                Appeal Record due by 10/1/2013. (Edmonds, Jolm) (Entered: 09/17/2013)
   09/18/2013                         TransmissionofNotice ofAppeal byNewegglnc., eta~ 761 Order, 762 Judgrrent and
                                      Certified Copy of Docket Sheet to US Court ofAppeals, Federal Circuit by separate

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                                      email re 764 Notice of Appeal- FEDERAL CIRCUIT (die,) (Entered: 09/18/2013)
   09/18/2013                         Transmission ofNotice ofAppeal by AdjustaCam LLC, 650 Order, 627 Opinion and
                                      Order, 762 Judgrrent and Certified Copy ofDocket Sheet to US Court ofAppeals,
                                      Federal Circuit by separate email re 765 Notice of Appeal- FEDERAL CIRCUIT
                                      (die,) (Entered: 09/18/2013)
   09/18/2013               766 ACKNOWLEDGMENT OF RECEIPT on 9/18/13, byUSCA-FEDERAL CIRCUIT
                                as to 761 Order on Sealed Motion, 764 Notice of Appeal- FEDERAL CIRCUIT,
                                762 Judgrrent, and Certified Copy ofDocket Sheet. (die,) (Entered: 09/18/2013)

   09/18/2013               767 ACKNOWLEDGMENT OF RECEIPT on 9/18/13, by USCA-FEDERAL CIRCUIT
                                as to 650 Order, 765 Notice ofAppeal- FEDERAL CIRCUIT, 627 Merrorandmn
                                Opinion and Order, 762 Final Judgrrent, and Certified Copy ofDocket Sheet. (dlc, )
                                (Entered: 09/18/2013)
   09/18/2013               768 NOTICE OF APPEAL- FEDERAL CIRCUIT as to 761 Order on Sealed Motion,
                                762 Judgrrent, by Sakar Internationa~ Inc .. Filing fee$ 455. Appeal Record due by
                                9/19/2013. (Sutton, Ezra) (Entered: 09/18/2013)
   09/18/2013                         USCAAppealFees received$ 455.00 receiptmnnber 6-15472 re 768 Notice of
                                      Appeal- FEDERAL CIRCUIT filed by Sakar Internationa~ Inc. (n]c, ) (Entered:
                                      09/18/2013)
   09/18/2013                         Transmission ofNotice ofAppea~ 761 Order, 762 Judgrrent and Certified Copy of
                                      Docket Sheet to US Court of Appeals, Federal Circuit by separate email re 768
                                      Notice ofAppeal- FEDERAL CIRCUIT by Sakar Internationa~ Inc. (die, ) (Entered:
                                      09/18/2013)
   09/18/2013               769 ACKNOWLEDGMENT OF RECEIPT on 9/18/13, byUSCA-FEDERAL CIRCUIT
                                as to 768 Notice ofAppeal- FEDERAL CIRCUIT by Sakar, 761 Order on Sealed
                                Motion, 762 FinalJudgrrent, and Certified Copy ofDocket Sheet. (die,) (Entered:
                                09/19/2013)
   09/20/2013               770 NOTICE of Docketing Notice of Appeal from USCA-FEDERAL CIRCUIT re 765
                                Notice ofAppeal- FEDERAL CIRCUIT filed by AdjustaCam LLC. USCA Case
                                Nmnber 13-1665 (Attaclnnents: # 1 Official Caption)(die,) (Entered: 09/20/2013)
   09/20/2013               771       NOTICE of Docketing Notice of Appeal from USCA-FEDERAL CIRCUIT re 764
                                      Notice ofAppeal- FEDERAL CIRCUIT filed by Rosewill Inc., N ewegg.com, Inc.,
                                      Newegg, Inc. USCA Case Nmnber 13-1666 (die,) (Entered: 09/20/2013)
   09/20/2013               772 NOTICE of Docketing Notice of Appeal from USCA-FEDERAL CIRCUIT re 768
                                Notice ofAppeal- FEDERAL CIRCUIT filed by Sakar lnternationa~ Inc. USCA
                                Case Nmnber 13-1667 (die,) (Entered: 09/20/2013)
   09/23/2013               773 RESPONSE in Opposition re 763 MOTION to Arrend/Correct 762 Judgrrent,filed
                                by AdjustaCam LLC. (Attaclnnents: # 1 Text ofProposed Order)(Edrronds, Jolm)
                                (Entered: 09/23/2013)


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   09/25/2013               774       TRANSCRIPT REQUEST by AdjustaCam LLC (Edmonds, Jolm) (Entered:
                                      09/25/2013)

   09/26/2013               775       NOTICE OF FILING OF OFFICIAL TRANSCRIPT ofMotion Hearing Proceedings
                                      hek:l on 6/26/13 before Chief Judge Leonard Davis. Comt Reporter: Shea Sloan,
                                      shea_s1oan@txed.uscomts.gov

                                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                                      business days to file with the Court a Notice oflntent to Request Redaction of
                                      this transcript If no such Notice is filed, the transcript will be made remotely
                                      electronically available to the public without redaction after 90 calendar days.
                                      The policy is located on our website at www.txeduscourts.gov

                                      Transcript may be viewed at the comt public terminal or purchased tlrrough the Comt
                                      Reporter/Transcriber before the deadline for Release of Transcript Restriction After
                                      that date it maybe obtained tlrroughPACER. Redaction Request due 10/21/2013.
                                      Redacted Transcript Deadline set for 10/31/2013. Release of Transcript Restriction set
                                      for 12/30/2013. (sms,) (Entered: 09/26/2013)

   10/01/2013               776       TRANSCRIPT REQUEST by N ewegg, Inc., N ewegg.corn, Inc., Rosewill Inc. for
                                      proceedings held on 217/11 and 6/26/13 before Judge Love and Davis, (Herberho~
                                      Dana) (Entered: 10/01/2013)

   10/01/2013               777      REPLY to Response to Motionre 763 MOTION to Amend/Correct 762 Judgment,
                                     filed by Newegg, Inc., Newegg.com, Inc., Rosewill Inc .. (Attachments:# 1 Exhibit 1)
                                      (Herberho~ Dana) (Entered: 10/01/2013)

   10/02/2013               778       USCA-FEDERAL CIRCUIT- NOTICE to the Lower Comt or Agency. (die,)
                                      (Entered: 10/02/2013)

   10/02/2013                         Transmission of Certified Copy ofUpdated Docket Sheet to US Comt of Appeals,
                                      Federal Circuit by separate email pursuant to 778 USCA NOTICE to the Lower Comt
                                      or Agency. re 764 Notice ofAppeal- FEDERAL CIRCUIT, 768 Notice ofAppeal-
                                      FEDERAL CIRCUIT, 765 Notice of Appeal- FEDERAL CIRCUIT (die, ) (Entered:
                                      10/02/2013)

   10/02/2013               779       ACKNOWLEDGMENT OF RECEIPT on 10/2/13, byUSCA-FEDERAL CIRCUIT
                                      ofCertified copy ofUpdated Docket Sheet. (die,) (Entered: 10/02/2013)


   10/11/2013               780       SUR-REPLY to Reply to Response to Motionre 763 MOTION to Amend/Correct
                                      762 Judgment,filed by AdjustaCam LLC. (Edmonds, Jolm) (Entered: 10/11/2013)

   03/28/2014               781       Unopposed MOTION to Withdraw 763 MOTION to Amend/Correct 762 Judgment,
                                      by N ewegg, Inc., N ewegg.corn, Inc., Rosewill Inc .. (Attachments: # 1 Text of
                                      Proposed Order)(Herberho~ Dana) (Entered: 03/28/2014)

   03/31/2014               782       ORDER granting 781 Motion to Withdraw; withdrawing 763 Motion to
                                      Amend/Correct Judgment. Signed by Judge Leonard Davis on 03/31/14. (mD, )
                                      (Entered: 03/31/2014)

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   05/22/2014                         Transmission of Certified Copy ofUpdated Docket Sheet to US Court of Appea1s,
                                      Federal Circuit per 782 Order. (mll,) (Entered: 05/22/2014)
   06/10/2014               783       ORDER ofUSCA-FEDERAL CIRCUIT reactivating the appeal effective June 10,
                                      2014, as to 768 Notice ofAppeal- FEDERAL CIRCUIT filed by Sakar lnternationa~
                                      Inc., 765 Notice ofAppeal- FEDERAL CIRCUIT filed by AdjustaCamLLC, 764
                                      Notice ofAppeal- FEDERAL CIRCUIT filed by Rosewill Inc., N ewegg.com, Inc.,
                                      N ewegg, Inc. The appellant's brief is due on August 11, 2014. (die, ) (Entered:
                                      06/10/2014)
   06/13/2014               784 Unopposed MOTION to Withdraw as Attorney Debby E. Gunter by N ewegg, Inc.,
                                N ewegg.com, Inc., Rosewill Inc .. (Attaclnnents: # 1 Text ofProposed Order)
                                (Yarbrough, Herbert) (Entered: 06/13/2014)
   06/16/2014               785 ORDER granting 784 Motion to Withdraw as Attorney. Attorney Debra Elaine Gunter
                                terminated. Signed by Judge Leonard Davis on 06/16/14. (mll,) (Entered: 06/16/2014)



                                     I                         PACER Service Center
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                                                                                                                  US005855343A
United States Patent                                              [19J                          [11]    Patent Number:                          5,855,343
Krekelberg                                                                                      [45]    Date of Patent:                      Jan. 5, 1999

[54]     CAMERA CLIP                                                                       Primary Examiner-Ramon 0. Ramirez
                                                                                           Assistant Examiner-Long Dinh Phan
[75]     Inventor:       David E. Krekelberg, Minnetonka,                                  Attorney, Agent, or Firm---Nawrocki, Rooney & Sivertson,
                         Minn.                                                              P.A.
[73]     Assignee: iREZ Research, Corporation,                                              [57]                       ABSTRACT
                   Minnetonka, Minn.
                                                                                           A clip for supporting a portable camera either on a surface
[21]     Appl. No.: 814,168                                                                or on an edge of a housing, and for protecting the lens of the
                                                                                           camera when the camera is not being supported. The clip
[22]     Filed:          Mar. 7, 1997
                                                                                           provides two axis of rotation to position the camera to any
[51]     Int. Cl. 6 ..................................................... A47G 29/00       desired viewing angle. The clip may be rotated to a first
[52]     U.S. Cl. ........................... 248/121; 248/126; 248/918                    position to support the camera on a surface of a table or desk.
[58]     Field of Search ..................................... 248/121, 126,               The clip may be rotated to a second position to support the
                    248/440.1, 166, 176.1, 688, 918; 224/908;                              camera on the display screen of a laptop computer. When the
                          396/421, 422, 423, 424, 425, 426, 427,                           camera is not being supported in the first position or the
                                                                                 428
                                                                                           second position, the camera may be rotated to be releasably
[56]                        References Cited                                               held by the clip to protect the camera and lens during
                                                                                           storage.
                    U.S. PATENT DOCUMENTS
       1,208,344 12/1916 McAII ..................................... 248/126                                21 Claims, 2 Drawing Sheets




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                                         Fig. 4
                                                   ,--12

           Fig. 3                 20




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                             Fig. 5




                                           Fig. 6

                                                                  95
                                     41
                                  40
                  Fig. 7
               10\                                           ........._____38
          38         _,___




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                                                          5,855,343
                              1                                                                   2
                      CAMERA CLIP                                   desired viewing angle. The clip may be rotated to a first
                                                                    position to support the camera on a surface of a table or desk.
               FIELD OF THE INVENTION                               The clip may be rotated to a second position to support the
                                                                    camera on a display screen of a laptop computer. When the
   This invention relates to a clip for holding a camera. More      camera is not being supported in the first position or the
particularly it relates to a clip for supporting a portable         second position, the camera may be rotated to be releasably
camera either on a surface or on an edge of a housing, and          held by the clip to protect the camera and lens during
for protecting the lens of the camera when the camera is not        storage.
being supported.                                                       In a preferred embodiment of the present invention, an
                                                                 10 apparatus is provided for supporting a camera on an object
          BACKGROUND OF THE INVENTION
                                                                    where the apparatus comprises a hinge member and a
   With portable cameras, it is desirable to have an apparatus      support frame. The hinge member is rotatably attached to the
which can support the camera in any number of desired               camera where the camera rotates over a first axis of rotation
configurations. The apparatus must easily accommodate               relative to the hinge member. A support frame is hingedly
repositioning the camera to new orientations during use, and 15 attached to the hinge member to engagingly support the
must be easily transportable. This is especially true when          hinge member on the object, where the hinge member
using the camera with a portable computer, such as a laptop         rotates over a second axis of rotation relative to the support
computer. With increasing improvements in technology,               frame. The first axis of rotation is perpendicular to the
both the laptop computer and camera have become smaller             second axis of rotation, and the second axis of rotation is
over time, emphasizing the need for a compatible camera 20 substantially parallel to a first surface of the object when the
support apparatus. The camera support apparatus must be             hinge member is engagingly supported on the object. In the
versatile, light in weight, and be easily transportable to          preferred embodiment, the support frame further has a rear
accommodate the new camera and laptop designs, and must             support element and first and second front support elements.
desirably facilitate easy and safe storage of the camera.           In the preferred embodiment, the rear support element and
Often times portable computers are stored in carry bags 25 the first and second front support elements support the
which may be fully loaded with other hardware devices,              camera in the first position on the first surface when the rear
such as disk drives or printers, as well as with personal           support element and the first and second front support
effects, making for cramped storage conditions. The camera          elements are engaging the first surface when the first surface
support apparatus must desirably protect the camera from            is substantially level. In the preferred embodiment, the rear
damage during transport under these cramped storage con- 30 support element and the first and second front support
ditions to avoid the necessity for separate storage means in        elements engage the first surface at three locations in a plane
order to maintain camera portability.                               of the first surface to prevent rotation of the support frame
   In the past, camera support apparatus were not easily            relative to the first surface in any direction within the plane
transportable. Often times these apparatus utilized designs         of the first surface. In the preferred embodiment, when the
which incorporated a tripod approach, or which used one or 35 support frame is in the first position, the object may be the
more telescoping arms to support the camera. These designs          top of a table where the first surface is a top surface of the
attempted to support the camera during use, and then col-           table. The object may also be a desk top where the first
lapse to a smaller size to facilitate storage or transportation.    surface is a top surface of the desk.
While these designs were transportable, often times even the           In the preferred embodiment, the rear support element and
collapsed size of the prior art camera support apparatus 40 the first and second front support elements support the
could not be easily accommodated by a laptop computer               camera in a second position on the first surface adjacent an
bag. These prior art apparatus also did not provide means to        edge when the first surface is inclined from the substantially
protect the camera during transport, and if constructed of          level position. The object has a second surface wherein a
hard, exposed materials, tended to damage the cameras.              thickness between the first surface and the second surface
                                                                 45 defines an edge therebetween. The camera is maintained
   Another problem with prior art camera support apparatus
                                                                    adjacent to the edge in the second position where the
was that they could not easily accommodate the variety of
                                                                    uppermost portion of the object is the edge. The rear support
applications desired for portable cameras. These applica-
                                                                    element engages a first surface and the first and second
tions ranged from supporting the camera on the surface of a
                                                                    support elements engage the edge and the second surface.
desk or table to supporting the camera on the upright display
                                                                 50 The rear support element and the first and second front
screen of a laptop computer. With the prior art, often times
                                                                    support elements, in combination, maintain the camera
more than one camera support apparatus was necessary in
                                                                    adjacent the edge and prevent rotation of the support frame
order to support the desired range of applications. This
                                                                    along an axis substantially parallel to the second axis where
unfortunately adversely impacted portability of the camera.
                                                                    the second axis is substantially parallel to the edge. In a
   Thus, a desire was created within the industry for a small, 55 preferred embodiment, the rear support element and the first
easily transportable camera support apparatus for supporting        and second front support elements support the camera in the
the camera on both horizontal surfaces, such as the surface         second position on the first surface adjacent the edge when
of a desk or table, and vertical surfaces, such as the display      a first distance from the edge to the position where the rear
screen of a laptop computer, and to protect the camera              support element engages the first surface is greater than a
during storage and transport.                                    60 second distance from the edge to the position where the first
                                                               and second front support elements engage the second sur-
            SUMMARY OF THE INVENTION
                                                               face. A center of gravity of the camera and the hinge member
   Accordingly, it is an object of the invention to provide a  being adjacent and external to the first surface in combina-
clip for supporting a portable camera either on a surface or   tion with the first distance being greater than the second
on an edge of a housing, and for protecting the lens of the 65 distance prevents rotation of the support frame along the
camera when the camera is not being supported. The clip        axis substantially parallel to the second axis of rotation. In
provides two axis of rotation to position the camera to any    the preferred embodiment, when the support frame is in the




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second position, the object may be a display screen for a             FIG. 6 is a detailed side view showing the third mode
laptop computer, where the second surface is the front of the      wherein the lens of the camera is being fitably received by
display screen and the first surface is the back of the display    the cover; and
screen.                                                               FIG. 7 is a front view showing the third mode of the
   In the preferred embodiment, the support frame has means        preferred embodiment of the present invention.
to releasably hold and protect the camera during storage.
The camera may be rotated about the second axis in a                            DETAILED DESCRIPTION OF THE
direction from the first and second front support elements                        PREFERRED EMBODIMENTS
towards the rear support element of the support frame until           Referring now to the drawings, wherein like reference
the camera is in a position between and is releasably held by 10 numerals refer to like elements throughout the several
the rear support element and the first and second front            views, FIG. 1 is a perspective view of the camera clip
support elements. In the preferred embodiment, the rear            invention. FIG. 1 shows generally a camera apparatus 10
support element has means to protect a lens of the camera          having a camera 12 and a camera clip 14. Camera clip 14 is
which is a cover mounted at a distal end of the rear support       further comprised of a hinge member 16 and a support frame
element. The lens of the camera faces a direction of rotation
                                                                15 18. Camera 12 is comprised of housing 20 and lens 22, and
about the second axis from the first and second front support      has a housing backside 24 which is the side of the housing
elements to the rear support element of the support frame to       opposite of lens 22. Hinge member 16 is rotatably attached
allow the lens of the camera to be fitably received into the       to camera 12, where camera 12 rotates over a first axis 26 in
cover when the camera is releasably held between the rear          a direction shown by arrow 28 relative to hinge member 16.
support element and the first and second front support
                                                                20 Support frame 18 is hingedly attached to hinge member 16
elements.                                                          to engagingly support hinge member 16 on an object 30 (see
   In the preferred embodiment, the first and second front         also, FIG. 2). Hinge member 16 rotates over a second axis
support elements are spaced a distance apart at a distance         32 in the direction shown by arrow 34 relative to support
less than a diameter of a housing of the camera, where the         frame 18. First axis 26 is perpendicular to second axis 32.
camera is rotated about the second axis in the direction 25 Second axis 32 is substantially parallel to a first surface 36
towards the rear support element so that the housing passes        when hinge member 16 is engagingly supported on object 30
between the first and second front support elements. The first     (see also, FIG. 2). Support frame 18 has a first portion
and second front support elements resiliently and outwardly        consisting of first support element 38 and a second portion
flex to accommodate passage of the housing. The housing is         consisting of a first front support element 40 and a second
releasably held after passing between the first and second 30 front support element 42. Housing 20 has a first indentation
front support elements by the rear support element engaging        25 and a second indentation 27 to slidably and fittably
the housing at the lens, where the first and second front          receive distal end 41 of first front support element 40 and
support elements engage the housing backside at a first            distal end 43 of second front support element 42 when first
indentation and a second indentation respectively to resil-        front support element 40 and second front support element
iently urge the housing towards the rear support element. 35 42 are rotated in the direction of arrow 34 to engage housing
   In the preferred embodiment, the hinge member is further        backside 24.
comprised of a body having a proximal and a distal end                FIG. 2 is a side view showing a first mode of a preferred
where a pivot element at the proximal end of the body              embodiment of the present invention. Rear support element
rotatably attaches the camera to the body so that the camera       38, first front support element 40 and second front support
rotates about the first axis relative to the body. A hinge 40 element 42 support camera 12 in the first position 44, on the
element at the distal end of the body hingedly attaches the        first surface 36, when rear support element 38, first front
body to the support frame so that the body rotates about the       support element 40 and second front support element 42 are
second axis relative to the support frame. In the preferred        engaging first surface 36 and first surface 36 is substantially
embodiment, the camera has an electrical wiring harness to         level. In the first position 44, camera 12 may be pivoted
couple from an interior to an exterior of the camera, and the 45 upon support frame 18 from a position 46 to a position 48.
pivot element has a bore parallel to the first axis of rotation    It is recognized that camera 12 may be pivoted to any
to receive the electrical wiring harness to pass the wiring        number of positions about second axis 32 in the direction
harness from the interior to the exterior of the camera.           shown by arrow 34. In the preferred embodiment, rear
       BRIEF DESCRIPTION OF THE DRAWINGS                           support element 38, first front support element 40 and
                                                                50 second front support element 42 support the camera in first
   Other objects of the present invention and many of the
                                                                   position 44, on first surface 36, when rear support element
attendant advantages of the present invention will be readily
                                                                   38, first front support element 40 and second front support
appreciated as the same becomes better understood by
                                                                   element 42 engage first surface 36 at three locations in a
reference to the following detailed description when con-
                                                                   plane 50 of first surface 36. Engagement of first surface 36
sidered in connection with the accompanying drawings, in
                                                                55 at three or more locations prevents rotation of support frame
which like reference numerals designate like parts through-
                                                                   18 relative to first surface 36 in any direction within plane
out the figures thereof and wherein:
                                                                   50 of first surface 36. It is understood that in the preferred
   FIG. 1 is a perspective view of the "Camera Clip"
                                                                   embodiment, rear support element 38, first front support
invention;                                                         element 40 and second front support element 42 may utilize
   FIG. 2 is a side view showing a first mode of a preferred 60 any number of desired geometries to engage first surface 36
embodiment of the present invention;                               to prevent rotation of support frame 18 relative to first
   FIG. 3 is a detailed front view of the "Camera Clip"            surface 36 in any direction within plane 50 of first surface
invention;                                                         36. In the preferred embodiment, when support frame 18 is
   FIG. 4 is a side view showing a second mode of the              in the first position 44, the object may be a top of a table and
preferred embodiment of the present invention;                  65 first surface 36 may be a top surface of the table. Likewise,
   FIG. 5 is a side view showing a third mode of the               object 30 may be a desk top, where first surface 36 is a top
preferred embodiment of the present invention;                     surface of the desk.




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   FIG. 4 is a side view showing a second mode of the             position, distal end 41 of first support element 40 and distal
preferred embodiment of the present invention. The second         end 43 of second front support element 42 slidably and
mode occurs when rear support element 38, first front             fittably engage first indentation 25 and second indentation
support element 40 and second front support element 42            27 respectively of housing 20 at housing backside 24.
support camera 12 in a second position 52 on a first surface      Camera 12 is then releasably held between rear support
54 adjacent an edge 56. Second position 52 corresponds to         element 38 and first front support element 40 and second
first surface 54 being inclined from the substantially level      front support element 42. Rear support element 38 further
position (see also, FIG. 2). In FIG. 4, object 58 has a second    has means to protect a lens 22 of camera 12, which is cover
surface 60, where a thickness dl between first surface 54 and     90. Cover 90 is mounted at a distal end 92 of rear support
second surface 60 defines the edge 56 therebetween. Camera 10 element 38. Lens 22 of camera 12 faces in the direction of
12 is maintained adjacent edge 56 in second position 52           arrow 92, which is the direction of rotation about second
when the uppermost portion of object 58 is edge 56. Rear          axis 32 from first front support element 40 and second front
support element 38 engages first surface 54, and first front      support element 42 to rear support element 38 of support
support element 40 and second front support element 42            frame 18. Cover 90 fitably receives lens 22 of camera 12.
engage edge 56 and second surface 60. Rear support element 15 Cover 90 has a raised portion 95 sized to be accommodated
38, first front support element 40 and second front support       by lens 22 of camera 12. Support frame 14, in a third mode
element 42, in combination, maintain camera 12 adjacent           of the preferred embodiment of the present invention, releas-
edge 56 and prevent rotation of support frame 18 along an         ably holds and protects camera 12 during storage.
axis substantially parallel to second axis 32, where second           FIG. 3 is a detailed front view of the camera clip inven-
axis 32 is substantially parallel to edge 56. Rear support 20 tion. FIG. 3 shows first front support element 40 and second
element 38, first front support element 40 and second front       front support element 42 being spaced a distance apart by a
support element 42 support camera 12 in second position 52        distance 94. Camera 12 further has a housing 20 which may
on the first surface 54 adjacent edge 56 when a first distance    be spherical in shape in the preferred embodiment. Housing
64 measured between edge 56 and position 66 is greater than       20 has a diameter shown as distance 96, wherein the
a second distance 68. Second distance 68 is measured 25 preferred embodiment, distance 96 is greater than distance
between edge 56 and position 70, where first front support        94. When camera 12 is rotated about the second axis 32 in
element 40 and second front support element 42 engage             the direction towards rear support element 38 in the direc-
second surface 60. The center of gravity shown in the             tion of arrow 92 so that housing 20 passes between first front
direction of arrow 72 of camera 12 and hinge member 16            support element 40 and second front support element 42,
being adjacent and external to first surface 54 in combina- 30 first front support element 40 and second front support
tion with first distance 64 being greater than second distance    element 42 resiliently and outwardly flex to accommodate
68 prevent rotation in the direction of arrow 62 of support       passage of housing 20. Housing 20 is releasably held once
frame 18. In the preferred embodiment, object 58 may be a         passing between first front support element 40 and second
display screen for a laptop computer when support frame 18        front support element 42 by rear support element 38 engag-
is in second position 52, where second surface 60 is the front 35 ing housing 20 at lens 22 and distal end 41 of first front
of the display screen and first surface 54 is the back of the     support element 40 and distal end 43 of second front support
display screen. FIG. 4 shows hinge member 16 comprised of         element 42 slidably and fittably engaging first indentation 25
a body 74 having a proximal end 76 and a distal end 78. A         and second indentation 27 respectively of housing 20 at
pivot element 80 at proximal end 76 of body 74 rotatably          housing backside 24. When housing 20 is releasably held,
attaches camera 12 to body 74 so the camera may rotate 40 first front support element 40 and second front support
about first axis 26 relative to body 74. A hinge element 82       element 42 resiliently urge housing 20 towards rear support
at distal end 78 of body 74 hingedly attaches body 74 to          element 38 so that lens 22 of camera 12 is fitably received
support frame 18 so body 74 rotates about second axis 32          into cover 90.
relative to support frame 18. FIG. 4 further shows camera 12          Having thus described the preferred embodiments of the
having an electrical wiring harness 84 to couple from an 45 present invention, those of skill in the art will readily
interior 86 to an exterior 88 of camera 12. Pivot element 80      appreciate that yet other embodiments may be made and
has a bore 90 parallel to first axis 26 to receive electrical     used within the scope of the claims hereto attached.
wiring harness 84 to pass wiring harness 84 from interior 86         What is claimed:
to exterior 88 of camera 12. While the embodiments shown              1. Apparatus for supporting a camera, having a lens, on
in the drawing figures and discussed herein illustrate a 50 any generally horizontal, substantially planar surface and on
wiring harness 84 passing through a bore 90 parallel to first     an object having a first surface and a second surface and an
axis 26, it will be understood that other embodiments are         edge intersecting the first surface and the second surface,
contemplated. For example, wiring harness could enter body        comprising:
74 at a location angularly spaced upward from bore 90.                a. a hinge member adapted to be rotatably attached to the
   FIGS. 5-7 show various perspectives of a third mode of 55             camera, said camera, when the hinge member is so
the preferred embodiment of the present invention. FIG. 5 is             attached, rotating, about a first axis of rotation, relative
a side view, FIG. 6 is a detailed side view showing the lens             to said hinge member; and
of the camera being fitably received by the cover, and FIG.          b. a support frame rotatably attached to said hinge mem-
7 is a front view. The third mode of the preferred embodi-               ber and configured to support said hinge member on the
ment of the present invention is shown when camera 12 is 60              surface and the object, said hinge member rotating
rotated about second axis 32 along the direction shown by                about a second axis of rotation relative to said support
arrow 34 in a direction from the first front support element             frame, said first axis of rotation being generally per-
40 and the second front support element 42 towards rear                  pendicular to said second axis of rotation, said second
support element 38 of support frame 18. This rotation is                 axis of rotation being substantially parallel to the first
continued in the third mode until camera 12 is in a position 65          surface when said hinge member is supported on the
between rear support element 38 and first front support                  object, said support frame having a first disposition
element 40 and second front support element 42. In this                  positioned on said generally horizontal, substantially




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      planar surface, and said support frame having a second               frame, said first axis of rotation being generally per-
      disposition attached to the object when said first surface           pendicular to said second axis of rotation, said second
      and said second surface are inclined from a generally                axis of rotation being substantially parallel to the first
      horizontal orientation, the camera being maintained                  surface when said hinge member is supported on the
      adjacent said edge in said second disposition of said                object, the support frame having a rear support element
      support frame.                                                       and a first and a second front support element, said
   2. Apparatus according to claim 1 wherein the support                   support frame having a first disposition positioned on
frame comprises a first portion and a second portion, the                  said generally horizontal, substantially planar surface
support frame being in the first disposition on the generally              when said rear support element and said first and
horizontal, substantially planar surface when distal extremi- 10           second front support elements are engaging said gen-
ties of said first portion and said second portion are engaging            erally horizontal, substantially planar surface, said sup-
the generally horizontal, substantially planar surface, and the            port frame having a second disposition attached to the
support frame being in the second disposition on the object                object when the first surface is inclined from a sub-
when said first portion is engaging the first surface and said             stantially horizontal position so that an uppermost
second portion is engaging the second surface, said first 15               extremity of the object is the edge, the support frame
portion and said second portion in combination maintaining                 being maintained in said second disposition by said rear
the camera adjacent the edge.                                              support element engaging said first surface and said
   3. Apparatus according to claim 2 wherein the support                   first and second front support elements engaging the
frame includes a cover adapted to protect the camera lens                  second surface, said rear support element and said first
when the camera is rotated about the second axis until the 20              and second front support elements in combination
camera is between the first portion and the second portion.                preventing rotation of the support frame.
   4. Apparatus according to claim 3 wherein the first portion          11. Apparatus according to claim 10 wherein the support
of the support frame further includes said cover, said cover         frame adapted to protect the camera when the camera is
being mounted at the distal end of the first portion and             rotated about the second axis towards the rear support
adapted the lens of the camera.                                   25 element of the support frame until the camera is between the
   5. Apparatus according to claim 2 wherein the support             rear support element and the first and second front support
frame is in the first disposition when the first portion and the     elements, and is releasably held between the rear support
second portion engage the generally horizontal, substantially        element and the first and second front support elements.
planar surface at three or more locations in a common plane,            12. Apparatus according to claim 11 wherein the first and
thereby preventing rotation of the support frame relative to 30 second front support elements are spaced a distance apart,
the generally horizontal, substantially planar surface in any        and wherein said distance is less than a diameter of the
direction.                                                           housing of the camera so that as the camera is being rotated
   6. Apparatus according to claim 2 wherein the support             about the second axis in the direction towards the rear
frame is in the second disposition when a first distance from        support element, said housing passes between the first and
the edge to a location where the first portion engages the first 35 second front support elements and the first and second front
surface is greater than a second distance from the edge to a         support elements resiliently flex outwardly to accommodate
location where the second portion engages the second                 passage of said housing, said housing being releasably held
surface, thus preventing rotation of the support frame.              once passing between the first and second front support
   7. Apparatus according to claim 1 wherein the object is a         elements by the rear support element engaging said housing
display screen for a laptop computer, and the second surface 40 at the lens.
is the front of the display screen and the first surface is the         13. Apparatus according to claim 11 wherein the first
back of the display screen.                                          portion of the support frame further has a cover, said cover
   8. Apparatus according to claim 1 wherein the hinge               being mounted at a distal end of the rear support element and
member includes a body having a proximal and a distal end,           adapted to receive the lens of the camera when the camera
a pivot element at said proximal end of said body adapted to 45 is releasably held between the rear support element and the
rotatably attach the camera to the body so that the camera           first and second front support elements.
rotates about the first axis relative to the body, and a hinge          14. Apparatus according to claim 10 wherein the support
element at said distal end of said body hingedly attaching           frame is in the first disposition when the rear support
said body to the support frame so that said body rotates,            element and the first and second front support elements
about the second axis, relative to the support frame.             50 engage the generally horizontal, substantially planar surface
   9. Apparatus according to claim 8 wherein the pivot               at three or more locations in a common plane of the
element has a bore along the first axis of rotation to receive       generally horizontal, substantially planar surface to prevent
an electrical wiring harness and pass said wiring harness to         rotation of the support frame relative to the generally
the camera.                                                          horizontal, substantially planar surface.
   10. Apparatus for supporting a camera, having a housing 55           15. Apparatus according to claim 10 wherein the support
and a lens, on any generally horizontal, substantially planar        frame is in the first disposition positioned on the generally
surface and on an object having a first surface and a second         horizontal, substantially planar surface when the rear sup-
surface, and an edge intersecting the first surface and the          port element and the first and second front support elements
second surface, comprising:                                          engage the generally horizontal, substantially planar surface
   a. a hinge member adapted to be rotatably attached to the 60 to prevent rotation of the support frame relative to the
      camera, said camera, when the hinge member is so               generally horizontal, substantially planar surface.
      attached, rotating, about a first axis of rotation relative       16. Apparatus according to claim 10 wherein support
      to said hinge member; and                                      frame is in the second disposition when a first distance from
   b. a support frame rotatably attached to said hinge mem-          the edge to a location where the rear support element
      ber and configured to support said hinge member on the 65 engages the first surface is greater than a second distance
      surface and the object, said hinge member rotating             from the edge to a location where the first and second front
      about a second axis of rotation relative to said support       support elements engage the second surface, the first dis-




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tance being greater than the second distance thus preventing               support frame having a first portion and a second
rotation of the support frame.                                             portion wherein said support frame protects the camera
   17. Apparatus according to claim 10 wherein the hinge                   when said hinge member is not supported on the
member includes a body having a proximal and a distal end,                 generally horizontal, substantially planar surface, and
a pivot element at said proximal end of said body adapted to               when the camera is rotated around said second axis in
rotatably attach the camera to the body so that the camera                 a direction from said second portion towards said first
rotates about the first axis relative to the body, and a hinge             portion of said support frame until the camera is
element at said distal end of said body hingedly attaching                 between said first portion and said second portion and
said body to the support frame so that said body rotates                   is releasably held between said first portion and said
about the second axis relative to the support frame.              10
                                                                           second portion.
   18. Apparatus according to claim 17 wherein the pivot
                                                                        21. Apparatus for supporting a camera, having a lens, on
element has a bore along the first axis of rotation to receive
                                                                     an object having a first surface and a second surface,
said electrical wiring harness and pass said wiring harness to
the camera.                                                          wherein a thickness measured between the first surface and
   19. A camera clip for supporting a camera on a laptop 15 the second surface defines an edge therebetween, compris-
computer, the laptop computer having a display screen                ing:
which can be inclined from a generally horizontal position,             a. a hinge member adapted to be rotatably attached to the
an uppermost portion of the display screen defining an edge,               camera, said camera, when the hinge member is so
comprising:                                                                adapted, rotating about a first axis of rotation relative to
   a. a hinge member adapted to be rotatably attached to the 20            said hinge member; and
      camera, said camera rotating about a first axis of                b. a support frame rotatably attached to said hinge mem-
      rotation relative to said hinge member;                              ber and configured to support said hinge member on the
   and                                                                     object, said hinge member rotating about a second axis
                                                                           of rotation relative to said support frame, said first axis
   b. a support frame hingedly attached to said hinge mem- 25              of rotation being generally perpendicular to said second
      ber to engagingly support said hinge member on the                   axis of rotation, said second axis of rotation being
      display screen, said hinge member rotating over a                    substantially parallel to the first surface when said
      second axis of rotation relative to said support frame,              hinge member is supported by said support frame on
      the camera being maintained adjacent the edge, rotation              the object, said support frame supporting said hinge
      of said support frame being prevented along an axis 30               member on the object when said first surface is inclined
      substantially parallel to said second axis where said                from a substantially horizontal position, the camera
      second axis is substantially parallel to said edge.                  being maintained adjacent the edge when an uppermost
   20. Apparatus for supporting a camera having a lens on a                extremity of the object is the edge, rotation of said
substantially level surface, comprising:                                   support frame being precluded about an axis substan-
   a. a hinge member adapted to be rotatably attached to the 35            tially parallel to said second axis, said second axis
      camera, the camera rotating about a first axis of rotation           being substantially parallel to said edge, said support
      relative to said hinge member; and                                   frame having a first portion and a second portion
   b. a support frame rotatably attached to said hinge mem-                wherein said support frame releasably holds and pro-
      ber and configured to support said hinge member on a                 tects the camera when said hinge member is not sup-
      generally horizontal, substantially planar surface, said 40          ported by said support frame on the object and the
      hinge member rotating about a second axis of rotation                camera is rotated around said second axis in a direction
      relative to said support frame, said first axis of rotation          from said second portion towards said first portion of
      being generally perpendicular to said second axis of                 said support frame until the camera is between said first
      rotation, said second axis of rotation being substantially           portion and said second portion and is releasably held
      parallel to the generally horizontal, substantially planar 45        between said first portion and said second portion.
      surface when said hinge member is supported on the
      generally horizontal, substantially planar surface, said




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       c12)   EX PARTE REEXAMINATION CERTIFICATE (9454th)
United States Patent                                                          c1o) Number:                      US 5,855,343 Cl
Krekelberg                                                                    (45) Certificate Issued:                    Dec. 26, 2012

(54)    CAMERA CLIP                                                       (56)                     References Cited

(75)    Inventor:   David E. Krekelberg, Minnetonka, MN                   To view the complete listing of prior art documents cited
                    (US)                                                  during the proceedings for Reexamination Control Numbers
                                                                          90/011,366 and 90/011,316, please refer to the USPTO's
(73)   Assignee: Globalmedia Group, LLC, Scottsdale,                      public Patent Application Information Retrieval (PAIR)
                 AZ (US)                                                  system under the Display References tab.
Reexamination Request:
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                                                                          (57)                       ABSTRACT
Reexamination Certificate for:
     Patent No.:    5,855,343                                             A clip for supporting a portable camera either on a surface or
     Issued:        Jan. 5, 1999                                          on an edge of a housing, and for protecting the lens of the
     Appl. No.:      08/814,168                                           camera when the camera is not being supported. The clip
     Filed:         Mar. 7, 1997                                          provides two axis of rotation to position the camera to any
                                                                          desired viewing angle. The clip may be rotated to a first
(51)   Int. Cl.                                                           position to support the camera on a surface of a table or desk.
       A47G 29100                     (2006.01)                           The clip may be rotated to a second position to support the
       F16L 3100                      (2006.01)                           camera on the display screen of a laptop computer. When the
(52)   U.S. Cl. ......................... 248/121; 248/126; 248/918       camera is not being supported in the first position or the
(58)   Field of Classification Search ........................ None       second position, the camera may be rotated to be releasably
        See application file for complete search history.                 held by the clip to protect the camera and lens during storage.




                                                               A0172
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                                                       US 5,855,343 Cl
                  1                                                                                   2
              EX PARTE                                               camera, and wherein said hinge member is rotatably attached
                                                                     to said support frame at the top of said support frame.
    REEXAMINATION CERTIFICATE                                           31. Apparatus for supporting a camera, having a lens, on
      ISSUED UNDER 35 U.S. C. 307                                    any generally horizontal, substantially planar surface and on
                                                                     an object having a first surface and a second surface and an
          THE PATENT IS HEREBY AMENDED AS                            edge intersecting the first surface and the second surface,
                      INDICATED BELOW.                               comprising:
                                                                        a. a hinge member adapted to be rotatably attached to the
   Matter enclosed in heavy brackets [ ] appeared in the                    camera, said camera, when the hinge member is so
patent, but has been deleted and is no longer a part of the 10              attached, rotating, about a first axis of rotation, relative
patent; matter printed in italics indicates additions made                  to said hinge member, wherein said hinge member con-
to the patent.                                                              sists of a single, unitary body; and
                                                                        b. a supportframe rotatably attached to said hinge member
AS A RESULT OF REEXAMINATION, IT HAS BEEN                                   and configured to support said hinge member on the
   DETERMINED THAT:                                               15        surface and the object, said hinge member rotating
                                                                            about a second axis of rotation relative to said support
   Claims 1, 2, 5-8,10,14-17 and 19 are cancelled.                         frame, saidfirst axis ofrotation being generally perpen-
   New claims 22-48 are added and determined to be                          dicular to said second axis of rotation, said second axis
patentable.                                                                 of rotation being substantially parallel to the first sur-
   Claims 3, 4, 9, 11-13, 18, 20 and 21 were not reexamined. 20            face when said hinge member is supported on the object,
                                                                            said support frame having a first disposition positioned
   22. Apparatus for supporting a camera, having a lens, on                 on said generally horizontal, substantially planar sur-
any generally horizontal, substantially planar surface and on              face, and said support frame having a second disposi-
an object having a first surface and a second surface and an                tion attached to the object when said first surface and
edge intersecting the first surface and the second surface, 25              said second surface are inclined from a generally hori-
comprising:                                                                zontal orientation, the camera being maintained adja-
   a. a hinge member adapted to be rotatably and perma-                     cent said edge in said second disposition ofsaid support
       nently attached to the camera, said camera, when the                frame.
       hinge member is so permanently attached, rotating,               32. The apparatus ofclaim 30, wherein said hinge member
       about a first axis ofrotation, relative to said hinge mem- 30 is rotatably and permanently attached to the camera.
       ber; and                                                         33. The apparatus ofclaim 30, wherein said hinge member
   b. a supportframe rotatably attached to said hinge member         consists of a single piece of material.
       and configured to support said hinge member on the               34. The apparatus ofclaim 31, wherein said hinge member
       surface and the object, said hinge member rotating            consists of a unitary piece of material.
       about a second axis of rotation relative to said support 35      35. The apparatus ofclaim 31, wherein said hinge member
      frame, saidfirst axis ofrotation being generally perpen-       is adapted to be inserted inside a housing ofsaid camera for
       dicular to said second axis of rotation, said second axis     rotatably attaching said hinge member to said camera.
       of rotation being substantially parallel to the first sur-       3 6. The apparatus ofclaim 31, wherein said hinge member
      face when said hinge member is supported on the object,        comprises a lip adapted for rotatably attaching said hinge
       said support frame having a first disposition positioned 40 member to said camera.
       on said generally horizontal, substantially planar sur-          3 7. The apparatus ofclaim 31, wherein said hinge member
      face, and said support frame having a second disposi-          comprises a neck having a lip, with said lip adapted for
       tion attached to the object when said first surface and       rotatably attaching said hinge member to said camera,
       said second surface are inclined from a generally hori-       wherein said lip has a wider circumference than said neck.
      zontal orientation, the camera being maintained adja- 45          3 8. The apparatus ofclaim 31, wherein said hinge member
       cent said edge in said second disposition ofsaid support      supports said camera from the bottom of said camera.
      frame.                                                            3 9. The apparatus ofclaim 31, wherein said hinge member
   23. The apparatus ofclaim 22, wherein said hinge member           is rotatably attached to said camera at the bottom of said
consists of a single, unitary body.                                  camera, and wherein said hinge member is rotatably attached
   24. The apparatus ofclaim 22, wherein said hinge member 50 to said support frame at the top of said support frame.
consists of a single piece of material.                                 40. Apparatus for supporting a camera, having a lens, on
   25. The apparatus ofclaim 22, wherein said hinge member           any generally horizontal, substantially planar surface and on
consists of a unitary piece of material.                             an object having a first surface and a second surface and an
   26. The apparatus ofclaim 22, wherein said hinge member           edge intersecting the first surface and the second surface,
is adapted to be inserted inside a housing ofsaid camera for 55 comprising:
rotatably attaching said hinge member to said camera.                   a. a hinge member adapted to be permanently rotatably
   2 7. The apparatus ofclaim 2 2, wherein said hinge member                attached to the camera, said camera, when the hinge
comprises a lip adapted for rotatably attaching said hinge                  member is so permanently rotatably attached, rotating,
member to said camera.                                                      about a first axis ofrotation, relative to said hinge mem-
   2 8. The apparatus ofclaim 2 2, wherein said hinge member 60             ber; and
comprises a neck having a lip, with said lip adapted for                b. a support frame permanently rotatably attached to said
rotatably attaching said hinge member to said camera,                       hinge member and configured to support said hinge
wherein said lip has a wider circumference than said neck                   member on the surface and the object, said hinge mem-
   29. The apparatus ofclaim 22, wherein said hinge member                  ber rotating about a second axis of rotation relative to
supports said camera from the bottom ofsaid camera.               65        said support frame, said first axis of rotation being gen-
   30. The apparatus ofclaim 2 2, wherein said hinge member                 erally perpendicular to said second axis ofrotation, said
is rotatably attached to said camera at the bottom of said                  second axis of rotation being substantially parallel to




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                                3                                                                      4
       the first surface when said hinge member is supported on             zontal orientation, the camera being maintained adja-
       the object, said support frame having a first disposition             cent said edge in said second disposition ofsaid support
      positioned on said generally horizontal, substantially                frame.
      planar surface, and said support frame having a second             45. Apparatus for supporting a camera, having a lens, on
       disposition attached to the object when saidfirst surface       any generally horizontal, substantially planar surface and on
       and said second surface are inclined from a generally           an object having a first surface and a second surface and an
       horizontal orientation, the camera being maintained             edge intersecting the first surface and the second surface,
       adjacent said edge in said second disposition of said           comprising:
       supportframe.                                                     a. a hinge member adapted to be rotatably attached to the
                                                                    10
   41. Apparatus for supporting a camera, having a lens, on                  camera, said camera, when the hinge member is so
any generally horizontal, substantially planar surface and on                attached, rotating, about a first axis of rotation, relative
an object having a first surface and a second surface and an                 to said hinge member, wherein said hinge member com-
edge intersecting the first surface and the second surface,                 prises a neck having a lip, with said lip adapted for
comprising:                                                         15
                                                                             rotatably attaching said hinge member to said camera,
   a. a hinge member adapted to be permanently rotatably                     wherein said lip has a wider circumference than said
      joined to the camera, said camera, when the hinge mem-                 neck; and
       ber is so permanently rotatably joined, rotating, about a         b. a supportframe rotatably attached to said hinge member
      first axis ofrotation, relative to said hinge member; and              and configured to support said hinge member on the
   b. a support frame permanently rotatably joined to said 20                surface and the object, said hinge member rotating
       hinge member and configured to support said hinge                     about a second axis of rotation relative to said support
       member on the surface and the object, said hinge mem-                frame, saidfirst axis ofrotation being generally perpen-
       ber rotating about a second axis of rotation relative to              dicular to said second axis of rotation, said second axis
       said support frame, said first axis of rotation being gen-            of rotation being substantially parallel to the first sur-
       erally perpendicular to said second axis ofrotation, said 25         face when said hinge member is supported on the object,
       second axis of rotation being substantially parallel to               said support frame having a first disposition positioned
       the first surface when said hinge member is supported on              on said generally horizontal, substantially planar sur-
       the object, said support frame having a first disposition            face, and said support frame having a second disposi-
      positioned on said generally horizontal, substantially                 tion attached to the object when said first surface and
      planar surface and said support frame having a second 30               said second surface are inclined from a generally hori-
       disposition attached to the object when saidfirst surface
                                                                            zontal orientation, the camera being maintained adja-
       and said second surface are inclined from a generally
                                                                             cent said edge in said second disposition ofsaid support
       horizontal orientation, the camera being maintained
                                                                            frame.
       adjacent said edge in said second disposition of said
       support frame.                                               35
                                                                         46. Apparatus for supporting a camera, having a lens, on
   42. The apparatus of claim 1, wherein said hinge member             any generally horizontal, substantially planar surface and on
is adapted to be inserted inside a housing ofsaid camera for           an object having a first surface and a second surface and an
permanently rotatably attaching said hinge member to said              edge intersecting the first surface and the second surface,
camera.                                                                comprising:
   43. The apparatus of claim 1, wherein said hinge member 40            a. a hinge member adapted to be rotatably attached to the
is adapted to be inserted inside a joint within a housing ofsaid             camera, said camera, when the hinge member is so
camera for rotatably attaching said hinge member to said                     attached, rotating, about a first axis of rotation, relative
camera.                                                                      to said hinge member; and
   44. Apparatus for supporting a camera, having a lens, on              b. a supportframe rotatably attached to said hinge member
any generally horizontal, substantially planar surface and on 45             and configured to support said hinge member on the
an object having a first surface and a second surface and an                 surface and the object, wherein the support frame has a
edge intersecting the first surface and the second surface,                 front support element and rear support element, and
comprising:                                                                  wherein the front support element is configured to
   a. a hinge member adapted to be rotatably attached to the                 engage the object at the intersection of the first surface
       camera, said camera, when the hinge member is so 50                   and the edge, and at the intersection of the second sur-
       attached, rotating, about a first axis of rotation, relative         face and the edge, when said first surface and said sec-
       to said hinge member, wherein said hinge member com-                  ond surface are inclined from a generally horizontal
      prises a lip adapted for rotatably attaching said hinge                orientation, said hinge member rotating about a second
       member to said camera.; and                                           axis of rotation relative to said support frame, said first
   b. a supportframe rotatably attached to said hinge member 55              axis of rotation being generally perpendicular to said
       and configured to support said hinge member on the                    second axis of rotation, said second axis of rotation
       surface and the object, said hinge member rotating                    being substantially parallel to thefirst surface when said
       about a second axis of rotation relative to said support              hinge member is supported on the object, said support
      frame, saidfirst axis ofrotation being generally perpen-              frame having a first disposition positioned on said gen-
       dicular to said second axis of rotation, said second axis 60          erally horizontal, substantially planar surface, and said
       of rotation being substantially parallel to the first sur-            support frame having a second disposition attached to
      face when said hinge member is supported on the object,                the object when said first surface and said second sur-
       said support frame having a first disposition positioned             face are inclined from a generally horizontal orienta-
       on said generally horizontal, substantially planar sur-               tion, the camera being maintained adjacent said edge in
      face, and said support frame having a second disposi- 65               said second disposition of said support frame.
       tion attached to the object when said first surface and           4 7. Apparatus for supporting a camera, having a lens, on
       said second surface are inclined from a generally hori-         any generally horizontal, substantially planar surface and on




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                             5                                                                   6
an object having a first surface and a second surface and an            support frame, saidfirst axis ofrotation being generally
edge intersecting the first surface and the second surface,             perpendicular to said second axis of rotation, said sec-
comprising:                                                              ond axis of rotation being substantially parallel to the
                                                                        first surface when said hinge member is supported on the
  a. a hinge member adapted to be rotatably attached to the              object, said support frame having a first disposition
      camera, said camera, when the hinge member is so                  positioned on said generally horizontal, substantially
      attached, rotating, about a first axis of rotation, relative      planar surface, and said support frame having a second
      to said hinge member; and                                          disposition attached to the object when saidfirst surface
  b. a supportframe rotatably attached to said hinge member              and said second surface are inclined from a generally
                                                                         horizontal orientation, the camera being maintained
      and configured to support said hinge member on the 10
                                                                         adjacent said edge in said second disposition of said
     surface and the object, wherein the support frame has a
                                                                        support frame.
     front support element and rear support element, and
                                                                      48. The hinge member of claim 1, wherein the support
      wherein the front support element is configured to
                                                                   frame has a front support element and rear support element,
      engage the object at the intersection of the first surface
                                                                    wherein the front support element is configured to sit atop a
      and the edge, at the intersection of the second surface 15
                                                                   portion of a length of the edge between the first surface and
      and the edge, and at the second surface, when said first
                                                                   the second surface when said first surface and said second
     surface and said second surface are inclined from a
                                                                   surface are inclined from a generally horizontal orientation.
     generally horizontal orientation, said hinge member
      rotating about a second axis of rotation relative to said




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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

ADJUSTACAM LLC,

                      Plaintiff,                        Case No. 6:10-CV-329-LED

vs.
                                                        JURY TRIAL DEMANDED
AMAZON.COM, INC., ET AL.,

                      Defendants.


                     ORDER GRANTING MOTION TO WITHDRAW

       The Unopposed Motion to Withdraw Motion to Correct or, in the Alternative, to Amend

Judgment (“Motion”), having been filed by Defendants Newegg Inc., Newegg.com Inc., and Rosewill

Inc., and the Court, having reviewed the Motion and good and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED that Defendants’ Motion is granted and Defendants’ Opposed

Motion to Correct or, in the Alternative, to Amend Judgment (Dkt. 763) is hereby withdrawn.

       IT IS FURTHER ORDERED that the Clerk shall transmit to the United States Court of

Appeals for the Federal Circuit a certified copy of the docket entries showing that the Defendants’

Opposed Motion to Correct or, in the Alternative, to Amend Judgment has been resolved in order

that this matter may proceed to appeal.


                    So ORDERED and SIGNED this 31st day of March, 2014.




                                           __________________________________
                                           LEONARD DAVIS
                                           UNITED STATES DISTRICT JUDGE


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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                          TYLER DIVISION

 ADJUSTACAM LLC

     v.                                                                 NO. 6:10-cv-329-LED

 AMAZON.COM, INC., ET AL.

                               PLAINTIFF’S NOTICE OF APPEAL

          Notice is hereby given that Plaintiff AdjustaCam LLC in the above named case hereby

appeals to the United States Court of Appeals for the Federal Circuit from the following:

    1. Memorandum Opinion and Order filed April 10, 2012 (Doc. No. 627) regarding claim

          construction, including construction relative to the following terms: rotatably attached /

          adapted to be rotatably attached / adapted to rotatably attach.

    2. Order filed June 7, 2012 (Doc. No. 650) overruling Plaintiff’s objections to claim

          construction ruling and adopting the foregoing Memorandum Opinion and Order;

          and

    3. Final Judgment, entered in this action on August 20, 2013 (Doc. No. 762).

          Plaintiff also appeals to the United States Court of Appeals for the Federal Circuit all other

opinions, orders, findings, or rulings prior to, during, or after the trial of the above-named case that

were adverse to Plaintiff.



 September 17, 2013                                     Respectfully submitted,


                                                        /s/ John J. Edmonds
                                                        John J. Edmonds – LEAD COUNSEL
                                                        Texas Bar No. 789758
                                                        Stephen F. Schlather
                                                        Texas Bar No. 24007993

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                                                     Johnathan K. Yazdani
                                                     Texas Bar No. 24079616
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                                                     SCHLATHER & TOWER, PLLC
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                                                     ATTORNEYS FOR PLAINTIFF
                                                     ADJUSTACAM LLC



                                     CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record are being served with a copy of this document
pursuant to Fed R. App. P. 3(d) and that all who are deemed to have consented to electronic service
are being served with a copy of this document via the District Court’s CM/ECF system per Local
Rule CV-5(a)(3).


September 17, 2013                                           /s/ John J. Edmonds
                                                             John J. Edmonds




                                                    2

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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

ADJUSTACAM LLC,

                      Plaintiff,                        Case No. 6:10-CV-329-LED

vs.

AMAZON.COM, INC., ET AL.,

                      Defendants.


                                     NOTICE OF APPEAL

       Notice is hereby given that defendants Newegg Inc., Newegg.com Inc., and Rosewill, Inc.

appeal to the United States Court of Appeals for the Federal Circuit from the following orders and

judgments:

       i.      Final Judgment, entered in this action on August 20, 2013 (Dkt. # 762); and

       ii.     Order denying Newegg Inc., Newegg.com Inc., and Rosewill Inc.’s Sealed Motion for
               Declaration of Exceptional Case and Award of Fees and Nontaxable Expenses, entered
               in this action on August 19, 2013 (Dkt. # 761).


DATED THIS 17th day of September, 2013.

                                             Respectfully submitted,




                                             By /s/ Dana M. Herberholz
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                                                Dana M. Herberholz (Admitted E.D. Texas)
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

ADJUSTACAM LLC

  v.                                        NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                    JURY

 PLAINTIFF’S RESPONSE TO SAKAR INTERNATIONAL, INC.’S OPPOSED MOTION FOR
        DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES AND
                          NON-TAXABLE EXPENSES

                              FILED UNDER SEAL




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         Plaintiff AdjustaCam, LLC (“AdjustaCam”)1 submits this response to the above-styled motion filed

by Sakar International, Inc. (“Sakar”), as follows:

I.       Introduction.

         During the pendency of this case, the U.S. Patent & Trademark Office (“USPTO”) concluded

lengthy2 reexamination proceedings by finding the Asserted Claims of U.S. Patent No. 5,855,343 (the

“‘343 patent”)3 to be unpatentable over certain prior art. Exhibit 1; Exhibit 4. However, the USPTO also

held that multiple new and amended claims were patentable. Id. Rather than pursue lengthy and expensive

appellate proceedings, which might exhaust most of the remaining term4 of the ‘343 patent, Plaintiff

canceled the rejected claims so that a reexamination certificate could issue with the new and amended

claims. Exhibit 1; Exhibit 5. In view of the fact that the asserted claims of the patent-in-suit were

canceled, in good faith Plaintiff promptly sought to dismiss Sakar from the case. However, Sakar was not

content at being dismissed. Instead it demanded a covenant not to sue on the canceled claims (which was

unnecessary, since they were being canceled and since Sakar would be dismissed with prejudice) Sakar

also sought a covenant not to sue on the soon to be issued reexamination claims (which Sakar was not

entitled to receive). After a lengthy negotiation process that spanned over two months, Sakar finally

agreed to be dismissed. Sakar now seeks to take advantage of its good fortune in benefitting from

reexamination proceedings filed by an unrelated party, and to distort its good fortune – and AdjustaCam’s

good faith dismissal – into an unwarranted exceptional case finding.




1
  In its Motion, Sakar points out that AdjustaCam has affiliated entities which have also filed unrelated patent suits on unrelated
patents. That is wholly irrelevant to any issues in this case, and if anything, shows the lengths to which Sakar must sink in an
unsuccessful attempt to support its legally and factually meritless motion.
2
  Reexamination proceedings lasted from December 10, 2010 through December 26, 2012. Exhibit 1.
3
  The patent-in-suit is the ‘343 patent. Exhibit 2.
4
   The ‘343 patent expires on March 17, 2017, which is approximately fifty-two (52) months from the issuance of the
reexamination certificate. The appellate process for reexaminations is notoriously lengthy. For example, in FY 2012 the
average pendency of an appeal in the Patent & Trademark Appeal Board (formerly known as the Board of Appeals & Patent
Interferences) was thirty-six (36) months. See http://www.uspto.gov/ip/boards/bpai/stats/perform/fy2012_perform.jsp. Further,
appeals from the PTAB to the Federal Circuit currently take approximately 10 months from filing to disposition. See Chart
entitled “Median Disposition Time for Cases Decided by Merits Panels” at http://www.cafc.uscourts.gov/the-
court/statistics.html.
                                                                1
                                                                                                 ATTORNEY’S EYES ONLY
                                                              A0258
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       In essence, Sakar alleges that it should have been dismissed earlier – either in April, when the

Court issued its Markman Order, or at some unspecified time prior to the final office action in the lengthy

reexamination proceedings. Sakar’s arguments and allegations lack both factual and legal support. Sakar

has not shown that its arguments are factually correct, or that this is an exceptional case, and it certainly

has not met its burden of proving an exceptional case by clear and convincing evidence.

II.    Factual background.

       A.      The ‘343 patent.

       The two previously asserted independent claims of the ‘343 patent (nos. 1 and 19), each cover an

apparatus comprising a hinge member rotatably attached to a camera, and a support frame rotatably (claim

1) or hingedly (claim 19) attached to the hinge member, the support frame having a first disposition on a

surface and a second disposition on an inclined object. Id.

       B.      The Court’s Markman Order.

       Sakar’s Motion appears to focus on the “rotatably attached” element in claims 1 and 19. On April

10, 2012, the Court issued a Memorandum Opinion and Order (Dkt. No. 627 & Exhibit 3). In its Markman

Order, the Court rejected both sides proposed construction of “rotatably attached,” and found that, “[w]hile

the Court has not explicitly construed the ‘rotatably attached’ terms, the Court has resolved the parties’

dispute regarding the proper scope of the claims, i.e., ‘rotatably attached’ objects in the patent-in-suit are

limited to a single axis of rotation.” Id. at 10. Due to the Court’s construction of “rotatably attached,”

AdjustaCam dropped sixteen (16) webcams from the suit because the rotatable attachment between the

hinge member and camera was not limited to a single axis of rotation.5 Exhibit 1.

       C.      The dismissal of Sakar was not based upon any weakness in AdjustaCam’s claims.
               Rather, AdjustaCam made the difficult decision to cancel the Asserted Claims – thus
               mooting the claims against Sakar – so that a Reexamination Certificate could issue
               with multiple new and amended claims.


5
 The dropped webcams were the HP 3100, Gearhead WC 740, Gearhead WC 745, Gearhead WC 750, Gearhead WC 740I,
Gearhead WC 1100, Gearhead WC 1200, Gearhead WC 1300, Gearhead WC 1400, Gearhead WC 1500, Gearhead WCF 2600,
Gearhead WCF 2750, Gearhead WC 4750 and Gearhead WC 8301. Exhibit 1 (Edmonds Declaration).
                                                      2
                                                                                 ATTORNEY’S EYES ONLY

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        On August 30, 2012, at the culmination of reexamination proceedings involving the ‘343 patent,

the USPTO issued a Final Office Action rejecting the Asserted Claims as being unpatentable but allowing

additional new and amended claims. Exhibit 4. On September 20, 2012, in response to that Final Office

Action, AdjustaCam canceled the Asserted Claims of the ‘343 patent, Exhibit 5, so that a certificate of

reexamination could issue concerning the multiple new and amended claims deemed allowable. Exhibit 1.6

        After a week of unsuccessful negotiations wherein AdjustaCam sought to dismiss Sakar due to the

cancelation of the Asserted Claims, on September 30, 2012, AdjustaCam filed an opposed motion to

dismiss Sakar. Dkt. No. 721. As noted in AdjustaCam’s Motion to Dismiss:

      The cancellation of the Asserted Claims in reexamination proceedings moots or near moots7
      the issues remaining in this case – e.g., infringement of the Asserted Claims, validity of the
      Asserted Claims and damages due for infringement of the Asserted Claims. At this point, all
      Defendants except Sakar/Kohl’s have been dismissed either by settlement or mutual
      agreement. See, e.g., Orders of Dismissal at Doc Nos. 665, 671, 672, 673, 674, 675, 677 and
      720. The most recent dismissal, which was also brought about by the cancelation of the
      Asserted Claims, occurred two days ago and was handled by agreement. See Doc Nos. 719 &
      720.
                Despite the foregoing, for reasons that perhaps it can explain to the Court,
      Sakar/Kohl’s will not agree to being dismissed from this case with prejudice.
                In order to overcome Sakar/Kohl’s opposition to being dismissed with prejudice
      relative to canceled asserted claims that are no longer in dispute, AdjustaCam has taken the
      further step of granting Sakar/Kohl’s a covenant not to sue under the ‘343 patent. Exhibit 2.
      Irrespective of the canceled claims and irrespective of Sakar/Kohl’s opposition to being
      dismissed with prejudice, AdjustaCam’s covenant not to sue under the ‘343 patent divests the
      Court of subject matter jurisdiction with respect to Sakar/Kohl’s First and Second
      counterclaims in this matter, since they relate solely to Sakar/Kohl’s claims that it does not
      infringe the ‘343 patent and that the ‘343 patent is invalid.

Dkt. No. 721, pp. 2-3.

        On October 8, 2012, Sakar responded to AdjustaCam’s Motion to Dismiss. It made several

criticisms of the covenant-not-to sue, none of which were legally supported, and also asserted its real issue,

which was that, “Plaintiff's proposed covenant does not prevent Plaintiff from suing Sakar/Kohl's for

infringement of the allowed reexamined claims of the '343 patent (which will issue imminently).” Dkt. No.

6
  The Reexamination Certificate ultimately issued on December 26, 2012. Exhibit 1.
7
  Although the Asserted Claims were canceled on September 20, 2012, under USPTO regulations in effect at the time, although
the patentee cancels claims in an office action response, the actual cancelation (although inevitable) does not occur until the
certificate of reexamination issues.
                                                              3
                                                                                              ATTORNEY’S EYES ONLY

                                                            A0260
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725, p. 2. See also Sakar’s Proposed Order at Dkt. No. 725-5, p. 2 (seeking to have the Covenant amended

as “including any new claims that issue as a result of reexamination.”). Sakar had no legal support for this

demand. On October 12, 2012, AdjustaCam filed a Reply pointing out the lack of legal support for

Sakar’s positions. Dkt. No. 729. The Court ultimately set AdjustaCam’s Motion to Dismiss Sakar for

hearing on December 18, 2012. Finally, on December 14, 2012, the parties agreed on language for a

covenant not-to-sue and the claims and counterclaims between Plaintiff and Sakar were mutually

dismissed by agreement. Dkt. No. 744. The covenant-not-to sue Sakar did not include the broad rights

under the reexamined claims that Sakar/Kohl’s demanded. Exhibit 1.8 Sakar finally relented on that issue

because it knew all along that it had no legal ground to stand on.

        D.       AdjustaCam’s infringement claims against Sakar were never baseless. Sakar’s non-
                 infringement argument lacks merit.

        As noted above, AdjustaCam dismissed Sakar because it had to cancel the Asserted Claims so that

a reexamination certificate could issue which provided for multiple new and amended claims which the

USPTO determined were patentable. Exhibit 1. Although AdjustaCam respectfully disagreed with the

USPTO’s determination that the asserted claims were unpatentable, it canceled those claims in the interest

of avoiding expensive and protracted appellate proceedings which would have resulted in the loss of most,

if not all, of the remaining patent term of the ‘343 patent. Id. Sakar’s allegation that they were dismissed

because AdjustaCam’s infringement case lacked merit is baseless. Apparently, Sakar contends that its

accused Kodak S101 and Kodak T130 webcams have “ball and socket” joints, which it alleges lack a

rotatable attachment limited to a single axis between the hinge member and the camera and that, as such,

AdjustaCam should have dismissed Sakar in April (when the Court issued its Markman Order) instead of

September.




8
  The only mention of reexamined claims in the final version of the covenant was that Sakar/Kohl’s could sell off existing
inventory; however, they already had that “intervening right” under 35 USC § 307(b). Exhibit 1. Sakar/Kohl’s dropped their
longstanding demand for a full covenant not to sue under the reexamined claims, for which – despite multiple requests – they
never provided any legal basis. Id.
                                                             4
                                                                                           ATTORNEY’S EYES ONLY
                                                           A0261
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       In the first instance, Sakar’s newfound indignance over non-infringement is inconsistent with its

conduct during this litigation. First, Sakar did not articulate this non-infringement theory in its response to

AdjustaCam’s interrogatory requesting the basis for its contention of non-infringement. Exhibit 6, pp. 14-

16. Second, Sakar’s Rule 30(b)(6) designee had no factual basis to support its non-infringement position.

Exhibit 7, pp. 49-52 & 54. Third, if the issue of infringement had been so cut and dried after the Court

issued its Markman Order in April 2012, Sakar presumably would have promptly raised the issue with

either AdjustaCam or the Court (for example, via a letter brief or motion). However, it did neither.

       Irrespective of the foregoing, Sakar’s motion alleging non-infringement by its Kodak S101 and

Kodak T130 webcams, and that AdjustaCam went “against” the Court’s Claim Construction Order, lacks

factual or technical merit. The only non-infringement argument raised by Sakar is the limitation in the two

independent Asserted Claims (claims 1 and 19) that the “hinge member” is “adapted to be rotatably

attached” to the camera. As noted above, in its Markman Order, the Court construed “rotatably attached”

as “rotating over a single axis.” As AdjustaCam’s technical expert Dr. Muskivitch has explained in detail,

AdjustaCam’s infringement positions are entirely consistent with the Court’s construction. Exhibit 8, pp.

143-45, 149-54, 154-55, 158-59, 287-88 & 327-29. See also Exhibit 9 (Muskivitch CV).

       What Sakar alleges is a “ball and socket joint” is actually a modified joint with a socket and no ball.

See Id. at pp. 71. It is modified because there is a channel that restricts movement, as noted by the

following red arrows:




                                                      5
                                                                                 ATTORNEY’S EYES ONLY

                                                    A0262
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Exhibit 1 & Exhibit 8, p. pp. 143-45, 94-95, 151-52, 154-55 & 159. This restricted movement results in

two functionally independent joints which have ranges of movement independent of each other. Id., pp.

94-95, 143-45, 149-50, 287-88 & 327-29. One of these joints – the one which allows the camera to pan

left and right relative to its base – meets the claim limitation of the hinge member being rotatably attached

to the camera in a single axis of rotation. Id. at pp. 69-70, 91, 97-98, 143, 149-50, 151-52, 287-88 & 327-

29.

        Further, there is no “ball” in the joints for the Kodak S101 and Kodak T130 webcams. There is,

instead, a semi-circular disk, as follows:9




Although what matters is the physical behavior of a joint – not its physical configuration that causes such

behavior – it is notable that Sakar is so misguided or mistaken that it wholly mischaracterizes the physical

configuration of its own products as a “ball.”

        Not only is AdjustaCam’s infringement position entirely consistent with the Court’s Markman

Order and properly supported by AdjustaCam’s technical expert, but it is also consistent with the preferred

embodiment of the ‘343 patent. As can be seen, the preferred embodiment webcam has essentially the

same configurability and range of movement as Kodak webcams:




9
 Exhibit 1. Sakar’s own technical expert Dr. Hamilton described this semicircular piece as a “hemisphere,” not a ball. Exhibit
10, p. 63.
                                                              6
                                                                                             ATTORNEY’S EYES ONLY

                                                            A0263
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Sakar’s allegation that the Kodak S101 and Kodak T130 webcams do not meet the “rotatably attached”

element (as construed by the Court) lacks merit. AdjustaCam’s infringement position (1) is correct from a

technical perspective; (2) follows the Court’s construction; (3) is properly supported by reasoned analysis

from AdjustaCam’s technical expert; and (4) accords with the preferred embodiment.

       Sakar’s allegations of “admissions” by AdjustaCam’s technical expert Dr. Muskivitch are meritless

and evidence a fundamental misunderstanding of the ‘343 patent as construed by the Court. On the one

hand, Sakar argues (meritlessly) that Kodak S101 and Kodak T130 webcams allow rotation around

“multiple axes” at the hinge member. Sakar’s Motion at pp. 7-8.On the other hand, Sakar argues that these

alleged “admissions” show that the same webcams do not rotate around any axis relative to the hinge

member. Sakar’s Motion at pp. 8-9.

       Further, AdjustaCam’s technical expert Dr. Muskivitch explained that the webcams, via their stem

appendage, rotate about a single axis of rotation around the hinge member. See, e.g., Exhibit 8, pp. 287-88;

Exhibit 10, part 2, pp. MV000138-39 & MV000146-47. Moreover, the USPTO agrees that a camera can

be rotatably attached to a hinge member via an appendage. As stated by the USPTO when it finally

rejected the Asserted Claims in view of the Irifune publication, “Irifune shows a hinge (around shaft 1)

which is rotatably attached to the camera using threaded camera attachment shaft 9.” Exhibit 4, p. 7.

Camera attachment shaft 9 (although AdjustaCam disagreed with the USPTO that it was rotatably attached

to the hinge member because it had to be firmly screwed down to work), is analogous to the stem

appended to the Kodak webcams at issue. Further, although the USPTO ultimately withdrew its objections

                                                     7
                                                                               ATTORNEY’S EYES ONLY

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based upon the Ma ‘783 patent for different reasons, the USPTO took the position that “support frame (3)

[is] rotatably attached to the hinge member (via 2 and 21) about a second axis of rotation (2).” Exhibit 12,

p. 6. The foregoing are illustrated by Figure 2 from Irifune and Figure 1 from Ma, as follows:




See Exhibit 13 (Irifune), Fig. 2,10 and Exhibit 14 (Ma), Fig. 1. Notably, Sakar cites no expert support for its

argument that AdjustaCam’s technical expert somehow “admitted” a non-infringement theory that Sakar

contradicts in its own Motion, and which Sakar does not even appear to understand or even explain.

           E.       AdjustaCam did not file this case for the purpose of obtaining “nuisance value”
                    settlements.

           Sakar’s allegation that AdjustaCam has obtained “nuisance value settlements” is baseless

hyperbole and speculation. The amounts of AdjustaCam’s settlements with the various defendants are

directly related to its target royalty of $1.25 - $1.50 per webcam. This royalty rate was established many

years before this suit and before AdjustaCam even obtained rights in the ‘343 patent.

           AdjustaCam’s damages expert Mr. Bratic issued an extensive, well-reasoned report opining that the

reasonable royalty for infringement of the ‘343 patent is $1.25 - $1.50 per webcam. Exhibit 15; See Exhibit

16 (Bratic CV); Exhibit 17 (Bratic depo). As discussed in the Bratic damages report, on October 22, 2001,

AdjustaCam’s predecessor PAR Technologies entered into a Settlement and License Agreement with

Philips. Exhibit 15 at pp. 15-16. This agreement called for running royalties on webcam sales as follows:




10
     The camera of Irifuni is connected with attachment screw 9 is demonstrated by Fig. 9 of Irifune:          .
                                                                 8
                                                                                                 ATTORNEY’S EYES ONLY

                                                               A0265
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                THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE

0 – 20,000 units: $1.00 / unit; 20,001 - 40,000: $2.00 / unit; 40,001 - 60,000: $6.00 / unit; and more than

60,000: $8.00 / unit. Id. at p. 16. Using the unit ranges of 0 - 20,000 ($1.00 / unit) and 20,001 - 40,000

($2.00 / unit) as a conservative baseline, PAR was expected to receive an average royalty payment of

approximately $1.50 per licensed product. Id. at p. 17.

          Further, as detailed in the Bratic damages report, on December 31, 2001, PAR entered into a

Settlement and License Agreement with                involving rights to the ‘343 Patent. Id. That agreement

called for running royalties of $1.25 per webcam for total aggregate royalties up to $2 million. Id. In fact,

to date            has paid post-suit running royalties on over 2.2 million units, Exhibit 17, p. 52, which is

far from “nuisance value.”

          In its licensing program for this litigation, AdjustaCam used this $1.25 - $1.50 per webcam royalty

rate as a baseline for licensing the various defendants. Exhibit 15, pp. 18-32; Exhibit 17, pp. 36-40 & 44;

& Exhibit 18 (AdjustaCam Rule 30(b)(6) depo), pp. 4, 67-68 & 72-74. Specifically, AdjustaCam entered

into six (6) settlement and license agreements for rights to the ‘343 Patent that included both a lump-sum

payment relating to a certain number of units of webcams and also a running royalty rate for sales of

webcams that exceed the units sold that were covered by the lump-sum payment. Exhibit 15, p. 18. The

implied royalty rate related to the lump-sum payments was approximately $1.50 per unit for five license

agreements and $1.25 per unit for one license agreement. Id. The running royalty rates for sales of units

exceeding the volume included in the lump-sum payments for each of the six (6) licenses were $1.50 per

unit. Id.

          Further, AdjustaCam entered into 14 settlement and license agreements for rights to the ‘343 Patent

that included only a paid up, lump-sum payment. Id. at p. 22. For these licenses AdjustaCam also

considered, and negotiated using the benchmark of, the same $1.25 to $1.50 per unit royalty rates its

predecessor had obtained from the Philips and             licenses discussed above. Id.

          AdjustaCam’s use of the $1.25 - $1.50 benchmark for its licensing negotiations with the various

defendants was explained in detail in the deposition of AdjustaCam’s Rule 30(b)(6) designee and by
                                                      9
                                                                                 ATTORNEY’S EYES ONLY

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AdjustaCam’s damages expert Mr. Bratic. Exhibit 15, pp. 18-32. & Exhibit 17, pp. 4, 67-68 & 72-74.

Further, Mr. Bratic’s report explains in detail how the sums paid to AdjustaCam in settlement tie directly

to this $1.25 - $1.50 benchmark. Exhibit 15, pp. 18-32. The amounts of settlement agreements with

AdjustaCam are tied to the value of the patented technology, not to any “nuisance value.”

        Sakar’s Motion relies upon the hearsay opinions of a damages expert that Sakar did not even

designate,11 without laying any predicate for those opinions being well founded or reliable. In fact, they are

deeply flawed. For example, Dr. Sullivan’s purported “imputed royalty” calculations (1) improperly

include sales volumes for webcam sales for which no royalties were recoverable due to the lack of pre-suit

marking, see Exhibit 22, pp. 114-115 & Exhibit 17, p. 45; (2) improperly fail to account for the fact that

some defendants’ infringing sales numbers declined via the doctrine of exhaustion once companies

upstream of them took licenses, Exhibit 22, pp. 104-05; (3) improperly include sales numbers which were

not provided to AdjustaCam when the licenses were negotiated, see id. at p. 117 & Exhibit 17, p. 50; and

(4) improperly include assumptions of linear sales into the future, Exhibit 22, at pp. 118-19, despite the

fact that Dr. Sullivan also opines that webcam sales are in a decline. Id. at pp. 34-35.

III.    Legal Standards.

        Under 35 U.S.C. § 285, a “court in exceptional cases may award reasonable attorney fees to the

prevailing party.” Once it is determined that the party seeking fees is a prevailing party, determining

whether to award attorneys' fees under 35 U.S.C. § 285 is a two-step process. Highmark, Inc. v. Allcare

Health Management Systems, Inc., 687 F.3d 1300, 1308 (Fed. Cir. 2012). First, a prevailing party must

establish by clear and convincing evidence that the case is “exceptional.” Id. “It is established law under

section 285 that absent misconduct in the course of the litigation or in securing the patent, sanctions may

be imposed against the patentee only if two separate criteria are satisfied: (1) the litigation is brought in

subjective bad faith, and (2) the litigation is objectively baseless.” Id. The requirement that the litigation be

11
  Exhibit 11, p. 3 (“Quant Economics has been retained by counsel on behalf of Best Buy Co., Inc. (“Best Buy”); Gear Head,
LLC (“Gear Head”); Hewlett-Packard Company (“Hewlett-Packard” or “HP”); Micro Electronics, Inc. (“Micro Center”);
Newegg, Inc. (“Newegg”); Rosewill Inc. (“Rosewill”); and Wal-Mart Stores, Inc. (“Walmart”) (collectively, “Defendants”).”).
                                                            10
                                                                                           ATTORNEY’S EYES ONLY

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objectively baseless “does not depend on the state of mind of the [party] at the time the action was

commenced, but rather requires an objective assessment of the merits.” Id. at 1308-09. “To be objectively

baseless, the infringement allegations must be such that no reasonable litigant could reasonably expect

success on the merits.” Id. at 1309. This is known as the subjective prong of the inquiry. Id. This same

objective/subjective standard applies for both patentees asserting claims of infringement and alleged

infringers defending against claims of infringement. Id. With respect to the subjective prong, “there is a

presumption that an assertion of infringement of a duly granted patent is made in good faith.” Id.

Even if a case is deemed exceptional, a court must determine whether an award of attorneys' fees is

appropriate and, if so, the amount of the award. Id. “[T]he amount of the attorney fees [awarded] depends

on the extent to which the case is exceptional.” Id.

IV.    Argument.

       A.      Sakar’s reliance upon the Eon-Net case is misplaced, because that case has no
               meaningful similarities to this one.

       Sakar’s reliance upon the Eon-Net case is misplaced. See Eon-Net LP v. Flagstar Bancorp, 653

F.3d 1314 (Fed. Cir. 2011). In Eon-Net, the Federal Circuit affirmed a District Court’s exceptional case

finding based upon the totality of (1) Eon-Net destroying relevant documents from a prior lawsuit prior to

filing suit; (2) Eon–Net failing to engage in the claim construction process in good faith; (3) Eon-Net

displaying a “lack of regard for the judicial system” and a “cavalier attitude” towards the “patent litigation

process as a whole,” as evidenced by an interrogatory response which “snidely stated” that “the skill in the

art required is that sufficient to converse meaningfully with [Eon-Net’s president] Mitchell Medina,” and

statements by Mr. Median at his deposition that it was “an inconvenience and a bother”; (4) because the

written description of the patent-in-suit repeatedly defined the invention as a system for processing

information that originates from hard copy documents, which the Defendant Fisher did not do; and (5)

Eon-Net had had filed over 100 lawsuits, with each complaint being followed by a “demand for a quick

settlement … using a license fee schedule based on the defendant's annual sales: $25,000 for sales less

                                                       11
                                                                                 ATTORNEY’S EYES ONLY

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               THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE

than $3,000,000; $50,000 for sales between $3,000,000 and $20,000,000; and $75,000 for sales between

$20,000,000 and $100,000,000.” Eon-Net is an extreme case. None of these facts, or anything close to

them, are present in this case.

       Sakar alleges that this case is exceptional because “Plaintiff employed the strategy of exploiting the

high cost of defending.” This allegation is baseless because, as explained above (and further below),

AdjustaCam’s settlement numbers were tied to a pre-established unit royalty of $1.25 - $1.50 per

infringing device and the size of its settlements were directly related to the amount of infringement by each

defendant, not to any cost of litigation considerations. This allegation is also meritless because, as

explained above, AdjustaCam’s settlements were not premised upon “baseless infringement claims.”

       B.      AdjustaCam did not extract nuisance settlements from any defendants.
               AdjustaCam’s settlements were directly related to each Defendants’ number of
               infringing units and an established royalty.

       As explained in Section II.E above and in further detail in the expert report of AdjustaCam’s

damages expert, Mr. Bratic, AdjustaCam’s settlements in this case followed the $1.25 - $1.50 per webcam

royalty which had been established years prior with the Philips and                 licenses.   AdjustaCam’s

settlements with the various defendant are directly linked to their sales volumes and to this $1.25 - $1.50

per unit royalty.

       There has been no “extortion” of “nuisance value settlements.” This case is far different from Eon-

Net, in which the plaintiff would file complaints followed by a “demand for a quick settlement … using a

license fee schedule based on the defendant's annual sales: $25,000 for sales less than $3,000,000; $50,000

for sales between $3,000,000 and $20,000,000; and $75,000 for sales between $20,000,000 and

$100,000,000.”

       In one line, Sakar makes the bold and baseless assertion that Mr. Bratic’s expert opinions in this

case “clearly do[] not meet the requirements of Rule 702 of the Federal Rules of Evidence.” To the

contrary, Mr. Bratic’s Report contains a detailed and reasoned analysis of the facts and the Georgia-

Pacific factors. Notably, Sakar did not raise this issue during the litigation, for instance by filing a motion
                                                      12
                                                                                 ATTORNEY’S EYES ONLY

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to strike Mr. Bratic’s opinions. This is likely because Mr. Bratic’s report properly takes into account the

best measure of the value of the patented technology -- what prior licensees paid as a unit royalty for

similar infringing products. When, as here, “the methodology is sound, and the evidence relied upon

sufficiently related to the case at hand, disputes about the degree of relevance or accuracy (above this

minimum threshold) may go to the testimony's weight, but not its admissibility.” i4i Ltd. P'ship v.

Microsoft Corp., 589 F.3d 1246, 2009 WL 4911950, at *14 (Fed. Cir. Dec. 22, 2009). Sometimes – as

Sakar has mistakenly done here – litigants “conflate the question of whether the methodology involved is

proper with whether the expert's conclusions are proper.” Anascape, Ltd. v. Microsoft Corp., 2008 WL

7180757, *2 (E.D. Tex. April 28, 2008). The role of the court under Daubert is to “ensure that a theory or

technique ... can be (and has been) tested,” [citation omitted], “not to evaluate the correctness of facts

underlying one expert's testimony.” Anascape, Ltd., 2008 WL 7180757, *2. When defendants attack the

“data relied on” by an expert, rather than the “methodology he relied upon to reach his results,” this “goes

to the weight to be given to, rather than the admissibility of, the expert's testimony.” Id. See Liquid

Dynamics Corp. v. Vaughan Co., Inc., 449 F.3d 1209, 1221 (Fed. Cir. 2006) (an attack on the underlying

data of an expert's report goes to its weight rather than admissibility). Further, factual disputes concerning

the data underlying an expert’s opinions are not grounds for exclusion under Daubert. Anascape, Ltd.,

2008 WL 7180757, *2. See State Contracting & Engineering Corp. v. Condotte America, Inc., 346 F.3d

1057, 1072 (Fed.Cir.2003). In short, Sakar’s allegations of litigation misconduct are built on a house of

cards that relies upon baseless allegations that AdjustaCam’s damages expert’s opinions should somehow

be ignored. The fact that Sakar disagreed with the licensed relied upon Mr. Bratic in calculating a

reasonable royalty was a factual dispute that could have only been resolved by a jury informed by direct

and cross examination. See, e.g., Harris Corp. vv. Ruckus Wireless, Inc., No. 6:11-cv-00618-CEH-KRS, p.

5 (M.D. Fla. Jan. 16, 2013) (denying Daubert challenge because complaints about licensed relied upon

“go[] to the weight to be accorded Ostiller’s opinions and not the admissibility of the opinions.”); Gen-

Probe Inc. v. Becton Dickinson & Co., No. 09-CV-2319 BEN NLS, 10-CV-0602 BEN NLS (S.D. Cal.
                                                     13
                                                                                 ATTORNEY’S EYES ONLY

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                 Case: 13-1665        Document: 97-1        Page: 201      Filed: 12/11/2014

Nov. 26, 2012) (denying Daubert challenge and holding that complaints about licensed relied upon by

damages expert were “appropriate fodder for cross-examination”).

        Sakar also alleges in a footnote that AdjustaCam’s damage expert Mr. Bratic violated Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009), because he did not argue that “the

webcam clip was the basis of consumer demand for the accused products.” To the contrary, Mr. Bratic

opined that “a reasonable royalty rate of $1.25 represents the contribution of the Accused Feature to the

overall device.” Exhibit 13, p. 5. Further, Mr. Bratic was relying upon prior licenses for the exact same

technology.   When an expert is relying upon prior licenses with unit royalties for the exact same

technology for a running royalty, there is no need to conduct any further apportionment. The running

royalty has already accomplished that.

        Sakar also complains that Mr. Bratic “admitted that his opinion was not influenced by the cost or

sales price of the accused products or the cost of the patented feature (a clip) of the accused products on

the grounds that the cost of the patented feature is ‘not relevant.’” However, Sakar fails to explain why the

manufacturing cost of an infringing product should be considered in the reasonable royalty analysis. Mr.

Bratic was entirely correct in deeming manufacturing costs irrelevant to the reasonable royalty

determination. See Exhibit 17, p. 77 (Bratic Depo). Further, Mr. Bratic’s determination of the appropriate

reasonable royalty relied substantially on an established royalty rate and the number of infringing units

sold.

        Sakar also complains that Mr. Bratic and AdjustaCam’s Rule 30(b)(6) designee were “unaware of

the number of units that any defendant sold prior to settling with AdjustaCam.” Motion at p. 7. However,

this ignores the fact that both Mr. Bratic and AdjustaCam’s Rule 30(b)(6) designee relied upon

conversations they had with Mr. Steve Wong, the person who was directly involved with the disputed

settlement negotiations. Exhibit 17, (Bratic Depo), pp. 41-42 & 44-45; Exhibit 18 (Haynes Depo), pp. 73-

74. Mr. Bratic and Mr. Haynes – just like a jury – were entitled to rely upon the clear recollection of Mr.

Wong – the person with direct knowledge of settlement negotiations, and the person who Sakar never
                                                     14
                                                                                ATTORNEY’S EYES ONLY
                                                   A0271
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               THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE

bothered to depose – of the unit volumes provided by the settling defendants being consistent with an

implied royalty of $1.25 - $1.50 per webcam. Further, the                 and Phillips licenses that formed the

foundation of the reasonable royalty contained express unit royalty provisions, Exhibit 13, p. 17, so there

was no need to calculate sales volumes for purposes of an implied royalty rate.

       C.      AdjustaCam’s infringement claims were not brought in bad faith nor were they
               objectively baseless.

       Sakar’s motion alleging non-infringement by the Kodak S101 and T130 webcams lacks factual or

technical merit.    The only non-infringement argument raised by Sakar is the limitation in the two

independent Asserted Claims (claims 1 and 19) that the “hinge member” is “adapted to be rotatably

attached” to the camera. However, as explained in detail in Section II.E above, AdjustaCam’s technical

expert Dr. Muskivitch’s infringement positions are entirely consistent with the Court’s construction of

“rotatably attached.”

       In sum, what Sakar alleges is a ball and socket joint is actually a constrained socket joint because

there is a channel that restricts movement of a hemisphere. Exhibit 8, p. pp. 143-45, 94-95, 151-52, 154-

55 & 159. This restricted movement results in two functionally independent joints which have ranges of

movement independent of each other. Id., pp. 94-95, 143-45, 149-50, 287-88 & 327-29. As stated by Dr.

Muskivitch, there are “two distinct joints,” and “[i]t's a separate motion; it's a separate functional joint.” Id.

at pp. 96 & 150. One of these independent joints – the one which allows the camera to pan left and right

relative to its base – meets the claim limitation of the hinge member being rotatably attached to the camera

in a single axis of rotation. Id. at pp. 69-70, 91, 97-98, 143, 149-50, 151-52, 287-88 & 327-29.

       Sakar’s allegation that its Kodak webcams do not meet the “rotatably attached” element as

construed by the Court is also baseless. AdjustaCam’s infringement position (1) is correct from a technical

perspective; (2) follows the Court’s construction; (3) is properly supported by AdjustaCam’s technical

expert; and (4) accords with the preferred embodiment.

       D.      There has been no litigation misconduct by AdjustaCam.

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                                                                                    ATTORNEY’S EYES ONLY

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          Rehashing its non-infringement argument, Sakar argues that AdjustaCam should have dismissed its

claims in April due to the Court’s Construction of “rotatably attached” instead of dismissing them in

August for strategic reasons. However, as established above, AdjustaCam’s infringement position is well

founded and meritorious. Thus, Sakar’s allegations of “misconduct” due to not being earlier dismissed are

baseless.

          E.     AdjustaCam did not serve a “new” infringement report at the deposition of its
                 technical expert.

          Apparently in an effort to throw mud and distract from the merits, Sakar alleges that AdjustaCam

served a “new” infringement report at the deposition of its technical expert. This allegation is unfounded

and misleading.      During his deposition, AdjustaCam’s technical expert Dr. Muskivitch realized that

Exhibit D of his report was not the final version of Exhibit D to his final report. Exhibit 8, pp. 12-16.

Neither AdjustaCam nor Dr. Muskivitch were aware that an early version of Exhibit D had inadvertently

been served until that point in time. In order to remedy the situation, Dr. Muskivich provided the correct

version of Exhibit D and counsel for Sakar was given every opportunity to review it and to question Dr.

Muskivitch about it.

          No “new” infringement report was ever generated. Rather, the correct version of Exhibit D to the

Muskivitch report was substituted for the incorrect earlier version that had inadvertently been served due

to a version control mistake. An honest mistake in which versions of an Exhibit are confused does not

constitute generating a “new” report nor does it constitute litigation misconduct. The parties were in the

process of meeting and conferring over this issue when the case was dismissed, so it never required court

action.

          Dr. Muskivitch explained the version control issue over Exhibit D to his report during a sworn

deposition. Exhibit 8, pp. 12-16. Sakar’s allegation that “Plaintiff has yet to provide any justification” for

the version confusion with Exhibit D is baseless.

          F.     AdjustaCam’s validity arguments were not baseless. In fact, they were meritorious.

                                                     16
                                                                                 ATTORNEY’S EYES ONLY

                                                    A0273
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        The claims of the '343 patent duly issued from the USPTO and they are presumed valid by law.

Sakar complains that AdjustaCam worked to protect its intellectual property rights by traversing rejections

during reexamination proceedings for the '343 patent. However, AdjustaCam had evety right to traverse

the USPTO's rejections, including because the USPTO's reasoning was flawed. Here, Sakar appears to

focus upon its contention that the alleged Irifune publication (which Sakar has never proven up as a

publication) meets the "rotatably attached" limitation in claims 1 and 19.

        However, Irifune does not meet the "rotatably attached" limitation in the Assetted Claims for the

reasons set fmth in the Report of AdjustaCam' s technical expet1 Dr. Muskivitch. Exhibit 19. See Exhibit

.!1. (Irifune). This is illustrated by Fig. 2 of Irifune and by the illustration of screw (9) as follows:




        As stated in Dr. Muskivitch's repmt, a camera pat1ially threaded onto camera attachment

shaft 9 is not "rotatably attached" because:

        camera attachment shaft 9 can fi:eely pass through the opening of the camera fixed pm1 2.
        Thus, camera fixed part merely has a hole that allows the camera attachment shaft 9 to
        cleanly pass through and be screwed into a camera. Thus, Irifime merely disclose a hole
        that allows a camera attachment shaft 9 to pass there through and provide for secure
        tightening of the camera to be in conta.c t with the camera fixed part 2 so that it is in a
        tight, stable, fixed position when fully screwed to the camera attachment shaft.

Exhibit 19, pp. 18-19. Further, the Muskivitch report describes how Irifime fails to disclose how a camera

fully screwed down is "rotatably attached," including as follows:

        Irifune discloses that a camera can be screwed onto a mounting device using a camera
        attachment shaft 9 and camera attachment screws 10 and 11. The pmpose of the camera
        attachment shaft and screws is to attach the camera to the camera fixed patt 2. Once the
        camera is attached to the camera fixed pm1 2, the camera cannot rotate about a first axis
        relative to the hinge member ... the pmpose of the camera attachment shaft 2 is to tightly
                                                         17
                                                                                      ATTORNEY'S EYES ONLY
                                                        A0274
                                                        A0274
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       secure the camera to the camera fixed part so that it does not rotate ... Thus, for the
       camera to be rotatable, it must be un-tightened and thus unattached and unstable.

Exhibit 19, pp. 18-20. To summarize, Irifuni lacks a “rotatable attachment” because the camera either has

to be screwed tightly down, in which case it is not rotatable, or it has to be loosely appended via an

unthreaded hole, in which case it is not attached. As set forth in detail in the Muskivitch Report,

AdjustaCam had ample basis, in fact meritorious basis, to contend that Irifune was not invalidating.

       Although the USPTO issued final rejections based upon Irifuni in September 2012, the USPTO

took many months to reach a final decision, it is not perfect, and those final rejections were erroneous.

Nonetheless, since the appellate process is lengthy and expensive, AdjustaCam made the strategic decision

to cancel the asserted claims in order to expedite the issuance of a reexamination certificate containing new

and amended claims, all of which were deemed patentable over Irifune. See Exhibit 4 (Office Action

Response canceling claims).

       Moreover, AdjustaCam had already filed a motion to dismiss Sakar before the final rejection by the

USPTO as a result of the GearHead and HP licenses, and AdjustaCam renewed that motion once the

asserted claims had been canceled. If anything, the voluntary dismissal of Sakar shows a lack of bad faith

and a lack of litigation misconduct.

       Sakar alleges that AdjustaCam’s distinctions of Irifuni were “objectively baseless” because “if the

camera disclosed in the ‘343 Patent was ’permanently fixed to,’ or had to be ‘fully tightened down to’ the

hinge member, then the camera could not rotate about the first axis of rotation as the Asserted Claims and

specification require.” Sakar is both mistaken and confused. Sakar is mistaken because a permanently

attached camera can rotate about a first axis of rotation. In fact, the USPTO has acknowledged this. In

particular, as a result of the reexamination proceedings instituted by Defendants, the USPTO has allowed

multiple new claims, including independent claims 20 and 44, both of which comprise: “a hinge member

adapted to be rotatably and permanently attached to the camera, said camera, when the hinge member is so



                                                     18
                                                                                ATTORNEY’S EYES ONLY

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permanently attached, rotating, about a first axis of rotation, relative to said hinge member . . .” Exhibit 5,

pp. 5 & 8-10 & Exhibit 4, p. 12. As stated by the USPTO,

       Claim 22 requires "a hinge member adapted to be rotatably and permanently attached to the
       camera". Similarly, claim 40 requires "a hinge member adapted to be permanently rotatably
       attached to the camera" and claim 41 requires "a hinge member adapted to be permanently
       rotatably joined to the camera". This type of connection is not shown by the cited art.

Exhibit 4, p. 12. In the second part of its argument – which asserts that if a camera was “fully tightened

down” to the hinge member, then the “camera could not rotate about the first axis of rotation as the

Asserted Claims and specification require” – Sakar is confused as this is one of the reasons that Irifuni

does not meet the “rotatably attached” limitation.         Apparently, in its confusion, Sakar agrees with

AdjustaCam’s position distinguishing Irifune.

       Finally Sakar argues that “the arguments advanced by Plaintiff and its expert contradicted

Plaintiff’s proposed construction of ‘rotatably attached’ in this very litigation because an object

‘permanently fixed’ to another object is not ‘capable of being rotated.’” Here again, as noted above, the

USPTO has agreed with AdjustaCam that being permanently attached is not inconsistent with being

rotatably attached.

        G.     AdjustaCam did not maintain any “frivolous” arguments against the Ma Patent. In
               fact, the USPTO has agreed with AdjustaCam’s arguments.

       Sakar’s allegations regarding the Ma patent are mistaken. As set forth in detail the report of

AdjustaCam’s technical expert Dr. Muskivitch, Ma is not anticipatory because:

       Ma discloses a camera with moveable parts. On a horizontal surface, the camera is
       supported on circuit box 3. On a laptop display screen, the camera is supported with a
       combination of circuit box 3 and sliding hook plate 31. As noted in Ma’s title and
       throughout the patent, the invention described in Ma is a “camera.” For example, claim 1
       of Ma is directed to “[a] digital camera for a computer comprising: a photographic lens
       assembly . . . an adjustment block . . . steering element[s] . . . [and] “a circuit box.” …
       Contrary to the assertions in the Klopp Report, the camera of Ma cannot be rotated
       relative to the hinge member, because the camera of MA is the combination of
       photographic lens assembly (1), adjustment block (2), circuit box (3), tubular revolving
       shaft (11) and tubular revolving shaft (21). In the illustration below, the various parts of
       the camera are noted in red:


                                                      19
                                                                                 ATTORNEY’S EYES ONLY

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              THE MATERIAL OMITTED DISCLOSES MATERIAL DEEMED CONFIDENTIAL UNDER LICENSE




Exhibit 19, pp. 28-30. See Exhibit 14 (Ma). Not only is AdjustaCam’s assessment of Ma correct, but the

USPTO agrees with it. During reexamination proceedings, the USPTO initially rejected the Asserted

Claims as being anticipated by Ma. See Exhibit 12, p. 6 & Exhibit 20, p.10. However, AdjustaCam made

the same arguments noted above to the USPTO. Exhibit 21, pp. 27-28. Acknowledging the merit of

AdjustaCam’s arguments, the USPTO dropped Ma as an anticipatory reference, and wrote that “The

rejections that relied on Ma in the prior Office action have been overcome.” Exhibit 21, p. 16. Moreover,

Sakar’s apparent belief that every dispute it advocates (including when disputed by experts applying

reasoned analysis), constitutes a “frivolous” argument is unfounded.

       H.     AdjustaCam did not “fabricate” a per-unit royalty to “justify nuisance value
              settlements.”

       As set forth in detail in Section II.E, AdjustaCam’s target royalty of $1.25 - $1.50 per webcam was

established years prior to this lawsuit in the Phillips and             Licenses.   AdjustaCam did not

“fabricate” anything. Its damages expert Mr. Bratic performed a detailed, reasoned and well founded

analysis. The running royalties in those licenses set the precedent that AdjustaCam used throughout this

case. In fact, twenty settling defendants agreed with AdjustaCam’s royalty metric and paid lump sums

according to that established royalty rate. Here again, Sakar has not shown that the methodology employed

by AdjustaCam’s damages expert is unsound. Sakar’s criticisms involve a battle of the experts (although

Sakar did not bother to designate a damages expert), and they go, if anything, to the weight that a jury

would be entitled to give to Mr. Bratic’s opinions. Again, Sakar’s apparent belief that every point of

disagreement, including among experts applying reasoned analysis, constitutes something “fabricated” is

unfounded.

       I.     AdjustaCam has not “admitted” to any Rule 11 violations – nor has there been any.
                                                    20
                                                                              ATTORNEY’S EYES ONLY

                                                  A0277
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           Sakar’s allegation that AdjustaCam’s Rule 30(b)(6) designee “admitted” that no Rule 11

 investigation was conducted is baseless. First, AdjustaCam’s designee had never been noticed relative to

 any Rule 11 investigation of Sakar. See Exhibit 23 (deposition notice). Moreover, regarding the pre-suit

 investigation of Newegg – which was a deposition topic -- AdjustaCam’s Rule 30(b)(6) designee testified

 that, “[o]utside counsel prepared claim charts for each of the accused products prior to filing the suit.

 And I believe anything else associated with that pre-suit investigation conducted by outside counsel

 would be privileged, I believe.” Exhibit 18 (Haynes Depo), p. 92. Far from “admitting” that no Rule 11

 analysis was conducted, AdjustaCam’s designee testified that “AdjustaCam deferred its Rule 11 analysis

 to its outside attorneys.” Id. at p. 91.12

           Without waiving privilege, but in order to address Sakar’s spurious allegations, additional details of

 the Rule 11 analysis are as follows. Prior to filing suit against Sakar, AdjustaCam’s outside counsel John

 Edmonds purchased a Kodak S100 webcam. Exhibit 1. In addition, Mr. Edmonds and co-counsel at the

 Collins, Edmonds, Pogorzelski, Schlather & Tower, PLLC firm, primarily Steve Schlather13, studied the

 ‘343 patent and its prosecution history. Id. Further, firm attorneys, primarily Messrs. Edmonds and

 Schlather, discussed and agreed upon the scope of claims 1 and 19 of the ‘343 patent, which involved

 construing terms such as “rotatably attached,” “hinge member” and “support frame.”                        Id. Outside

 counsel’s original claim constructions relative to claims 1 and 19 are the same as those reflected in

 AdjustaCam’s P.R. 4-2 disclosures for this case. Id. See Ex. 24 (P.R. 4-2 disclosure). Finally, firm

 attorneys, primarily Messrs. Edmonds and Schlather, prepared infringement charts with an element by

 element matching of product features to claim 1 of the ‘343 patent, including a claim chart for the Kodak

 S100 webcam. Id.



12
  As noted above, Sakar’s Rule 30(b)(6) designee deferred to its expert(s) with respect to Sakar’s basis for
alleging non-infringement and invalidity. Exhibit 7, pp. 49-52 & 54. By Sakar’s flawed logic that
designees cannot defer to those more knowledgeable, it’s Rule 30(b)(6) designee has likewise “admitted”
that Sakar has no basis for contending non-infringement or invalidity.
13
     Both Messrs. Edmonds and Schlather are registered patent attorneys.
                                                               21
                                                                                           ATTORNEY’S EYES ONLY

                                                              A0278
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       As for “reevaluating” AdjustaCam’s positions in the case, promptly upon issuance of the this

Court’s June 7, 2012 Order overruling both sides’ objections to the Claim Construction Order, see Dkt.

No. 650, AdjustaCam’s outside counsel Mr. Edmonds and Mr. Joshua long, reviewed the webcams in the

case for any that should be dropped in view of the Claim Construction Order, primarily in view of the

Court’s construction of “rotatably attached.” Id. Due to the Court’s construction of “rotatably attached,”

AdjustaCam dropped sixteen (16) webcams from the suit because the rotatable attachment between the

hinge member and camera was not limited to a single axis of rotation.14 This decision was made in

consultation with AdjustaCam’s technical expert Dr. Muskivitch, who was consulted on June 8, 2012. Id.

       The cases relied upon by Sakar are entirely off point. As stated by the Federal Circuit, “[i]n the

context of patent infringement actions, we have interpreted Rule 11 to require, at a minimum, that an

attorney interpret the asserted patent claims and compare the accused device with those claims before

filing a claim alleging infringement.” Q-Pharma, Inc. v. Andrew Jergens Co., 360 F.3d 1295, 1300-01

(Fed. Cir. 2004). The Federal Circuit has never held that clients cannot rely upon their patent counsel to

conduct the Rule 11 investigation. To the contrary, it should be conducted by a patent attorney. Id. In the

present case, AdjustaCam was entirely reasonably in relying upon the Rule 11 analysis of its outside

counsel, including because AdjustaCam’s lead counsel, Mr. Edmonds, has almost eighteen years of

litigation experience, he is a member of the Patent Bar, and he has an L.LM. in intellectual property law.

Exhibit 1.

       Aside from its misrepresentation of the facts and misunderstanding of the law applicable to Rule

11, Sakar’s allegations of a Rule 11 violation are fundamentally flawed because they merely assume that

AdjustaCam’s claims against Sakar lacked a good faith basis in fact or law. However, as demonstrated in

Section II.D above, AdjustaCam’s infringement positions in this case were reasonable and in fact are

correct. As noted in Sections I and II.C above, AdjustaCam dismissed Sakar from this case only because

14
  The dropped webcams were the HP 3100, Gearhead WC 740, Gearhead WC 745, Gearhead WC 750, Gearhead WC 740I,
Gearhead WC 1100, Gearhead WC 1200, Gearhead WC 1300, Gearhead WC 1400, Gearhead WC 1500, Gearhead WCF 2600,
Gearhead WCF 2750, Gearhead WC 4750 and Gearhead WC 8301. Exhibit 1 (Edmonds Declaration).
                                                    22
                                                                                ATTORNEY’S EYES ONLY

                                                   A0279
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AdjustaCam was faced with the difficult decision of accepting the USPTO’s rejection of the Asserted

Claims, in order to facilitate the issuance of a reexamination certificate with new and amended claims, in

lieu of potentially wasting the remaining term of the ‘343 patent in appealing the USPTO’s determination.

        J.      Sakar has not met its burden of showing this is an exceptional case, and it is not
                entitled to any award of fees.

        There is nothing exceptional about this case. AdjustaCam dismissed its claims against Sakar

because AdjustaCam was faced with the difficult decision of accepting the USPTO’s rejection of the

Asserted Claims, in order to facilitate the issuance of a reexamination certificate with new and amended

claims, in lieu of potentially wasting the remaining term of the ‘343 patent in appealing the USPTO’s

determination. Sakar has not shown, much less shown by clear and convincing evidence, that

AdjustaCam’s claims were frivolous or that there has been any litigation misconduct. For the most part,

Sakar is simply narcissistic and naïve in arguing that disputed points, based upon the reasoned and sound

analysis of experts, are “frivolous” solely because Sakar disagrees with them. Moreover, at best, Sakar’s

motion argues that AdjustaCam should have dismissed Sakar in April 2012 instead of August 2012.

        Even if Sakar’s arguments had factual merit, which they do not, its claim for all fees expended over

the lengthy course of this case is unfounded. Further, Sakar incurred approximately $89,000 of its

$143,933 in alleged attorney’s fees post-Markman (i.e., post the April 10, 2012 time entry for “reviewing

the Court’s decision on meaning of patent claims).15 However, if the infringement issues with the

“rotatably attached” element were as cut and dry as Sakar has represented, Sakar could have and should

have sought summary judgment immediately following receipt of the Court’s Markman Order. Rather,

Sakar chose to continue this litigation, incurring more attorney’s fees (62% of the total) in the seven

months post-Markman than it did in the almost two years prior. The reality is that these issues are not as

Sakar has represented and, in addition to being incorrect as to the facts, Sakar has cited nothing more than


15
  The sums involved are $6,927.50 for April 13 – 30, 2012; $16,035 for May 2012; $5,233 for June 2012; $4,048 for July
2012; $19,335 for August 2012; $18,081for September 2012; $17,916 for October 2012; and $1,485 for November 2012. See
Exhibit 20 to Sakar’s Motion (billing records). These numbers collectively total $89,060.50.
                                                         23
                                                                                       ATTORNEY’S EYES ONLY

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a dispute between competing experts – a situation common to each and every patent case. Nothing Sakar

has shown supports a finding that this case is exceptional.

        Further, Sakar’s claim for reimbursement of fees includes multiple hours of time spent by Sakar’s

counsel, Messrs. Sutton and Morano, representing other defendants, namely Kohl’s16 and Fry’s,17 who did

not move for reimbursement of attorney’s fees.18 For example, the April 26, 2012 time entry for which

Sakar seeks reimbursements states, on August 4, 2011, Mr. Sutton charged 2 hours for preparing Kohl’s

answer to the complaint, on April 26, 2012 Mr. Sutton charged 2 hours for preparing objections for Kohl’s

to a deposition notice, on May 17, 2012, Mr. Sutton charged 4 hours for preparing a Kohl’s witness, and

on May 22, 2012 Mr. Sutton charged 8 hours for defending the Kohl’s deposition. See Ex. 20 to Sakar’s

Motion. Also for example, on June 4-5, 2012, Mr. Sutton charged 5 hours for work on Fry’s deposition. Id.

Further, although it is not clear exactly what Sakar’s counsel did in this case except ride the coat-tails of

other defendants until Sakar became the last man standing and the beneficiary of the reexamination

proceedings, even a cursory review of the Sutton firm’s billing records shows serious padding of bills. For

example, on August 3, 2011, Mr. Sutton somehow billed 4 hours to prepare a boilerplate answer to the

amended complaint that was almost identical to Sakar’s September 16, 2010 answer to the complaint.19

Then on August 4, 2011, Mr. Sutton billed his client Kohl’s 2 hours for preparing and filing an answer and

counterclaims, even though none was filed. 20 Then on September 14, 2011, Mr. Sutton again billed four

hours for drafting new answers for Sakar and Kohl’s that are identical to each other, and are almost

identical to Sakar’s August 2001 answer. 21



16
    See, e.g., Exhibit 20 to Sakar’s Motion at time entries dated 8/31/2010, 9/15/2010, 9/16/2010, 1/31/2011, 4/11/2011,
5/31/2011, 6/9/2011, 6/21/2011, 8/4/2011, 8/10/2011, 8/31/2011, 9/23/2011, 9/26/2011, 10/3/2011, 10/10/2011, 3/12/2012,
4/23/12, 4/25/12, 4/26/12, 5/11/2012, 5/17/2012, 5/31/2012, 5/18/2012 and 5/22/12.
17
    See, e.g., Exhibit 20 to Sakar’s Motion at time entries dated 7/28/2010, 1/31/2011, 1/25/2012, 5/10/2012, 5/11/2012,
6/4/2012, 6/5/2012, 6/21/2012, 7/31/2012 and 8/20/2012.
18
   Indeed the Court’s dismissal of Fry’s at Dkt No. 675 provides that “All costs, expenses and attorneys fees are to be borne by
the party that incurred them.”
19
   See Ex. 20; and compare Dkt No. 230 with Dkt No. 230.
20
    See Ex. 20. There is no docket entry for Kohl’s answering the amended complaint in August 2011 because it never
happened.
21
   See Ex. 20; and compare 457 with Doc Nos. 520 & 521.
                                                              24
                                                                                              ATTORNEY’S EYES ONLY

                                                             A0281
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       Finally, Sakar’s claim for reimbursement of expert expenses constitutes a gross and unfounded

overreach. A court has inherent authority “to impose sanctions in the form of reasonable expert fees in

excess of what is provided for by statute.” Takeda Chem. Indus., Ltd. v. Mylan Labs., Inc., 549 F.3d 1381,

1391 (Fed.Cir.2008). However, use of this inherent authority is reserved for cases where the district court

makes a “finding of fraud or bad faith whereby the ‘very temple of justice has been defiled.’ ” Amsted

Indus. Inc. v. Buckeye Steel Castings Co., 23 F.3d 374, 378 (Fed.Cir.1994). Sakar has not even argued this

very high standard because it has not been met. Further, all of Sakar’s expert fees were incurred post-

Markman. Again, if the infringement issues with the “rotatably attached” element were as cut and dry as

Sakar has led the Court to believe, then it begs the question of why Sakar paid so much for experts when

the case against it was allegedly frivolous and could have been disposed of summarily by summary

judgment at an earlier stage

V.     Conclusion.

       For at least the foregoing reasons, Sakar has failed to meet its burden of proving this is an

exceptional case, or proving any entitlement to fees, and Sakar’s Motion should be denied.



February 4, 2013                                 Respectfully submitted,

                                                 By: /s/ John J. Edmonds
                                                 John J. Edmonds – LEAD COUNSEL
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                                                 Michael J. Collins
                                                 Texas Bar No. 4614510
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                                                    25
                                                                               ATTORNEY’S EYES ONLY

                                                  A0282
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      ADJUSTACAM LLC




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                                  ATTORNEY’S EYES ONLY

                              A0283
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                     CERTIFICATE OF AUTHORITY TO FILE UNDER SEAL

I hereby certify that authority to file this document under seal is found in the protective order governing
this case.

February 4, 2013                                            /s/ John J. Edmonds
                                                          John J. Edmonds

                                     CERTIFICATE OF SERVICE

I hereby certify that all counsel of record who are deemed to have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

February 4, 2013                                            /s/ John J. Edmonds
                                                            John J. Edmonds




                                                    27
                                                                               ATTORNEY’S EYES ONLY
                                                   A0284
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

ADJUSTACAM LLC

    v.                                                   NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                 JURY

     DECLARATION OF JOHN EDMONDS IN SUPPORT OF PLAINTIFF’S RESPONSE TO
       SAKAR INTERNATIONAL, INC.’S OPPOSED MOTION FOR DECLARATION OF
       EXCEPTIONAL CASE AND AWARD OF FEES AND NON-TAXABLE EXPENSES

I, JOHN J. EDMONDS, declare under penalty of perjury as follows:

    1. My name is John J. Edmonds, I am over the age of twenty-one (21) years, am competent to testify

on the matters stated herein. I am a shareholder at the law firm of Collins, Edmonds, Pogorzelski,

Schlather & Tower, PLLC and am counsel of record for AdjustaCam, LLC in the above-referenced

matter. I have personal knowledge of the facts set forth herein, and they are true and correct, and I could

and would testify competently thereto if called as a witness.

    2. Exhibit 2 to PLAINTIFF’S RESPONSE TO SAKAR INTERNATIONAL, INC.’S OPPOSED

MOTION FOR DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES AND NON-

TAXABLE EXPENSES (the “Response”) is a true and correct copy of the ‘343 patent-in-suit.

    3. Exhibit 3 to Plaintiff’s Response is a true and correct copy of the Court’s Markman Ruling from

this case.

    4. Exhibit 4 to Plaintiff’s Response is a true and correct response to a final office action during

reexamination proceedings for the patent-in-suit.

    5. Exhibit 5 to Plaintiff’s Response is a true and correct copy of an office action response during

reexamination proceedings for the patent-in-suit.

    6. Exhibit 6 to Plaintiff’s Response is a true and correct copy of Sakar’s interrogatory responses.

    7. Exhibit 7 to Plaintiff’s Response is a true and correct copy of excerpts from the Rule 30(b)(6)

deposition of Sakar from this case.


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   8. Exhibit 8 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of

Plaintiff’s technical expert Dr. John Muskivitch from this case.

   9. Exhibit 9 to Plaintiff’s Response is a true and correct copy of Dr. Muskivitch’s CV.

   10. Exhibit 10 to Plaintiff’s Response is a true and correct copy of the as-written infringement expert

report of Plaintiff’s technical expert in this case, Dr. Muskivitch, which was Exhibit 4 to his deposition.

   11. Exhibit 11 to Plaintiff’s Response is a true and correct copy of excerpts from the report of

NewEgg/Rosewill’s damages expert Dr. Sullivan from this case.

   12. Exhibit 11 to Plaintiff’s Response is a true and correct copy of an Order Granting Ex Parte Request

for Reexamination of the patent-in-suit.

   13. Exhibit 13 to Plaintiff’s Response is a true and correct copy of the Irifune reference that has been

at issue in this case and in the reexamination proceedings involving the patent-in-suit.

   14. Exhibit 14 to Plaintiff’s Response is a true and correct copy of the Ma ‘783 patent.

   15. Exhibit 15 to Plaintiff’s Response is a true and correct copy of the original expert report of

Plaintiff’s damages expert in this case, Mr. Walt Bratic.

   16. Exhibit 16 to Plaintiff’s Response is a true and correct copy of Mr. Bratic’s CV.

   17. Exhibit 17 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of Mr.

Bratic from this case.

   18. Exhibit 18 to Plaintiff’s Response is a true and correct copy of excerpts from the Rule 30(b)(6)

deposition of Plaintiff from this case.

   19. Exhibit 19 to Plaintiff’s Response is a true and correct copy of the invalidity expert report of

Plaintiff’s technical expert in this case, Dr. Muskivitch.

   20. Exhibit 20 to Plaintiff’s Response is a true and correct copy of an office action from the

reexamination proceedings involving the patent-in-suit.

   21. Exhibit 22 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of

NewEgg/Rosewill’s damages expert Dr. Sullivan from this case.
                                                       2
                                                                                 ATTORNEY’S EYES ONLY
                                                  A284.002
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   22. Exhibit 23 to Plaintiff’s Response is a true and correct copy of the Rule 30(b)(6) notice for

Plaintiff which took place on August 30, 2012.

   23. Exhibit 24 to Plaintiff’s Response is a true and correct copy of Plaintiff’s Patent Rule 4-2

disclosures from this case.

   24. The reexamination proceedings involving the patent-in-suit lasted from approximately December

10, 2012 through December 26, 2012, when a reexamination certificate issued. Once the USPTO issued

its August 30, 2012 Final Office Action in the reexamination proceedings involving the patent-in-suit,

rather than pursue lengthy and expensive appellate proceedings, which might exhaust most of the

remaining term of the ‘343 patent, on September 20, 2012 AdjustaCam canceled the rejected claims so

that a reexamination certificate could issue with the new and amended claims. In view of the fact that the

asserted claims of the patent-in-suit would inevitably be canceled upon issuance of the reexamination

certificate, AdjustaCam promptly sought to dismiss Sakar from the case.

   25. The covenant-not-to sue that AdjustaCam granted to Sakar to facilitate the agreed dismissal of

Sakar from this suit did not include the broad rights under the reexamined claims that Sakar had been

demanding.

   26. The following images:




are cut from true and correct photos of disassembled Kodak S101 and Kodak T130 webcams. The red

arrows, which were added by me, point to channels in the housing.

   27. The following images:

                                                    3
                                                                              ATTORNEY’S EYES ONLY
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are cut from true and correct photos of disassembled Kodak S101 and Kodak T130 webcams. The red

arrows, which were added by me, point to the semi-circular members that Sakar erroneously refers to as

“balls.”

   28. Without waiving privilege, but in order to address Sakar’s allegations, certain details of the Rule

11 analysis are as follows: Prior to filing suit against Sakar, I purchased a Kodak S100 webcam.. In

addition, I and co-counsel at the Collins, Edmonds, Pogorzelski, Schlather & Tower PLLC firm, primarily

Steve Schlather, studied the ‘343 patent and its prosecution history. Further, firm attorneys, primarily me

and Mr. Schlather discussed and agreed upon the scope of claims 1 and 19 of the ‘343 patent, which

involved construing terms such as “rotatably attached,” “hinge member” and “support frame.” Our

original claim constructions relative to claims 1 and 19 are the same as those reflected in AdjustaCam’s

P.R. 4-2 disclosures for this case. Finally, firm attorneys, primarily me and Mr. Schlather, prepared

infringement charts with an element by element matching of product features to claim 1 of the ‘343 patent,

including a claim chart for the Kodak S100 webcam.

   29.         As for “reevaluating” AdjustaCam’s positions in the case, promptly upon issuance of the

this Court’s June 7, 2012 Order overruling both sides’ objections to the Claim Construction Order, me and

my co-counsel Mr. Joshua Long reviewed the webcams in the case for any that should be dropped in view

of the Claim Construction Order, primarily in view of the Court’s construction of “rotatably attached.”

Due to the Court’s construction of “rotatably attached,” AdjustaCam dropped sixteen (16) webcams from

the suit because the rotatable attachment between the hinge member and camera was not limited to a

single axis of rotation. The dropped webcams were the HP 3100, Gearhead WC 740, Gearhead WC 745,
                                                    4
                                                                               ATTORNEY’S EYES ONLY
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Gearhead we 750, Gearhead we 7401, Gearhead We 1100, Gearhead we 1200, Gearhead We 1300,

Gearhead We 1400, Gearhead we 1500, Gearhead WeF 2600, Gearhead WeF 2750, Gearhead We

4750 and Gearhead we 8301. This decision was made in consultation with Adjustaeam's technical

expert Dr. Muskivitch, who was consulted on June 8, 2012.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Houston, TX on February 4, 2013.




                                                             JohnJ.     mon s




                                                     5
                                                 A284.005                           ATTORNEY'S EYES ONLY
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 1                  UNITED STATES DISTRICT COURT
 2                FOR THE EASTERN DISTRICT OF TEXAS
 3                               TYLER DIVISION
 4
 5   ADJUSTACAM, LLC,
 6                        Plaintiff(s),
 7               vs.                             NO: 6:10-CV-329-LED
 8   AMAZON.COM, INC., et al.,
 9                        Defendant(s).
10   ______________________________/
11
12
13           DEPOSITION OF JOHN CONRAD MUSKIVITCH, Ph.D.
14
15   DATE:               Friday, August 24, 2012
16   TIME:               9:11 A.M.
17   LOCATION:           TALTY COURT REPORTERS, INC.
                         2131 The Alameda
18                       Suite D
                         San Jose, CA 95126
19
     REPORTER:           Patricia Hope Sales, CRR
20                       CSR License Number C-4423
21
22
23
24
25


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 1   standpoint, yes.
 2       Q.   All right.
 3            And you said you could infer that there was a
 4   ball-and-socket joint in some of those products?
 5       A.   Something that behaved like a ball-and-socket
 6   joint, yes.
 7       Q.   Okay.
 8            Can you give me an example of something that
 9   behaves like a ball-and-socket joint but is not a
10   ball-and-socket joint?
11       A.   Well, the issue really is the complexity of
12   each of these joints.        I cannot say for certain that
13   there is a ball-and-socket joint in most of those
14   cameras, but the type of behavior that you might get
15   from a ball and socket is indicative of the behavior
16   that I saw in the -- in manipulating the webcams.
17       Q.   Okay.
18            Let me try asking my question again.
19            Do you understand how something can behave like
20   a ball-and-socket joint yet not be a ball-and-socket
21   joint?   And if so, can you give me an example of that?
22       A.   Well, in the -- in the case of the webcams, if
23   you have basically what we are calling a rotatable
24   connection between the webcam and the -- the hinge
25   member, the fact that you can rotate the camera about

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 1   the one axis is indicative of something that may be a
 2   ball-and-socket joint.
 3            When it's coupled with an independent axis for
 4   other types of motion, it could be a -- it could be a
 5   ball and socket, but with restricted motion.                     So you
 6   could have an independent rotation as we do with the
 7   rotatable connections, but you can also have a hingedly
 8   attached device at the same joint.
 9       Q.   So are you saying --
10       A.   So --
11       Q.   I'm sorry.      Go ahead.
12       A.   So there is -- I don't -- I can't think of
13   anything off the top of my head that would behave like
14   a ball-and-socket joint that's not a ball-and-socket
15   joint, but I could give it some thought, and certainly
16   I could probably -- there is probably some design
17   somewhere that somebody has come up with that makes it
18   behave that way over a certain range of motion.
19       Q.   But as you sit here today you can't recall
20   anything that behaves like a ball-and-socket joint that
21   is not a ball-and-socket joint, right?
22       A.   Let's be clear.        I want to make sure that -- a
23   joint can have a number of different behaviors.                        So a
24   ball-and-socket joint can have a rotational behavior,
25   and a ball-and-socket joint can also have a -- a

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 1       Q.   I think so.
 2       A.   I can rotate my hands -- my upper hand to the
 3   right let's say ten degrees, or I can rotate my upper
 4   hand to the right five degrees and my left hand to the
 5   left ten degrees -- or five degrees and I'll have the
 6   same effect.
 7       Q.   Right.
 8            In other words, though, a rotatable attachment
 9   has to have some rotation, right?
10       A.   That's correct.        Otherwise it wouldn't be
11   called a "rotational attachment."
12       Q.   Exactly.
13            You are aware that the court construed the term
14   "rotatable attachment" in this case; is that right?
15       A.   Yes.
16       Q.   And did you apply the court's construction of
17   "rotatable attachment" for purposes of your
18   infringement report, which is Exhibit 3?
19       A.   I believe I did.
20       Q.   Okay.
21            Did you apply that same construction to the
22   opinions that you formed in your invalidity report --
23   excuse me -- validity report, I should say?
24       A.   Yes.
25       Q.   Okay.

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 1            In other words, you didn't apply one
 2   understanding of "rotatably attached" for purposes of
 3   your infringement report --
 4       A.   No.
 5       Q.   -- and a separate --
 6       A.   No, that's --
 7       Q.   Let me finish my question.               Sorry.
 8       A.   Okay.
 9       Q.   -- and a separate interpretation of "rotatably
10   attached" for purposes of your validity report; is that
11   correct?
12       A.   That's correct.
13       Q.   Okay.
14            You used the same --
15       A.   It's same -- same term.           It's defined -- I
16   believe it's defined in the patent and it was
17   consistent.
18       Q.   Same for both reports?
19       A.   Yes.
20       Q.   Okay.
21            Let's turn to your supplemental report, which
22   is Exhibit Number 5.
23       A.   Okay.
24       Q.   Your supplemental report is -- consists of
25   three pages; is that right?

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 1       A.   That's correct.
 2       Q.   There is the cover page; page two, which is an
 3   introduction; and then there is page three, which sets
 4   forth Exhibit A.      Is that correct?
 5       A.   That's correct.
 6       Q.   Okay.
 7            And it's your understanding that the products
 8   that are listed on Exhibit A to your supplemental
 9   report were dropped, for lack of a better word, from
10   this litigation; is that right?
11       A.   Well, I -- I believe they were withdrawn, my --
12   I would imagine because they have -- they have reached
13   some kind of agreement, but --
14       Q.   Okay.
15            And that was my next --
16       A.   I'm not sure that I'm aware --
17       Q.   I'm sorry.
18            So there was --
19       A.   -- specifically.
20            I believe, reading something, that there was
21   some kind of settlements in some of the -- some of the
22   defendants, but I -- I don't recall specifically which
23   ones.
24       Q.   Okay.
25       A.   But I believe that these were removed, because

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 1   some reason to discontinue the litigation came up.
 2       Q.   Okay.
 3            So there is eight products listed on Exhibit A.
 4   You are not exactly sure why those eight products were
 5   withdrawn from this litigation?
 6       A.   I -- I don't remember ever hearing specifically
 7   the reason for that.
 8       Q.   Okay.
 9       A.   I was just told that they had -- that it would
10   be best to remove them from the original report because
11   they were no longer part of the case.
12       Q.   Okay.
13            But you didn't instruct anybody to remove those
14   from this case, did you?
15       A.   Oh, no.     I was -- I was depending upon counsel
16   to, you know, deal with the litigants.                I was really
17   just there for technical reasons, not for legal
18   reasons.
19       Q.   Well, I hate to do this, but we have got to go
20   back to Exhibit D --
21       A.   Yeah.
22       Q.   -- to your --
23       A.   Sure.
24       Q.   -- infringement report.
25            MR. EDMONDS:       So the record is clear, you are

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 1   talking about Exhibit D to Exhibit 3, or Exhibit D --
 2            MR. HERBERHOLZ:        Correct.
 3            THE WITNESS:       Okay.
 4            So this one.       Okay.
 5   BY MR. HERBERHOLZ:
 6       Q.   Turn your attention to the HP Pro claim chart.
 7   I don't know if this helps, Dr. Muskivitch, but the
 8   chart I'm looking at, the camera looks like that
 9   (indicating).
10       A.   Oh, you have got it.           Okay.
11            (Reviewing document(s).)
12            Okay.
13       Q.   You found it?
14       A.   Yes, sir.
15       Q.   Great.
16            You had an opportunity to inspect the HP Pro
17   webcam as part of your opinions in this case,
18   correct?
19       A.   Yes.
20       Q.   I'll ask you to flip to the next page of this
21   claim chart for me, page two.
22            We talked earlier about ball-and-socket joints.
23       A.   Um-hmm.
24       Q.   Is it your understanding that the HP Pro webcam
25   contains a ball-and-socket joint?

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 1       A.     Well, I'm aware that -- let's step back just a
 2   sec.
 3              From a standpoint of someone skilled in the
 4   art, I think by looking at and examining the behavior
 5   of this device and the way the structure is put
 6   together, it has two distinct joints, even though they
 7   are at the same location.
 8              And one joint allows the rotational -- the
 9   rotate -- the rotatable -- the rotatable connection.
10   The other allows for movement away from that axis, and
11   it's sort of a hinge.
12              So it's a combination of a biaxial joint or a
13   two-joint mechanism that has two independent and
14   distinct, separate motions.
15              So to say that that joint is a ball-and-socket
16   joint is -- is incomplete --
17       Q.     Okay.
18       A.     -- because --
19       Q.     So as a Ph.D. in engineering, and as a person
20   of ordinary skill in the art, you understand what a
21   ball-and-socket joint is, don't you?
22       A.     I do.
23       Q.     Okay.
24              So my question is does the HP Pro contain a
25   ball-and-socket joint as you understand that term?

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 1       A.   Being that -- as I just mentioned, that there
 2   are two separate behaviors, two distinct behaviors, I
 3   cannot be sure that the ball-and-socket joint is the
 4   only mechanism.
 5       Q.   Well, I'm not --
 6       A.   Or is the mechanism there.
 7       Q.   Well, I'm not asking if it's the mechanism.
 8   You did say the ball-and-socket joint, and that's my
 9   question.    Is there a ball-and-socket joint in the HP
10   Pro camera?
11       A.   I don't know for certain.
12       Q.   Is your answer the same for the HP Pro for
13   Notebooks webcam; you don't know if that particular
14   product has a ball-and-socket joint?
15       A.   Again, I didn't -- when I -- when I did my
16   analysis, I didn't necessarily look at the individual
17   components that were included or contained within the
18   cameras.    I looked at the overall behavior that was
19   called out in the claims, claims one, seven and
20   nineteen of the -- of the patent.
21            So the -- the rotatably attached part was the
22   first part that I looked at.            And whether or not the
23   mechanism of that was a ball-and-socket joint or
24   whether it was -- whatever it was, you know, how -- how
25   that was implemented was really not the point.

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 1             The fact that it had that capability to move in
 2   that direction is the major -- is the major issue.                          The
 3   fact that it could move in another direction is really
 4   in my mind irrelevant because any other motion in any
 5   other direction would be independent motion.
 6       Q.    Okay.
 7             So going back to the issue of a ball-and-socket
 8   joint, correct me if I'm wrong, but my understanding is
 9   that a ball-and-socket joint needs to have at least two
10   things:    One, a ball; two, a socket.
11             Is that fair?
12             MR. EDMONDS:      Objection.      Form.
13             THE WITNESS:      Um-hmm.     Probably need some kind
14   of transmittal device that would transfer the motion
15   from the ball to the socket.
16   BY MR. HERBERHOLZ:
17       Q.    How about a stem?
18       A.    Stem or structure, sure.
19       Q.    Okay.
20             So you could have a stem connected to a ball,
21   and then that stem-and-ball configuration within a
22   socket, and that stem, ball and socket could be
23   referred to as a "ball-and-socket joint"; is that
24   fair?
25       A.    That's correct.

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 1            Here we go.      It's Exhibit Number 7-1.                 I'm
 2   handing that to you.
 3       A.   Okay.
 4       Q.   So is it your opinion that the camera of the
 5   Rosewill 8163 webcam is rotatably attached to what
 6   you've identified as a hinge member?
 7       A.   Yes.
 8       Q.   And what's the basis for that opinion?
 9       A.   The basis, there seems to be a -- a ball that's
10   connected, as I mentioned earlier, to the base of the
11   camera, and it seems to be placed into a slot of some
12   sort, a slot that has a direction to it.                  But the
13   rotatable attachment in terms of the patent would be as
14   you -- as you stated it.
15       Q.   You applied the court's claim construction as
16   part of your analysis in this case, didn't you?
17       A.   Yes.
18       Q.   And you understand -- and this is on page nine
19   of your report if you need to turn there -- that the
20   court said that rotatably attached objects in the
21   patent in suit are limited to a single axis of
22   rotation.
23            Do you remember that?
24       A.   Yes.
25       Q.   Are you saying that the camera of the Rosewill

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 1   8163 that you have identified is limited to a single
 2   axis of rotation with respect to the hinge member?
 3       A.   No.   What I'm saying is there are two possible
 4   motions here that are independent motions.                    So by
 5   looking at this camera, I can -- I can take that camera
 6   and I can place it into that -- that slot or whatever,
 7   whatever channel or whatever you'd like to call it.
 8   And I can rotate it about what's called in the patent
 9   axis one, and it's independent of anything else that's
10   going on.    But it only along that axis can move in that
11   direction, so it's independent.
12            If I -- if I move it to the side, as I think
13   you are trying to get at, is -- what you are doing is
14   you are imposing or you are imploring or utilizing a
15   second element, which is a hinge, and the hinge behaves
16   to allow motion in a single plane.                And it's
17   independent.
18            So the fact that there is -- the fact that this
19   axis one is made up -- now, this is a ball and this is
20   a socket (indicating), but it's not -- in my opinion,
21   it's not a true ball-and-socket joint.
22       Q.   Why is it not a true ball-and-socket joint?
23       A.   Because this can't move in every direction.
24   It's limited in the directionality which it can move.
25            A true ball-and-socket joint would move this

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 1   way, rotate any way you wanted it to (demonstrating).
 2       Q.    All right.
 3       A.    Here it can only rotate about the axis, and it
 4   can bend almost like your elbow and your arm and your
 5   forearm.
 6             If you take the -- the rotatable attachment and
 7   you rotate it vertical this way (demonstrating), it
 8   doesn't matter whether your arm is -- your elbow is
 9   bent or straight.      It still has that rotatable
10   attachment ability.
11       Q.    I just want --
12       A.    Because it's independent of any kind of hinge
13   member.
14             So this is really a dual -- basically it has
15   two axes of motion that are independent of one
16   another.
17       Q.    What has two axes?         The camera relative to the
18   hinge member?
19       A.    Yes.
20       Q.    It has two axes?
21       A.    Two separate axes that -- two separate,
22   independent axes that allow it to move to -- within
23   certain bounds --
24       Q.    Okay.
25       A.    -- on the camera.

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 1       Q.    So the camera is not limited to a single axis
 2   of rotation with respect to the hinge member?
 3       A.    Correct.     But they are independent.                So one can
 4   have -- I can spin this all day and it does not have to
 5   move as a hinge.       It doesn't have to move down this
 6   slot, move forward, so it's called "forward tilt."
 7       Q.    Okay.
 8       A.    And I can move it forward tilt back and forth
 9   as much as I want and it doesn't have to be -- it
10   doesn't -- nothing is forcing it to rotate.
11             So those are two independent motions.
12       Q.    Okay.
13             I have here an exemplar of the Rosewill 8163
14   camera.
15       A.    Right.
16       Q.    And just for purposes of the record, I want to
17   try to be as clear as I can about what I'm going to do
18   when I'm manipulating this.           But if --
19       A.    Right.    Okay.
20       Q.    -- something is inaccurate, let me know.
21             I'm setting the camera down here.                  I'm going to
22   put it on a flat surface on the table.
23       A.    Sure.
24       Q.    Okay?
25             And I'm trying to configure the casing,

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 1   whatever you want to call this, the camera, to be
 2   upright.
 3       A.   Right.     Okay.
 4       Q.   And I want the axis to be perpendicular to the
 5   table.   Do you follow me?
 6       A.   Yes.
 7       Q.   Okay.
 8            I have configured it that way.
 9            So I'm now taking the camera and I am going to
10   rotate it.    Okay?
11       A.   Okay.
12       Q.   I'm rotating it to that configuration
13   (demonstrating).
14            How many degrees have I rotated that camera?
15       A.   It looks like approximately ninety degrees.
16       Q.   Okay.
17       A.   About that central axis.
18       Q.   Okay.
19            So I have rotated it about a single axis of
20   rotation, correct?
21       A.   That's correct.
22       Q.   Okay.
23            Now I'm going to turn it back to the
24   configuration that I had it.            Okay?     Are you with me?
25       A.   Yes.

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 1       Q.   Now, here's what I'm going to do.                  I'm going to
 2   move the camera at this angle directly toward me
 3   (demonstrating).
 4            Do you see that I just tilted it?
 5       A.   Um-hmm.
 6            (Nods head.)
 7       Q.   Okay.
 8            Now I'm going to do the same rotation that I
 9   did a moment ago, but on this other angle.                    And I'm
10   going to turn the camera that way (demonstrating).
11            Do you follow me?
12       A.   Yes.
13       Q.   How many degrees did I rotate the camera?
14       A.   Well, you rotated it in two -- about two
15   axes.
16       Q.   Okay.
17            So what I --
18       A.   So I -- it looks like from a -- if I use a
19   vertical -- a vertical axis, it looks like it's ninety
20   degrees.   Well, not even quite ninety.               More than
21   ninety degrees.      No, ninety degrees.           And if I look at
22   the rotation about the horizontal axes, it looks to be
23   a little bit less.
24            But those are both independent motions.                       They
25   do not depend on one another.

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 1            To get to -- if we -- if we go back to basic
 2   engineering, to get from one point to another is a
 3   combination of three displacements and three rotations,
 4   any part in -- any point in space.
 5            So if I take this bottle and I move it here, I
 6   have translated it.       And if I rotate it this way, I
 7   have rotated it (demonstrating).
 8            Now, those are independent of one another.                         I
 9   can translate it first and then rotate it.                    I can
10   rotate it first and then translate it.                It doesn't
11   matter, because when I -- okay.
12            Let's take an example of two springs together.
13   If I have a spring that's fixed, like a Slinky -- do
14   you follow where I'm going?
15       Q.   Um-hmm.
16       A.   -- and I hold it at this one end, we'll say the
17   left end, and there is a connection in between them,
18   between two Slinkys.
19            When I talk about independent motion, I -- in
20   that configuration, I -- I have what's called
21   "dependent motion," because if I move one, the other is
22   forced to move with it.
23       Q.   Okay.
24       A.   Okay?
25            In this case, if I rotate it around to the

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 1   center, there is nothing that forces it to move, to
 2   tilt or to sway to either side.             It's a separate
 3   motion; it's a separate functional joint.                    It may be
 4   the same location, but it's the same function joint.
 5       Q.   Okay.
 6            Regardless of whether it's a separate motion --
 7       A.   Well, it's --
 8       Q.   -- if I go back and do the same thing that I
 9   just did -- so I'm just going to configure the camera
10   so the first axis of rotation, as you described it, is
11   perpendicular to the table.
12            Is that fair?       Is that how I have it placed
13   right now?
14       A.   The first axis of rotation is straight up
15   (demonstrating).
16       Q.   All right.
17            So, again, and I'm going to tilt the camera as
18   far toward me as I can.         Do you see that?
19       A.   Sure.
20       Q.   Okay.
21            Now I'm going to rotate it again ninety
22   degrees.
23            Do you follow me?           (Demonstrating.)
24       A.   Yes.
25       Q.   Just to be clear, when I rotated that, it

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 1   rotated about two axis (sic) of rotation.                     Is that
 2   right?     They might be separate, but they are two axis
 3   of --
 4         A.   Well, there is a --
 5         Q.   -- rotation, correct?
 6         A.   -- part that -- they are separate, yes.                       There
 7   is two axes, but they are separate --
 8         Q.   Okay.
 9         A.   -- and independent -- and independent, and I
10   want to be clear on that.
11         Q.   Okay.
12         A.   Because you did have to -- you did have to move
13   it -- well, I -- maybe -- maybe you didn't have to do
14   it.    But the way you demonstrated it is you moved it in
15   one direction, meaning that there's a joint that allows
16   it to move in that direction --
17         Q.   Okay.
18         A.   -- and then you rotated it, which means that
19   there is some functional capability that allows it to
20   do that.
21         Q.   Okay.
22              But, in any event, it rotated in two axes?
23         A.   In two independent -- about two independent
24   axes, yes.
25         Q.   Okay.

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 1            Now, is there --
 2       A.   It doesn't necessarily have to correspond.                         In
 3   this particular case they happen to go through the
 4   center of the camera and the center of the base.
 5       Q.   Okay.
 6            I'm not going to go through demonstrations with
 7   each of these products here, but can you take a look at
 8   the Hercules Classic drawing that you have.
 9       A.   Okay.
10       Q.   Is it your understanding that the lens, or more
11   particularly the part that you have colored as the
12   camera, you know, rotates in a similar manner relative
13   to the hinge member as the Rosewill camera that we have
14   demonstrated?
15       A.   Yes, that's correct.
16       Q.   Okay.
17       A.   It's a -- it may be a ball, it may be a socket,
18   but it's a -- a constrained ball-and-socket joint.
19            So just the fact that you have a ball and you
20   have a socket does not in itself satisfy the condition
21   of being a true ball-and-socket joint.
22       Q.   Okay.
23       A.   This happens to be a constrained
24   ball-and-socket joint.        So it can spin about the axis,
25   it can move forward, it may be able to move to the

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 1   side.
 2       Q.   Okay.
 3       A.   But each of those motions are independent.
 4       Q.   Okay.
 5            So Hercules Classic has what you identified as
 6   a constrained ball-and-socket joint?
 7       A.   Yes.
 8       Q.   Okay.
 9            And just to make sure I understand, the camera
10   that you have identified in the Hercules Classic
11   rotated about at least one axis of rotation; maybe it's
12   a separate axis of rotation, but nevertheless it
13   rotated about more than one axis.                Is that right?
14            MR. EDMONDS:       Objection.      Form.
15            THE WITNESS:       Well, it depends on how -- you
16   know, how it's positioned.
17   BY MR. HERBERHOLZ:
18       Q.   Okay.
19            Let's say hypothetically if I had that same
20   device and went through the same analysis that we did
21   with the Rosewill camera, in other words --
22       A.   Sure.
23       Q.   -- I set it upright, pull it to the side,
24   rotate it ninety degrees like I did with the Rosewill
25   camera --

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 1       A.   Right.
 2       Q.   -- that particular rotation has been about more
 3   than one axis, right?
 4       A.   Well, you moved it to the side?                If you are
 5   just moving it around its central axis, that's just one
 6   rotation.
 7       Q.   Okay.
 8       A.   But taking it and moving it in another
 9   direction in addition to rotating it about its axis,
10   that's two separate, independent motions.
11       Q.   Okay.
12            Two separate, independent motions between the
13   camera and the hinge member?
14       A.   Yes.
15       Q.   Okay.
16            Is that the same -- handing you the Exhibit
17   8-1, which is the Hercules Dualpix.
18       A.   Um-hmm.
19       Q.   Is what you have -- is what you have identified
20   as a camera there -- does that also rotate -- well,
21   first let me back up.        Strike that.
22            Does the Hercules Dualpix have a constrained
23   ball-and-socket joint as well?
24       A.   I believe it does.
25       Q.   Okay.

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 1            And does the rotation of the camera in the
 2   Hercules Dualpix relative to the hinge member -- does
 3   that occur over more than one axis of rotation?
 4       A.   Well, it very well could, but, again, they are
 5   independent motions.
 6       Q.   Okay.
 7       A.   So the fact that -- that you have it rotatably
 8   attached is an independent issue from whether it's
 9   hingedly attached in the other direction.                   Those are --
10   those are two independent issues.
11       Q.   Now, "hingedly attached" means connected by a
12   hinge joint, doesn't it?
13       A.   Right.     And that's what -- that's what that
14   channel is creating.        It's creating -- it's limiting
15   the motion from side to side.           It's forcing it to go
16   along that channel.
17       Q.   So are you -- you said earlier the Hercules
18   Dualpix has a modified ball-and-socket joint?
19       A.   Right.
20       Q.   Is that modified ball-and-socket joint in the
21   same location as what you have identified as the hinge
22   joint?
23       A.   No.
24       Q.   Okay.
25            Where were the modified ball-and- --

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 1       A.     Well, again, there is really -- in this
 2   particular case there could be as many as three.
 3   But -- but I think when I did play with this -- this
 4   camera, essentially it was really two axes that it
 5   allowed rotation.         It allowed rotation about the
 6   central axis, or corresponding to axis one in both the
 7   patent and in the preferred embodiment, and the second
 8   axis was dependent upon the orientation -- well,
 9   actually, let me take that back.
10              The motion itself is independent, and that
11   would be the motion that would be along that channel.
12   But the direction of the motion is a combination of the
13   two.
14              So by rotating it and then -- rotating it about
15   its rotational axis and then rotating it about a hinge
16   axis, it reaches any of the possible limits of the
17   motate (sic) -- of the motion you have.                    And, again,
18   those are independent.           One does not require the other
19   to occur.
20       Q.     You see the door here in the conference room?
21       A.     Um-hmm.
22       Q.     Would you -- do you see the hinge on the
23   door?
24       A.     Yes.
25       Q.     Would you understand that to be a hinge

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 1   joint?
 2       A.   Yes.
 3       Q.   Do you see anything that looks like that hinge
 4   joint in the Hercules Dualpix webcam?
 5       A.   Doesn't matter.
 6       Q.   No, I'm just asking a question.                Is there --
 7       A.   No, I don't see anything in there, but what it
 8   looks like really doesn't matter, because it's a
 9   behavior that's -- it's displaying that's the important
10   thing.   However the engineer decided to do it is -- is
11   really irrelevant because the overall characteristic of
12   that joint is to allow that hinged rotation.
13            So that could be -- it could have drills in it,
14   it could extend four feet out into this room, and as
15   long it allowed that motion, it really doesn't matter
16   what it looks like.
17       Q.   But that motion is in a single axis of
18   rotation; is that correct?
19       A.   That's correct.
20       Q.   Is there anything in this modified
21   ball-and-socket joint in the Hercules Dualpix cam --
22            (Reporter clarification.)
23            MR. HERBERHOLZ:        Sure.
24   BY MR. HERBERHOLZ:
25       Q.   Is there any structure in this Hercules Dualpix

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 1   webcam, at least in the modified ball-and-socket
 2   portion of it, where the -- where there is rotation
 3   about a single axis relative to the hinge member?
 4       A.   To the -- rotation about a single -- well,
 5   actually, there is two axes.             Again, there is one
 6   independent motion which allows rotation about the
 7   central axis.       There is another motion which is more
 8   like the door hinge (demonstrating).
 9            And what I'm saying is -- maybe for the court
10   reporter -- is I have my hand, my right hand,
11   vertically upward, and if I rotate that down, that's --
12   and if I rotate it about my elbow, that's my rotational
13   connection.
14            When I take my hand and I move it down towards
15   the table, rotating it in my -- looking at it here
16   counterclockwise to reach the table, that's an
17   independent hinge motion.             And, again, however that's
18   configured internally is -- is basically irrelevant in
19   my mind, because the motion is allowed to occur only in
20   that direction.
21            Now, if I rotate my hand forty-five degrees and
22   then I use the hinge, I can -- I can duplicate that
23   motion, which gives me -- which puts me in a different
24   position in space.
25            But, again, there is nothing that -- that

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 1   forces the rotational motion or the hinge motion to
 2   occur simultaneously, or have any kind of -- other than
 3   the bounds that are put on any kind of limits on it.
 4       Q.   So I want you to envision a traditional
 5   ball-and-socket joint.         Okay?     Do you have that in
 6   mind?
 7       A.   Um-hmm.
 8       Q.   Okay.
 9            Is it your testimony that every ball-and-socket
10   joint also includes a hinge joint?
11       A.   Depending upon the way that it is configured,
12   it can -- it can -- if it's limited, it can have
13   hingelike behavior.
14            And that's what I'm saying.               The fact that it's
15   a ball and the fact that it's a socket is really
16   irrelevant.    It has constraints on it that force it to
17   move a certain way.
18       Q.   Well, I'm not a professional engineer, so
19   correct me if I'm wrong.
20       A.   No, that's all right.
21       Q.   I'm just a lawyer trying to --
22       A.   That's fine.
23       Q.   -- understand.
24       A.   Sure.      That's fine.
25       Q.   The way I envision a ball-and-socket joint is

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 1             And same here (indicating).              So that's an edge.
 2             MR. HERBERHOLZ:        I don't have any other
 3   questions at the present time.             I'm going to go over my
 4   notes, but in the meantime, I'm going to pass the
 5   witness.    I think Mr. Sutton had some questions he
 6   wanted to ask.
 7             MR. SUTTON:      Okay.      Did you want to take a
 8   quick break, or are you okay?
 9             THE WITNESS:       No, I'm -- I'm okay.
10             MR. SUTTON:      All right.       Good.
11             THE WITNESS:       Yes.
12                       EXAMINATION BY MR. SUTTON
13       Q.    Do you have the '343 patent in front of you, or
14   can you get that in front of you?
15       A.    Yes, I do.
16       Q.    And can you look at figure four of that patent.
17       A.    What was that?       What was that again?
18       Q.    Can you please look at figure four of the '343
19   patent.
20       A.    Yes.
21       Q.    Okay.
22             And, by the way, have you looked at any Kodak
23   webcams?
24       A.    I believe so.
25       Q.    Okay.     All right.

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 1       Q.    Therefore, the support frame, eighteen, rotates
 2   about the single axis of rotation, which is pivot
 3   element, eighty-two; is that correct?
 4       A.    Yes.
 5       Q.    Is it also correct --
 6       A.    Oh.
 7       Q.    -- that the pivot pin is -- I think we -- I
 8   asked you this one before, and it's repetitive, but is
 9   it also correct that the pivot pin, eighty-two, is the
10   second axis of rotation in the patent, which is labeled
11   "axis thirty-two" in figure three?
12       A.    I believe that's correct.
13       Q.    Okay.
14             Now, can you please look again at the Kodak
15   webcam.
16       A.    Okay.
17             Yes.
18       Q.    And I'm referring again to the stem and ball
19   which are affixed to the bottom part of the camera.
20       A.    Yes.
21       Q.    Now, the stem and ball that you are looking at,
22   is it your understanding that it has a single axis of
23   rotation or more than one axis of rotation relative to
24   the support frame?
25       A.    Relative to --

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 1             MR. EDMONDS:      Objection.      Form.
 2             THE WITNESS:      Do you mean relative to the hinge
 3   member?
 4   BY MR. SUTTON:
 5       Q.    Well, I'm going to say relative to -- let me
 6   back up and --
 7             Do you understand that the Kodak web- -- the
 8   Kodak webcam has two legs which we can call a support
 9   frame, similar to the patent?
10       A.    Yes.
11       Q.    Or I should say to use the wording of the
12   patent.
13       A.    (Nods head.)
14       Q.    So does the -- does the stem and ball of the
15   Kodak webcam which is fixed to the bottom of the
16   camera -- does the stem and ball have a single axis of
17   rotation relative to the support frame or more -- or
18   more than one axis of rotation relative to the support
19   frame?
20             MR. EDMONDS:      Objection.      Form.
21             THE WITNESS:      Well, I think we discussed this
22   before.
23             Looking at the photograph, I think that the --
24   the structure is such that one skilled in the art could
25   somewhat independently of the actual structure of that

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 1   joint come to the conclusion that you have two
 2   independent rotations possible, and they are distinct
 3   independent rotations which correspond -- at least the
 4   rotatably attached one, which would be corresponding
 5   to -- essentially what is axis one in the patent would
 6   be the rotatable attachment part.
 7            And as part of that same structure -- and,
 8   again, this is -- this is based on the behavior -- it
 9   has a separate and distinct joint which allows forward
10   rotation such as very similar to a hinge.
11   BY MR. SUTTON:
12       Q.   All right.
13            Well, let me go back and clarify something.
14            You understand looking at the photograph of the
15   Kodak webcam -- do you understand that you can tilt the
16   support frame forward relative to the stem and ball?
17       A.   The support frame could be rotated forward,
18   yeah, through the hinge, yes.
19       Q.   Through the stem and ball?
20            MR. EDMONDS:       Objection.      Form.
21            THE WITNESS:       I don't follow the question.                    Are
22   you asking me if the stem and ball can be -- well, let
23   me ask -- let me let you ask the question.                    I didn't
24   understand the question the way it was posed.
25   / / /

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 1   BY MR. SUTTON:
 2       Q.     Okay.
 3              You understand that you can tilt the support
 4   frame of the Kodak webcam forward relative to the stem
 5   and ball?
 6              MR. EDMONDS:        Objection.      Form.
 7              THE WITNESS:        Well --
 8   BY MR. SUTTON:
 9       Q.     Do you understand that part of the question?
10       A.     No, I don't, because I -- the support frame --
11       Q.     Okay.
12              Let me -- okay.         So let me clarify that for
13   you.
14              The support frame that I'm referring to are the
15   two legs at the bottom of the stem and ball.                        Two
16   hinged legs.
17       A.     Okay.
18              So that's your -- you are -- okay.                    That's not
19   what we have been calling the support frame.                        But what
20   you are saying is the base of the camera.
21       Q.     No, no.
22       A.     I'm sorry.       The base -- where the -- where
23   the -- there is a base that connects to the camera.
24       Q.     Well, okay.
25       A.     I'm sorry.

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 1   holding the camera still in space, and moving it in
 2   either the predominantly forward or predominantly
 3   backward direction, rotating it.
 4            Is that fair?
 5       Q.   What was that last part?           I'm doing what?
 6       A.   And rotating it essentially.
 7       Q.   I'm sorry.      Rotating the -- rotating what?
 8       A.   Rotating the hinge member while holding the
 9   camera essentially in its vertical position.                     And
10   rocking -- basically rocking it back and forth in that
11   connection.
12            Is that -- is that what you are asking?
13       Q.   I think so, but let me restate it so we are --
14   it's going to be clear on the record.
15       A.   Okay.
16       Q.   When you tilt forward and back the upper leg
17   member, which you call the "hinge member," and when
18   you tilt it forward and back relative to the ball and
19   stem, you can do that, correct, with the Kodak webcam,
20   right?
21       A.   Yes, that's correct.
22       Q.   Now -- and let's take -- I want to ask you what
23   happens -- can you rotate the -- the hinge member in
24   either of those positions?           So it's the forward
25   position and the -- tilted forward position and the

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 1   tilted back position.
 2            Can you rotate the hinge member in either of
 3   those positions?
 4       A.   I believe so, yeah.
 5       Q.   Okay.
 6            That's fine.
 7       A.   Yeah.       Okay.
 8       Q.   And if you can do that, is there a single axis
 9   of rotation or more than one axis of rotation?
10       A.   If those -- if those motions of rocking it back
11   and forth are essentially in the same direction -- and
12   by that I mean if they -- central axis from side to
13   side is pointing directly frontwards or directly
14   backwards, then that is an axis -- that is one axis of
15   rotation.
16            MR. SUTTON:         I'm sorry.      Could you read back
17   that answer.
18            (The record was read as follows:
19            "A.        If those -- if those motions
20            of rocking it back and forth are
21            essentially in the same
22            direction -- and by that I mean if
23            they -- central axis from side to
24            side is pointing directly
25            frontwards or directly backwards,

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 1            then that is an axis -- that is one
 2            axis of rotation.")
 3   BY MR. SUTTON:
 4       Q.   All right.
 5            Let me break it into two parts because it's --
 6   let's look at the -- the tilting the legs or what you
 7   call the upper -- I call it the "upper leg"; you are
 8   calling it the "hinge member."
 9       A.   Correct.
10       Q.   I'm talking about tilting the hinge member back
11   relative to the stem and ball, right?
12       A.   Yes.       So that the -- so that the right side of
13   the photograph would be higher than the left side --
14   the right side of the hinge member would be higher than
15   the left side of the hinge member.                  Is that correct?
16       Q.   Well, I don't have the photograph you are
17   looking at, so I'm --
18       A.   I'm essentially looking at a side view, what I
19   would call the side view --
20       Q.   Yeah.
21       A.   -- where the lens is protruding toward the
22   left, and the -- the cable is potuding (sic) --
23   protruding towards the -- towards the right.
24       Q.   Well, I'm not looking at the photograph, so I'm
25   not --

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 1       A.   Well, I'm trying to describe it to you.
 2       Q.   Well, no.     It's okay.       It's not necessary for
 3   my question.
 4            Let me ask you:        If you tilt the upper leg of
 5   the Kodak webcam let's say forward so that the front of
 6   it is close to the bottom of the camera and the back of
 7   it is far away from the camera --
 8       A.   Okay.
 9       Q.   Do you follow what I'm saying?
10       A.   Yes, yes.
11       Q.   Okay.
12            And now can you rotate -- in that position can
13   you rotate the -- the upper leg or hinge member
14   relative to the ball and stem?
15       A.   Yes.
16            In what -- in what particular direction are
17   you -- are you thinking of?
18       Q.   Well, I -- I just -- I have it in my hand and I
19   can rotate it -- rotate it to the left or right.
20            Yeah, I'm talking about the upper leg or hinge
21   member, I can rotate it about the stem and ball to the
22   left or right.
23       A.   Okay.
24       Q.   Now, can we call that rotation in that position
25   one axis of rotation?

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 1       A.   If it's about the vector that would cause that
 2   one axis of rotation, yes.            And it would be independent
 3   of any other rotations that you -- that you would
 4   apply.
 5       Q.   All right.
 6            Well, I'm going to come to another axis of
 7   rotation.
 8       A.   Yeah.      Okay.
 9       Q.   But that would be one -- that would be one axis
10   of rotation, right?
11       A.   Okay.      Yes.
12       Q.   Now, if we just pivot it -- or tilt it, I
13   should say, the leg, or what you call the "hinge
14   member" -- if we tilt it in the opposite direction so
15   that now the -- looking at the front of the camera, the
16   leg or hinge member is now facing down, so that the
17   back end is sort of closer to the camera --
18       A.   Okay.
19       Q.   So now let's call that a "rear tilt."                      Okay?
20       A.   Okay.
21       Q.   Now, in that rear tilt position, I can still
22   rotate the upper leg or hinge member to the left or
23   right, correct?
24       A.   I don't have the camera, and to be honest,
25   that's not one of the motions that we -- well, it's one

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 1   that we looked at.         And I can't remember the camera
 2   specifically, but are you just saying rocking it side
 3   to side?
 4       Q.   No.    I'm rocking -- I just rocked the -- no.
 5            First of all, I didn't say "rocking"; I said
 6   "rotate."
 7       A.   Right, right.         Okay.      Right.
 8       Q.   So my question was in that rear tilt
 9   position --
10       A.   Right.
11       Q.   -- you can rotate the upper leg or hinge member
12   relative to the ball and stem, correct?
13       A.   Yes.       It's an independent rotation, but it can
14   be done, yes.
15       Q.   Okay.
16            And in that second position or rear tilt
17   position, when we do that rotation of the upper leg or
18   hinge member relative to the ball and stem, is that a
19   different axis of rotation than the one we were talking
20   about when we tilt it forward?
21       A.   As long as it's symmetric, then it would be the
22   same axis of rotation.          In other words, as long as the
23   center line of the -- of the device in all directions,
24   the three directions, were essentially oriented the
25   same way, then that would be the -- a single axis of

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 1   rotation.
 2       Q.   So you are saying in both the rear position --
 3   rear tilt position and the forward tilt position, it's
 4   the same axis of rotation?
 5       A.   If I understand your question correctly, yes.
 6       Q.   Okay.
 7            Let me ask you another question.                   Let me give
 8   you a third example.
 9       A.   Okay.
10       Q.   Let's assume that the camera and ball and stem
11   are totally vertical and perpendicular to the upper leg
12   or hinge --
13       A.   The hinge --
14       Q.   -- member.
15       A.   -- member.         Okay.
16       Q.   Now, in that position obviously you can rotate
17   the upper leg or hinge member relative to the ball and
18   stem, right?
19       A.   Holding the camera still, yes.
20       Q.   Okay.       Yes.
21            And that would -- I think we could call that a
22   vertical axis of rotation?
23       A.   Yes.       That's correct.
24       Q.   Okay.
25            And, now, is that vertical axis of rotation the

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 1   same or different from the two axes of rotation that we
 2   just talked about when we talked about the rear tilt
 3   position and the forward tilt position?
 4       A.    Well, actually, they are different.                  One,
 5   because the -- the axis -- the origin of the axis is --
 6   is probably the same, or could be the same, but the
 7   vertical axes and the -- I'll say sort of the
 8   horizontal axes are -- are independent and pretty much
 9   orthogonal.
10       Q.    Okay.
11             But --
12       A.    So I can -- I can rotate the camera or the
13   base, whichever way you want to do it, about that axis
14   independently of any forward, backward or side
15   motion.
16       Q.    Okay.
17             But the question I was trying to get at was --
18   and I think you have agreed, but let me just clarify it
19   just so that there is no misunderstanding.
20       A.    Yes.
21       Q.    The vertical axis of rotation that we talked
22   about was -- I think you agreed a moment ago was
23   different from the two axes of rotation when the --
24       A.    Yes.
25       Q.    -- upper leg or hinge member has tilted forward

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 1   or back, correct?
 2       A.   That's correct.
 3       Q.   Okay.
 4       A.   One is horizontal and one is vertical.
 5       Q.   One --
 6       A.   I'm sorry.       One of the axes is vertical.
 7       Q.   Which one?
 8       A.   The one that goes -- I think it is the first
 9   one you talked about, where it's rotating about the
10   center axis.
11       Q.   Yeah.      But which -- the one I called the
12   vertical axis of rotation?
13       A.   That's correct.
14       Q.   Okay.
15            And the other one --
16       A.   And then the other one for the other situation,
17   that's more of a horizontal axis.
18       Q.   Well, I'm looking -- I have it in my hand, and
19   when I tilt the -- when I tilt it forward and back,
20   the -- the angle -- the rotational axis appears to me
21   to be tilting either forward or back relative to the
22   vertical axis.       So I see three different vertical axes.
23       A.   Well, that's -- that's kind of the discussion
24   and is covered in my report, is that that -- when you
25   move that -- the -- that particular joint that you are

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 1   talking about at the base of the webcam that goes into
 2   I guess you called it a ball and socket maybe, or it's
 3   been called a ball and socket, where the post of the
 4   webcam goes into the hinge member, that allows for
 5   three independent rotations, as far as we have
 6   discussed, so far as -- as I understand it.
 7       Q.   And when you say "we discussed," you are
 8   talking about the discussion we just had?
 9       A.   Yeah, you and I.
10       Q.   Okay.
11       A.   Or you and me.
12       Q.   So there is three independent axes of
13   rotation?
14       A.   Yes.       And the -- the only important one from my
15   view in my -- in my evaluation is that vertical axis.
16   That's what we call the rotatably attached connection
17   to the -- to the hinge member.
18       Q.   Between the support frame and the hinge member?
19       A.   No.    The one that goes from the bottom of the
20   plug on the bottom of the camera to the hinge member
21   where that -- that raised section is?                  The bottom --
22   the bottom of the camera and the post that goes into
23   that -- that frame below it?
24       Q.   Yes.
25       A.   Okay.

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 1            When you rotate about the vertical axis, that
 2   essentially is axis number one in the patent, and also
 3   in the preferred embodiment, which I guess is the
 4   Critter cam.        And that's independent from any other --
 5   any other motion.
 6       Q.   All right.
 7            Well, when I was asking you questions about
 8   forward tilt, the rear tilt, and then keeping the
 9   camera in a vertical position relative to the base or
10   hinge member --
11       A.   Right.
12       Q.   -- I was talking about the relationship between
13   the -- the hinge member and the -- and the -- and the
14   ball and stem.
15       A.   Right.       So it has three -- in general, it would
16   have three possible motions.
17       Q.   Well, are those -- you say "motions."                       Are
18   those different axes of rotation?
19       A.   Yes.
20       Q.   Okay.
21            I mean -- all right.             All right.
22            So now --
23       A.   And --
24       Q.   -- do you understand that the court has ruled
25   that the -- with regard to the patent claims that

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 1   the -- that the rotational -- the rotational connection
 2   between the ball and socket and the --
 3       A.   And the hinge member.
 4       Q.   -- and the hinge member is limited to a single
 5   axis of rotation?
 6       A.   And I agree with that, and my opinion is based
 7   on that.
 8       Q.   Excuse me, but you just said there is three
 9   axes of rotation, and not a single --
10       A.   Because there is three -- three independent
11   behaviors.
12       Q.   Well, no, no.        A moment ago you said three axes
13   of rotation.
14       A.   Right.      And they are independent of one
15   another.
16       Q.   Okay.      Fine.
17            But three axes of rotation is not a single axis
18   of rotation of which the court limited that terminology
19   of the claim to.
20            MR. EDMONDS:        Objection.      Form.
21            THE WITNESS:        Let me look at the --
22   BY MR. SUTTON:
23       Q.   In other words, you have said -- based on the
24   three positions that I had asked you about, you said
25   that there is a vertical axis of rotation, and it's

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 1   different from the forward tilt axis of rotation and
 2   the rear tilt axis of rotation.               And if there is a
 3   different axis of rotation, that means you have got
 4   more than a single axis of rotation between the ball
 5   and socket and the support member.                   Is that correct?
 6              MR. EDMONDS:        Objection.      Form.       Where is the
 7   question there?         That was a speech.
 8              MR. SUTTON:       I made a statement and I said, "Is
 9   that correct?"
10              MR. EDMONDS:        Okay.    Objection.         Form.
11   BY MR. SUTTON:
12       Q.     Did you understand my question?
13       A.     I believe so.        But, again, it's -- it's in the
14   context of whether or not those -- those axes of
15   rotation -- let me go back and look at the judge's
16   ruling, if I may.
17              (Reviewing document(s).)
18              Well, actually, you know, just off the top of
19   my head, consistent -- those are three separate joints
20   even though they are in one location.                   So --
21   BY MR. SUTTON:
22       Q.     Which -- which structure are you referring to
23   now?
24       A.     The -- the bottom of the post.
25       Q.     Are you looking at the Kodak webcam?

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 1       A.    Yes, I am.
 2       Q.    Okay.
 3             So I'm sorry.      What are you saying now?
 4       A.    Because of the three independent motions that
 5   you are allowed, essentially you are talking about
 6   three separate joints that allow different independent
 7   motions.
 8       Q.    Where are the three separate joints that you
 9   are talking about in the Kodak webcam?
10       A.    At the base of -- of the post.
11       Q.    At the base of the post we have assumed that
12   there is some kind of spherical structure, right?
13       A.    Right.    But that doesn't mean it's -- that
14   doesn't mean functionally it's not a joint, or it's not
15   a multiple joint.
16             If you look at your elbow and you hold your
17   elbow -- or your elbow out, can you move your hand up
18   and down like if you were curling?
19       Q.    I can't talk about my elbow right now.                      It's
20   not related to the camera.           I'm trying to stick to the
21   camera.
22       A.    No, but I'm trying to demonstrate the concept
23   that I'm trying to get across.
24       Q.    Okay.
25             But if you could do it in terms of the Kodak

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 1   webcam, it would be helpful.
 2       A.   Okay.
 3            The fact that you have -- let's take -- we
 4   start with axis one as defined by -- in the patent.
 5       Q.   Well, now you are going back -- the axis of
 6   rotation -- the first axis of rotation as defined in
 7   the patent is the axis of rotation between the camera
 8   and the stem and ball in our case, you know.                     That's a
 9   different axis of rotation.
10       A.   Not if you take -- not if you choose the
11   vertical axis.
12       Q.   Well, we have -- we have already talked about
13   the relationship between the camera and the stem and
14   ball, and we have agreed earlier -- or you agreed
15   earlier that -- that in a Kodak webcam, there is no
16   rotational movement between the -- the camera and the
17   ball and stem that fits together.
18            Do you remember that?
19       A.   Yeah, sure, sure.
20       Q.   In the Kodak webcam there is no first axis of
21   rotation as defined in the patent, correct?
22            MR. EDMONDS:       Objection.      Form.
23            THE WITNESS:       No, I don't -- I don't agree with
24   that.
25   / / /

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 1   BY MR. SUTTON:
 2       Q.    Well, we went through it about ten minutes ago.
 3   I asked you was the -- was the stem and ball of the
 4   Kodak webcam fixed to the bottom of the camera, and you
 5   said, "Yes."
 6       A.    Correct.
 7       Q.    And then I said, "Correct?"
 8       A.    Correct.
 9       Q.    And then I -- and then I said to you is there
10   any -- therefore -- let me just go back now, look at my
11   question.
12             I then said to you, "So that the camera stem
13   and ball move together as a unit?" and you said, "Yes."
14   Correct?
15       A.    Correct.
16       Q.    And, therefore, the Kodak camera does not
17   rotate relative to the stem and ball, and I said, "Is
18   that correct?" and you said, "Yes."
19       A.    Okay.
20       Q.    So, therefore, in the Kodak webcam there is no
21   first axis of rotation, as defined in the patent,
22   between the camera and the stem and ball in the Kodak
23   webcam?
24       A.    Oh, true.     Sure.     It's the -- it's the stem and
25   ball with the -- with the hinge member that's the

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 1   issue.
 2       Q.   Well, you love to -- let me -- yeah, you have
 3   made two answers there.         I want to break them up.
 4       A.   Okay.
 5       Q.   I think you agreed -- you first agreed to my
 6   statement that in the Kodak webcam, the Kodak camera
 7   does not rotate relative to the stem and ball, and you
 8   have said yes to that, correct?
 9       A.   I agree, yes.
10       Q.   Okay.
11            And, therefore, you also said there is not a
12   first axis of rotation in the Kodak webcam.
13            MR. EDMONDS:       Objection.      Form.
14            THE WITNESS:       I don't believe I said that.                    I
15   mean that's -- that's fundamental to my opinion is that
16   there is -- when you consider the -- the camera with
17   the attached ball and stem, and its connection with the
18   hinge member, there absolutely is a -- a rotational
19   axis that corresponds to axis one in the patent.
20   BY MR. SUTTON:
21       Q.   Okay.
22            But if the ball -- let me clarify something.
23            If the ball and stem are fixed to the bottom of
24   the camera in the Kodak webcam, how can there be -- and
25   they all move together, right?

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 1            Those three elements move together.                   The
 2   camera, the ball and the stem all move together.
 3   You've established that, correct?
 4       A.   I agree, yes.
 5       Q.   Okay.
 6            So how could there be an axis of rotation
 7   between the bottom of the camera, or the camera itself,
 8   and the ball and stem that are fixed to it?
 9       A.   No.    Maybe I -- I was misunderstood, I'm sure.
10            I'm talking about the rotation being at the
11   base of the ball and stem, where it connects to the
12   hinge member.
13       Q.   Okay.
14            But there is no relative movement between the
15   ball and stem, which are -- and the camera, which are
16   fixed together, correct?
17       A.   I agree.     Right.
18       Q.   Okay.
19            All right.      So, now, going back to this -- to
20   the other axis of rotation, which is the second axis
21   of -- second axis of rotation called for in the patent.
22       A.   Right.
23       Q.   All right?      Which the judge has defined as
24   limited to a single axis of rotation, correct?
25       A.   Yes.

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 1            Okay.       And is it correct that the support arms
 2   that are shown on the log there are the support arms,
 3   and they rotate about that single pivot axis between
 4   the arms?
 5       A.   I believe it's described in -- it's disclosed
 6   in the -- in the disclosure.
 7       Q.   Is the answer yes?
 8       A.   Yes.
 9       Q.   Okay.
10            MR. SUTTON:        I have no further questions.
11            THE WITNESS:         Okay.
12                       EXAMINATION BY MR. EDMONDS
13       Q.   Dr. Muskivitch, during the lunch break did you
14   go through the version of your report that has the
15   erroneous Exhibit D and the version of your report that
16   has the correct Exhibit D and tab where the textual
17   changes were?
18       A.   For the first couple -- the first camera, which
19   would be -- I believe would be carried through the
20   entire report.
21            And I also put one on the incorrect pict- --
22   the incorrect picture of the camera.
23       Q.   Okay.       So you --
24       A.   And I mean that was the -- where of the Gear
25   Head was figured.

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 1            (Reporter clarification.)
 2            THE WITNESS:       One of the Gear Head cameras.
 3   BY MR. EDMONDS:
 4       Q.   When you say "carried through the entire
 5   report," are you saying that where there had been a
 6   correction in the draft in that chart that you tabbed,
 7   you looked to the same place --
 8       A.   Yes.
 9       Q.   -- in the other chart to see the same
10   correction?
11       A.   Yes.
12            Well, the corrections that I thought I made
13   based on the draft were in the copy you had this
14   morning.
15       Q.   Okay.
16            So if counsel chooses to ask you about those
17   changes that were made, and what's different about
18   Exhibit 3 and Exhibit 4, are you able to answer those
19   questions today if asked?
20       A.   I believe so, sure.         Yes.
21            MR. EDMONDS:       Pass the witness.
22              FURTHER EXAMINATION BY MR. HERBERHOLZ
23       Q.   Dr. Muskivitch, you were just asked questions
24   about whether or not -- about the fact that you tabbed
25   the changes from your earlier draft --

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 1   you see as the hinge member?
 2       A.   Yes.
 3       Q.   Okay.
 4            You are saying there is three independent
 5   joints where the ball attaches to the hinge member?
 6       A.   In a -- in a general sense.                In this one there
 7   might only be two.
 8       Q.   Okay.
 9       A.   Which would be the -- this axis and then the
10   forward/backward (demonstrating).
11       Q.   Okay.
12            This --
13       A.   I don't know how much side to side is --
14       Q.   So it at least has two axes, correct?
15       A.   Yes.       They are independent axes.              They are
16   independent axes associated with independent joints.
17       Q.   Okay.
18            So the ball of the Rosewill 8163 webcam
19   connects to the hinge member by at least two axes of
20   rotation that may be independent, but they are still
21   two axes of rotation, right?
22            MR. EDMONDS:         Objection.      Form.
23            THE WITNESS:         The -- well, the important
24   distinction there is they're -- is they're really
25   functionally two independent joints.

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 1   BY MR. HERBERHOLZ:
 2       Q.   Are there --
 3       A.   And this is the discussion that we talked about
 4   this morning with my arm.
 5            I can -- and my -- my elbow is a -- is a
 6   biaxial joint, as that would be considered, and it
 7   can -- it rotate backward and forward, and it also can
 8   rotate side to side (demonstrating), independently of
 9   one another.
10       Q.   Okay.
11            So going back to --
12       A.   So it's not -- it's not just the axis of
13   rotation.    It's the -- the joint motion that's
14   associated with that axial rotation.
15       Q.   Okay.
16            So going back to the Rosewill 8163 webcam, I'm
17   looking at specifically the connection between the ball
18   and what you have identified as the hinge member.
19            Do you see that?
20       A.   Yes.
21       Q.   How many joints are there?
22       A.   Depends on the kind of behavior you are seeing.
23       Q.   So --
24       A.   It's one connection, but it can -- it can
25   manifest itself in many types of behavior.

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 1       Q.     So it's one connection, and the number of
 2   joints at that connection depends on how I orient the
 3   ball relative to the hinge member?
 4       A.     And any constraints that are placed on them,
 5   yes.
 6       Q.     Okay.
 7              But, again, I can rotate the ball relative to
 8   the hinge member about more than one axis, correct?
 9   Even though they are independent axes, it's more than
10   one?
11       A.     Well, because -- because they are independent
12   joints.
13       Q.     Okay.
14       A.     The joints are the things that allow that
15   independent motion.            Same way your elbow joint --
16       Q.     So the answer is yes?
17       A.     -- has two.
18              Yes.        I'm sorry.
19              MR. HERBERHOLZ:           I don't have anything further
20   at this time.
21              I just want to reiterate our point on the
22   record this morning that Exhibit 4 that we received was
23   the first time we have received that report.                          Our
24   experts haven't had a chance to consider that report.
25              I don't think it's fair that I should be

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                                           NO. 6:10-cv-329-LED

                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF TEXAS
                                             TYLER DIVISION

                    EXPERT REPORT OF JOHN C. MUSKIVITCH REGARDING INFRINGEMENT OF
                                        U.S. PATENT NO. 5,855,343
Filed: 12/11/2014




                                                        Dated: June 25, 2012
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                                                        Respectfully submitted,


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                                                        JOHN C. MUSK.IVITCH
Case: 13-1665




                                                    1
                                                                      HIGHLY CONFIDENTIAL
                                                                     ATTORNEY'S EYES ONLY
                                                  A284.186                            MV000001
                                                  EXHIDIT D (KODAK SlOl)
                                          INFRINGEMENT CHART FOR THE KODAK SlOl

                    l(p)   Apparatus for supporting a         As noted in the photos below, the KODAK SlOl is an
                           camera, having a lens, on any      apparatus (i.e., a camera clip) for supporting a camera, namely
                           generally horizontal,              awebcam.
                           substantially planar surface and
                           on an object having a frrst        As noted in the photos below, the camera supported by the
                           surface and a second surface       KODAK SlOl has a lens.
                           and an edge intersecting the
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                           first surface and the second       The KODAK SlOl is an apparatus for supporting a camera on
                           surface, comprising:               a generally horizontal, substantially planar surface, for
                                                              example, a table top or desk top. For example:
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                                                              The KODAK SlOl is an apparatus for supporting a camera on
                                                              an object, for example the display screen of a laptop or
                                                              notebook (collectively "laptop") computer, having a first
                                                              surface and a second surface and an edge intersecting the first
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                                                              surface and the second surface. For example, with a laptop
                                                              computer, the first surface is the back of the display screen, the
                                                              second surface is the front of the display screen, and an edge
                                                              intersects those surfaces.

                    l(a)   a. a hinge member adapted to       The KODAK SlOl comprises a hinge member (noted with a
                           be rotatably attached to the       green arrow) adapted to be rotatably attached to the camera.
                           camera, said camera, when the
                           hinge member is so attached,
                           rotating, about a frrst axis of
                           rotation, relative to said hinge
                           member; and




                                                                 A284.324                                        MV000139
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                                                               When the hinge member is so attached the camera rotates about
                                                               a first axis of rotation (noted with a blue circular arrow) relative
                                                               to the hinge member. The axis of rotation is a single axis of
                                                               rotation which is defmed by a vector from the center of the
                                                               connector             the central axis of the camera.
                    l(b)   b. a support frame rotatably        The KODAK SlOl comprises a support frame (noted with a
                           attached to said hinge member       red arrow) which is configured to support, and which does
                           and configured to support said      support, the hinge member on the surface (see above resurface)
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                           hinge member on the surface         and the object (see above re object).
                           and the object, said hinge
                           member rotating about a
                           second axis of rotation relative
                           to said support frame, said first
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                           axis of rotation being generally
                           perpendicular to said second
                           axis of rotation, said second
                           axis of rotation being
                           substantially parallel to the
                           first surface when said hinge
                           member is supported on the
                           object,
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                                                               The support frame of the KODAK SlOl is rotatably attached to
                                                               the hinge member. The hinge member rotates about a second
                                                               axis of rotation (noted with a yellow arrow), relative to the
                                                               support frame. This axis of rotation is defmed by the axis of
                                                               the hinge connection to the support frame. Thus, it is a single
                                                               axis of rotation.

                                                               The first axis of rotation (noted with a blue arrow) is at least
                                                               generally perpendicular to the second axis of rotation (noted
                                                               with a yellow arrow). In particular, the camera always rotates
                                                               around a vector defmed from the center of the connector
                                                               through the central axis of the camera.

                                                               For example:



                                                                       2
                                                                  A284.325                                         MV000140
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                                                             As noted in the photo above, the second axis of rotation (noted
                                                             with a yellow arrow) is at least substantially parallel to the first
                                                             surface (see above re first surface) when the hinge member (see
                                                             above re hinge member) is supported on the object (see above
                                                             re
                    l(c)   said support frame having a       The support frame (see above re support frame) of the KODAK
                           first disposition positioned on   SlOl has a first disposition when positioned on the generally
                           said generally horizontal,        horizontal, substantially planar surface (see above re generally
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                           substantially planar surface,     horizontal, substantially planar surface).
                           and
                                                             For example, see the above photos at the preamble and
                                                             elements (a) and (b) of claim 1.
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                    l(d)   said support frame having a       The support frame (see above re support frame) of the KODAK
                           second disposition attached to    SIOI has a second disposition when attached to the object (see
                           the object when said first        above re object) when the first surface (see above re first
                           surface and said second surface   surface) of the object (see above re object) and the second
                           are inclined from a generally     surface of the object (see above re second surface) are inclined
                           horizontal orientation, the       from a generally horizontal orientation, for example when a
                           camera being maintained           laptop computer's display screen is opened.
                           adjacent said edge in said
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                           second disposition of said        For example:
                           support frame.




                                                             As noted in the

                                                                     3
                                                                A284.326                                         MV000141
                                                          camera is maintained adjacent the edge (see above re edge) of
                                                          the ob ·ect see above re ob ·ect .
                    7(p)   Apparatus according to claim 1 The KODAK S101 is an apparatus according to claim 1. See
                                                          above re claim 1.
                    7(a)   wherein the object is a display     As noted above at the preamble of claim 1 and at element d of
                           screen for a laptop computer,       claim 1, the KODAK S101 is an apparatus for supporting a
                                                               camera on a display screen for a laptop computer.

                                                               For example:
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                    7(b)   and the second surface is the       As noted above at the preamble of claim 1 and at element d of
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                           front of the display screen         claim 1, the KODAK S101 is an apparatus for supporting a
                                                               camera on a display screen for a laptop computer, wherein the
                                                               second surface (noted with a dark purple arrow) is the front of
                                                               the display screen.

                                                               For example:
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                    7(c)   and the first surface is the back   As noted above at the preamble of claim 1 and at claim 1,
                           of the display screen.              element (d) (and in the photo at claim 7, element (a)), the
                                                               KODAK S101 is an apparatus for supporting a camera on a
                                                               dis lay screen for a la to com uter, wherein the first surface


                                                                       4
                                                                  A284.327                                      MV000142
                                                             (noted with a light purple arrow) is the back of the display
                                                             screen.
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                    19(p)   A camera clip for supporting a   As noted above at the preamble of claim 1 and at claim 1,
                            camera on a laptop computer,     element (d), the KODAK S101 is a camera clip for supporting
                            the laptop computer having a     a camera on a laptop computer having a display screen which
                            display screen which can be      can be inclined from a generally horizontal position (i.e., when
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                            inclined from a generally        opened) with the uppermost portion of the display screen
                            horizontal position, an          defming an edge.
                            uppermost portion of the
                            display screen defining an       For example:
                            edge, comprising:
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                    19(a)   a. a hinge member adapted to
                            be rotatably attached to the
                            camera, said camera rotating
                            about a first axis of rotation
                            relative to said hinge member;
                            and

                    19(b)   b. a support frame hingedly      The KODAK S101 comprises a support frame (see above re
                            attached to said hinge member    support frame) which engages and supports the hinge member
                            to engagingly support said       (see above re hinge member) on the display screen.
                            hinge member on the display
                            screen,                          For example:


                                                                     5

                                                                A284.328                                       MV000143
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                                                                As depicted in the graphic above, the support frame (see above
                                                                re support frame) is hingedly attached to the hinge member (see
                                                                above re hinge member).

                    19(c)   said hinge member rotating          The KODAK SlOl comprises the hinge member (see above re
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                            over a second axis of rotation      hinge member) rotating over a second axis of rotation (see
                            relative to said support frame,     above re second axis of rotation), as noted with a yellow arrow,
                            the camera being maintained         relative to the support frame (see above re support frame).
                            adjacent the edge,
                                                                For example:
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                                                                As exemplified by the photo above, the KODAK SIOl
                                                                comprises the camera being maintained adjacent the edge (see
                                                                above re edge) of the laptop computer.

                    19(d)   rotation of said support frame      As exemplified by the photo above below, the KODAK SlOl
                            being prevented along an axis       comprises the support frame (see above re support frame) being
                            substantially parallel to said      supported on the display screen, and its movement constrained
                            second axis where said second       by a front lip on the hinge member, and thus rotation of the
                            axis is substantially parallel to   support frame is prevented along an axis which is at least
                            said edge.                          substantially horizontal.


                                                                        6
                                                                   A284.329                                      MV000144
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                    As noted in the above photo, this at least substantially
                    horizontal axis is at least substantially parallel to the second
                    axis (see above re second axis) and the second axis is at least
                    substantially parallel to the edge.
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                            7
                       A284.330                                        MV000145
                                                   EXHffiiT D (KODAK Tl30)
                                           INFRINGEMENT CHART FOR THE KODAK T130

                    l(p)   Apparatus for supporting a         As noted in the photos below, the KODAK Tl30 is an
                           camera, having a lens, on any      apparatus (i.e., a camera clip) for supporting a camera, namely
                           generally horizontal,              a webcam.
                           substantially planar surface and
                           on an object having a first        As noted in the photos below, the camera supported by the
                           surface and a second surface       KODAK T130 has a lens.
                           and an edge intersecting the
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                           first surface and the second       The KODAK Tl30 is an apparatus for supporting a camera on
                           surface, comprising:               a generally horizontal, substantially planar surface, for
                                                              example, a table top or desk top. For example:
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                                                              The KODAK T130 is an apparatus for supporting a camera on
                                                              an object, for example the display screen of a laptop or
                                                              notebook (collectively "laptop") computer, having a first
                                                              surface and a second surface and an edge intersecting the first
                                                              surface and the second surface. For example, with a laptop
                                                              computer, the first surface is the back of the display screen, the
                                                              second surface is the front of the display screen, and an edge
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                                                              intersects those surfaces.

                    l(a)   a. a hinge member adapted to       The KODAK Tl30 comprises a hinge member (noted with a
                           be rotatably attached to the       green arrow) adapted to be rotatably attached to the camera.
                           camera, said camera, when the
                           hinge member is so attached,
                           rotating, about a first axis of
                           rotation, relative to said hinge
                           member; and




                                                                 A284.331                                        MV000146
                                                               When the binge member is so attached the camera rotates about
                                                               a first axis of rotation (noted with a blue circular arrow) relative
                                                               to the hinge member. The axis of rotation is a single axis of
                                                               rotation which is defined by a vector from the center of the
                                                               connector throu the central axis of the camera.
                    l(b)   b. a support frame rotatably        The KODAK Tl30 comprises a support frame (noted with a
                           attached to said hinge member       red arrow) which is configured to support, and which does
                           and configured to support said      support, the binge member on the surface (see above resurface)
                           binge member on the surface         and the ·ect          above re ·
                           and the object, said binge
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                           member rotating about a
                           second axis of rotation relative
                           to said support frame, said first
                           axis of rotation being generally
                           perpendicular to said second
                           axis of rotation, said second
                           axis of rotation being
                           substantially parallel to the
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                           first surface when said hinge
                           member is supported on the
                           object,
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                                                               The support frame of the KODAK Tl30 is rotatably attached to
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                                                               the binge member. The binge member rotates about a second
                                                               axis of rotation (noted with a yellow arrow), relative to the
                                                               support frame. This axis of rotation is defined by the axis of
                                                               the binge connection to the support frame. Thus, it is a single
                                                               axis of rotation.

                                                               The first axis of rotation (noted with a blue arrow) is at least
                                                               generally perpendicular to the second axis of rotation (noted
                                                               with a yellow arrow In particular, the camera always rotates
                                                               around a vector defined from the center of the connector
                                                               through the central axis of the camera.

                                                               For exam le:




                                                                       2

                                                                  A284.332                                         MV000147
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                                                             As noted in the photo above, the second axis of rotation (noted
                                                             with a yellow arrow) is at least substantially parallel to the first
                                                             surface (see above re first surface) when the hinge member (see
                                                             above re hinge member) is supported on the object (see above
                                                             re
                    l(c)   said support frame having a       The support frame (see above re support frame) of the KODAK
                           first disposition positioned on   Tl30 has a first disposition when positioned on the generally
                           said generally horizontal,        horizontal, substantially planar surface (see above re generally
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                           substantially planar surface,     horizontal, substantially planar surface).
                           and
                                                             For example, see the above photos at the preamble and
                                                             elements (a) and (b) of claim 1.
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                    l(d)   said support frame having a       The support frame (see above re support frame) of the KODAK
                           second disposition attached to    Tl30 has a second disposition when attached to the object (see
                           the object when said first        above re object) when the first surface (see above re first
                           surface and said second surface   surface) of the object (see above re object) and the second
                           are inclined from a generally     surface of the object (see above re second surface) are inclined
                           horizontal orientation, the       from a generally horizontal orientation, for example when a
                           camera being maintained           laptop computer's display screen is opened.
                           adjacent said edge in said
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                           second disposition of said        For example:
                           support frame.




                                                             As noted in the

                                                                     3
                                                                A284.333                                         MV000148
                                                          camera is maintained adjacent the edge (see above re edge) of
                                                          the ob ·ect see above re ob ·ect .
                    7(p)   Apparatus according to claim 1 The KODAK Tl30 is an apparatus according to claim 1. See
                                                          above re claim 1.
                    7(a)   wherein the object is a display     As noted above at the preamble of claim 1 and at element d of
                           screen for a laptop computer,       claim 1, the KODAK Tl30 is an apparatus for supporting a
                                                               camera on a display screen for a laptop computer.

                                                               For example:
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                    7(b)   and the second surface is the       As noted above at the preamble of claim 1 and at element d of
                           front of the display screen         claim 1, the KODAK T130 is an apparatus for supporting a
                                                               camera on a display screen for a laptop computer, wherein the
                                                               second surface (noted with a dark purple arrow) is the front of
                                                               the display screen.

                                                               For example:
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                    7(c)   and the first surface is the back   As noted above at the preamble of claim 1 and at claim 1,
                           of the display screen.              element (d) (and in the photo at claim 7, element (a)), the
                                                               KODAK T130 is an a aratus for su ortin a camera on a

                                                                       4
                                                                 A284.334                                       MV000149
                                                             display screen for a laptop computer, wherein the first surface
                                                             (noted with a light purple arrow) is the back of the display
                                                             screen.
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                    19(p)   A camera clip for supporting a   As noted above at the preamble of claim 1 and at claim 1,
                            camera on a laptop computer,     element (d), the KODAK Tl30 is a camera clip for supporting
                            the laptop computer having a     a camera on a laptop computer having a display screen which
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                            display screen which can be      can be inclined from a generally horizontal position (i.e., when
                            inclined from a generally        opened) with the uppermost portion of the display screen
                            horizontal position, an          defining an edge.
                            uppermost portion of the
                            display screen defining an       For example:
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                            edge, comprising:
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                    19(a)   a. a hinge member adapted to
                            be rotatably attached to the
                            camera, said camera rotating
                            about a first axis of rotation
                            relative to said hinge member;
                            and

                    19(b)   b. a support frame hingedly      The KODAK Tl30 comprises a support frame (see above re
                            attached to said hinge member    support frame) which engages and supports the hinge member
                            to       ·             said          above re ·              on the ·      screen.


                                                                     5
                                                                A284.335                                       MV000150
                            hinge member on the display
                            screen,                           For
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                                                              As depicted in the graphic above, the support frame (see above
                                                              re support frame) is hingedly attached to the hinge member (see
                                                              above re hinge member).
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                    19(c)   said hinge member rotating        The KODAK T130 comprises the hinge member (see above re
                            over a second axis of rotation    hinge member) rotating over a second axis of rotation (see
                            relative to said support frame,   above re second axis of rotation), as noted with a yellow arrow,
                            the camera being maintained       relative to the support frame (see above re support frame).
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                            adjacent the edge,
                                                              For example:
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                                                              As exemplified by the photo above, the KODAK T130
                                                              comprises the camera being maintained adjacent the edge (see
                                                              above re edge) of the laptop computer.

                    19(d)   rotation of said support frame    As exemplified by the photo above below, the KODAK T130
                            being prevented along an axis     comprises the support frame (see above re support frame) being
                            substantiall arallel to said      su orted on the dis la screen, and its movement constrained


                                                                     6
                                                                 A284.336                                      MV000151
                    second axis where said second       by a front lip on the hinge member, and thus rotation of the
                    axis is substantially parallel to   support frame is prevented along an axis which is at least
                    said edge.                                         horizontal.
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                                                        As noted in the above photo, this at least substantially
                                                        horizontal axis is at least substantially parallel to the second
                                                        axis (see above re second axis) and the second axis is at least
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                                                        substantially parallel to the edge.
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                                                                7
                                                           A284.337                                        MV000152
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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

ADJUSTACAM LLC,                            Case No. 6:10-CV-329-LED
              Plaintiff,                  JURY TRIAL DEMANDED
vs.

AMAZON.COM, INC., ET AL.,
               Defendants.



                              ____j
   DEFENDANT SAKAR INTERNATIONAL, INC.'S OPPOSED MOTION FOR
    DECLARATION OF EXCEPTIONAL CASE AND AWARD OF FEES AND
                    NONTAXABLE EXPENSES


                               FILED UNDER SEAL




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    I.     INTRODUCTION

            Very early in this litigation, this Court expressed concern over the possibility that

    plaintiff filed its Complaint with the purpose of extracting "cost-of-defense type settlements"

    divorced from the merits of the case. (Sutton Dec!., ~15, Ex.10, at 10-12, et seq.). As discussed

    below, the Court's expression of concern was entirely accurate. Plaintiff AdjustaCam LLC

    ("Plaintiff' or "AdjustaCam") is a non-practicing entity and a wholly-owned subsidiary of Acacia

    Research Group LLC. 1 In this case, Plaintiff was formed for this purpose, Plaintiff sued more than

    30 defendants (including suppliers and retailers) for infringement of U.S. Patent 5,855,343

    entitled "Camera Clip" (the '343 Patent). Shortly after filing its Complaint, Plaintiff began its

    pattern of extorting nuisance-value settlements from defendants in amounts far below the costs of

    defense. Plaintiff continued this pattern over the next two years, and by August 2012, Plaintiff

    had settled for nuisance value with nearly all of the defendants in this case. (This was just

    prior to expert depositions and motions for summary judgment- when litigation expenses for

    defendants really build up.)

           This case was exceptional. As described below, this lawsuit was objectively baseless

    and was brought for no other reason than to extract nuisance-value settlements for sums

    divorced from the merits of the case and far below the costs of defense. (Plaintiff entered into


1
  "A study commissioned by the Government Accountability Office (as part of the America Invents Act) has found
that almost 40 percent of all patent infringement suits filed in the past five years were filed by companies or
individuals known as non-practicing entities (i.e .. patent trolls). The study, which deems these entities "patent
monetizers," states that the percentage of cases filed by patent monetizers has risen from about 22 percent five years
ago. The study notes that most of the cases filed by patent monetizers settle before the court makes a summary
judgment ruling. In fact, the study found that 90 percent of such cases settled. Results of the study will be published
in Duke Law and Technology Journal. Lex Machina, a Palo Alto startup company, performed the study, using a
random sample of cases. Specifically, Lex Mach ina studied 500 lawsuits, including I 00 from each year between
2007 and 20 II. Among the five litigants that filed the most lawsuits, four were non-practicing entities: Jens
Erik Sorensen, Arrivalstar, Acacia, and Guardian Media Technologies. According to a recent study by Boston
University, patent monetizers cost companies a total of $29 billion last year. Suits by patent monetizers also
disproportionately target small businesses." See "Patent Monetizers" Now File Forty Percent of Patent Suits,
Intellectual Property News (Oct. 17, 20I2), JurisNotes.com, Inc. (emphasis added).
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these settlements before it decided to drop its asserted '343 patent claims which had been

reexamined and fmally rejected by the U.S. Patent Office ("PTO").) Plaintiff had no reasonable

chance of success on its patent infringement claims against Defendant Sakar International, Inc.

("Sakar"), particularly after the Court's Claim Construction Order and after Plaintiff's

reexamined claims were rejected by the PTO early in the case. Even so, Plaintiff continued to

assert untenable infringement claims, to demand unjustified settlement sums, and to prolong this

litigation in bad faith, all in the hopes of extorting money from Sakar and other defendants.

        Sakar refused to participate in the shakedown by simply buying their way out of this

lawsuit, but instead vigorously defended this case on the merits, convinced by the fact that Plaintiff's

infringement claims and validity defenses were baseless. Two years into the case, on Sept. 20,

2012, Plaintiff finally conceded the meritless nature of the claims asserted against Sakar, and

dismissed its patent claims with prejudice. But by the time Plaintiff finally surrendered,

Sakar had incurred more than two years of attorney's fees, expert witness fees, and costs

defending this baseless lawsuit. Under the circumstances, Sakar submits that reimbursement for

its attorneys' fees, expert witness fees, and costs is just and proper under 35 U.S.C. § 285,

and/or Rule 11, and under the Court's inherent authority.

II.    LEGALSTANDARDS
       District courts are authorized to award reasonable attorney fees to a prevailing party in

a patent case if the court determines that the case is "exceptional." 35 U.S.C. § 285. Section 285

serves "to compensate the prevailing party for its monetary outlays in the prosecution or

defense of" a "clearly unwarranted" and "improperly brought" patent infringement suit.

Automated Business Cos. v. NEC Am., Inc., 202 F.3d 1353, 1355 (Fed. Cir. 2000); Cent. Soya

Co. v. Geo. A. Harmel & Co., 723 F.2d 1573, 1578 (Fed. Cir. 1983). Those monetary outlays

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include all "stuns that the prevailing party incurs in the preparation for and performance of legal

services related to the suit." Id District courts also have the inherent authority to award expert

fees in cases where an award of attorneys' fees under§ 285 is an insufficient sanction. MarcTec

v. Johnson & Johnson, 664 F.3d 907,921 (Fed. Cir. 2012).

        Federal Circuit law applies in determining whether an award of attorney's fees is

appropriate in a patent case. See Pharmacia & Upjohn Co. v. My/an Pharms., Inc., 182 F.3d

1356, 1359 (Fed. Cir. 1999). Under § 285, first, the court must determine whether the prevailing

party has proved by clear and convincing evidence that the case is exceptional, then if the Court

factually finds the case to be exceptional under § 285, (i.e., where there has been " ... fraud or

inequitable conduct in procuring the patent, misconduct during litigation, vexatious or

unjustified litigation, conduct that violates F.R.C.P. II, or like infractions"), it must determine

whether an award of attorney fees is justified. MarcTec, 664 F.3d at 915-16; Badalamenti v.

Dunham's, Inc., 896 F.2d 1359, 1364 (Fed.Cir.l990).

       However, even without misconduct, district courts may award attorney fees under § 285

if the litigation is: (I) brought in subjective bad faith; and (2) objectively baseless. Old Reliable

Wholesale, Inc. v. Cornell Corp., 635 F.3d 539, 543-44 (Fed. Cir. 2011)(quoting Brooks

Furniture Mfg., Inc. v. Dutailier Int'l, Inc., 393 F.3d 1378, 1381 (Fed.Cir. 2005)). Under this

standard, a patentee's case "must have no objective foundation, and the plaintiff must actually

know this." iLOR, LLC v. Google, Inc., 631 F.3d 1372, 1377 (Fed.Cir.2011). Infringement

allegations are objectively baseless when "no reasonable litigant could reasonably expect success

on the merits." Brooks Furniture, 393 F.3d at 1382.




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III.    THIS CASE IS EXCEPTIONAL BECAUSE IT WAS BROUGHT IN BAD
        FAITH AND WAS OBJECTIVELY BASELESS

        A.       Plaintiff Filed This Case for The Improper Purpose of Obtaining
                 Nuisance-Value Settlements.

        Plaintiff's campaign to extract monies based on the '343 Patent consisted of suing dozens of

defendants in multiple lawsuits and settling with those defendants for nuisance value to avoid

exposing its baseless infiingement claims and invalidity defenses. The foregoing conduct makes

this case exceptional. See Eon-Net LP v. Flagstar Bancorp, 653 F.3d 1314 (Fed. Cir. 2011). In

Eon-Net, the Federal Circuit affirmed an exceptional case fmding and award of attorneys' fees to

the accused infiinger (Fiagstar) where Eon-Net filed its infringement complaint against Flagstar

"to extract a nuisance value settlement by exploiting the high cost imposed on Flagstar to

defend against EonNet's baseless claims." Eon-Net LP, 653 F.3d at 1327. Like AdjustaCam, Eon-

Net filed complaints against several defendants and, in each case, made a "demand for a quick

settlement at a price [from $25,000 to $75,000] far lower than the cost of litigation ...." !d.

(internal quotations omitted.) The Federal Circuit was critical of this practice:

       Viewed against Eon-Net's $25,000 to $75,000 settlement range, it becomes apparent why the vast
       majority of those that Eon-Net accused of infringement chose to settle early in the litigation rather
       than expend the resources required to [prove non-infringement]. Thus, those low settlement
       offers-less than ten percent of the cost that Flagstar expended to defend the suit--effectively
       ensured that Eon-Net's baseless infringement allegations remained unexposed, allowing Eon-Net
       to continue to collect additional nuisance value settlements.
!d.

       Here, as in Eon-Net, Plaintiff settled with dozens of defendants for substantially less than

the costs to defend against Plaintiff's baseless infiingement allegations. Plaintiff was able to

extract more settlements by delaying the final rejection of its claims during the reexamination

proceeding in the Patent Office until August 20, 2012 (2 years into the case). These facts render

this case exceptional.


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                 1.        AdjustaCam Extracted Nuisance-Value Settlements From Multiple
                           Defendants Before Voluntarily Dismissing Sakar.

        Just two months after filing this lawsuit, Plaintiff executed its first nuisance-value

settlement with defendant                             in the amount of $25,000. (Sutton Decl. 1 9;

Sullivan Rpt. "~ 62-63, Attachment 7.) On November 22, 2012, Plaintiff also settled with

defendants                        and                                                       for $25,000,

and in March 2011, Plaintiff settled with defendants                      and . . for $15,000 and

$18,000, respectively. (/d) By the time Plaintiffs claims were finally rejected by the Patent

Office during reexamination, Plaintiff settled v'.'ith at least 22 defendants as follows:

             •    Twelve defendants for $25,000 or Jess;
             •    Three defendants for an amount between $25,001 and $50,000;
             •    Five defendants for an amount between $50,00 l and $1 00,000; and
             •    Two defendants for an amount between $100,001 and $225,000.

(/d.; Sutton Decl. 1 10).

       AdjustaCam's settlements are consistent with the nuisance-value settlements in the range

of $25,000 to $75,000 in Eon-Net. Like the patent owner in Eon-Net, Plaintiff employed the

strategy of exploiting the high cost of defending against Plaintiffs baseless claims, effectively

ensuring that the frivolous nature of those claims was not exposed to most of the defendants.

Eon-Net LP, 653 F.3d at 1327.

                      2.   Plaintiff's Nuisance-Value Settlements and Settlement Demands
                           Had No Relationship to Defendants' Exposure.

       As further evidence that Plaintiff filed this litigation in bad faith and for an improper

purpose, the amounts that defendants agreed to pay AdjustaCam under the 22 settlement

agreements have no connection to those defendants' sales of accused products. To be sure,

Plaintiff and its damages expert maintained that AdjustaCam's settlement agreements (and


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demands) were based on a minimum target royalty of $1.25/unit. 2 However, this assertion was

objectively baseless. For example, the implied royalty 3 for 15 of the settlement agreements for

which sales data was disclosed ranged from a minimum of $0.1 0/unit to a maximum of

$161.29/unit. (Sutton Dec!. ~~ 9, 10; Sullivan Rpt. Attachment 12.) Of those 15 settlement

agreements, not a single agreement recited an implied royalty of $1.25 per unit, (id. ), as asserted

by Plaintiff and its damages expert.

         Indeed, Plaintiffs own damages expert admitted that his opinion concerning the

appropriate per-unit royalty was not calculated based on the number of units sold by any of the

defendants that settled with AdjustaCam. (Sutton Dec!.~ 12, Bratic Dep. at 97:6-98:17; 118:8-

119:7; 146:6-24; 177:20-178:16; 231:16-234:3). He also admitted that his opinion was not

influenced by the cost or sales price of the accused products or the cost of the patented feature (a

clip) of the accused products on the grounds that the cost of the patented feature is "not

relevant." 4 (!d. at 74:25-75:3; 77:8-15; 79:4-19.) Rather, his opinions were based on his

understanding of what someone else viewed as a "target royalty" based (allegedly) on two

settlement agreements executed in 2001by the prior owner of the '343 Patent (PAR

Technologies). (!d. at 36:23-39:22; 41:17-42:16; 229:1-4; 233:18-234:3; 235:24-236:15.) Of

course, this clearly does not meet the requirements of Rule 702 of the Federal Rules of Evidence.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999).

         Similarly, Plaintiff was unable to point to any evidence to support the claim that the 22

settlement agreements were based on a "target" royalty of $1.25. In fact, Plaintiffs 30(b)(6)

  Expert Report of Walt Bratic, dated June 25,2012 at~ 107 (Sutton Dec!.~ 3; Exh. 1.)
2
3
   "Implied Royalty" = (Settlement amount I units sold). For example, one defendant sold 6,584 accused units and
settled for $40,000 for an implied royalty of$6.08/unit. (Sutton Dec!.~ 9; Sullivan Rpt., Attachment 12.)
4
   Plaintiff's potential damages were limited to the value of the patented feature, absent a showing that the patented
feature constitutes the basis for consumer demand. Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed.
Cir. 2009). At no point did Plaintiff or its expert argue that the webcam clip was the basis of consumer demand for
the accused products.
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representative, AdjustaCam's CFO, Mr. Clayton Haynes, was unaware of the number of units

that any defendant sold prior to settling with AdjustaCam and, therefore, was unable to verify

whether any of the 22 defendants paid a minimum per-unit royalty of $1.25. (Sutton Dec!.~ 13;

Exh. 9, AdjustaCam 30(b)(6) Depo. at 69:6-70:21.)

        B.      Plaintiffs Infringement Claims Were Brought in Bad Faith and Were
                Objectively Baseless.

        Tills lawsuit was frivolous from the very outset because, as explained below, Sakar simply

could not infringe the Asserted Claims under any reasonable interpretation. Unlike the accused

Sakar's Kodak webcam products, the '343 Patent claims a camera clip with two separate and

distinct axes of rotation. The camera disclosed in the '343 Patent is "rotatably attached" to the

"hinge member" of the claimed apparatus such that the camera rotates about a single axis ofrotation

(the "first axis of rotation"). The "support frame" of the claimed apparatus is "rotatably attached" to

the "hinge member" such that the support frame rotates relative to the hinge member about a

separate, single axis of rotation (the "second axis of rotation"). (Sutton Dec!.~ 16; Exh. 11, '343

Patent, Col.6, 11.57-57; Col.7, 11.39-42; Col.9, 11.20-22 (emphasis added.)) Thus, as illustrated by

Figures 1 and 2 of the '343 Patent, the claimed apparatus is aimed by rotating the camera in a left-to-

right direction about the "first axis of rotation" (28) and in an up-and-down direction by rotating the

support frame and hinge member about the "second axis of rotation" (32). (!d. at Figs. 1, 2.)

       Unlike the camera disclosed in the '343 Patent, none of the Sakar's accused Kodak

webcams (Model Nos. Kodak S101 and Kodak Tl30) rotate about a single axis of rotation, as

the claims of the '343 Patent require. Instead, these accused products (the "Accused Ball-and-Socket

Products") include a camera connected to a clip via a ball-and-socket joint, which facilitates




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rotation about multiple axes. 5 The substantial and material structural differences between the

Accused Ball-and-Socket Products and the Asserted Claims are illustrated by the following

photographs of Sakar's accused Kodak webcams, which are representative of the Accused Ball-

and-Socket Products: (See Appendix A).

        Comparing the Accused Products to the claims and specification of the '343 Patent shows

that Plaintiffs infringement allegations were spurious. Indeed, as the Court explained in its

Claim Construction Order, "[e]very reference to a 'rotatably attached' object in the specification

and claims describes the attachment as permitting motion over a single axis of rotation," and

"[t]he claims plainly describe each 'rotatably attached' object as rotating about a single axis."

(April 10, 2012 Claim Construction Order (Dkt. 627) at 9-10.) Accordingly, PlaintitTs

infringement allegations against Sakar, as well as other defendants were objectively baseless.

        In addition, Plaintiffs own infringement expert, Dr. Muskivitch, admitted three times

during his deposition on cross-examination that Sakar's Kodak webcams with a ball and stem

fixed to the camera DO NOT rotate about a single axis of rotation as required by asserted claims

I (a) and !9(a):

       1) First Admission
       A. Yes. The stem and the ball and the camera all are -- if you are going to rotate it, they will all
       rotate together.
       Q. Okay. So am I correct, would you be -- is it correct to say that the Kodak camera does
       not rotate relative to the stem and ball because they are fixed to each other?
       A. That's correct. (Sutton Dec!.~ 11; Exh. 7, Muskivitch Deposition, p. 280, 11.4-12);
       2) Second Admission
       Q. Well, we have-- we have already talked about the relationship between the camera        and the
       stem and ball, and we have agreed earlier-- or you agreed earlier that-- that in a Kodak webcam,
       there is no rotational movement between the -- the camera and the ball and stem that fits [are
       fixed] together. Do you remember that?
       A. Yeah, sure, sure. (/d at 308, 11.12-19); and
       3) Third Admission


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    See Expert Report of John H. Hamilton Re Non-Infringement, Claim Charts, Exh. 9 claim limitation !(a),
attached as Exhibit SA to the Sutton Dec!.
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        Q. Okay. But there is no relative movement between the ball and stem, which are-- and the
        camera, which are fixed together, correct?
        A. I agree. Right. (!d. at 311, 11.14-17).

        Thus, these three admissions proved there was no infringement as a matter of law. Most

of the 22 cases were settled before these non-infringement admissions were made on August 24,

2012, which was more than 2 years into the case. (Also, as explained below, the Patent Office

finally rejected the patentablilty of Plaintiffs asserted claims on August 30, 2012, also more than

2 years into the case.)

IV.    PLAINTIFF'S LITIGATION MISCONDUCT PROVIDES ADDITIONAL AND
       SUFFICIENT EVIDENCE TO ESTABLISH THIS CASE AS EXCEPTIONAL.

       A.         Plaintiff Continued to Maintain Its Frivolous Infringement Claims Even
                  After the Court's Claim Construction Order.

       If a party maintains infringement claims after an unfavorable claim construction, that

may constitute litigation misconduct and provide additional grounds for declaring a case

exceptional. MarcTec, 664 F.3d at 919. Thus, in MarcTec, the Court affirmed the district court's

finding that the case was exceptional where the patent owner (MarcTec):

       [N]ot only initiated a frivolous lawsuit, it persisted in advancing unfounded arguments
       that unnecessarily extended this litigation and caused [defendant] to incur needleless
       litigation expenses. This vexatious conduct is, by definition, litigation misconduct, and
       provides a separate and independent basis supporting the district court's determination
       that this case is exceptional.

 !d. at 921-22.

        Here, as in MarcTec, Plaintiff continued with its already unsustainable infringement

 claims against Sakar's even though the Court's Claim Construction Order was fatal to those

 claims. In fact, the Court resolved the parties' dispute concerning the scope of the Asserted

 Claims, holding that "rotatably attached" objects are "limited to a single axis of rotation."

 (AprillO, 2012 Claim Construction Order Dkt. 627 at 10). As described above, the Accused Ball-


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  and-Socket Products which has multiple axes of rotation do not and cannot have a camera "limited

 to a single axis of rotation." Thus, after claim construction, no reasonable litigant could

 realistically have expected to avoid summary judgment, when there is such a clear structural

 distinction.

           Nevertheless, despite the Court's warning that the parties were not to "contradict the Court's

 resolution of the proper scope of the claims" (AprillO, 2012 Claim Construction Order (Dkt. 627)

 at 11), Plaintiff pressed on. Indeed, on June 25,2012, Plaintiff served the expert report of John C.

 Muskivitch who-despite the Court's clarification that "rotatably attached" objects are "limited

 to a single axis of rotation"- opined that the Accused Ball-and-Socket Products included a hinge

 member "adapted to be rotatably attached to the camera." (See generally, June 25 Report of John

 C. Muskivitch, Exh. D, attached as Exh. 3 to Sutton Dec!.) By continuing to press its frivolous

 infringement arguments, and by forcing Sakar's to retain a testifYing expert to respond to such

 arguments, Plaintiff's bad faith is evident. Eltech Sys. Corp. v. PPG Indus., Inc., 903 F.2d 805,

 811 (Fed. Cir. 1990)("Where, as here, the patentee is manifestly unreasonable in assessing

 infringement, while continuing to assert infringement in court, an inference is proper of bad

 faith .... ").

         B.       Plaintiff Served a New and Untimely Infringement Report At the Deposition
                  oflts Technical Expert and Near the End of Fact Discovery.

         Dr. Muskivitch was deposed on August 24, 2012, after the depositions of Sakar's non-

infringement expert (Mr. Hamilton), Sakar's invalidity expert (Dr. Klopp), and damages expert

(Dr. Sullivan). At deposition, when asked foundational questions about his June 25, 2012

infringement report, Dr. Muskivitch claimed that the June 25 Infringement Report was merely a

"draft" that did not contain the final statement of his opinions. (Sutton Dec!. at ~ll; Exh. 7,

Muskivitch Dep. at 11: 10-13:6; 15: 12-24.) Then, during the deposition, Plaintiffs counsel
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disclosed and produced to Defendants' counsel for the first time an entirely new infringement

report from Dr. Muskivitch (the "August 24 Report"), claiming that this August 24 Report was

the correct report. (!d. at 52:12- 53:15.)

        Dr. Muskivitch's August 24 Report was substantively different from the June 25 Report

and contained entirely new opinions. Even Dr. Muskivitch acknowledged that the claim charts

attached to the August 24 Report contained different text and a different identification of the

claim limitations with respect to each of the accused products. (See id. at 14:2-15:4; 80:2-18.)

For example, Dr. Muskivitch moved his identification of the "hinge member" of the Accused

Ball-and-Socket Products from the ball and stem to the top half of the clip. In addition, he moved

the "second axis of rotation" from the ball-and-socket joint to an entirely separate joint where the

top half of the clip connects to the bottom half of the clip: (See Appendix B)

        Underscoring the significance of these changes, Dr. Muskivitch acknowledged that

 Sakar's expert (Mr. Hamilton) would not be able even to understand his infringement opinions

absent the so-called "final" August 24 Report. (Muskivitch Dep. at 34:16-35:4.) Plaintiff has yet

to provide any justification for serving the untimely report. Plaintiff has suggested an apparent

"mistake," but this argument strains credulity. If Plaintiffs counsel truly served an earlier draft

of Dr. Muskivitch's opinion on June 25, this error would have come to Plaintiffs attention when

Mr. Hamilton served his rebuttal report on July 27, 2012 and certainly before Plaintiffs

counsel examined Mr. Hamilton at his deposition on August 17, 20 12.

        C.     Plaintiff Continued to Maintain Objectively Baseless Invaliditv Defenses

       On several occasions, including as early as August 12, 20 II, Examiner Doerrler of the

USPTO rejected the Asserted Claims during reexamination as anticipated and/or obvious based

on Japanese Utility Model Publication No. H2-19997 to Irifune (the "lrifune Publication") and

                                                11




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U.S. Patent No. 5,880,783 to Ma entitled "Digital Camera for a Computer" (the "Ma Patent").

(Sutton Dec!. at~ 19; Exh. 14, OA dated August 12, 2011). Plaintiffs attorney (Edmonds) 6, was

able to delay and prolong the reexamination until Examiner Doerrler issued a Final Office Action

on August 30, 2012 rejecting the Asserted Claims for the third time on the same grounds. (!d. at

~ 23; Exh. 18, OA dated Aug 30, 2012, at 7-12.)           This was more than 2 years into the case, and

most of the defendants had already settled except for Sakar, Newegg Inc., Newegg.com Inc., and

Rosewill, Inc. Then, on September 20, 2012, Mr. Edmonds finally responded to the Patent Office

by cancelling the Asserted Claims from the '343 patent. (!d. at ~24; Exh. 19; Resp. to OA dated

Sep 20, 2012.) AdjustaCam should have cancelled the Asserted Claims (or at least withdrawn

them from this litigation) long before September 20. Instead, it kept advancing frivolous

responses to Examiner Doerrler's rejections, in order to buy additional time to enter into another

one-dozen nuisance-value settlements.

                 1.      The Prior Art Irifune Publication

        As illustrated by the following annotated figures, the Irifune Publication clearly discloses

a camera rotatably attached to a hinge member (mounting device (2)) vis-a-vis the "camera

attachment shaft (9)": (See Appendix C) (Sutton Dec!.~ 17; Exh. 12, Irifune Pub. Figs. 1, 2, 9-2.)

Nevertheless, Mr. Edmonds argued that the camera of the Irifune device is not rotatably attached to

the hinge member (9) because the camera "is not attached to the hinge member untilfi;lly screwed

or threaded to the hinge member." (!d. at~ 20; Exh. 15, Resp. to OA, dated Feb 10, 2012, at 18

(emphasis added).) Also, the arguments concocted by Plaintiff and its expert were objectively

baseless for a number of reasons.




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  Plaintiff has represented that Global Media Group LLC is the owner of the '343 Patent and AdjustaCam is the
exclusive licensee of the '343 Patent.
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                  2.       The Prior Art Ma Patent

          Plaintiff and its expert also advanced and maintained frivolous arguments concerning the

Ma Patent. As illustrated in the annotated figure from the Ma Patent (See Appendix D, on the

left), and as the USPTO correctly concluded, the Ma Patent discloses a camera (I) rotatably

attached to a hinge member (2), a support frame (3), and the claimed first and second axes of

rotation. (Sutton Dec!. at~ 18; Exh. 13.) As shown in the figure (below right) excerpted from Dr.

Muskivitch's report, remarkably, Dr. Muskivitch opined that the Ma device does not disclose a

camera and a support frame, but instead "a camera with moveable parts." 7 (Muskivitch Rebuttal

Report at 28, 29 (showing alleged "camera" in red)). (See Appendix D). The '343 Patent does

not ascribe a unique definition of a camera that would include structures used to support a

camera.

          D.        Plaintiff Fabricated a Per-Unit Royalty In An Attempt to Justify its
                    Nuisance-Value Settlements.

           As described above, Plaintiff lacked a good faith basis for asserting that AdjustaCam' s

    settlements were based on a minimum royalty of $1.25/unit. Neither Plaintiff, nor its

    damages expert, could identifY any reliable evidence in support of such an alleged royalty.

    Indeed, Mr. Bratic ignored the obvious fact that the implied royalty rate for at least 15 of

    AdjustaCam's settlement agreements ranged from $0.10/unit to $161.29/unit. In addition, Mr.

    Bratic did not even take into consideration the costs or profits associated with the accused

    feature of the webcam. Evidently, Plaintiff simply had Mr. Bratic "proffer junk science" and

    "bogus theories" to justifY its pattern of extracting nuisance-value settlements. Such conduct


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   Dr. Muskivitch maintained that the circuit box (3) of the Ma device was not a support frame because it was part of
the camera, despite conceding that "circuit box (3) does support tubular shaft 21, which in turn supports adjustment
block (2)." (!d. at 31).
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makes this case exceptional and warrants reimbursement for Sakar's expert fees. See

MarcTec, 664 F.3d 907,921-22 (affirming exceptional case finding and award of expert

fees and expenses in excess of $800,000 where MarcTec offered unreliable and irrelevant

expert testimony and "had its experts proffer junk science," which unnecessarily extended

the litigation).

       E.      AdjustaCam's Admissions Establish Rule 11 Violations that Independently
               Warrant an Award of Attorneys' Fees.

       Under Rule 11, both the attorney and the litigant "have a continuing obligation to

review and reevaluate their pleadings... at the risk of inviting the imposition of Rule 11

sanctions." Herron v. Jupiter Transp. Co., 858 F.2d 332, 336 (6th Cir.1988). In determining

whether Rule II has been violated, the court must "objectively," FDIC v. lvfaxxam, Inc., 523

F.3d 566, 580 (5th Cir.2008), consider factual questions regarding the adequacy "of the

attorney's pre-filing inquiry and the factual basis of the pleading." A patentee's failure to

petfoml an adequate pre-filing investigation is grounds for an exceptional case finding,

Loclite Cotp. v. Fei-Pro, Inc., 667 F.2d 577,584 (7th Cir. 1981), that independently supports

an award of attorneys' fees under Rule II. See Hofj'mann-La Roche Inc. v. Invamed Inc., 213

F.3d 1359, 1363 (Fed.Cir.2000).

       In this case, AdjustaCam violated Rule II by admitting (via its 30(b)(6) witness) that

it: (a) failed to properly review or even consider any of the pleadings filed by its outside

counsel, including its amended Complaint and infringement contentions, and (b) failed to

properly conduct and had no knowledge of a pre-filing investigation of Sakar's accused

webcam devices. Accordingly, Rule II sanctions against AdjustaCam are appropriate in this

case. (See Appendix E, excerpts from deposition testimony of Clayton Haynes.)



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               1.     Defendants take AdjustaCam's Rule 30(b)(6) Deposition regarding
                      AdjustaCam's pre-filing investigations and its review of the
                      pleadings.

        On August 28, 2012, co-defendants Newegg Inc., Newegg.Com Inc. and Rosewill

  Inc.'s counsel ("Newegg/Rosewill") served a notice of deposition directed to AdjustaCam.

  (Sutton Dec!.~ 14; Exh. 9A, at 3-6) that included relevant topics concerning AdjustaCam's

 pre-suit investigations and analyses (topics 1-3, 25), its knowledge of and notification of the

  defendants' infringement (topics 4-6, 8-10 and II), and its enforcement of the '343 patent

 (topic 17), etc. (ld ). In response to this notice, AdjustaCam produced Clayton Haynes who

 was deposed on Aug. 30, 2012. Mr. Haynes testified that he had been designated by

 AdjustaCam to testizy on the foregoing deposition subjects, (Sutton Dec!.~ 13; Exh. 9, Haynes

 Dep. at 4.) and stated that he is the CFO of Acacia Research Group LLC and AdjustaCam

 LLC (a subsidiary of Acacia Research Group ("ARG"), and an officer of at least 50 other

 subsidiaries of Acacia Research Corporation (ARG's parent company). (ld at 4-14.)

              2.     AdjustaCam admits that it failed to review the pleading and failed
                     to perform an adequate pre-filing investigation.

       AdjustaCam admitted (see Appendix E) through the testimony of Mr. Haynes that it

violated Rule II: (I) by failing to review the '343 patent before filing its Complaint against

Sakar; (2) by failing to review the Complaint before filing it against Sakar; (3) by failing to

review its Infringement Contentions; (4) having no knowledge of and not being provided the

results of any pre-filing investigation; (5) having no knowledge of which defendants were sued

and playing no part in the decisions of which defendants to sue; and (6) having no knowledge

of and failing to gather any evidence regarding why the accused products infringed the '343

Patent. Clark v. The Walt Disney Co., 748 F.Supp.2d 792, 798 (S.D.Ohio 2010)(citing

Antonious v. Spalding & Evenjlo Cos., 275 F.3d 1066, 1073-74 (Fed.Cir.2002))(A plaintiff and
                                               15




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his or her attorneys have a duty under Rule 11 to conduct a pre-filing claim construction

analysis, comparing the accused product to the properly construed claim.); Herron, 858 F.2d at

335-36 (An attorney and the litigant are obligated to review all filed pleadings).

               3.      AdjustaCam Cannot Now Walk Away From its Binding Admissions
                       of Rule 11 Violations.

        Mr. Haynes' testimony regarding AdjustaCam's undisclosed and conclusory reliance on

"advice of counsel" is insufficient to sustain an advice of counsel defense; Eltech Systems Corp.

v. PPG Industries, Inc., 710 F.Supp. 622,637-38 (W.D.La. 1988)(citlng Kori Corporation v.

Wilco Marsh Buggies & Draglines, Inc., 761 F.2d 649, 656-7 (Fed.Cir.1985); Underwater

Devices, Inc. v. Morrison-Knudsen Co., 717 F.2d 1380, 1390 (Fed.Cir.1983)); In re: Echoster

Communications Corp., 448 F.3d 1294, 1303 (Fed.Cir.2006)(a plaintiff cannot rely on

undisclosed advice of counsel to protect against a claim for Rule I 1 violations, e.g., claim of lack

of pre-filing investigation.), waived the attorney-client privilege, id. at 1300 (asserting the advice

of counsel as a defense waives the attorney-client privilege for all communications on the subject

matter and documents memorializing such communications), and conflicts with the overriding

theme of AdjustaCam's testimony·· AdjustaCam's outside counsel litigated this case completely

divorced from the knowledge and/or approval of AdjustaCam. AdjustaCam now remains bound

by such testimony. In re Neurontin Antitrust Litigation, No. 02-1390, MDL No. 1479, 2011 WL

253434, at *6 (D.N.J. Jan. 25, 2011)(citing Harris v. New Jersey, 259 F.R.D. 89,92 (D.N.J.

2007))(Rule 30(b)(6) testimony "is binding on the organizational entity and goes beyond the

deponent's personal knowledge about the topics.").

V.     CONCLUSION

       Based on the foregoing, Sakar respectfully requests the Court to declare this case

exceptional and to award it $143,933 in attorney's fees + $19,589 in expert witness fees =
                                                 16




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$163,522, which amount equals a reasonable portion of Sakar attorney fees and expert witness

fees incurred in the defense of this litigation. (See Sutton Decl., ~~ 25-35)

       DATED THIS 16th day of January, 2013.



                                                              Respectfully submitted,


                                                              Is/ Ezra Sutton
                                                              EZRA SUTTON, Esq.
                                                              EZRA SUTTON, P. A.
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                                                              International, Inc.




                                                17




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                           APPENDIX A




         ..   --=========c~~




                                                    -

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                                         APPENDIX B




Excerpts from Dr. Muskivitch 's June 25 Report (le.fi} and AuKU~I 24 Report {right) identifYing the
 "second axis of rotation" of the accused Roscwi/1 RCM-8163 {yellow arrow) and "support
frame" {red arrow) (Sutton Decl. at , 5, 7; Exhs. 3, 5.)




Excerpts from Dr. Muskivitch 's June 25 Report (leji) and August 24 Report (right) identifying
the "hinge member " ofthe accused Rosewi/1 RCM-8163 {green arrow) andfirst axis ofrotation"
(blue arrow) (Sut1on Dec!. at ,[1 5, 7; Exhs. 3, 5.)




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                             APPENDIX C (the Irifune Publication)




(Sutton Decl. ,20; Exh. 14, Irifune Pub. Figs.1,2, 9-2.)




                                                 20




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                                              A0309
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                                         APPENDIXD




                                                                  31


                                                                  31 1

                                                                  3
                  FIG. 1



(Sutton Ded. , 6; Exh. 4, Muskivitch RebuttaJ Rep<>rt at 28, 29 (showing alleged ''camera" in
red)).




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                                              APPENDIXE


    •   AdjustaCam Admitted that it Failed to Review the '343 Patent before filing its
        Complaint against Sakar.
        Q. (BY MR. HEBERHOLZ) I'm going to hand you what's been marked as Exhibit Number 6. I
        will represent that this is a copy of the '343 Patent. Have you seen the '343 Patent before today?
        A. I don't believe that I've- I've actually looked at this particular document, no.
        Q. Okay. Is it your understanding that AdjustaCam is accusing Newegg, Rosewill and a number
        of additional defendants of infi·inging the '343 Patent?
        A. Again, not being an attorney, but that's my high level understanding.
        Q. But you don't recall reviewing the '343 Patent before today?
        A. Not this specific document.
        Q. Are you aware of which of the claims of the '343 Patent are being asserted in this litigation?
        A. Again, you know, that's- that's not my area, so no.
        Q. You said that's not your area. Is there somebody else at AdjustaCam whose area that is?
        A. I believe AdjustaCam defers to its outside counsel with respect to those matters.
(Sutton Dec!. '1!13; Exh. 9, Haynes Dep. 35:23-36: 19)(emphasis added).

    •   Ad justaCam Admitted that it Failed to Review the Complaint before filing it against
        Sakar.
        Q. Yeah, I'm asking if AdjustaCam reviewed the complaint to ensure that the factual
        representations were accurate prior to its filing on July 2nd of20IO?
         *                                        *                                         *
           A. Well, l believe it was prepared by AdjustaCam's external counsel. I guess all I can testify to
          is that I -- I don't believe that I reviewed it. I don't know to what extent anybody else working
          on behalf of AdjustaCam reviewed it or not. I just don't have the information regarding that.
           Q. (BY MR. HEBERHOLZ) So you don't recall reviewing Exhibit 4 before it was filed?
           A. I don't believe that I did. I -- I believe that it was prepared by AdjustaCam 's external
         counsel.
           Q. Other than AdjustaCam 's external counsel are you aware of anybody else that had a role in
          preparing the complaint?
           A. I'm unaware of whether anybody else did or did not.
(ld. at 31 :6-24)(emphasis added);

         Q. (BY MR. HEBERHOLZ) I'm going to hand you what's been marked as Deposition Exhibit
         number 5. I will represent that this is the third amended complaint that was filed in this case.
         Specifically, this document was filed on August 9th of 2011. Are you familiar with this
         document, Mr. Haynes?
         A. l don't specifically recall reviewing this particular document.
         Q. You don't recall reviewing this document in preparation for your deposition today?
         A. I don't specifically recall, although it does look similar to the previous document that we
         looked at. But I don't recall specifically reviewing this particular document.
         Q. Other than outside counsel for AdjustaCam, to your knowledge did AdjustaCam review the
         third amended complaint before it was filed on August 9th, 20 II?
         A. Outside of external counsel, I'm not aware of anybody.
(!d. at 33:7-25)(emphasis added);

        Q. Did you review-- did you or anyone at AdjustaCam review the complaint before it was filed

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          with the Court?
         *                                         •                                          •
          A. I did not review the complaint and I don't know to what extent anybody did or did not at
          AdjustaCam, as it was handled by outside counseL
(!d. at I 00:25-l 0 I: 12)(emphasis added); and

         Q ..... Did you or any of the persons that we've just been talking about (all of the officers of
         AdjustaCam] review the complaint in this case before it was filed with the Court?
         *                                         *                                          •
        A. I did not review the complaint and I don't know to what extent any of the other individuals
        did or did not review the complaint.
(Id at 108:25-109:11)(emphasis added);

    •    AdjustaCam Admitted that it Failed to Review its Infringement Contentions.
        Q. (BY MR. HEBERHOLZ) Do you recall reviewing infringement contentions in this particular
        case?
        A. I don't specifically recall reviewing infringement contentions in the case.
        Q. Okay. Excluding outside counsel for AdjustaCam, to your knowledge did anyone at
        AdjustaCam have any role in preparing infringement contentions that were served in this case?
        A. Other than outside-- other than outside counsel, I'm not aware of anybody.
(Jd at 35:12-21 )(emphasis added).

    •   AdjustaCam Admitted that it had No Knowledge of and Was Not Provided Results
        of any Pre-Filing Investigation.
        Q. Was any reports [regarding pre-filing investigations] sent to AdjustaCam from the
        outside law firm?
         *                                         *                                          *
        A. Not to my knowledge.
         *                                         •                                          *
        Q. All right. Well, to be more clear, do you know if a report was-- report from your counsel, a
        report from your outside counsel was sent to AdjustaCam?
        A. I do not-
        *                                          *                                          *
        A. I do not know whether one was or was not.
(!d. at 95: l 0-96: 16)(emphasis added);

        Q. Do you know if any of those claim charts were sent to AdjustaCam?
        *                                          *                                          *
        A. 1 -- l do not know whether they were or were not.
(!d. at 97:20-24);

        Q ..... Do you know if a written report was given to you or-- was given to you or Mr. Ryan or
        Mr. Harris or Mr. Lee regarding any pre-filing investigation that was performed by outside
        counsel.
        •                                          •                                          *
        A. A written report was not given to me. And as part of my preparation for this particular
        deposition I didn't investigate whether a report was or was not provided to the other individuals
        you mentioned.
        Q. (BY MR. SUTTON) You didn't check into that?
        A.No.
                                                       23




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(ld. at I 13:9-22)(emphasis added);

        Q. {BY MR. SUTTON) Now, to the extent that you said earlier that outside counsel gathered
        evidence on the accused products, do you know if a written report was prepared on the evidence
        that was gathered on those accused products?
        •                                        •                                        *
         A. Sitting here today I don't know whether one was or was not prepared.
{ld. at 114:9-16)(emphasis added);

        Q. {BY MR. SUTTON) And with regard to the aspect of testing and viewing the-- these accused
        products that are in the complaint, are you aware of any report that was prepared by outside
        counsel as to that aspect of the accused products?
        *                                        *                                        *
         A. I'm not aware of whether one was or was not produced or prepared.
(!d. at 115:14-21);

         Q. You said that-- that your understanding that the pre-filing investigation was conducted by
         outside counsel in the few months prior to the filing of the lawsuit, correct?
         A. May, June 20 I 0.
         Q. All right. And you obtained that infonnation from outside counsel in preparing for this
         deposition, right?
         A. Correct.
         Q. And were you aware of that information prior to being advised by counsel that it was-- that
         the pre-filing investigation was conducted in May and June of2010?
         A. No, I was not.
{Jd. at 130:2-IS)(emphasis added);

        A. With respect to the pre-suit investigation and Newegg and Rosewi!l.
        Q. (BY MR. SUTTON) And so [you] don't have any knowledge, sitting here today, as to
        whether that happened or not, correct?
        *                                        *                                        •
         A. Correct.
(!d. at 134:2-S)(emphasis added); and

       Q. (BY MR. SUTTON) Now, the information that you just gave in answer to that request
       (concerning AdjustaCam's counsel's alleged pre-filing investigation], was that information
       obtained from counsel in preparing for this deposition?
       A. Yes.
       Q. Did you know about that information in the two months prior to filing of the lawsuit,
       which was May and June of2010?
       A. I did not.
       Q. So the first time you heard about it was in your preparation for this deposition?
       A. Correct.
       Q. And have you ever seen any documents relating to pre-filing investigations between
       April and-- April of2010 and up to the present time just prior to preparing for this
       deposition?
        *                                        *                                        *
         A. I do not believe so.
(Id. at !48:13-J49:5){emphasisadded);


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     •   AdjustaCam Admitted that it Had No Knowledge of Which Defendants Were Sued
         and Admitted that AdjustaCam Did Not Decide Which Defendants to Sue.
         Q. (BY MR. SUTTON) Do you know who decided which defendants to sue?
         *                                        *                                        *
         A. It's my understanding that was all held-- all handled by external counsel.
         Q. (BY MR. SUTTON) External counsel made the decisions as to who to sue?
         A. That is my understanding.
         Q. Do you know if outside counsel consulted with anyone at AdjustaCam to discuss which
         defendants would be sued?
         *                                        *                                        *
         A. Yeah, the extent of my knowledge is that those types of matters were handled by outside
         counsel.
         Q. (BY MR. SUTTON) Well, but my question was, do you know if outside counsel discussed
         with anyone at AdjustaCam which defendants would be sued?
         *                                       *                                         *
         A. Yeah, the extent of my knowledge or all that I'm aware of is that those types of matters were
         handled by outside counsel.
(ld. at 99:5-25);

         Q. (BY MR. SUTTON) So is it your understanding that outside counsel made the decisions as
         to which defendants to sue and include in the complaint?
         *                                       *                                        *
         A. It's my understanding that all those matters were handled by outside counsel.
         Q. (BY MR. SUTTON) I'm asking you, were they handled only by outside counsel? Were they
         ever discussed with AdjustaCam?
         *                                       *                                        *
          A. It's my understanding that they were handled by outside counsel.
(!d. at I 00:8-19)( emphasis added); and

         Q. (BY MR. SUTTON) Did you discuss with outside counsel which defendants were going
         to be accused in the complaint?
         *                                       *                                        *
         A.No.
         Q. (BY MR. SUTTON) I couldn't hear you. Was it no?
         A.No.
(ld. at 110:6-14).

    •    AdjustaCam Admitted that it No Knowledge of and Did Not Gather Any Evidence
         Regarding Why the Accused Products Infringed the '343 Patent.
         Q. (BY MR. SUTTON) Were you involved in gathering any evidence on the accused products
         alleged in the complaint?
         *                                       *                                        *
         A.No.
         Q. (BY MR. SUTTON) Do you know who was?
         *                                       *                                        *
         A. It's my understanding that that analysis was conducted by outside counsel.
         Q. (BY MR. SUTTON) Was it conducted only by them?
         A. That's my understanding.
(ld. at 111:8-19);and


                                                      25




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        Q. Okay. Did you or Mr. Ryan or Mr. Harris or Mr. Lee participate in gathering evidence on the
        accused products included in this complaint?
        *                                       *                                       *
         A. Not to my knowledge.
         Q. (BY MR. SUTTON) Not to your knowledge? So to your knowledge, is it correct to say that
         only outside counsel performed that function?
         A. It is AdjustaCam's understanding that that was performed by outside counsel.
(/d. at 112:24-113 :8).




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                                       CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that all counsel of record who are deemed to have consented to

electronic service are being served this 16th day of January, 2013, with a copy of this document

via the Court's CMIECF system per Local Rule CV-5(a)(3). Any other counsel of record will be

served by electronic mail, facsimile transmission, and/or frrst class mail on this same date.




                                                       Ezra Sutton

                             CERTIFICATE OF CONFERENCE
        This is to certifY that counsel have complied with the meet-and-confer requirement set

forth in Local Rule CV-7(h) and this motion is opposed. The personal conference required by the rule

was conducted on January 8, 2012 by telephone. Counsel participating in the conference on

behalf of the movant/defendant, Sakar International, Inc. ("Sakar") was Ezra Sutton. Counsel

participating on behalf of the plaintif!Jnonmovant, AdjustaCarn LLC, was John Edmonds.

       Counsel for the movants articulated the basic components of the motion and counsel for

the non-movant expressed disagreement with the motion and any basis for it, such that

agreement could not be reached. The discussions conclusively ended in an impasse, leaving an

open issue for the Court to resolve. On more than one occasion p1iorto January 8, 2012, Mr. Sutton

and Mr. Edmonds, on the calls, had discussed the likelihood of the movant filing this motion with

counsel for the non-movant taking exception to it on those occasions as well.



                                                      Is/ Ezra Sulton
                                                      Ezra Sutton




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              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       This is to certifY that this motion is being filed under seal pursuant to the provisions and

authorization of the Protective Order entered by the Court in this case.


                                                      Is/ Ezra Sutton
                                                      Ezra Sutton




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

ADJUSTACAM LLC

   v.                                                       NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                    JURY

                 UNOPPOSED MOTION TO DISMISS SAKAR AND KOHL’S

        Plaintiff AdjustaCam LLC respectfully submits this unopposed motion to dismiss the

claims and counterclaims involving Defendants/Counter-claimants Sakar International, Inc.,

Kohl’s Illinois, Inc., Kohl’s Corporation, Inc. and Kohl’s Department Stores, Inc. (collectively

“Sakar/Kohl’s”), pursuant to Fed.R.Civ.P. 41(a)(2) as follows:

                                               I.

        This is a patent infringement case involving asserted claims 1, 7 and 19 (the “Asserted

Claims”) of U.S. Patent No. 5,855,343 (the “’343 patent”).         On August 30, 2012, at the

culmination of reexamination proceedings involving the ‘343 patent, the U.S.P.T.O. issued a

Final Office Action rejecting the Asserted Claims for being unpatentable over prior art but

allowing additional new and amended claims. Ex. 1. On September 20, 2012, in response to that

Final Office Action, Plaintiff canceled the Asserted Claims of the ‘343 patent, Ex. 2, so that a

certificate of reexamination can issue concerning the multiple new and amended claims deemed

allowable.

        Moreover, on September 30, 2012, Plaintiff granted Sakar/Kohl’s a covenant not to sue

under the ‘343 Patent (Dkt. No. 721, Ex. 2). Due to disputes over the wording of the covenant,

Plaintiff provided an amended covenant not to sue on October 12, 2012 (Dkt No. 729, Ex. A),

and a second amended covenant not to sue on this date. The second amended covenant not to

sue was mutually agreeable to Plaintiff and Sakar/Kohl’s.
                                             A0319
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       In view of the foregoing, the following issues in this case are now moot or near moot: (1)

infringement of the Asserted Claims; (2) validity of the Asserted Claims; and (3) damages from

infringement of the Asserted Claims.       Accordingly, Plaintiff hereby moves for an order

dismissing its claims against Sakar/Kohl’s with prejudice. In addition, Sakar/Kohl’s does not

oppose, and Plaintiff hereby moves for, an order dismissing Sakar/Kohl’s counterclaims without

prejudice.

                                               II.

       Sakar/Kohl’s does not oppose dismissal of AdjustaCam’s claims and Sakar/Kohl’s

counterclaims as set forth herein, with the exception of Sakar/Kohl’s right to seek to obtain and

recover costs and/or attorneys’ fees pursuant to Fed.R.Civ.P. 54(d)(1) and/or (2) and 35 U.S.C.

§ 285 (which AdjustaCam would oppose if sought).

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the foregoing relief.

       December 14, 2012                           Respectfully submitted,

                                                   By: /s/ John J. Edmonds
                                                   John J. Edmonds – LEAD COUNSEL
                                                   Texas State Bar No. 789758
                                                   Michael J. Collins
                                                   Texas Bar No. 4614510
                                                   Stephen F. Schlather
                                                   Texas Bar No. 24007993
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                                                   Andrew W. Spangler
                                                   Texas Bar No. 24041960
                                                   Spangler & Fussell P.C.



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                                                        (903) 553-0403 (fax)
                                                        spangler@spanglerlawpc.com

                                                        ATTORNEYS FOR PLAINTIFF
                                                        ADJUSTACAM LLC




                                 CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Plaintiff have conferred with counsel for Sakar/Kohl’s in
accordance with L.R. CV-7, and that Sakar/Kohl’s does not oppose this motion.

December 14, 2012                                         /s/ John J. Edmonds
                                                          John J. Edmonds



                                    CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic service
are being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3).

December 14, 2012                                         /s/ John J. Edmonds
                                                          John J. Edmonds




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 ADJUSTACAM LLC

    v.                                                   NO. 6:10-cv-329-LED

 AMAZON.COM, INC.; ET AL.                                JURY

                                            ORDER

         CAME BEFORE THE COURT the Unopposed Motion (the “Motion”) of Plaintiff

 AdjustaCam LLC to dismiss the claims and counterclaims involving Defendants/Counter-

 claimants Sakar International, Inc., Kohl’s Illinois, Inc., Kohl’s Corporation, Inc. and Kohl’s

 Department Stores, Inc. (collectively “Sakar/Kohl’s”), and the Court being of the opinion that

 said motion should be GRANTED, it is hereby

         ORDERED that Plaintiff’s claims against Sakar/Kohl’s are DISMISSED WITH

 PREJUDICE.      It is further ORDERED that Sakar/Kohl’s counterclaims are DISMISSED

 WITHOUT PREJUDICE.




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

ADJUSTACAM LLC

  v.                                        NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                    JURY

 PLAINTIFF’S RESPONSE TO NEWEGG/ROSEWILL’S MOTION FOR DECLARATION OF
                           EXCEPTIONAL CASE
                     AND REQUEST FOR ORAL HEARING

                              FILED UNDER SEAL


                           ADDITIONAL ATTACHMENTS




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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

ADJUSTACAM LLC

    v.                                                   NO. 6:10-cv-329-LED

AMAZON.COM, INC.; ET AL.                                 JURY

     DECLARATION OF JOHN EDMONDS IN SUPPORT OF PLAINTIFF’S RESPONSE TO
      NEWEGG/ROSEWILL’S MOTION FOR DECLARATION OF EXCEPTIONAL CASE
                      AND REQUEST FOR ORAL HEARING

I, JOHN J. EDMONDS, declare under penalty of perjury as follows:

    1. My name is John J. Edmonds, I am over the age of twenty-one (21) years, am competent to testify

on the matters stated herein. I am a shareholder at the law firm of Collins, Edmonds, Pogorzelski,

Schlather & Tower, PLLC and am counsel of record for AdjustaCam, LLC in the above-referenced

matter. I have personal knowledge of the facts set forth herein, and they are true and correct, and I could

and would testify competently thereto if called as a witness.

    2. Exhibit 2 to PLAINTIFF’S RESPONSE TO NEWEGG/ROSEWILL’S MOTION FOR

DECLARATION OF EXCEPTIONAL CASE (the “Response”) is a true and correct copy of the ‘343

patent-in-suit.

    3. Exhibit 3 to Plaintiff’s Response is a true and correct copy of the Court’s Markman Ruling from

this case.

    4. Exhibit 4 to Plaintiff’s Response is a true and correct response of a final office action during

reexamination proceedings for the patent-in-suit.

    5. Exhibit 5 to Plaintiff’s Response is a true and correct copy of an office action response during

reexamination proceedings for the patent-in-suit.

    6. Exhibit 6 to Plaintiff’s Response is a true and correct copy of NewEgg’s interrogatory responses.

    7. Exhibit 7 to Plaintiff’s Response is a true and correct copy of excerpts from the Rule 30(b)(6)

deposition of NewEgg from this case.


                                                    A0341
                  Case: 13-1665           Document: 97-1    Page: 330       Filed: 12/11/2014

   8. Exhibit 8 to Plaintiff’s Response is a true and correct copy of excerpts from the Rule 30(b)(6)

deposition of Rosewill from this case.

   9. Exhibit 9 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of

Plaintiff’s technical expert Dr. John Muskivitch from this case.

   10. Exhibit 10 to Plaintiff’s Response is a true and correct copy of Dr. Muskivitch’s CV.

   11. Exhibit 11 to Plaintiff’s Response is a true and correct copy of the original expert report of

Plaintiff’s damages expert in this case, Mr. Walt Bratic.

   12. Exhibit 12 to Plaintiff’s Response is a true and correct copy of Mr. Bratic’s CV.

   13. Exhibit 13 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of Mr.

Bratic from this case.

   14. Exhibit 14 to Plaintiff’s Response is a true and correct copy of excerpts from the Rule 30(b)(6)

deposition of Plaintiff from this case.

   15. Exhibit 15 to Plaintiff’s Response is a true and correct copy of the original expert report of

Plaintiff’s damages expert in this case, Mr. Walt Bratic.

   16. Exhibit 16 to Plaintiff’s Response is a true and correct copy of the Irifune reference that has been

at issue in this case and in the reexamination proceedings involving the patent-in-suit.

   17. Exhibit 17 to Plaintiff’s Response is a true and correct copy of the Ma ‘783 patent.

   18. Exhibit 18 to Plaintiff’s Response is a true and correct copy of an office action from the

reexamination proceedings involving the patent-in-suit.

   19. Exhibit 19 to Plaintiff’s Response is a true and correct copy of an office action response from the

reexamination proceedings involving the patent-in-suit.

   20. Exhibit 20 to Plaintiff’s Response is a true and correct copy of an office action from the

reexamination proceedings involving the patent-in-suit.

   21. Exhibit 21 to Plaintiff’s Response is a true and correct copy of the as-written expert report of

Plaintiff’s technical expert in this case, Dr. Muskivitch, which was Exhibit 4 to his deposition.
                                                      2
                                                                                 ATTORNEY’S EYES ONLY

                                                    A0342
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   22. Exhibit 22 to Plaintiff’s Response is a true and correct copy of excerpts from the deposition of

NewEgg/Rosewill’s damages expert Dr. Sullivan from this case.

   23. Due to the Court’s construction of “rotatably attached,” AdjustaCam dropped sixteen (16)

webcams from the suit because the rotatable attachment between the hinge member and camera was not

limited to a single axis of rotation. The dropped webcams were the HP 3100, Gearhead WC 740,

Gearhead WC 745, Gearhead WC 750, Gearhead WC 740I, Gearhead WC 1100, Gearhead WC 1200,

Gearhead WC 1300, Gearhead WC 1400, Gearhead WC 1500, Gearhead WCF 2600, Gearhead WCF

2750, Gearhead WC 4750 and Gearhead WC 8301.

   24. AdjustaCam originally accused NewEgg of infringement relative to various webcams sold by

NewEgg which were manufactured by Auditek, Creative, Digital Innovations, Gearhead, Hercules, HP,

iMicro, Lifeworks, jWin, Pixxo and Rosewill. However, during the course of the lawsuit, certain of

NewEgg’s suppliers reached settlements with AdjustaCam which licensed the sale of their webcams by

NewEgg. Finally, on August 10, 2012, AdjustaCam settled with NewEgg’s supplier GearHead, and on

August 17th, AdjustaCam settled with NewEgg’s supplier HP. With the HP and GearHead licenses,

AdjustaCam’s claims against almost all of remaining retailers in the case became essentially de minimis,

and the only significant remaining defendants were Sakar and its primary distributor Kohl’s.

   25. Sakar/Kohl’s were also unique among the remaining defendants in that they failed to designate a

damages expert, and thus had no expert to rebut AdjustaCam’s damages expert, Mr. Walt Bratic.

   26. Therefore, in view of the HP and GearHead settlements, and in an effort to streamline this case by

winnowing out de minimis infringers, and to focus on Sakar/Kohl’s (who lacked a damages expert),

AdjustaCam voluntarily dismissed its claims against the remaining retailers who had sold HP and/or

GearHead webcams, namely Best Buy, Fry’s, MicroCenter, Office Depot and Walmart.




                                                    3
                                                                              ATTORNEY’S EYES ONLY

                                                  A0343
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   27. The following images:




are cut from true and correct photos of disassembled Rosewill 8163 and Hercules Classic webcams. The red

arrows, which were added by me, point to channels in the housing.

       28.     For its opening settlement number at mediation for NewEgg/Rosewill, AdjustaCam quoted

$75,000 to account for both past and expected future infringement for the life of the ‘343 patent. At the

mediation, AdjustaCam explained that its settlement number was based upon a $1.50 per webcam metric,

and that it took into account past infringement as well as some future infringement.

       29.     AdjustaCam and NewEgg did not have any direct communications about settlement during

March 2012. All communications were conducted using Mr. Jim Knowles as an intermediary in

furtherance of his role as mediator. NewEgg and AdjustaCam did not have any communications, so no

explanation of AdjustaCam’s settlement number was refused. Further, AdjustaCam did explain to the Mr.

Knowles, who was well aware of AdjustaCam’s $1.25 per webcam metric, that its settlement number for

NewEgg was based upon past infringement and estimated future infringement.

       30.     AdjustaCam’s July 11, 2012 settlement offer was communicated to NewEgg via email, and

no one representing NewEgg asked for an explanation. Had NewEgg asked for an explanation of how

AdjustaCam arrived at that number, it would have been informed that AdjustaCam took its expert’s

damage figure of $17,928 based upon two years of past infringement, and then extrapolated a royalty




                                                        4
                                                                               ATTORNEY’S EYES ONLY

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number for fhtme infringement based upon 3.75 more years of infringement (i.e., $33,615) tlrrougb the

tenn of the '343 patent, for a total of$51,543.



       I declare under penalty of that the foregoing is tme and conect

       Executed in Houston, TX on November 7. 2012.




                                                               John . Edmonds




                                                       5
                                                                                ATTORNEY'S EYES ONLY




                                                  A0345
                     Case: 13-1665               Document: 97-1         Page: 334      Filed: 12/11/2014



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   APPLICATION NO.            FILING DATE               FIRST NAMED INVENTOR        IATTORNEY DOCKET NO. I CONFIRMATION NO.
       90/011,366              12/0612010                     5855343                  20145.0001.EP343                       7040

                       7590          08/30nOI2                                                              EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
       57th Floor                                                                         ART UNIT                       PAPER NUMBER
       Cleveland, OH 44114
                                                                                    DATE MAILED: 08/3012012




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)



                                                             A0369
                       Case: 13-1665               Document: 97-1        Page: 335      Filed: 12/11/2014



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   APPLICATION NO.             FILING DATE               FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.             CONFIRMATION NO.

       90/011,316               12/3012010                     5855343                     76958.00001                        5680

                        7590          08/3012012                                                           EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
       57th Floor                                                                           ART UNIT                   PAPER NUMBER

       Cleveland, OH 44114
                                                                                     DATE MAILED: 08/3012012




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)



                                                              A0370
              Case: 13-1665             Document: 97-1        Page: 336   Filed: 12/11/2014




                                                                                          Commissioner for Patents
                                                                          United States Patent and Trademark Office
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                                                                                          Alexandria, VA 22313-1450
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               DO NOT USE IN PALM PRINTER
           (THIRD PARTY REQUESTER'S CORRESPONDENCE ADDRESS)

f". . . ~~UL HASTINGS JANOFSKY & WALKER LLP
i     875 15111 Street, NW
      Washington, DC 20005




        EX PARTE REEXAMINATION COMMUNICATION TRANSMITTAL FORM


REEXAMINATION CONTROL NO. 901011.316 and 901011.366.

PATENT NO. 5855343.

ART UNIT 3993.




    Enclosed is a copy of the latest communication from the United States Patent and Trademark
    Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



    Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
    reply has passed, no submission on behalf of the ex parte reexamination requester will be
    acknowledged or considered (37 CFR 1.550(g)).




     PTOL-465 (Rev.07-04)




                                                         A0371
                     Case: 13-1665             Document: 97-1        Page: 337   Filed: 12/11/2014




                                                                                                 Commissioner for Patents
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r···oo•·······
,       Tracy W. Druce
        Novak Druce & Quigg, LLP
        1000 Louisiana Street, 53rd Floor
        Houston, TX 77002




                 EX PARTE REEXAMINATION COMMUNICATION TRANSMITIAL FORM


 REEXAMINATION CONTROL NO. 90/011.366 and 901011.316.

 PATENT NO. 5855343.

 ART UNIT 3993.




    Enclosed is a copy of the latest communication from the United States Patent and Trademark
    Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



    Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
    reply has passed, no submission on behalf of the ex parte reexamination requester will be
    acknowledged or considered (37 CFR 1.550(g)).                                                 ·




        PTOL-465 (Rev.07-04)




                                                                A0372
                              Case: 13-1665            Document: 97-1               Page: 338            Filed: 12/11/2014




                                                                          Control No.                          Patent Under Reexamination
                                                                          90/011,316 and 90/011,366            5855343
     Office Action in Ex Parle Reexamination                              Examiner                             Art Unit
                                                                          WILLIAM DOERRLER                     3993


               •• The MAILING DATE of this communication appears on the cover sheet with the correspondence address -·
  at81 Responsive to the communication(s) filed on 20 July 2012 .    b[gj This action is made FINAL.
  cO A statement under 37 CFR 1.530 has not been received from the patent owner.

  A shortened statutory period for response to this action is set to expire 2. month(s) from the mailing date of this letter.
  Failure to respond within the period for response will result in termination of the proceeding and issuance of an ex parte reexamination
  certificate in accordance with this action. 37 CFR 1.550(d). EXTENSIONS OF TIME ARE GOVERNED BY 37 CFR 1.550(c).
  If the period for response specified above is less than thirty (30) days, a response within the statutory minimum of thirty (30) days
  will be considered timely.

  Part I      THE FOLLOWING ATTACHMENT(S) ARE PART OF THIS ACTION:

        1.    0 Notice of References Cited by Examiner, PT0-892.                   3.   D Interview Summary, PT0-474.
        2.    0 Information Disclosure Statement, PTO/SB/08. · 4.                  D
  Part II     SUMMARY OF ACTION
       1a. ~ Claims 1.2,5-8.10,14-17.19 and 22-48 are subject to reexamination.
       1b. ~ Claims 3.4.9, 11-13,18.20 and 21 are not subject to reexamination.
         2.   0 Claims _ _ have been canceled in the present reexamination proceeding.
         3. ~ Claims 22-48 are patentable and/or confirmed.
         4. ~ Claims 1.2.5-8. 10 14-17 and 19 are rejected.
         5. D Claims _ _ are objected to.
         6. 0 The drawings, filed on _ _ are acceptable.
         7. 0 The proposed drawing correction, filed on _ _ has been (7a)0 approved (7b)0 disapproved.
         8. 0 Acknowledgment is made of the priority claim under 35 U.S.C. § 119(a)-(d) or (f).
                  a)D All b)D Some* c)D None               of the certified copies have
                    1   D been received.
                    20 not been received.
                    30 been filed in Application No. _ _ .
                    40 been filed in reexamination Control No. _ _
                    sO been received by the International Bureau in PCT application No. _ _ .
                  * See the attached detailed Office action for a list of the certified copies not received.
           9. 0      Since the proceeding appears to be in condition for issuance of an ex parte reexamination certificate except for formal
                     matters, prosecution as to the merits is closed in accordance with the practice under Ex parte Quayle, 1935 C.D.
                     11,453 O.G. 213.

        10.   D Other: _ _




 cc: Requester (if third party requester)
U.S. Patent and Trademark Office
PTOL-466 (Rev. 08-06)                                  Office Action in Ex Parte Reexamination                      Part of Paper No. 20120828




                                                                        A0373
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                                        DETAILED ACTION



       THIS ACTION IS MADE FINAL.

       A shortened statutory period for response to this action is set to expire 2 months

from the mailing date of this action.

       Extensions of time under 37 CFR 1.136(a) do not apply in reexamination

proceedings. The provisions of 37 CFR 1.136 apply only· to "an applicant" and not to

parties in a reexamination proceeding. Further, in 35 U.S.C. 305 and in 37 CFR

1.550(a), it is required that reexamination proceedings "will be conducted with special

dispatch within the Office."

       Extensions of time in reexamination proceedings are provided for in 37

CFR 1.550(c). A request for extension of time must ·be filed on or before the day on

which a response to this action is due, and it must be accompanied by the petition fee

set forth in 37 CFR 1.17(g). The mere filing of a request will not effect any extension of

time. An extension of time will be granted only for sufficient cause, and for a reasonable

time specified.

      The filing of a timely first response to this final rejection will be construed as

including a request to extend the shortened statutory period for an additional month,

which will be granted even if previous extensions have been granted. In no event

however, will the statutory period for response expire later than SIX MONTHS from the

mailing date of the final action. See MPEP § 2265.




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   90/011,366                                                                            Page 3
   Art Unit: 3993

                                          Merged Proceeding

          Reexamination Control Nos. 90/011,316 and 90/011,366 have been merged into

   a single proceeding. See the June 14, 2011 merger decision. Therefore, a single

   combined examiner's action is set forth below for the merged proceeding.

          Any paper filed by the patent owner must consist of a single response, filed in

_ duplicate, each bearing an original signature for entry into each file. All papers filed by

   the patent owner must be served on each of the third party requesters and requesters

   will be sent copies of all papers mailed by the Office. Where a paper is filed that

   requires payment of a fee (e.g., petition fee, excess claims fee, appeal brief fee, brief

   fee, etc.) only a single fee payment is required.




   Reexamination Procedures


          Submissions after this Office action, which is a final action, will be governed by

   the requirements of 37 C.F.R. 1.116 and 37 C.F.R. 41.33 after appeal, which will be

   strictly enforced.

          Extensions of time under 37 C.F.R. 1.136(a) will not be permitted in these

   proceedings because the provisions of 37 C.F.R. 1.136 apply only to "·an applicant" and

   not to parties in a reexamination proceeding. Additionally, 35 U.S.C. § 305 requires that

   reexamination proceedings "will be conducted with special dispatch" (37 C.F.R.

   1.550(a)). Extension of time in ex parte reexamination proceedings are provided for in

   37 C.F.R.. 1.550(c).




                                            A0375
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       The patent owner is reminded of the continuing responsibility under 37 C.F.R.

1.565(a) to apprise the Office of any litigation activity, or other prior or concurrent

proceeding, involving the patent, throughout the course of this reexamination

proceeding. The third party requester is also reminded of the ability of similarly apprise

the Office of any such activity or proceeding throughout the course of this reexamination

proceeding. See MPEP §§ 2207, 2282 and 2286.

       Patent owner is notified that any proposed amendment to the specification and/or

claims in this reexamination proceeding must comply with 37 C.F.R. 1.530(d)-U), must

be formally presented pursuant to 37 C.F.R. 1.52(a) and (b), and must contain any fees

required by 37 C.F.R. 1.20(c). See MPEP § 2250(1V) for examples to assist in the

preparation of proper proposed amendments in reexamination proceedings.

       After the filing of a request for reexamination by a third party requester, any

document filed by either the patent owner or the third party requested must be served

on the other party (or parties where two or more third party requested proceedings are

merged) in the reexamination proceeding in the manner provided in 37 C.F.R. 1.248.

See 37 C.F.R. 1.550(f).


Summary of the Proceeding to Date


       In reexamination 90/011,366, a Third Party Requester requested reexamination

of claims 1,2,5-8,1 0,14-17 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent") based upon the following proposed rejections:




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A Claims 1, 2, 5, 6, 8, 10 and 14-17 are anticipated by lrifune (JP-H2-19997) under
35USC 102(b).

B. Claims 1, 7, 8 and 19 are anticipated by Ma (US Patent No. 5,880, 783) under 35
USC 102(e).

C. Claims 7 and 19 are rendered obvious by lrifune in view of Ma under 35 USC .1 03(a).



   An order granting reexamination based on above substantial new questions of

patentability affecting claims 1,2,5-8,1 0,14-17 and 19 of the '343 patent was mailed on

December 21, 2010 (reexamination 90/011,366).

      In reexamination 90/011,316 another Third Party Requester requested

reexamination of claims 1,10 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent) based upon the following proposed rejections:

A Claims 1, 10 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35 USC
102(e).

B. Claims 1, 10 and 19 are obvious over Yamauchi (US Patent No. Des. 383,475) under
35 USC 103(a).

C. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ma under 35 USC 103(a).

D. Claims 1, 10 and 19 are obvious over Yamauchi in view of Wakabayashi (US Patent
No. 5,808,672) under 35 USC 103(a).

E. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ohmura (US Patent No.
4,493,542) under 35 USC 103(a).

F. Claims 1 and 10 are anticipated by Dovey (US Patent No. 4,526,308) under 35 USC
103(a).


      An order granting reexamination based on above substantial new questions of

   patentability affecting claims 1,10 and 19 of the '343 patent was mailed on March 23,




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   2011. The March 23, 2011 order did not find a SNQ for proposed rejection A

   regarding claims 1 and 19 (as this would be a duplicate of the '366 reexam) or

   proposed rejection 8 (as Yamauchi is seen as the technical equivalent of McAII,

   which was relied upon during the original prosecution). See both the December 21,

   2010 and the March 23, 2011 orders.

      Reexamination was not requested or ordered for claims 3,4,9,11, 12, 13,18,20 and

   21 of the '343 patent. Accordingly, these claims will not be examined in this merged

   proceeding.

   The patent owner did not file a statement under 37 CFR 1.530 for either

reexamination.

   An Office Action mailed August 12, 2011. rejected claims 1,2,5,6,8, 10,14-17 and 19

as anticipated by lrifune, claims 1,7 and 19 as anticipated by Ma and claims 1,2,5-

8, 10,14-17 and 19 as obvious over Yamauchi in view of Ma. See the August 12, 2011

Office Action. Patent owner filed a response to the August Office action October 12,

2011. This response also references an October 5, 2011 in-person interview. This

response did not cite passages of the original disclosure for the newly added claims. A

new response was submitted February 10, 2012, which included statements of support

in the original disclosure for the new claims. See the October 5, 2011 interview

summary for a discussion of what was discussed during the interview. The February

10, 2012 amendment added new claims 22-47 (with two claims numbered 24). After an

April17, 2012 telephone interview, Patent Owner filed a response on May 8, 2012 to

the March 8, 2012 Office action. The changes to the claims on this amendment were




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noted using the earlier amendment as a basis, instead of the patent, so a Notice of

Informal Amendment was mailed June 20, 2012. A compliant amendment was recei~ed

July 20, 2012.




Grounds of Rejection
The following grounds of rejection are set forth:



                                 Claim Rejections - 35 USC § 102

       The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (b) the invention was patented or described in a printed publication in this or a foreign country or in
       public use or on sale in this country, more than one year prior to the date of application for patent in
       the United States.




       Claims 1,2,5,6,8,10,14-17 and 19 are rejected under 35 U.S.C. 102(b) as being

anticipated by lrifune.

       lrifune discloses a camera support apparatus which is shown supporting a

camera on a horizontal planar surface in figure 9-2 and on an object having first and

second surfaces having an edge intersecting the first and second surfaces in figure 10-

2. lrifune shows a hinge (around shaft 1) which is rotatably attached to the camera

using threaded camera attachment shaft 9. Although lrifune does not explicitly state

that the camera can rotate about the threaded post, such rotation is seen as inherent to

such a connection, as the post is designed to rotate to fasten the camera and the




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camera can be securely fastened in any position using shaft 9 as an axis while the

camera rests on the camera fixed part 2. The large arm 3 and small arm 4 are seen as

a support frame which is rotatably attached to the hinge member and which, as shown

in figures 9-2·and 10-2, can support the camera on either a horizontal surface or

supported adjacent the edge between two inclined surf~ces. The central shaft 1,

around which the large arm, small arm and camera fixed part rotate is perpendicular to

the camera attachment shaft 9, around which the camera can be rotated for proper

positioning.

       In regard to claim 2., arms 3 and 4 are seen as the first and second portion of the

support frame. Figure 9-2 shows the arms in a first disposition with the distal

extremities of the arms engaging a generally horizontal planar surface. Figure 10

shows the arms engaging opposing outer surfaces to maintain the camera at an edge

between the two surfaces.

       In regard to claim 5, lrifune shows nonslip rubber rings 12 attached to arms 3 and

4, so that the arms engage a generally horizontal surface at four locations and

unwanted rotation of the frame is avoided.

       In regard to claim 6, figures 10-1 and 10-2 show the large leg contacting the

surface further away from the edge than the short leg contacts the opposite surface.

       In regard to claim 8, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) a~d (4) can be freely rotated about a central




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shaft (1)". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4).

       In regard to claim 10, the camera supported by the lrifune device in figure 9-2 is

shown to have both a housing and a lens and the camera is shown supported on a

generally horizontal substantially planar surface. Figure 10 also shows the camera

housing and lens, but in this instance it is supported on an edge intersecting a first

surface and a second surface. The camera fixed part 2 is adapted to be rotatably

attached to the camera using shaft 9. While a pivotable conneetion between the

camera and the camera fixed part is not explicitly recited, "adapted to be rotatably

attached to the camera" is functional language, and the threaded shaft 9 is clearly

capable of mounting the camera in various orientations relative to the long sides of the

camera fixed part. Due to this potential movement, shaft 9 is seen as the first axis.

Arms 3 and 4 are seen as the support frame, as each arm is rotatably attached to shaft

1 (which aiso pivotably supports camera fixed part 2). Because. of this arrangement,

shaft 1 forms the second axis of rotation relative to the support frame, with the first and

second axes being perpendicular and the second axis substantially parallel to the first

surface when the hinge member is supported on the object. As shown in figures 9 and

10, the arms can support the camera on either a planar surface or by contacting

opposite surfaces of an object by changing the disposition of the arms relative to the

second axis. As non-slip rings 12 are the parts of the frame which contact the surface,

the device of lrifune is seen to have two rear support elements and two front support

elements (the non-slip rings on each arm). When in the second disposition (with the




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 arms contacting opposite surfaces of an object) the non-slip rings associated with large

 arm contact one surface, while the non~slip rings associated with the small arm contact

 the opposite surface which will prevent the frame from rotating.

        In regard to claims 14 and 15, figure 9 shows the front and rear support elements

 (non-slip rubber rings 12) contacting the planar horizontal surface at a total of four

 locations, with the non-slip surfaces preventing rotation of the support frame.

        In regard to claim 16, lrifune uses a small arm (3) and a large arm (4). lrifune

does not specify which is the front arm, and in fact has figures showing both the small

 arm in front (fig 11) and the large arm in front (fig 10). This is seen as evidence that

 lrifune shows an embodiment with the rear support element further away from the edge

 than the front support element. This is further seen as evidence of lrifune showing

 multiple camera positions relative to the first axis.

        In regard to claim 17, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

 located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

·shaft (1)". This is ~een as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4 ).

        Claim 19 is seen as claiming the same structure as claim 1, with the claiming of

the specific use, "for supporting a camera on a laptop camera". This is seen as

intended use, which does not impart any structural elements to the claim. lrifune

discloses that the disclosed camera support is designed for use in a variety of positions,




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inc!uding fastened to opposite surfaces of generally vertical opposing surfaces (as

shown in figure 10 and described on page 7, "the back of a chair, ... a guard rail, a wall,

a fence". As claim 19 is an apparatus claim, and "for supporting a camera on a laptop

computer", is functional language which the structure of lrifune is capable of performing,

claim 19 is seen as anticipated by lrifune.




                                 Claim Rejections • 35 USC § 103

       The following is a quotation of 35 U.S.C. 103(a) which forms the basis forall

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.



       Claim 7 is rejected under 35 U.S.C. 103(a) as being unpatentable over lrifune in

view of Ma.

       As discussed above, lrifune shows a camera support device which can be placed

in different configurations to be supported where the user desires. Figure 2 shows the

camera in a position in which the camera is supported by opposing generally vertical

planar surfaces. lrifune does not explicitly state that the device can be used to support

a camera on a display screen for a laptop computer. Figure 3 of Ma shows the camera

supported by the screen of a laptop computer, with the circuit box 3 ·forming the rear leg

on the back of the display screen and the hook plate pivoted to its open position to




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contact the front of the display screen. It would have been obvious to one of ordinary

skill in the art at the time of invention of the '343 patent to use the camera support of

lrifune to support a camera on a screen of a laptop to enable the camera to take

pictures of the computer's user, or what is seen by the computer's user.



                                 Allowable Subject Matter

       Claims 22-48 are allowed.

       The following is a statement of reasons for the indication of allowable subject

matter: Claim 22 requires "a hinge member adapted to be rotatably and permanently

attached to the camera". Similarly, claim 40 requires "a hinge member adapted to be

permanently rotatably attached to the camera" and claim 41 requires "a hinge member

adapted to be permanently rotatably joined to the camera". This type of connection is

not shown by the cited art. Even though this is seen as functional language, lrifune

cannot be seen to provide a permanent, rotating connection. The connection of lrifune

is a screw that if completely tightened to form a connection that can be called

permanent, will not permit rotation. Claims 23-30,32 and 33 depend from claim 22, so

they are allowable for at least the above reason. Claim 31 requires the hinge member to

consist of a single unitary body. The hinge of lrifune requires the screw to rotate

relative to the platform 2, so it cannot function if the parts were integrated into a unitary

body. The same reasoning applies to claims 23-25 and 33. Claims 34-39 depend from

claim 31, so they are allowable for at least the above reason. Claim 42 requires

"permanently rotatably attaching said hinge me~ber to said camera." As discussed




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above, such a connection is not shown in the cited art. Claim 43 requires the hinge

member to be capable of being inserted into a joint within a housing of the camera.

This is not shown by the cited prior art. Claims 44 and 45 are allowable, as none of the

cited references show or fairly teach a hinge member with a lip for rotatable attachment

to the camera. In regard to claims 46 and 47, none of the cited references show or

fairly teach a front support that engages the front surface, and the intersection of the

edge with both the first and second surfaces. In regard to claim 48, the cited references

fail to show or fairly teach the support frame having a front support element that can sit

atop a portion of the length of the edge between the first and second surfaces when

supporting the camera. The support of lrifune contacts only the first and second

surfaces and would not function if one of the legs was attached to the edge between

surfaces.



                         Response to Patent Owner's Remarks

       The amendments made by the patent owner have overcome the rejections under

35 USC 112 (both first and second paragraphs).

       While the camera support of lrifune is capable of being locked in place by

attachment shaft 9, it is clearly possible to loosen the attachment screw, to enable the

pivoting of the camera relative to support (fixed part 2) while the camera is still attached

to the support. This (the axis of screw 9) represents a first axis of rotation relative to the

hinge member. Patent owner (PO) states that the partially tightened screw is not

attached. PO gives a dictionary definition for attached as "permanently fixed, joined,




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connected or bound." Dictionary.com's definition is the final three words of this given

definition (not counting "or"). When the screw is slightly loosened, the camera is still

joined or connected to the fixed part of the support. Thus, lrifune is seen to show a

camera attached to a support, as claimed. To support their position, PO submitted a

decl~ration of John Vronay.   This declaration states in part, "a rotatably attached

connection describes a joint in which two members are attached or fixed but the

connection allows rotation of at least one member relative to the other about at least

one axis with control of a rotated position without initiating disassembly of the

members." In the opinion of the examiner, this definition reads limitations into the

claims that are not found in the common definition of the terms, or having a definition in

the specification. If the screw of lrifune was slightly loosened, the camera would be

able to pivot and if the camera were picked up, the support would be picked up as well,

through the action of the screw. Loosening the screw does not require the

deconstruction of any component of the system.

       lrifune's fixed part (2) is seen as the hinge member, as the camera can pivot

about one axis (screw 9) at one end (proximal) of the hinge member and a support

frame (legs 3 and 4) pivots about a perpendicular axis at the other (distal) end. This is

seen to meet the claimed limitations of claims 8 and 17. It is further noted that

independent claims 1 and 10 use the functional phrase "a hinge member adapted to be

rotatably attached". A reference that is capable of performing this function is seen to

meet the limitation. The hinge member (2) of lrifune is clearly capable of being attached

(connected or joined to the camera), while enabling rotation of the camera relative to the




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hinge member. The examiner agrees that if the claims are amended to clearly claim

that the hinge is permanently, yet rotatably fastened to the camera, lrifune could be

overcome. The newly added claims clearly claim that the connection is permanent and

able to rotate (and have thus been indicated as allowable). The original patent claims

which remain rejected use only functional language to establish a rotating connection

between parts, and lrifune is capable of performing this function.

       PO states that figure 2 of lrifune shows an unthreaded hole through fixed part 2.

It is unclear how an unthreaded hole would overcome the rejection. If the hole is

unthreaded, it is still possible (and easier than it would be if the hole were threaded) to

rotate fixed part 2, while the screw is still firmly attached to the camera.

       PO states that lrifune does not show the camera rotating about a first axis of

rotation relative to the hinge member as claimed in claim 10. The camera can pivot

about the screw, which provides an ·axis of rotation relative to the hinge member (2).



· All correspondence relating to this ex parte reexamination proceeding should be
directed:

  By EFS:       Registered users may submit via the electronic filing system EFS-Web, at
                https ://efs. uspto. gov/efi le/myporta 1/efs-reg istered .



. By Mail to:    Mail Stop Ex Parte Reexam
                  Central Reexamination Unit
                  Commissioner for Patents
                  United States Patent & Trademark Office
                  P.O. Box 1450
                  Alexandria, VA 22313-1450




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  By FAX to: (571) 273-9900
               Central Reexamination Unit

  By hand:       Customer Service Window
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                 401 Dulany Street
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  Any inquiry concerning the status of this proceeding should be directed to the Central
Reexamination Unit at telephone. number (571) 272-7705. Any inquiry concerning this
communication should be directed to William Doerrler at telephone number (571) 272-
4807.



Signed:

_/William C. Doerrler/_ _ __

William C. Doerrler
CRU Examiner
GAU 3993
(571) 272-4807

Conferee:    /JMC/

Conferee:~




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                                                                              Attorney Docket No. GMGP 101 US

                                          CERTIFICATE OF TRANSMISSION
        I hereby certify that this correspondence (along with any paper referred to as being attached or enclosed) is
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        Date: September 20 2012                          /Himanshu S. Amini
                                                         Himanshu S. Amin



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Application No(s).                   90/011,366 and 90/011,316               Confirmation No.              5680
Patent No.                           5,855,343                               Patentee:           David E. Krekelberg
Assignee                             Global Media Group LLC
Filed                                March 7, 1997
Art Unit                             3993
Examiner                             William C. Doerrler
Docket No.                           GMGP101US



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Central Reexamination Unit
Commissioner for Patents
United States Patent and Trademark Office
P.O. Box 1450
Alexandria, VA 22313-1450

               REPLY TO FINAL OFFICE ACTION DATED AUGUST 30,2012

Dear Sir,


        This is in response to the Final Office Action dated August 30, 2012.                                     Favorable
reconsideration of the subject patent under reexamination is respectfully requested in view of the
following amendments and comments. The Commissioner is authorized to charge any fees due
in relation to this filing to Deposit Account No. 50-1063 [GMGP101 US].
        A Marked-Up Version of All Pending Claims begins on page 2 of this paper.
        Remarks/Arguments begin on page 15 of this paper.




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        Listing of Claims:


        1. (Cancelled- Subject to Reexamination)


        2. (Cancelled- Subject to Reexamination)


        3. (Not Subject to Reexamination)            Apparatus according to claim 2 wherein the support frame
        includes a cover adapted to protect the camera lens when the camera is rotated about the second
        axis until the camera is between the first portion and the second portion.


        4. (Not Subject to Reexamination)            Apparatus according to claim 3 wherein the first portion of
        the support frame further includes said cover, said cover being mounted at the distal end of the
        first portion and adapted the lens of the camera.


        5. (Cancelled- Subject to Reexamination)


        6. (Cancelled- Subject to Reexamination)


        7. (Cancelled- Subject to Reexamination)


        8. (Cancelled- Subject to Reexamination)


        9. (Not Subject to Reexamination)            Apparatus according to claim 8 wherein the pivot element
        has a bore along the first axis of rotation to receive an electrical wiring harness and pass said
        wiring harness to the camera.


        10. (Cancelled- Subject to Reexamination)




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        11. (Not Subject to Reexamination) Apparatus according to claim 10 wherein the support frame
        adapted to protect the camera when the camera is rotated about the second axis towards the rear
        support element of the support frame until the camera is between the rear support element and
        the first and second front support elements, and is releasably held between the rear support
        element and the first and second front support elements.


        12. (Not Subject to Reexamination) Apparatus according to claim 11 wherein the first and
        second front support elements are spaced a distance apart, and wherein said distance is less than
        a diameter of the housing of the camera so that as the camera is being rotated about the second
        axis in the direction towards the rear support element, said housing passes between the first and
        second front support elements and the first and second front support elements resiliently flex
        outwardly to accommodate passage of said housing, said housing being releasably held once
        passing between the first and second front support elements by the rear support element engaging
        said housing at the lens.


        13. (Not Subject to Reexamination) Apparatus according to claim 11 wherein the first portion
        of the support frame further has a cover, said cover being mounted at a distal end of the rear
        support element and adapted to receive the lens of the camera when the camera is releasably held
        between the rear support element and the first and second front support elements.


        14. (Cancelled- Subject to Reexamination)


        15. (Cancelled- Subject to Reexamination)


        16. (Cancelled- Subject to Reexamination)


        17. (Cancelled- Subject to Reexamination)




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        18. (Not Subject to Reexamination) Apparatus according to claim 17 wherein the pivot element
        has a bore along the first axis of rotation to receive said electrical wiring harness and pass said
        wiring harness to the camera.


        19. (Cancelled- Subject to Reexamination)


        20. (Not Subject to Reexamination) Apparatus for supporting a camera having a lens on a
        substantially level surface, comprising:


                 a.       a hinge member adapted to be rotatably attached to the camera, the camera
        rotating about a first axis of rotation relative to said hinge member; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on a generally horizontal, substantially planar surface, said hinge
        member rotating about a second axis of rotation relative to said support frame, said first axis of
        rotation being generally perpendicular to said second axis of rotation, said second axis of rotation
        being substantially parallel to the generally horizontal, substantially planar surface when said
        hinge member is supported on the generally horizontal, substantially planar surface, said support
        frame having a first portion and a second portion wherein said support frame protects the camera
        when said hinge member is not supported on the generally horizontal, substantially planar
        surface, and when the camera is rotated around said second axis in a direction from said second
        portion towards said first portion of said support frame until the camera is between said first
        portion and said second portion and is releasably held between said first portion and said second
        portion.


        21. (Not Subject to Reexamination) Apparatus for supporting a camera, having a lens, on an
        object having a first surface and a second surface, wherein a thickness measured between the
        first surface and the second surface defines an edge therebetween, comprising:



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                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so adapted, rotating about a first axis of rotation relative to said hinge
        member; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the object, said hinge member rotating about a second axis of
        rotation relative to said support frame, said first axis of rotation being generally perpendicular to
        said second axis of rotation, said second axis of rotation being substantially parallel to the first
        surface when said hinge member is supported by said support frame on the object, said support
        frame supporting said hinge member on the object when said first surface is inclined from a
        substantially horizontal position, the camera being maintained adjacent the edge when an
        uppermost extremity of the object is the edge, rotation of said support frame being precluded
        about an axis substantially parallel to said second axis, said second axis being substantially
        parallel to said edge, said support frame having a first portion and a second portion wherein said
        support frame releasably holds and protects the camera when said hinge member is not supported
        by said support frame on the object and the camera is rotated around said second axis in a
        direction from said second portion towards said first portion of said support frame until the
        camera is between said first portion and said second portion and is releasably held between said
        first portion and said second portion.


        22. (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens, on
        any generally horizontal, substantially planar surface and on an object having a first surface and
        a second surface and an edge intersecting the first surface and the second surface, comprising:


                 a.       a hinge member adapted to be rotatably and permanently attached to the camera,
        said camera, when the hinge member is so permanently attached, rotating, about a first axis of
        rotation, relative to said hinge member; and



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                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        23.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a single, unitarv body.


        24.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a single piece of material.


        25.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member consists of a unitary piece of material.


        26.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for rotatably attaching said
        hinge member to said camera.


        27.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member comprises a lip adapted for rotatably attaching said hinge member to said camera.




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        28.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member comprises a neck having a lip, with said lip adapted for rotatably attaching said hinge
        member to said camera, wherein said lip has a wider circumference than said neck.


        29.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member supports said camera from the bottom of said camera.


        30.      (Pending- Subject to Reexamination) The apparatus of claim 22, wherein said hinge
        member is rotatably attached to said camera at the bottom of said camera, and wherein said hinge
        member is rotatably attached to said support frame at the top of said support frame.


        31.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member consists of a single, unitarv body; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first




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        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        32.      (Pending- Subject to Reexamination) The apparatus of claim 30, wherein said hinge
        member is rotatably and permanently attached to the camera.


        33.      (Pending- Subject to Reexamination) The apparatus of claim 30, wherein said hinge
        member consists of a single piece of material.


        34.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member consists of a unitary piece of material.


        35.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for rotatably attaching said
        hinge member to said camera.


        36.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member comprises a lip adapted for rotatably attaching said hinge member to said camera.




        37.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member comprises a neck having a lip, with said lip adapted for rotatably attaching said hinge
        member to said camera, wherein said lip has a wider circumference than said neck.


        38.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member supports said camera from the bottom of said camera.




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        39.      (Pending- Subject to Reexamination) The apparatus of claim 31, wherein said hinge
        member is rotatably attached to said camera at the bottom of said camera, and wherein said hinge
        member is rotatably attached to said support frame at the top of said support frame.


        40.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be permanently rotatably attached to the camera, said
        camera, when the hinge member is so permanently rotatably attached, rotating, about a first axis
        of rotation, relative to said hinge member; and


                 b.       a support frame permanently rotatably attached to said hinge member and
        configured to support said hinge member on the surface and the object, said hinge member
        rotating about a second axis of rotation relative to said support frame, said first axis of rotation
        being generally perpendicular to said second axis of rotation, said second axis of rotation being
        substantially parallel to the first surface when said hinge member is supported on the object, said
        support frame having a first disposition positioned on said generally horizontal, substantially
        planar surface, and said support frame having a second disposition attached to the object when
        said first surface and said second surface are inclined from a generally horizontal orientation, the
        camera being maintained adjacent said edge in said second disposition of said support frame.


        41.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:




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                 a.       a hinge member adapted to be permanently rotatably joined to the camera, said
        camera, when the hinge member is so permanently rotatably joined, rotating, about a first axis of
        rotation, relative to said hinge member; and


                 b.       a support frame permanently rotatably joined to said hinge member and
        configured to support said hinge member on the surface and the object, said hinge member
        rotating about a second axis of rotation relative to said support frame, said first axis of rotation
        being generally perpendicular to said second axis of rotation, said second axis of rotation being
        substantially parallel to the first surface when said hinge member is supported on the object, said
        support frame having a first disposition positioned on said generally horizontal, substantially
        planar surface, and said support frame having a second disposition attached to the object when
        said first surface and said second surface are inclined from a generally horizontal orientation, the
        camera being maintained adjacent said edge in said second disposition of said support frame.


        42.      (Pending- Subject to Reexamination) The apparatus of claim l, wherein said hinge
        member is adapted to be inserted inside a housing of said camera for permanently rotatably
        attaching said hinge member to said camera.


        43.      (Pending- Subject to Reexamination) The apparatus of claim l, wherein said hinge
        member is adapted to be inserted inside a joint within a housing of said camera for rotatably
        attaching said hinge member to said camera.


        44.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when



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Reply to Final Office Action dated August 30, 2012




        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member comprises a lip adapted for rotatably attaching said hinge
        member to said camera.; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        45.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member, wherein said hinge member comprises a neck having a lip, with said lip adapted for
        rotatably attaching said hinge member to said camera, wherein said lip has a wider
        circumference than said neck; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally



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        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        46.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, wherein the support frame has a front
        support element and rear support element, and wherein the front support element is configured to
        engage the object at the intersection of the first surface and the edge, and at the intersection of
        the second surface and the edge, when said first surface and said second surface are inclined
        from a generally horizontal orientation, said hinge member rotating about a second axis of
        rotation relative to said support frame, said first axis of rotation being generally perpendicular to
        said second axis of rotation, said second axis of rotation being substantially parallel to the first
        surface when said hinge member is supported on the object, said support frame having a first
        disposition positioned on said generally horizontal, substantially planar surface, and said support
        frame having a second disposition attached to the object when said first surface and said second




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        surface are inclined from a generally horizontal orientation, the camera being maintained
        adjacent said edge in said second disposition of said support frame.


        47.      (Pending- Subject to Reexamination) Apparatus for supporting a camera, having a lens,
        on any generally horizontal, substantially planar surface and on an object having a first surface
        and a second surface and an edge intersecting the first surface and the second surface,
        compnsmg:


                 a.       a hinge member adapted to be rotatably attached to the camera, said camera, when
        the hinge member is so attached, rotating, about a first axis of rotation, relative to said hinge
        member; and


                 b.       a support frame rotatably attached to said hinge member and configured to
        support said hinge member on the surface and the object, wherein the support frame has a front
        support element and rear support element, and wherein the front support element is configured to
        engage the object at the intersection of the first surface and the edge, at the intersection of the
        second surface and the edge, and at the second surface, when said first surface and said second
        surface are inclined from a generally horizontal orientation, said hinge member rotating about a
        second axis of rotation relative to said support frame, said first axis of rotation being generally
        perpendicular to said second axis of rotation, said second axis of rotation being substantially
        parallel to the first surface when said hinge member is supported on the object, said support
        frame having a first disposition positioned on said generally horizontal, substantially planar
        surface, and said support frame having a second disposition attached to the object when said first
        surface and said second surface are inclined from a generally horizontal orientation, the camera
        being maintained adjacent said edge in said second disposition of said support frame.


        48.      (Pending- Subject to Reexamination) The hinge member of claim l, wherein the support
        frame has a front support element and rear support element, wherein the front support element is



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        configured to sit atop a portion of a length of the edge between the first surface and the second
        surface when said first surface and said second surface are inclined from a generally horizontal
        orientation.




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                                               REMARKS/ARGUMENTS

                 U.S. Patent No. 5,855,343 is subject to an order granting reexamination as a result of two
        reexamination requests under respective Control Nos. 90/011,366 and 90/011,316. These
        Control Nos. have been merged into the subject reexamination proceeding.
                 Claims 1, 2, 5-8, 10, 14-17, 19, and 22-48 are subject to reexamination. Claims 3, 4, 9,
        11-13, 18, 20 and 21 are not subject to reexamination. A listing of all claims and status is
        provided at pages 2-14 of this paper. Please cancel claims 1, 2, 5-8, 10, 14-17, and 19. The Final
        Office Action notes that claims 22-48 are patentable.
                 A copy of Certificate of Service to Requestors is submitted concurrently herewith.
        Pursuant to 37 CFR 1.565(a), the Patent Owner notifies the Patent Office that the subject patent
        (U.S. 5,855,343) is part of the following litigation activity:


                         AdjustaCam LLC v. Amazon.com, Inc. et al., 6:10-cv-00329-LED, U.S.
                 District Court for the Eastern District of Texas

                          AdjustaCam LLC v. Atlanta Network Technologies, Inc. d/b/a Antonline
                 et al., 6: 10-cv-00644-LED, U.S. District Court for the Eastern District of Texas

                         GlobalMedia Group LLC v. Logitech Inc., 5:11-cv-00778-EJD, U.S.
                 District Court for the Northern District of California

                          Logitech Inc. v. GlobalMedia Group LLC, No. 12-16532, U.S. Court of Appeals
                 for the Ninth Circuit
                          GlobalMedia Group LLC v. Logitech Inc., JAMS REF# 1100071120 (Arbitration
                 proceedings)




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Attorney Docket No. OMGPlOlUS
Reply to Final Oftice Action dated August 30, 2012




                                                     CONCLUSION
                 In view ofthe foregoing comments and amendments, Patent Owner's undersigned
        representative respectfully requests the Examiner to issue a Notice of lntcnl. to l~;suc .Ex Parte
        Reexarnination Certitlcate" (NlRC). In the event additional amendments are necessary to cure
        informalities associated with the herein amendments, the Examiner is requested and authorized
        to make an Examiner's amendment to address such informalities.
                 !fit is detem1ined that fees are due in connection with the filing ofthis paper,, the
        Commissioner is hereby authorized to charge payment of any fee(s) or any underpayment of
        fee(s) or credit any overpayment(s) to Deposit Account No. 50·1063 [GMGP101 US]. If
        necessary, Patent Owner requests, under the provisions of37 CFR l.550(e) to extend the period
        for filing a reply in the above-identified application and to charge the fees tor a small entity
        under 37 CFR 1.17(a).


                                                        Respectfully submitted,




        Date:    September 20, 2012


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   APPLICATION NO.            FILING DATE               FIRST NAMED INVENTOR        IATTORNEY DOCKET NO. I CONFIRMATION NO.
       90/011,366              12/0612010                     5855343                  20145.0001.EP343                       7040

                       7590          08/30nOI2                                                              EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
       57th Floor                                                                         ART UNIT                       PAPER NUMBER
       Cleveland, OH 44114
                                                                                    DATE MAILED: 08/3012012




Please find below and/or attached an Office communication concerning this application or proceeding.




PT0-90C (Rev. 10/03)



                                                             A0405
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   APPLICATION NO.             FILING DATE               FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.             CONFIRMATION NO.

       90/011,316               12/3012010                     5855343                     76958.00001                        5680

                        7590          08/3012012                                                           EXAMINER

       HIMANSHU AMIN, LLC
       127 Public Square
       57th Floor                                                                           ART UNIT                   PAPER NUMBER

       Cleveland, OH 44114
                                                                                     DATE MAILED: 08/3012012




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PT0-90C (Rev. 10/03)



                                                              A0406
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           (THIRD PARTY REQUESTER'S CORRESPONDENCE ADDRESS)

f". . . ~~UL HASTINGS JANOFSKY & WALKER LLP
i     875 15111 Street, NW
      Washington, DC 20005




        EX PARTE REEXAMINATION COMMUNICATION TRANSMITTAL FORM


REEXAMINATION CONTROL NO. 901011.316 and 901011.366.

PATENT NO. 5855343.

ART UNIT 3993.




    Enclosed is a copy of the latest communication from the United States Patent and Trademark
    Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



    Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
    reply has passed, no submission on behalf of the ex parte reexamination requester will be
    acknowledged or considered (37 CFR 1.550(g)).




     PTOL-465 (Rev.07-04)




                                                         A0407
                     Case: 13-1665             Document: 97-1        Page: 373   Filed: 12/11/2014




                                                                                                 Commissioner for Patents
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,       Tracy W. Druce
        Novak Druce & Quigg, LLP
        1000 Louisiana Street, 53rd Floor
        Houston, TX 77002




                 EX PARTE REEXAMINATION COMMUNICATION TRANSMITIAL FORM


 REEXAMINATION CONTROL NO. 90/011.366 and 901011.316.

 PATENT NO. 5855343.

 ART UNIT 3993.




    Enclosed is a copy of the latest communication from the United States Patent and Trademark
    Office in the above identified ex parte reexamination proceeding (37 CFR 1.550(f)).



    Where this copy is supplied after the reply by requester, 37 CFR 1.535, or the time for filing a
    reply has passed, no submission on behalf of the ex parte reexamination requester will be
    acknowledged or considered (37 CFR 1.550(g)).                                                 ·




        PTOL-465 (Rev.07-04)




                                                                A0408
                              Case: 13-1665            Document: 97-1               Page: 374            Filed: 12/11/2014




                                                                          Control No.                          Patent Under Reexamination
                                                                          90/011,316 and 90/011,366            5855343
     Office Action in Ex Parle Reexamination                              Examiner                             Art Unit
                                                                          WILLIAM DOERRLER                     3993


               •• The MAILING DATE of this communication appears on the cover sheet with the correspondence address -·
  at81 Responsive to the communication(s) filed on 20 July 2012 .    b[gj This action is made FINAL.
  cO A statement under 37 CFR 1.530 has not been received from the patent owner.

  A shortened statutory period for response to this action is set to expire 2. month(s) from the mailing date of this letter.
  Failure to respond within the period for response will result in termination of the proceeding and issuance of an ex parte reexamination
  certificate in accordance with this action. 37 CFR 1.550(d). EXTENSIONS OF TIME ARE GOVERNED BY 37 CFR 1.550(c).
  If the period for response specified above is less than thirty (30) days, a response within the statutory minimum of thirty (30) days
  will be considered timely.

  Part I      THE FOLLOWING ATTACHMENT(S) ARE PART OF THIS ACTION:

        1.    0 Notice of References Cited by Examiner, PT0-892.                   3.   D Interview Summary, PT0-474.
        2.    0 Information Disclosure Statement, PTO/SB/08. · 4.                  D
  Part II     SUMMARY OF ACTION
       1a. ~ Claims 1.2,5-8.10,14-17.19 and 22-48 are subject to reexamination.
       1b. ~ Claims 3.4.9, 11-13,18.20 and 21 are not subject to reexamination.
         2.   0 Claims _ _ have been canceled in the present reexamination proceeding.
         3. ~ Claims 22-48 are patentable and/or confirmed.
         4. ~ Claims 1.2.5-8. 10 14-17 and 19 are rejected.
         5. D Claims _ _ are objected to.
         6. 0 The drawings, filed on _ _ are acceptable.
         7. 0 The proposed drawing correction, filed on _ _ has been (7a)0 approved (7b)0 disapproved.
         8. 0 Acknowledgment is made of the priority claim under 35 U.S.C. § 119(a)-(d) or (f).
                  a)D All b)D Some* c)D None               of the certified copies have
                    1   D been received.
                    20 not been received.
                    30 been filed in Application No. _ _ .
                    40 been filed in reexamination Control No. _ _
                    sO been received by the International Bureau in PCT application No. _ _ .
                  * See the attached detailed Office action for a list of the certified copies not received.
           9. 0      Since the proceeding appears to be in condition for issuance of an ex parte reexamination certificate except for formal
                     matters, prosecution as to the merits is closed in accordance with the practice under Ex parte Quayle, 1935 C.D.
                     11,453 O.G. 213.

        10.   D Other: _ _




 cc: Requester (if third party requester)
U.S. Patent and Trademark Office
PTOL-466 (Rev. 08-06)                                  Office Action in Ex Parte Reexamination                      Part of Paper No. 20120828




                                                                        A0409
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90/011,366                                                                             Page 2
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                                        DETAILED ACTION



       THIS ACTION IS MADE FINAL.

       A shortened statutory period for response to this action is set to expire 2 months

from the mailing date of this action.

       Extensions of time under 37 CFR 1.136(a) do not apply in reexamination

proceedings. The provisions of 37 CFR 1.136 apply only· to "an applicant" and not to

parties in a reexamination proceeding. Further, in 35 U.S.C. 305 and in 37 CFR

1.550(a), it is required that reexamination proceedings "will be conducted with special

dispatch within the Office."

       Extensions of time in reexamination proceedings are provided for in 37

CFR 1.550(c). A request for extension of time must ·be filed on or before the day on

which a response to this action is due, and it must be accompanied by the petition fee

set forth in 37 CFR 1.17(g). The mere filing of a request will not effect any extension of

time. An extension of time will be granted only for sufficient cause, and for a reasonable

time specified.

      The filing of a timely first response to this final rejection will be construed as

including a request to extend the shortened statutory period for an additional month,

which will be granted even if previous extensions have been granted. In no event

however, will the statutory period for response expire later than SIX MONTHS from the

mailing date of the final action. See MPEP § 2265.




                                           A0410
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   90/011,366                                                                            Page 3
   Art Unit: 3993

                                          Merged Proceeding

          Reexamination Control Nos. 90/011,316 and 90/011,366 have been merged into

   a single proceeding. See the June 14, 2011 merger decision. Therefore, a single

   combined examiner's action is set forth below for the merged proceeding.

          Any paper filed by the patent owner must consist of a single response, filed in

_ duplicate, each bearing an original signature for entry into each file. All papers filed by

   the patent owner must be served on each of the third party requesters and requesters

   will be sent copies of all papers mailed by the Office. Where a paper is filed that

   requires payment of a fee (e.g., petition fee, excess claims fee, appeal brief fee, brief

   fee, etc.) only a single fee payment is required.




   Reexamination Procedures


          Submissions after this Office action, which is a final action, will be governed by

   the requirements of 37 C.F.R. 1.116 and 37 C.F.R. 41.33 after appeal, which will be

   strictly enforced.

          Extensions of time under 37 C.F.R. 1.136(a) will not be permitted in these

   proceedings because the provisions of 37 C.F.R. 1.136 apply only to "·an applicant" and

   not to parties in a reexamination proceeding. Additionally, 35 U.S.C. § 305 requires that

   reexamination proceedings "will be conducted with special dispatch" (37 C.F.R.

   1.550(a)). Extension of time in ex parte reexamination proceedings are provided for in

   37 C.F.R.. 1.550(c).




                                            A0411
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90/011,366                                                                                Page 4
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       The patent owner is reminded of the continuing responsibility under 37 C.F.R.

1.565(a) to apprise the Office of any litigation activity, or other prior or concurrent

proceeding, involving the patent, throughout the course of this reexamination

proceeding. The third party requester is also reminded of the ability of similarly apprise

the Office of any such activity or proceeding throughout the course of this reexamination

proceeding. See MPEP §§ 2207, 2282 and 2286.

       Patent owner is notified that any proposed amendment to the specification and/or

claims in this reexamination proceeding must comply with 37 C.F.R. 1.530(d)-U), must

be formally presented pursuant to 37 C.F.R. 1.52(a) and (b), and must contain any fees

required by 37 C.F.R. 1.20(c). See MPEP § 2250(1V) for examples to assist in the

preparation of proper proposed amendments in reexamination proceedings.

       After the filing of a request for reexamination by a third party requester, any

document filed by either the patent owner or the third party requested must be served

on the other party (or parties where two or more third party requested proceedings are

merged) in the reexamination proceeding in the manner provided in 37 C.F.R. 1.248.

See 37 C.F.R. 1.550(f).


Summary of the Proceeding to Date


       In reexamination 90/011,366, a Third Party Requester requested reexamination

of claims 1,2,5-8,1 0,14-17 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent") based upon the following proposed rejections:




                                          A0412
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90/011,366                                                                         Page 5
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A Claims 1, 2, 5, 6, 8, 10 and 14-17 are anticipated by lrifune (JP-H2-19997) under
35USC 102(b).

B. Claims 1, 7, 8 and 19 are anticipated by Ma (US Patent No. 5,880, 783) under 35
USC 102(e).

C. Claims 7 and 19 are rendered obvious by lrifune in view of Ma under 35 USC .1 03(a).



   An order granting reexamination based on above substantial new questions of

patentability affecting claims 1,2,5-8,1 0,14-17 and 19 of the '343 patent was mailed on

December 21, 2010 (reexamination 90/011,366).

      In reexamination 90/011,316 another Third Party Requester requested

reexamination of claims 1,10 and 19 of U.S. Patent No. 5,855,343 (hereinafter "the '343

patent) based upon the following proposed rejections:

A Claims 1, 10 and 19 are anticipated by Ma (US Patent No. 5,880,783) under 35 USC
102(e).

B. Claims 1, 10 and 19 are obvious over Yamauchi (US Patent No. Des. 383,475) under
35 USC 103(a).

C. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ma under 35 USC 103(a).

D. Claims 1, 10 and 19 are obvious over Yamauchi in view of Wakabayashi (US Patent
No. 5,808,672) under 35 USC 103(a).

E. Claims 1, 10 and 19 are obvious over Yamauchi in view of Ohmura (US Patent No.
4,493,542) under 35 USC 103(a).

F. Claims 1 and 10 are anticipated by Dovey (US Patent No. 4,526,308) under 35 USC
103(a).


      An order granting reexamination based on above substantial new questions of

   patentability affecting claims 1,10 and 19 of the '343 patent was mailed on March 23,




                                         A0413
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90/011,366                                                                          Page 6
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   2011. The March 23, 2011 order did not find a SNQ for proposed rejection A

   regarding claims 1 and 19 (as this would be a duplicate of the '366 reexam) or

   proposed rejection 8 (as Yamauchi is seen as the technical equivalent of McAII,

   which was relied upon during the original prosecution). See both the December 21,

   2010 and the March 23, 2011 orders.

      Reexamination was not requested or ordered for claims 3,4,9,11, 12, 13,18,20 and

   21 of the '343 patent. Accordingly, these claims will not be examined in this merged

   proceeding.

   The patent owner did not file a statement under 37 CFR 1.530 for either

reexamination.

   An Office Action mailed August 12, 2011. rejected claims 1,2,5,6,8, 10,14-17 and 19

as anticipated by lrifune, claims 1,7 and 19 as anticipated by Ma and claims 1,2,5-

8, 10,14-17 and 19 as obvious over Yamauchi in view of Ma. See the August 12, 2011

Office Action. Patent owner filed a response to the August Office action October 12,

2011. This response also references an October 5, 2011 in-person interview. This

response did not cite passages of the original disclosure for the newly added claims. A

new response was submitted February 10, 2012, which included statements of support

in the original disclosure for the new claims. See the October 5, 2011 interview

summary for a discussion of what was discussed during the interview. The February

10, 2012 amendment added new claims 22-47 (with two claims numbered 24). After an

April17, 2012 telephone interview, Patent Owner filed a response on May 8, 2012 to

the March 8, 2012 Office action. The changes to the claims on this amendment were




                                        A0414
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90/011,366                                                                                                Page 7
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noted using the earlier amendment as a basis, instead of the patent, so a Notice of

Informal Amendment was mailed June 20, 2012. A compliant amendment was recei~ed

July 20, 2012.




Grounds of Rejection
The following grounds of rejection are set forth:



                                 Claim Rejections - 35 USC § 102

       The following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 that

form the basis for the rejections under this section made in this Office action:

       A person shall be entitled to a patent unless -

       (b) the invention was patented or described in a printed publication in this or a foreign country or in
       public use or on sale in this country, more than one year prior to the date of application for patent in
       the United States.




       Claims 1,2,5,6,8,10,14-17 and 19 are rejected under 35 U.S.C. 102(b) as being

anticipated by lrifune.

       lrifune discloses a camera support apparatus which is shown supporting a

camera on a horizontal planar surface in figure 9-2 and on an object having first and

second surfaces having an edge intersecting the first and second surfaces in figure 10-

2. lrifune shows a hinge (around shaft 1) which is rotatably attached to the camera

using threaded camera attachment shaft 9. Although lrifune does not explicitly state

that the camera can rotate about the threaded post, such rotation is seen as inherent to

such a connection, as the post is designed to rotate to fasten the camera and the




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camera can be securely fastened in any position using shaft 9 as an axis while the

camera rests on the camera fixed part 2. The large arm 3 and small arm 4 are seen as

a support frame which is rotatably attached to the hinge member and which, as shown

in figures 9-2·and 10-2, can support the camera on either a horizontal surface or

supported adjacent the edge between two inclined surf~ces. The central shaft 1,

around which the large arm, small arm and camera fixed part rotate is perpendicular to

the camera attachment shaft 9, around which the camera can be rotated for proper

positioning.

       In regard to claim 2., arms 3 and 4 are seen as the first and second portion of the

support frame. Figure 9-2 shows the arms in a first disposition with the distal

extremities of the arms engaging a generally horizontal planar surface. Figure 10

shows the arms engaging opposing outer surfaces to maintain the camera at an edge

between the two surfaces.

       In regard to claim 5, lrifune shows nonslip rubber rings 12 attached to arms 3 and

4, so that the arms engage a generally horizontal surface at four locations and

unwanted rotation of the frame is avoided.

       In regard to claim 6, figures 10-1 and 10-2 show the large leg contacting the

surface further away from the edge than the short leg contacts the opposite surface.

       In regard to claim 8, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) a~d (4) can be freely rotated about a central




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shaft (1)". This is seen as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4).

       In regard to claim 10, the camera supported by the lrifune device in figure 9-2 is

shown to have both a housing and a lens and the camera is shown supported on a

generally horizontal substantially planar surface. Figure 10 also shows the camera

housing and lens, but in this instance it is supported on an edge intersecting a first

surface and a second surface. The camera fixed part 2 is adapted to be rotatably

attached to the camera using shaft 9. While a pivotable conneetion between the

camera and the camera fixed part is not explicitly recited, "adapted to be rotatably

attached to the camera" is functional language, and the threaded shaft 9 is clearly

capable of mounting the camera in various orientations relative to the long sides of the

camera fixed part. Due to this potential movement, shaft 9 is seen as the first axis.

Arms 3 and 4 are seen as the support frame, as each arm is rotatably attached to shaft

1 (which aiso pivotably supports camera fixed part 2). Because. of this arrangement,

shaft 1 forms the second axis of rotation relative to the support frame, with the first and

second axes being perpendicular and the second axis substantially parallel to the first

surface when the hinge member is supported on the object. As shown in figures 9 and

10, the arms can support the camera on either a planar surface or by contacting

opposite surfaces of an object by changing the disposition of the arms relative to the

second axis. As non-slip rings 12 are the parts of the frame which contact the surface,

the device of lrifune is seen to have two rear support elements and two front support

elements (the non-slip rings on each arm). When in the second disposition (with the




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 arms contacting opposite surfaces of an object) the non-slip rings associated with large

 arm contact one surface, while the non~slip rings associated with the small arm contact

 the opposite surface which will prevent the frame from rotating.

        In regard to claims 14 and 15, figure 9 shows the front and rear support elements

 (non-slip rubber rings 12) contacting the planar horizontal surface at a total of four

 locations, with the non-slip surfaces preventing rotation of the support frame.

        In regard to claim 16, lrifune uses a small arm (3) and a large arm (4). lrifune

does not specify which is the front arm, and in fact has figures showing both the small

 arm in front (fig 11) and the large arm in front (fig 10). This is seen as evidence that

 lrifune shows an embodiment with the rear support element further away from the edge

 than the front support element. This is further seen as evidence of lrifune showing

 multiple camera positions relative to the first axis.

        In regard to claim 17, the camera attachment shaft 9, which provides a pivoting

support for the camera is above the central portion of shaft 1, and is thus seen as being

 located in a proximal end of the body. lrifune states that the structure is "(a) structure in

which a camera fixed part (2) and arms (3) and (4) can be freely rotated about a central

·shaft (1)". This is ~een as the body (camera fixed part 2) being able to rotate about the

second axis (shaft 1) relative to the support frame (arms 3 and 4 ).

        Claim 19 is seen as claiming the same structure as claim 1, with the claiming of

the specific use, "for supporting a camera on a laptop camera". This is seen as

intended use, which does not impart any structural elements to the claim. lrifune

discloses that the disclosed camera support is designed for use in a variety of positions,




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inc!uding fastened to opposite surfaces of generally vertical opposing surfaces (as

shown in figure 10 and described on page 7, "the back of a chair, ... a guard rail, a wall,

a fence". As claim 19 is an apparatus claim, and "for supporting a camera on a laptop

computer", is functional language which the structure of lrifune is capable of performing,

claim 19 is seen as anticipated by lrifune.




                                 Claim Rejections • 35 USC § 103

       The following is a quotation of 35 U.S.C. 103(a) which forms the basis forall

obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described as set
       forth in section 102 of this title, if the differences between the subject matter sought to be patented and
       the prior art are such that the subject matter as a whole would have been obvious at the time the
       invention was made to a person having ordinary skill in the art to which said subject matter pertains.
       Patentability shall not be negatived by the manner in which the invention was made.



       Claim 7 is rejected under 35 U.S.C. 103(a) as being unpatentable over lrifune in

view of Ma.

       As discussed above, lrifune shows a camera support device which can be placed

in different configurations to be supported where the user desires. Figure 2 shows the

camera in a position in which the camera is supported by opposing generally vertical

planar surfaces. lrifune does not explicitly state that the device can be used to support

a camera on a display screen for a laptop computer. Figure 3 of Ma shows the camera

supported by the screen of a laptop computer, with the circuit box 3 ·forming the rear leg

on the back of the display screen and the hook plate pivoted to its open position to




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contact the front of the display screen. It would have been obvious to one of ordinary

skill in the art at the time of invention of the '343 patent to use the camera support of

lrifune to support a camera on a screen of a laptop to enable the camera to take

pictures of the computer's user, or what is seen by the computer's user.



                                 Allowable Subject Matter

       Claims 22-48 are allowed.

       The following is a statement of reasons for the indication of allowable subject

matter: Claim 22 requires "a hinge member adapted to be rotatably and permanently

attached to the camera". Similarly, claim 40 requires "a hinge member adapted to be

permanently rotatably attached to the camera" and claim 41 requires "a hinge member

adapted to be permanently rotatably joined to the camera". This type of connection is

not shown by the cited art. Even though this is seen as functional language, lrifune

cannot be seen to provide a permanent, rotating connection. The connection of lrifune

is a screw that if completely tightened to form a connection that can be called

permanent, will not permit rotation. Claims 23-30,32 and 33 depend from claim 22, so

they are allowable for at least the above reason. Claim 31 requires the hinge member to

consist of a single unitary body. The hinge of lrifune requires the screw to rotate

relative to the platform 2, so it cannot function if the parts were integrated into a unitary

body. The same reasoning applies to claims 23-25 and 33. Claims 34-39 depend from

claim 31, so they are allowable for at least the above reason. Claim 42 requires

"permanently rotatably attaching said hinge me~ber to said camera." As discussed




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above, such a connection is not shown in the cited art. Claim 43 requires the hinge

member to be capable of being inserted into a joint within a housing of the camera.

This is not shown by the cited prior art. Claims 44 and 45 are allowable, as none of the

cited references show or fairly teach a hinge member with a lip for rotatable attachment

to the camera. In regard to claims 46 and 47, none of the cited references show or

fairly teach a front support that engages the front surface, and the intersection of the

edge with both the first and second surfaces. In regard to claim 48, the cited references

fail to show or fairly teach the support frame having a front support element that can sit

atop a portion of the length of the edge between the first and second surfaces when

supporting the camera. The support of lrifune contacts only the first and second

surfaces and would not function if one of the legs was attached to the edge between

surfaces.



                         Response to Patent Owner's Remarks

       The amendments made by the patent owner have overcome the rejections under

35 USC 112 (both first and second paragraphs).

       While the camera support of lrifune is capable of being locked in place by

attachment shaft 9, it is clearly possible to loosen the attachment screw, to enable the

pivoting of the camera relative to support (fixed part 2) while the camera is still attached

to the support. This (the axis of screw 9) represents a first axis of rotation relative to the

hinge member. Patent owner (PO) states that the partially tightened screw is not

attached. PO gives a dictionary definition for attached as "permanently fixed, joined,




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connected or bound." Dictionary.com's definition is the final three words of this given

definition (not counting "or"). When the screw is slightly loosened, the camera is still

joined or connected to the fixed part of the support. Thus, lrifune is seen to show a

camera attached to a support, as claimed. To support their position, PO submitted a

decl~ration of John Vronay.   This declaration states in part, "a rotatably attached

connection describes a joint in which two members are attached or fixed but the

connection allows rotation of at least one member relative to the other about at least

one axis with control of a rotated position without initiating disassembly of the

members." In the opinion of the examiner, this definition reads limitations into the

claims that are not found in the common definition of the terms, or having a definition in

the specification. If the screw of lrifune was slightly loosened, the camera would be

able to pivot and if the camera were picked up, the support would be picked up as well,

through the action of the screw. Loosening the screw does not require the

deconstruction of any component of the system.

       lrifune's fixed part (2) is seen as the hinge member, as the camera can pivot

about one axis (screw 9) at one end (proximal) of the hinge member and a support

frame (legs 3 and 4) pivots about a perpendicular axis at the other (distal) end. This is

seen to meet the claimed limitations of claims 8 and 17. It is further noted that

independent claims 1 and 10 use the functional phrase "a hinge member adapted to be

rotatably attached". A reference that is capable of performing this function is seen to

meet the limitation. The hinge member (2) of lrifune is clearly capable of being attached

(connected or joined to the camera), while enabling rotation of the camera relative to the




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hinge member. The examiner agrees that if the claims are amended to clearly claim

that the hinge is permanently, yet rotatably fastened to the camera, lrifune could be

overcome. The newly added claims clearly claim that the connection is permanent and

able to rotate (and have thus been indicated as allowable). The original patent claims

which remain rejected use only functional language to establish a rotating connection

between parts, and lrifune is capable of performing this function.

       PO states that figure 2 of lrifune shows an unthreaded hole through fixed part 2.

It is unclear how an unthreaded hole would overcome the rejection. If the hole is

unthreaded, it is still possible (and easier than it would be if the hole were threaded) to

rotate fixed part 2, while the screw is still firmly attached to the camera.

       PO states that lrifune does not show the camera rotating about a first axis of

rotation relative to the hinge member as claimed in claim 10. The camera can pivot

about the screw, which provides an ·axis of rotation relative to the hinge member (2).



· All correspondence relating to this ex parte reexamination proceeding should be
directed:

  By EFS:       Registered users may submit via the electronic filing system EFS-Web, at
                https ://efs. uspto. gov/efi le/myporta 1/efs-reg istered .



. By Mail to:    Mail Stop Ex Parte Reexam
                  Central Reexamination Unit
                  Commissioner for Patents
                  United States Patent & Trademark Office
                  P.O. Box 1450
                  Alexandria, VA 22313-1450




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  By FAX to: (571) 273-9900
               Central Reexamination Unit

  By hand:       Customer Service Window
                 Randolph Building
                 401 Dulany Street
                 Alexandria, VA 22314



  For EFS-Web transmissions,          37   CFR     1.8(a)(1 )(i)   (C)   and   (ii)   states that
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  Any inquiry concerning the status of this proceeding should be directed to the Central
Reexamination Unit at telephone. number (571) 272-7705. Any inquiry concerning this
communication should be directed to William Doerrler at telephone number (571) 272-
4807.



Signed:

_/William C. Doerrler/_ _ __

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CRU Examiner
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Conferee:    /JMC/

Conferee:~




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 1                     UNITED STATES DISTRICT COURT
 2                FOR THE EASTERN DISTRICT OF TEXAS
 3                              TYLER DIVISION
 4
 5   ADJUSTACAM, LLC,
 6                       Plaintiff(s),
 7               vs.                           NO: 6:10-CV-329-LED
 8   AMAZON.COM, INC., et al.,
 9                       Defendant(s).
10   ______________________________/
11
12
13           DEPOSITION OF JOHN CONRAD MUSKIVITCH, Ph.D.
14
15   DATE:              Friday, August 24, 2012
16   TIME:              9:11 A.M.
17   LOCATION:          TALTY COURT REPORTERS, INC.
                        2131 The Alameda
18                      Suite D
                        San Jose, CA 95126
19
     REPORTER:          Patricia Hope Sales, CRR
20                      CSR License Number C-4423
21
22
23
24
25


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 1   some reason to discontinue the litigation came up.
 2       Q.   Okay.
 3            So there is eight products listed on Exhibit A.
 4   You are not exactly sure why those eight products were
 5   withdrawn from this litigation?
 6       A.   I -- I don't remember ever hearing specifically
 7   the reason for that.
 8       Q.   Okay.
 9       A.   I was just told that they had -- that it would
10   be best to remove them from the original report because
11   they were no longer part of the case.
12       Q.   Okay.
13            But you didn't instruct anybody to remove those
14   from this case, did you?
15       A.   Oh, no.    I was -- I was depending upon counsel
16   to, you know, deal with the litigants.                I was really
17   just there for technical reasons, not for legal
18   reasons.
19       Q.   Well, I hate to do this, but we have got to go
20   back to Exhibit D --
21       A.   Yeah.
22       Q.   -- to your --
23       A.   Sure.
24       Q.   -- infringement report.
25            MR. EDMONDS:      So the record is clear, you are

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 1   talking about Exhibit D to Exhibit 3, or Exhibit D --
 2            MR. HERBERHOLZ:       Correct.
 3            THE WITNESS:      Okay.
 4            So this one.      Okay.
 5   BY MR. HERBERHOLZ:
 6       Q.   Turn your attention to the HP Pro claim chart.
 7   I don't know if this helps, Dr. Muskivitch, but the
 8   chart I'm looking at, the camera looks like that
 9   (indicating).
10       A.   Oh, you have got it.          Okay.
11            (Reviewing document(s).)
12            Okay.
13       Q.   You found it?
14       A.   Yes, sir.
15       Q.   Great.
16            You had an opportunity to inspect the HP Pro
17   webcam as part of your opinions in this case,
18   correct?
19       A.   Yes.
20       Q.   I'll ask you to flip to the next page of this
21   claim chart for me, page two.
22            We talked earlier about ball-and-socket joints.
23       A.   Um-hmm.
24       Q.   Is it your understanding that the HP Pro webcam
25   contains a ball-and-socket joint?

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 1       A.     Well, I'm aware that -- let's step back just a
 2   sec.
 3              From a standpoint of someone skilled in the
 4   art, I think by looking at and examining the behavior
 5   of this device and the way the structure is put
 6   together, it has two distinct joints, even though they
 7   are at the same location.
 8              And one joint allows the rotational -- the
 9   rotate -- the rotatable -- the rotatable connection.
10   The other allows for movement away from that axis, and
11   it's sort of a hinge.
12              So it's a combination of a biaxial joint or a
13   two-joint mechanism that has two independent and
14   distinct, separate motions.
15              So to say that that joint is a ball-and-socket
16   joint is -- is incomplete --
17       Q.     Okay.
18       A.     -- because --
19       Q.     So as a Ph.D. in engineering, and as a person
20   of ordinary skill in the art, you understand what a
21   ball-and-socket joint is, don't you?
22       A.     I do.
23       Q.     Okay.
24              So my question is does the HP Pro contain a
25   ball-and-socket joint as you understand that term?

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 1       A.   Being that -- as I just mentioned, that there
 2   are two separate behaviors, two distinct behaviors, I
 3   cannot be sure that the ball-and-socket joint is the
 4   only mechanism.
 5       Q.   Well, I'm not --
 6       A.   Or is the mechanism there.
 7       Q.   Well, I'm not asking if it's the mechanism.
 8   You did say the ball-and-socket joint, and that's my
 9   question.   Is there a ball-and-socket joint in the HP
10   Pro camera?
11       A.   I don't know for certain.
12       Q.   Is your answer the same for the HP Pro for
13   Notebooks webcam; you don't know if that particular
14   product has a ball-and-socket joint?
15       A.   Again, I didn't -- when I -- when I did my
16   analysis, I didn't necessarily look at the individual
17   components that were included or contained within the
18   cameras.    I looked at the overall behavior that was
19   called out in the claims, claims one, seven and
20   nineteen of the -- of the patent.
21            So the -- the rotatably attached part was the
22   first part that I looked at.           And whether or not the
23   mechanism of that was a ball-and-socket joint or
24   whether it was -- whatever it was, you know, how -- how
25   that was implemented was really not the point.

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 1             The fact that it had that capability to move in
 2   that direction is the major -- is the major issue.                          The
 3   fact that it could move in another direction is really
 4   in my mind irrelevant because any other motion in any
 5   other direction would be independent motion.
 6       Q.    Okay.
 7             So going back to the issue of a ball-and-socket
 8   joint, correct me if I'm wrong, but my understanding is
 9   that a ball-and-socket joint needs to have at least two
10   things:    One, a ball; two, a socket.
11             Is that fair?
12             MR. EDMONDS:     Objection.       Form.
13             THE WITNESS:     Um-hmm.      Probably need some kind
14   of transmittal device that would transfer the motion
15   from the ball to the socket.
16   BY MR. HERBERHOLZ:
17       Q.    How about a stem?
18       A.    Stem or structure, sure.
19       Q.    Okay.
20             So you could have a stem connected to a ball,
21   and then that stem-and-ball configuration within a
22   socket, and that stem, ball and socket could be
23   referred to as a "ball-and-socket joint"; is that
24   fair?
25       A.    That's correct.

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 1            Here we go.      It's Exhibit Number 7-1.                 I'm
 2   handing that to you.
 3       A.   Okay.
 4       Q.   So is it your opinion that the camera of the
 5   Rosewill 8163 webcam is rotatably attached to what
 6   you've identified as a hinge member?
 7       A.   Yes.
 8       Q.   And what's the basis for that opinion?
 9       A.   The basis, there seems to be a -- a ball that's
10   connected, as I mentioned earlier, to the base of the
11   camera, and it seems to be placed into a slot of some
12   sort, a slot that has a direction to it.                  But the
13   rotatable attachment in terms of the patent would be as
14   you -- as you stated it.
15       Q.   You applied the court's claim construction as
16   part of your analysis in this case, didn't you?
17       A.   Yes.
18       Q.   And you understand -- and this is on page nine
19   of your report if you need to turn there -- that the
20   court said that rotatably attached objects in the
21   patent in suit are limited to a single axis of
22   rotation.
23            Do you remember that?
24       A.   Yes.
25       Q.   Are you saying that the camera of the Rosewill

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 1   8163 that you have identified is limited to a single
 2   axis of rotation with respect to the hinge member?
 3       A.   No.   What I'm saying is there are two possible
 4   motions here that are independent motions.                    So by
 5   looking at this camera, I can -- I can take that camera
 6   and I can place it into that -- that slot or whatever,
 7   whatever channel or whatever you'd like to call it.
 8   And I can rotate it about what's called in the patent
 9   axis one, and it's independent of anything else that's
10   going on.   But it only along that axis can move in that
11   direction, so it's independent.
12            If I -- if I move it to the side, as I think
13   you are trying to get at, is -- what you are doing is
14   you are imposing or you are imploring or utilizing a
15   second element, which is a hinge, and the hinge behaves
16   to allow motion in a single plane.                And it's
17   independent.
18            So the fact that there is -- the fact that this
19   axis one is made up -- now, this is a ball and this is
20   a socket (indicating), but it's not -- in my opinion,
21   it's not a true ball-and-socket joint.
22       Q.   Why is it not a true ball-and-socket joint?
23       A.   Because this can't move in every direction.
24   It's limited in the directionality which it can move.
25            A true ball-and-socket joint would move this

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 1   way, rotate any way you wanted it to (demonstrating).
 2       Q.    All right.
 3       A.    Here it can only rotate about the axis, and it
 4   can bend almost like your elbow and your arm and your
 5   forearm.
 6             If you take the -- the rotatable attachment and
 7   you rotate it vertical this way (demonstrating), it
 8   doesn't matter whether your arm is -- your elbow is
 9   bent or straight.      It still has that rotatable
10   attachment ability.
11       Q.    I just want --
12       A.    Because it's independent of any kind of hinge
13   member.
14             So this is really a dual -- basically it has
15   two axes of motion that are independent of one
16   another.
17       Q.    What has two axes?         The camera relative to the
18   hinge member?
19       A.    Yes.
20       Q.    It has two axes?
21       A.    Two separate axes that -- two separate,
22   independent axes that allow it to move to -- within
23   certain bounds --
24       Q.    Okay.
25       A.    -- on the camera.

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 1       Q.    So the camera is not limited to a single axis
 2   of rotation with respect to the hinge member?
 3       A.    Correct.    But they are independent.                 So one can
 4   have -- I can spin this all day and it does not have to
 5   move as a hinge.      It doesn't have to move down this
 6   slot, move forward, so it's called "forward tilt."
 7       Q.    Okay.
 8       A.    And I can move it forward tilt back and forth
 9   as much as I want and it doesn't have to be -- it
10   doesn't -- nothing is forcing it to rotate.
11             So those are two independent motions.
12       Q.    Okay.
13             I have here an exemplar of the Rosewill 8163
14   camera.
15       A.    Right.
16       Q.    And just for purposes of the record, I want to
17   try to be as clear as I can about what I'm going to do
18   when I'm manipulating this.           But if --
19       A.    Right.    Okay.
20       Q.    -- something is inaccurate, let me know.
21             I'm setting the camera down here.                  I'm going to
22   put it on a flat surface on the table.
23       A.    Sure.
24       Q.    Okay?
25             And I'm trying to configure the casing,

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 1   whatever you want to call this, the camera, to be
 2   upright.
 3       A.   Right.     Okay.
 4       Q.   And I want the axis to be perpendicular to the
 5   table.   Do you follow me?
 6       A.   Yes.
 7       Q.   Okay.
 8            I have configured it that way.
 9            So I'm now taking the camera and I am going to
10   rotate it.      Okay?
11       A.   Okay.
12       Q.   I'm rotating it to that configuration
13   (demonstrating).
14            How many degrees have I rotated that camera?
15       A.   It looks like approximately ninety degrees.
16       Q.   Okay.
17       A.   About that central axis.
18       Q.   Okay.
19            So I have rotated it about a single axis of
20   rotation, correct?
21       A.   That's correct.
22       Q.   Okay.
23            Now I'm going to turn it back to the
24   configuration that I had it.           Okay?      Are you with me?
25       A.   Yes.

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 1       Q.   Now, here's what I'm going to do.                  I'm going to
 2   move the camera at this angle directly toward me
 3   (demonstrating).
 4            Do you see that I just tilted it?
 5       A.   Um-hmm.
 6            (Nods head.)
 7       Q.   Okay.
 8            Now I'm going to do the same rotation that I
 9   did a moment ago, but on this other angle.                    And I'm
10   going to turn the camera that way (demonstrating).
11            Do you follow me?
12       A.   Yes.
13       Q.   How many degrees did I rotate the camera?
14       A.   Well, you rotated it in two -- about two
15   axes.
16       Q.   Okay.
17            So what I --
18       A.   So I -- it looks like from a -- if I use a
19   vertical -- a vertical axis, it looks like it's ninety
20   degrees.   Well, not even quite ninety.               More than
21   ninety degrees.     No, ninety degrees.            And if I look at
22   the rotation about the horizontal axes, it looks to be
23   a little bit less.
24            But those are both independent motions.                       They
25   do not depend on one another.

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 1            To get to -- if we -- if we go back to basic
 2   engineering, to get from one point to another is a
 3   combination of three displacements and three rotations,
 4   any part in -- any point in space.
 5            So if I take this bottle and I move it here, I
 6   have translated it.       And if I rotate it this way, I
 7   have rotated it (demonstrating).
 8            Now, those are independent of one another.                         I
 9   can translate it first and then rotate it.                    I can
10   rotate it first and then translate it.                It doesn't
11   matter, because when I -- okay.
12            Let's take an example of two springs together.
13   If I have a spring that's fixed, like a Slinky -- do
14   you follow where I'm going?
15       Q.   Um-hmm.
16       A.   -- and I hold it at this one end, we'll say the
17   left end, and there is a connection in between them,
18   between two Slinkys.
19            When I talk about independent motion, I -- in
20   that configuration, I -- I have what's called
21   "dependent motion," because if I move one, the other is
22   forced to move with it.
23       Q.   Okay.
24       A.   Okay?
25            In this case, if I rotate it around to the

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 1   center, there is nothing that forces it to move, to
 2   tilt or to sway to either side.            It's a separate
 3   motion; it's a separate functional joint.                   It may be
 4   the same location, but it's the same function joint.
 5       Q.   Okay.
 6            Regardless of whether it's a separate motion --
 7       A.   Well, it's --
 8       Q.   -- if I go back and do the same thing that I
 9   just did -- so I'm just going to configure the camera
10   so the first axis of rotation, as you described it, is
11   perpendicular to the table.
12            Is that fair?       Is that how I have it placed
13   right now?
14       A.   The first axis of rotation is straight up
15   (demonstrating).
16       Q.   All right.
17            So, again, and I'm going to tilt the camera as
18   far toward me as I can.        Do you see that?
19       A.   Sure.
20       Q.   Okay.
21            Now I'm going to rotate it again ninety
22   degrees.
23            Do you follow me?        (Demonstrating.)
24       A.   Yes.
25       Q.   Just to be clear, when I rotated that, it

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 1   rotated about two axis (sic) of rotation.                     Is that
 2   right?     They might be separate, but they are two axis
 3   of --
 4         A.   Well, there is a --
 5         Q.   -- rotation, correct?
 6         A.   -- part that -- they are separate, yes.                       There
 7   is two axes, but they are separate --
 8         Q.   Okay.
 9         A.   -- and independent -- and independent, and I
10   want to be clear on that.
11         Q.   Okay.
12         A.   Because you did have to -- you did have to move
13   it -- well, I -- maybe -- maybe you didn't have to do
14   it.     But the way you demonstrated it is you moved it in
15   one direction, meaning that there's a joint that allows
16   it to move in that direction --
17         Q.   Okay.
18         A.   -- and then you rotated it, which means that
19   there is some functional capability that allows it to
20   do that.
21         Q.   Okay.
22              But, in any event, it rotated in two axes?
23         A.   In two independent -- about two independent
24   axes, yes.
25         Q.   Okay.

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 1            Now, is there --
 2       A.   It doesn't necessarily have to correspond.                         In
 3   this particular case they happen to go through the
 4   center of the camera and the center of the base.
 5       Q.   Okay.
 6            I'm not going to go through demonstrations with
 7   each of these products here, but can you take a look at
 8   the Hercules Classic drawing that you have.
 9       A.   Okay.
10       Q.   Is it your understanding that the lens, or more
11   particularly the part that you have colored as the
12   camera, you know, rotates in a similar manner relative
13   to the hinge member as the Rosewill camera that we have
14   demonstrated?
15       A.   Yes, that's correct.
16       Q.   Okay.
17       A.   It's a -- it may be a ball, it may be a socket,
18   but it's a -- a constrained ball-and-socket joint.
19            So just the fact that you have a ball and you
20   have a socket does not in itself satisfy the condition
21   of being a true ball-and-socket joint.
22       Q.   Okay.
23       A.   This happens to be a constrained
24   ball-and-socket joint.        So it can spin about the axis,
25   it can move forward, it may be able to move to the

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 1   side.
 2       Q.   Okay.
 3       A.   But each of those motions are independent.
 4       Q.   Okay.
 5            So Hercules Classic has what you identified as
 6   a constrained ball-and-socket joint?
 7       A.   Yes.
 8       Q.   Okay.
 9            And just to make sure I understand, the camera
10   that you have identified in the Hercules Classic
11   rotated about at least one axis of rotation; maybe it's
12   a separate axis of rotation, but nevertheless it
13   rotated about more than one axis.             Is that right?
14            MR. EDMONDS:      Objection.       Form.
15            THE WITNESS:      Well, it depends on how -- you
16   know, how it's positioned.
17   BY MR. HERBERHOLZ:
18       Q.   Okay.
19            Let's say hypothetically if I had that same
20   device and went through the same analysis that we did
21   with the Rosewill camera, in other words --
22       A.   Sure.
23       Q.   -- I set it upright, pull it to the side,
24   rotate it ninety degrees like I did with the Rosewill
25   camera --

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 1       A.   Right.
 2       Q.   -- that particular rotation has been about more
 3   than one axis, right?
 4       A.   Well, you moved it to the side?                If you are
 5   just moving it around its central axis, that's just one
 6   rotation.
 7       Q.   Okay.
 8       A.   But taking it and moving it in another
 9   direction in addition to rotating it about its axis,
10   that's two separate, independent motions.
11       Q.   Okay.
12            Two separate, independent motions between the
13   camera and the hinge member?
14       A.   Yes.
15       Q.   Okay.
16            Is that the same -- handing you the Exhibit
17   8-1, which is the Hercules Dualpix.
18       A.   Um-hmm.
19       Q.   Is what you have -- is what you have identified
20   as a camera there -- does that also rotate -- well,
21   first let me back up.        Strike that.
22            Does the Hercules Dualpix have a constrained
23   ball-and-socket joint as well?
24       A.   I believe it does.
25       Q.   Okay.

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 1            And does the rotation of the camera in the
 2   Hercules Dualpix relative to the hinge member -- does
 3   that occur over more than one axis of rotation?
 4       A.   Well, it very well could, but, again, they are
 5   independent motions.
 6       Q.   Okay.
 7       A.   So the fact that -- that you have it rotatably
 8   attached is an independent issue from whether it's
 9   hingedly attached in the other direction.                   Those are --
10   those are two independent issues.
11       Q.   Now, "hingedly attached" means connected by a
12   hinge joint, doesn't it?
13       A.   Right.     And that's what -- that's what that
14   channel is creating.       It's creating -- it's limiting
15   the motion from side to side.           It's forcing it to go
16   along that channel.
17       Q.   So are you -- you said earlier the Hercules
18   Dualpix has a modified ball-and-socket joint?
19       A.   Right.
20       Q.   Is that modified ball-and-socket joint in the
21   same location as what you have identified as the hinge
22   joint?
23       A.   No.
24       Q.   Okay.
25            Where were the modified ball-and- --

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 1       A.     Well, again, there is really -- in this
 2   particular case there could be as many as three.
 3   But -- but I think when I did play with this -- this
 4   camera, essentially it was really two axes that it
 5   allowed rotation.         It allowed rotation about the
 6   central axis, or corresponding to axis one in both the
 7   patent and in the preferred embodiment, and the second
 8   axis was dependent upon the orientation -- well,
 9   actually, let me take that back.
10              The motion itself is independent, and that
11   would be the motion that would be along that channel.
12   But the direction of the motion is a combination of the
13   two.
14              So by rotating it and then -- rotating it about
15   its rotational axis and then rotating it about a hinge
16   axis, it reaches any of the possible limits of the
17   motate (sic) -- of the motion you have.                    And, again,
18   those are independent.           One does not require the other
19   to occur.
20       Q.     You see the door here in the conference room?
21       A.     Um-hmm.
22       Q.     Would you -- do you see the hinge on the
23   door?
24       A.     Yes.
25       Q.     Would you understand that to be a hinge

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 1   joint?
 2       A.   Yes.
 3       Q.   Do you see anything that looks like that hinge
 4   joint in the Hercules Dualpix webcam?
 5       A.   Doesn't matter.
 6       Q.   No, I'm just asking a question.                Is there --
 7       A.   No, I don't see anything in there, but what it
 8   looks like really doesn't matter, because it's a
 9   behavior that's -- it's displaying that's the important
10   thing.   However the engineer decided to do it is -- is
11   really irrelevant because the overall characteristic of
12   that joint is to allow that hinged rotation.
13            So that could be -- it could have drills in it,
14   it could extend four feet out into this room, and as
15   long it allowed that motion, it really doesn't matter
16   what it looks like.
17       Q.   But that motion is in a single axis of
18   rotation; is that correct?
19       A.   That's correct.
20       Q.   Is there anything in this modified
21   ball-and-socket joint in the Hercules Dualpix cam --
22            (Reporter clarification.)
23            MR. HERBERHOLZ:       Sure.
24   BY MR. HERBERHOLZ:
25       Q.   Is there any structure in this Hercules Dualpix

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 1   webcam, at least in the modified ball-and-socket
 2   portion of it, where the -- where there is rotation
 3   about a single axis relative to the hinge member?
 4       A.   To the -- rotation about a single -- well,
 5   actually, there is two axes.            Again, there is one
 6   independent motion which allows rotation about the
 7   central axis.       There is another motion which is more
 8   like the door hinge (demonstrating).
 9            And what I'm saying is -- maybe for the court
10   reporter -- is I have my hand, my right hand,
11   vertically upward, and if I rotate that down, that's --
12   and if I rotate it about my elbow, that's my rotational
13   connection.
14            When I take my hand and I move it down towards
15   the table, rotating it in my -- looking at it here
16   counterclockwise to reach the table, that's an
17   independent hinge motion.          And, again, however that's
18   configured internally is -- is basically irrelevant in
19   my mind, because the motion is allowed to occur only in
20   that direction.
21            Now, if I rotate my hand forty-five degrees and
22   then I use the hinge, I can -- I can duplicate that
23   motion, which gives me -- which puts me in a different
24   position in space.
25            But, again, there is nothing that -- that

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 1   forces the rotational motion or the hinge motion to
 2   occur simultaneously, or have any kind of -- other than
 3   the bounds that are put on any kind of limits on it.
 4       Q.   So I want you to envision a traditional
 5   ball-and-socket joint.         Okay?     Do you have that in
 6   mind?
 7       A.   Um-hmm.
 8       Q.   Okay.
 9            Is it your testimony that every ball-and-socket
10   joint also includes a hinge joint?
11       A.   Depending upon the way that it is configured,
12   it can -- it can -- if it's limited, it can have
13   hingelike behavior.
14            And that's what I'm saying.               The fact that it's
15   a ball and the fact that it's a socket is really
16   irrelevant.      It has constraints on it that force it to
17   move a certain way.
18       Q.   Well, I'm not a professional engineer, so
19   correct me if I'm wrong.
20       A.   No, that's all right.
21       Q.   I'm just a lawyer trying to --
22       A.   That's fine.
23       Q.   -- understand.
24       A.   Sure.      That's fine.
25       Q.   The way I envision a ball-and-socket joint is

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 1             And same here (indicating).              So that's an edge.
 2             MR. HERBERHOLZ:       I don't have any other
 3   questions at the present time.            I'm going to go over my
 4   notes, but in the meantime, I'm going to pass the
 5   witness.    I think Mr. Sutton had some questions he
 6   wanted to ask.
 7             MR. SUTTON:      Okay.      Did you want to take a
 8   quick break, or are you okay?
 9             THE WITNESS:      No, I'm -- I'm okay.
10             MR. SUTTON:      All right.       Good.
11             THE WITNESS:      Yes.
12                       EXAMINATION BY MR. SUTTON
13       Q.    Do you have the '343 patent in front of you, or
14   can you get that in front of you?
15       A.    Yes, I do.
16       Q.    And can you look at figure four of that patent.
17       A.    What was that?       What was that again?
18       Q.    Can you please look at figure four of the '343
19   patent.
20       A.    Yes.
21       Q.    Okay.
22             And, by the way, have you looked at any Kodak
23   webcams?
24       A.    I believe so.
25       Q.    Okay.     All right.

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 1       Q.    Therefore, the support frame, eighteen, rotates
 2   about the single axis of rotation, which is pivot
 3   element, eighty-two; is that correct?
 4       A.    Yes.
 5       Q.    Is it also correct --
 6       A.    Oh.
 7       Q.    -- that the pivot pin is -- I think we -- I
 8   asked you this one before, and it's repetitive, but is
 9   it also correct that the pivot pin, eighty-two, is the
10   second axis of rotation in the patent, which is labeled
11   "axis thirty-two" in figure three?
12       A.    I believe that's correct.
13       Q.    Okay.
14             Now, can you please look again at the Kodak
15   webcam.
16       A.    Okay.
17             Yes.
18       Q.    And I'm referring again to the stem and ball
19   which are affixed to the bottom part of the camera.
20       A.    Yes.
21       Q.    Now, the stem and ball that you are looking at,
22   is it your understanding that it has a single axis of
23   rotation or more than one axis of rotation relative to
24   the support frame?
25       A.    Relative to --

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 1             MR. EDMONDS:     Objection.       Form.
 2             THE WITNESS:     Do you mean relative to the hinge
 3   member?
 4   BY MR. SUTTON:
 5       Q.    Well, I'm going to say relative to -- let me
 6   back up and --
 7             Do you understand that the Kodak web- -- the
 8   Kodak webcam has two legs which we can call a support
 9   frame, similar to the patent?
10       A.    Yes.
11       Q.    Or I should say to use the wording of the
12   patent.
13       A.    (Nods head.)
14       Q.    So does the -- does the stem and ball of the
15   Kodak webcam which is fixed to the bottom of the
16   camera -- does the stem and ball have a single axis of
17   rotation relative to the support frame or more -- or
18   more than one axis of rotation relative to the support
19   frame?
20             MR. EDMONDS:     Objection.       Form.
21             THE WITNESS:     Well, I think we discussed this
22   before.
23             Looking at the photograph, I think that the --
24   the structure is such that one skilled in the art could
25   somewhat independently of the actual structure of that

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 1   joint come to the conclusion that you have two
 2   independent rotations possible, and they are distinct
 3   independent rotations which correspond -- at least the
 4   rotatably attached one, which would be corresponding
 5   to -- essentially what is axis one in the patent would
 6   be the rotatable attachment part.
 7            And as part of that same structure -- and,
 8   again, this is -- this is based on the behavior -- it
 9   has a separate and distinct joint which allows forward
10   rotation such as very similar to a hinge.
11   BY MR. SUTTON:
12       Q.   All right.
13            Well, let me go back and clarify something.
14            You understand looking at the photograph of the
15   Kodak webcam -- do you understand that you can tilt the
16   support frame forward relative to the stem and ball?
17       A.   The support frame could be rotated forward,
18   yeah, through the hinge, yes.
19       Q.   Through the stem and ball?
20            MR. EDMONDS:      Objection.       Form.
21            THE WITNESS:      I don't follow the question.                     Are
22   you asking me if the stem and ball can be -- well, let
23   me ask -- let me let you ask the question.                    I didn't
24   understand the question the way it was posed.
25   / / /

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 1   BY MR. SUTTON:
 2       Q.     Okay.
 3              You understand that you can tilt the support
 4   frame of the Kodak webcam forward relative to the stem
 5   and ball?
 6              MR. EDMONDS:       Objection.       Form.
 7              THE WITNESS:       Well --
 8   BY MR. SUTTON:
 9       Q.     Do you understand that part of the question?
10       A.     No, I don't, because I -- the support frame --
11       Q.     Okay.
12              Let me -- okay.        So let me clarify that for
13   you.
14              The support frame that I'm referring to are the
15   two legs at the bottom of the stem and ball.                        Two
16   hinged legs.
17       A.     Okay.
18              So that's your -- you are -- okay.                    That's not
19   what we have been calling the support frame.                        But what
20   you are saying is the base of the camera.
21       Q.     No, no.
22       A.     I'm sorry.      The base -- where the -- where
23   the -- there is a base that connects to the camera.
24       Q.     Well, okay.
25       A.     I'm sorry.

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 1   holding the camera still in space, and moving it in
 2   either the predominantly forward or predominantly
 3   backward direction, rotating it.
 4            Is that fair?
 5       Q.   What was that last part?           I'm doing what?
 6       A.   And rotating it essentially.
 7       Q.   I'm sorry.     Rotating the -- rotating what?
 8       A.   Rotating the hinge member while holding the
 9   camera essentially in its vertical position.                     And
10   rocking -- basically rocking it back and forth in that
11   connection.
12            Is that -- is that what you are asking?
13       Q.   I think so, but let me restate it so we are --
14   it's going to be clear on the record.
15       A.   Okay.
16       Q.   When you tilt forward and back the upper leg
17   member, which you call the "hinge member," and when
18   you tilt it forward and back relative to the ball and
19   stem, you can do that, correct, with the Kodak webcam,
20   right?
21       A.   Yes, that's correct.
22       Q.   Now -- and let's take -- I want to ask you what
23   happens -- can you rotate the -- the hinge member in
24   either of those positions?           So it's the forward
25   position and the -- tilted forward position and the

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 1   tilted back position.
 2            Can you rotate the hinge member in either of
 3   those positions?
 4       A.   I believe so, yeah.
 5       Q.   Okay.
 6            That's fine.
 7       A.   Yeah.      Okay.
 8       Q.   And if you can do that, is there a single axis
 9   of rotation or more than one axis of rotation?
10       A.   If those -- if those motions of rocking it back
11   and forth are essentially in the same direction -- and
12   by that I mean if they -- central axis from side to
13   side is pointing directly frontwards or directly
14   backwards, then that is an axis -- that is one axis of
15   rotation.
16            MR. SUTTON:        I'm sorry.      Could you read back
17   that answer.
18            (The record was read as follows:
19            "A.     If those -- if those motions
20            of rocking it back and forth are
21            essentially in the same
22            direction -- and by that I mean if
23            they -- central axis from side to
24            side is pointing directly
25            frontwards or directly backwards,

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 1            then that is an axis -- that is one
 2            axis of rotation.")
 3   BY MR. SUTTON:
 4       Q.   All right.
 5            Let me break it into two parts because it's --
 6   let's look at the -- the tilting the legs or what you
 7   call the upper -- I call it the "upper leg"; you are
 8   calling it the "hinge member."
 9       A.   Correct.
10       Q.   I'm talking about tilting the hinge member back
11   relative to the stem and ball, right?
12       A.   Yes.    So that the -- so that the right side of
13   the photograph would be higher than the left side --
14   the right side of the hinge member would be higher than
15   the left side of the hinge member.                Is that correct?
16       Q.   Well, I don't have the photograph you are
17   looking at, so I'm --
18       A.   I'm essentially looking at a side view, what I
19   would call the side view --
20       Q.   Yeah.
21       A.   -- where the lens is protruding toward the
22   left, and the -- the cable is potuding (sic) --
23   protruding towards the -- towards the right.
24       Q.   Well, I'm not looking at the photograph, so I'm
25   not --

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 1       A.   Well, I'm trying to describe it to you.
 2       Q.   Well, no.     It's okay.       It's not necessary for
 3   my question.
 4            Let me ask you:       If you tilt the upper leg of
 5   the Kodak webcam let's say forward so that the front of
 6   it is close to the bottom of the camera and the back of
 7   it is far away from the camera --
 8       A.   Okay.
 9       Q.   Do you follow what I'm saying?
10       A.   Yes, yes.
11       Q.   Okay.
12            And now can you rotate -- in that position can
13   you rotate the -- the upper leg or hinge member
14   relative to the ball and stem?
15       A.   Yes.
16            In what -- in what particular direction are
17   you -- are you thinking of?
18       Q.   Well, I -- I just -- I have it in my hand and I
19   can rotate it -- rotate it to the left or right.
20            Yeah, I'm talking about the upper leg or hinge
21   member, I can rotate it about the stem and ball to the
22   left or right.
23       A.   Okay.
24       Q.   Now, can we call that rotation in that position
25   one axis of rotation?

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 1       A.   If it's about the vector that would cause that
 2   one axis of rotation, yes.            And it would be independent
 3   of any other rotations that you -- that you would
 4   apply.
 5       Q.   All right.
 6            Well, I'm going to come to another axis of
 7   rotation.
 8       A.   Yeah.      Okay.
 9       Q.   But that would be one -- that would be one axis
10   of rotation, right?
11       A.   Okay.      Yes.
12       Q.   Now, if we just pivot it -- or tilt it, I
13   should say, the leg, or what you call the "hinge
14   member" -- if we tilt it in the opposite direction so
15   that now the -- looking at the front of the camera, the
16   leg or hinge member is now facing down, so that the
17   back end is sort of closer to the camera --
18       A.   Okay.
19       Q.   So now let's call that a "rear tilt."                      Okay?
20       A.   Okay.
21       Q.   Now, in that rear tilt position, I can still
22   rotate the upper leg or hinge member to the left or
23   right, correct?
24       A.   I don't have the camera, and to be honest,
25   that's not one of the motions that we -- well, it's one

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 1   that we looked at.      And I can't remember the camera
 2   specifically, but are you just saying rocking it side
 3   to side?
 4       Q.   No.     I'm rocking -- I just rocked the -- no.
 5            First of all, I didn't say "rocking"; I said
 6   "rotate."
 7       A.   Right, right.       Okay.     Right.
 8       Q.   So my question was in that rear tilt
 9   position --
10       A.   Right.
11       Q.   -- you can rotate the upper leg or hinge member
12   relative to the ball and stem, correct?
13       A.   Yes.     It's an independent rotation, but it can
14   be done, yes.
15       Q.   Okay.
16            And in that second position or rear tilt
17   position, when we do that rotation of the upper leg or
18   hinge member relative to the ball and stem, is that a
19   different axis of rotation than the one we were talking
20   about when we tilt it forward?
21       A.   As long as it's symmetric, then it would be the
22   same axis of rotation.        In other words, as long as the
23   center line of the -- of the device in all directions,
24   the three directions, were essentially oriented the
25   same way, then that would be the -- a single axis of

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 1   rotation.
 2       Q.   So you are saying in both the rear position --
 3   rear tilt position and the forward tilt position, it's
 4   the same axis of rotation?
 5       A.   If I understand your question correctly, yes.
 6       Q.   Okay.
 7            Let me ask you another question.                  Let me give
 8   you a third example.
 9       A.   Okay.
10       Q.   Let's assume that the camera and ball and stem
11   are totally vertical and perpendicular to the upper leg
12   or hinge --
13       A.   The hinge --
14       Q.   -- member.
15       A.   -- member.        Okay.
16       Q.   Now, in that position obviously you can rotate
17   the upper leg or hinge member relative to the ball and
18   stem, right?
19       A.   Holding the camera still, yes.
20       Q.   Okay.      Yes.
21            And that would -- I think we could call that a
22   vertical axis of rotation?
23       A.   Yes.    That's correct.
24       Q.   Okay.
25            And, now, is that vertical axis of rotation the

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 1   same or different from the two axes of rotation that we
 2   just talked about when we talked about the rear tilt
 3   position and the forward tilt position?
 4       A.    Well, actually, they are different.                  One,
 5   because the -- the axis -- the origin of the axis is --
 6   is probably the same, or could be the same, but the
 7   vertical axes and the -- I'll say sort of the
 8   horizontal axes are -- are independent and pretty much
 9   orthogonal.
10       Q.    Okay.
11             But --
12       A.    So I can -- I can rotate the camera or the
13   base, whichever way you want to do it, about that axis
14   independently of any forward, backward or side
15   motion.
16       Q.    Okay.
17             But the question I was trying to get at was --
18   and I think you have agreed, but let me just clarify it
19   just so that there is no misunderstanding.
20       A.    Yes.
21       Q.    The vertical axis of rotation that we talked
22   about was -- I think you agreed a moment ago was
23   different from the two axes of rotation when the --
24       A.    Yes.
25       Q.    -- upper leg or hinge member has tilted forward

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 1   or back, correct?
 2       A.   That's correct.
 3       Q.   Okay.
 4       A.   One is horizontal and one is vertical.
 5       Q.   One --
 6       A.   I'm sorry.      One of the axes is vertical.
 7       Q.   Which one?
 8       A.   The one that goes -- I think it is the first
 9   one you talked about, where it's rotating about the
10   center axis.
11       Q.   Yeah.      But which -- the one I called the
12   vertical axis of rotation?
13       A.   That's correct.
14       Q.   Okay.
15            And the other one --
16       A.   And then the other one for the other situation,
17   that's more of a horizontal axis.
18       Q.   Well, I'm looking -- I have it in my hand, and
19   when I tilt the -- when I tilt it forward and back,
20   the -- the angle -- the rotational axis appears to me
21   to be tilting either forward or back relative to the
22   vertical axis.       So I see three different vertical axes.
23       A.   Well, that's -- that's kind of the discussion
24   and is covered in my report, is that that -- when you
25   move that -- the -- that particular joint that you are

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 1   talking about at the base of the webcam that goes into
 2   I guess you called it a ball and socket maybe, or it's
 3   been called a ball and socket, where the post of the
 4   webcam goes into the hinge member, that allows for
 5   three independent rotations, as far as we have
 6   discussed, so far as -- as I understand it.
 7       Q.   And when you say "we discussed," you are
 8   talking about the discussion we just had?
 9       A.   Yeah, you and I.
10       Q.   Okay.
11       A.   Or you and me.
12       Q.   So there is three independent axes of
13   rotation?
14       A.   Yes.     And the -- the only important one from my
15   view in my -- in my evaluation is that vertical axis.
16   That's what we call the rotatably attached connection
17   to the -- to the hinge member.
18       Q.   Between the support frame and the hinge member?
19       A.   No.     The one that goes from the bottom of the
20   plug on the bottom of the camera to the hinge member
21   where that -- that raised section is?               The bottom --
22   the bottom of the camera and the post that goes into
23   that -- that frame below it?
24       Q.   Yes.
25       A.   Okay.

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 1            When you rotate about the vertical axis, that
 2   essentially is axis number one in the patent, and also
 3   in the preferred embodiment, which I guess is the
 4   Critter cam.      And that's independent from any other --
 5   any other motion.
 6       Q.   All right.
 7            Well, when I was asking you questions about
 8   forward tilt, the rear tilt, and then keeping the
 9   camera in a vertical position relative to the base or
10   hinge member --
11       A.   Right.
12       Q.   -- I was talking about the relationship between
13   the -- the hinge member and the -- and the -- and the
14   ball and stem.
15       A.   Right.     So it has three -- in general, it would
16   have three possible motions.
17       Q.   Well, are those -- you say "motions."                     Are
18   those different axes of rotation?
19       A.   Yes.
20       Q.   Okay.
21            I mean -- all right.          All right.
22            So now --
23       A.   And --
24       Q.   -- do you understand that the court has ruled
25   that the -- with regard to the patent claims that

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 1   the -- that the rotational -- the rotational connection
 2   between the ball and socket and the --
 3       A.   And the hinge member.
 4       Q.   -- and the hinge member is limited to a single
 5   axis of rotation?
 6       A.   And I agree with that, and my opinion is based
 7   on that.
 8       Q.   Excuse me, but you just said there is three
 9   axes of rotation, and not a single --
10       A.   Because there is three -- three independent
11   behaviors.
12       Q.   Well, no, no.        A moment ago you said three axes
13   of rotation.
14       A.   Right.      And they are independent of one
15   another.
16       Q.   Okay.      Fine.
17            But three axes of rotation is not a single axis
18   of rotation of which the court limited that terminology
19   of the claim to.
20            MR. EDMONDS:       Objection.       Form.
21            THE WITNESS:       Let me look at the --
22   BY MR. SUTTON:
23       Q.   In other words, you have said -- based on the
24   three positions that I had asked you about, you said
25   that there is a vertical axis of rotation, and it's

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 1   different from the forward tilt axis of rotation and
 2   the rear tilt axis of rotation.               And if there is a
 3   different axis of rotation, that means you have got
 4   more than a single axis of rotation between the ball
 5   and socket and the support member.                   Is that correct?
 6              MR. EDMONDS:       Objection.       Form.       Where is the
 7   question there?        That was a speech.
 8              MR. SUTTON:       I made a statement and I said, "Is
 9   that correct?"
10              MR. EDMONDS:       Okay.     Objection.         Form.
11   BY MR. SUTTON:
12       Q.     Did you understand my question?
13       A.     I believe so.        But, again, it's -- it's in the
14   context of whether or not those -- those axes of
15   rotation -- let me go back and look at the judge's
16   ruling, if I may.
17              (Reviewing document(s).)
18              Well, actually, you know, just off the top of
19   my head, consistent -- those are three separate joints
20   even though they are in one location.                   So --
21   BY MR. SUTTON:
22       Q.     Which -- which structure are you referring to
23   now?
24       A.     The -- the bottom of the post.
25       Q.     Are you looking at the Kodak webcam?

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 1       A.    Yes, I am.
 2       Q.    Okay.
 3             So I'm sorry.      What are you saying now?
 4       A.    Because of the three independent motions that
 5   you are allowed, essentially you are talking about
 6   three separate joints that allow different independent
 7   motions.
 8       Q.    Where are the three separate joints that you
 9   are talking about in the Kodak webcam?
10       A.    At the base of -- of the post.
11       Q.    At the base of the post we have assumed that
12   there is some kind of spherical structure, right?
13       A.    Right.    But that doesn't mean it's -- that
14   doesn't mean functionally it's not a joint, or it's not
15   a multiple joint.
16             If you look at your elbow and you hold your
17   elbow -- or your elbow out, can you move your hand up
18   and down like if you were curling?
19       Q.    I can't talk about my elbow right now.                     It's
20   not related to the camera.           I'm trying to stick to the
21   camera.
22       A.    No, but I'm trying to demonstrate the concept
23   that I'm trying to get across.
24       Q.    Okay.
25             But if you could do it in terms of the Kodak

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 1   webcam, it would be helpful.
 2       A.   Okay.
 3            The fact that you have -- let's take -- we
 4   start with axis one as defined by -- in the patent.
 5       Q.   Well, now you are going back -- the axis of
 6   rotation -- the first axis of rotation as defined in
 7   the patent is the axis of rotation between the camera
 8   and the stem and ball in our case, you know.                     That's a
 9   different axis of rotation.
10       A.   Not if you take -- not if you choose the
11   vertical axis.
12       Q.   Well, we have -- we have already talked about
13   the relationship between the camera and the stem and
14   ball, and we have agreed earlier -- or you agreed
15   earlier that -- that in a Kodak webcam, there is no
16   rotational movement between the -- the camera and the
17   ball and stem that fits together.
18            Do you remember that?
19       A.   Yeah, sure, sure.
20       Q.   In the Kodak webcam there is no first axis of
21   rotation as defined in the patent, correct?
22            MR. EDMONDS:      Objection.       Form.
23            THE WITNESS:      No, I don't -- I don't agree with
24   that.
25   / / /

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 1   BY MR. SUTTON:
 2       Q.    Well, we went through it about ten minutes ago.
 3   I asked you was the -- was the stem and ball of the
 4   Kodak webcam fixed to the bottom of the camera, and you
 5   said, "Yes."
 6       A.    Correct.
 7       Q.    And then I said, "Correct?"
 8       A.    Correct.
 9       Q.    And then I -- and then I said to you is there
10   any -- therefore -- let me just go back now, look at my
11   question.
12             I then said to you, "So that the camera stem
13   and ball move together as a unit?" and you said, "Yes."
14   Correct?
15       A.    Correct.
16       Q.    And, therefore, the Kodak camera does not
17   rotate relative to the stem and ball, and I said, "Is
18   that correct?" and you said, "Yes."
19       A.    Okay.
20       Q.    So, therefore, in the Kodak webcam there is no
21   first axis of rotation, as defined in the patent,
22   between the camera and the stem and ball in the Kodak
23   webcam?
24       A.    Oh, true.     Sure.     It's the -- it's the stem and
25   ball with the -- with the hinge member that's the

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 1   issue.
 2       Q.   Well, you love to -- let me -- yeah, you have
 3   made two answers there.        I want to break them up.
 4       A.   Okay.
 5       Q.   I think you agreed -- you first agreed to my
 6   statement that in the Kodak webcam, the Kodak camera
 7   does not rotate relative to the stem and ball, and you
 8   have said yes to that, correct?
 9       A.   I agree, yes.
10       Q.   Okay.
11            And, therefore, you also said there is not a
12   first axis of rotation in the Kodak webcam.
13            MR. EDMONDS:      Objection.       Form.
14            THE WITNESS:      I don't believe I said that.                     I
15   mean that's -- that's fundamental to my opinion is that
16   there is -- when you consider the -- the camera with
17   the attached ball and stem, and its connection with the
18   hinge member, there absolutely is a -- a rotational
19   axis that corresponds to axis one in the patent.
20   BY MR. SUTTON:
21       Q.   Okay.
22            But if the ball -- let me clarify something.
23            If the ball and stem are fixed to the bottom of
24   the camera in the Kodak webcam, how can there be -- and
25   they all move together, right?

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 1            Those three elements move together.                   The
 2   camera, the ball and the stem all move together.
 3   You've established that, correct?
 4       A.   I agree, yes.
 5       Q.   Okay.
 6            So how could there be an axis of rotation
 7   between the bottom of the camera, or the camera itself,
 8   and the ball and stem that are fixed to it?
 9       A.   No.     Maybe I -- I was misunderstood, I'm sure.
10            I'm talking about the rotation being at the
11   base of the ball and stem, where it connects to the
12   hinge member.
13       Q.   Okay.
14            But there is no relative movement between the
15   ball and stem, which are -- and the camera, which are
16   fixed together, correct?
17       A.   I agree.     Right.
18       Q.   Okay.
19            All right.     So, now, going back to this -- to
20   the other axis of rotation, which is the second axis
21   of -- second axis of rotation called for in the patent.
22       A.   Right.
23       Q.   All right?     Which the judge has defined as
24   limited to a single axis of rotation, correct?
25       A.   Yes.

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 1            Okay.      And is it correct that the support arms
 2   that are shown on the log there are the support arms,
 3   and they rotate about that single pivot axis between
 4   the arms?
 5       A.   I believe it's described in -- it's disclosed
 6   in the -- in the disclosure.
 7       Q.   Is the answer yes?
 8       A.   Yes.
 9       Q.   Okay.
10            MR. SUTTON:       I have no further questions.
11            THE WITNESS:       Okay.
12                    EXAMINATION BY MR. EDMONDS
13       Q.   Dr. Muskivitch, during the lunch break did you
14   go through the version of your report that has the
15   erroneous Exhibit D and the version of your report that
16   has the correct Exhibit D and tab where the textual
17   changes were?
18       A.   For the first couple -- the first camera, which
19   would be -- I believe would be carried through the
20   entire report.
21            And I also put one on the incorrect pict- --
22   the incorrect picture of the camera.
23       Q.   Okay.      So you --
24       A.   And I mean that was the -- where of the Gear
25   Head was figured.

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 1            (Reporter clarification.)
 2            THE WITNESS:      One of the Gear Head cameras.
 3   BY MR. EDMONDS:
 4       Q.   When you say "carried through the entire
 5   report," are you saying that where there had been a
 6   correction in the draft in that chart that you tabbed,
 7   you looked to the same place --
 8       A.   Yes.
 9       Q.   -- in the other chart to see the same
10   correction?
11       A.   Yes.
12            Well, the corrections that I thought I made
13   based on the draft were in the copy you had this
14   morning.
15       Q.   Okay.
16            So if counsel chooses to ask you about those
17   changes that were made, and what's different about
18   Exhibit 3 and Exhibit 4, are you able to answer those
19   questions today if asked?
20       A.   I believe so, sure.         Yes.
21            MR. EDMONDS:      Pass the witness.
22              FURTHER EXAMINATION BY MR. HERBERHOLZ
23       Q.   Dr. Muskivitch, you were just asked questions
24   about whether or not -- about the fact that you tabbed
25   the changes from your earlier draft --

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 1   you see as the hinge member?
 2       A.   Yes.
 3       Q.   Okay.
 4            You are saying there is three independent
 5   joints where the ball attaches to the hinge member?
 6       A.   In a -- in a general sense.              In this one there
 7   might only be two.
 8       Q.   Okay.
 9       A.   Which would be the -- this axis and then the
10   forward/backward (demonstrating).
11       Q.   Okay.
12            This --
13       A.   I don't know how much side to side is --
14       Q.   So it at least has two axes, correct?
15       A.   Yes.    They are independent axes.               They are
16   independent axes associated with independent joints.
17       Q.   Okay.
18            So the ball of the Rosewill 8163 webcam
19   connects to the hinge member by at least two axes of
20   rotation that may be independent, but they are still
21   two axes of rotation, right?
22            MR. EDMONDS:      Objection.       Form.
23            THE WITNESS:      The -- well, the important
24   distinction there is they're -- is they're really
25   functionally two independent joints.

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                                                  Adjustacam LLC vs. Amazon.com, Inc., et al.


 1   BY MR. HERBERHOLZ:
 2       Q.   Are there --
 3       A.   And this is the discussion that we talked about
 4   this morning with my arm.
 5            I can -- and my -- my elbow is a -- is a
 6   biaxial joint, as that would be considered, and it
 7   can -- it rotate backward and forward, and it also can
 8   rotate side to side (demonstrating), independently of
 9   one another.
10       Q.   Okay.
11            So going back to --
12       A.   So it's not -- it's not just the axis of
13   rotation.   It's the -- the joint motion that's
14   associated with that axial rotation.
15       Q.   Okay.
16            So going back to the Rosewill 8163 webcam, I'm
17   looking at specifically the connection between the ball
18   and what you have identified as the hinge member.
19            Do you see that?
20       A.   Yes.
21       Q.   How many joints are there?
22       A.   Depends on the kind of behavior you are seeing.
23       Q.   So --
24       A.   It's one connection, but it can -- it can
25   manifest itself in many types of behavior.

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                                                     Adjustacam LLC vs. Amazon.com, Inc., et al.


 1       Q.     So it's one connection, and the number of
 2   joints at that connection depends on how I orient the
 3   ball relative to the hinge member?
 4       A.     And any constraints that are placed on them,
 5   yes.
 6       Q.     Okay.
 7              But, again, I can rotate the ball relative to
 8   the hinge member about more than one axis, correct?
 9   Even though they are independent axes, it's more than
10   one?
11       A.     Well, because -- because they are independent
12   joints.
13       Q.     Okay.
14       A.     The joints are the things that allow that
15   independent motion.          Same way your elbow joint --
16       Q.     So the answer is yes?
17       A.     -- has two.
18              Yes.    I'm sorry.
19              MR. HERBERHOLZ:        I don't have anything further
20   at this time.
21              I just want to reiterate our point on the
22   record this morning that Exhibit 4 that we received was
23   the first time we have received that report.                        Our
24   experts haven't had a chance to consider that report.
25              I don't think it's fair that I should be

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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


ADJUSTACAM LLC                                           §
                                                         §
                                                         §
                 Plaintiff,                              §
                                                         §
                                                         §
               v.                                        §
                                                         §          Civil Action No. 6:10-cv-329-LED
                                                         §
AMAZON.COM, INC., et al.,                                §
                                                         §
                                                         §
                    Defendants.                          §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §
                                                         §


                              EXPERT REPORT OF WALT BRATIC




                                                             Dated: June 25, 2012


                                                             Respectfully submitted,




                                                             Walt Bratic




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1.0     QUALIFICATIONS


1.      I am a Managing Director of OverMont Consulting, LLC (“OverMont”). I am a Certified
Public Accountant licensed to practice in the state of Texas. My qualifications are listed in my
resume attached as Exhibit 1. A list of my testimony during the last four years is attached as
Exhibit 2. OverMont is being compensated at an hourly rate of $525 for my work performed in
connection with this matter. OverMont’s fees are not contingent upon the outcome of the
litigation.


2.0     ASSIGNMENT


2.      I have been retained by the law firm of Collins, Edmonds, Pogorzelski, Schlather &
Tower (“CEP”), counsel for the plaintiff AdjustaCam LLC (“AdjustaCam” or the “Plaintiff”) in
the above matter, to determine the reasonable royalties due to AdjustaCam as a result of the
alleged infringement of U.S. Patent No. 5,855,343 (the “‘343 Patent” or the “Patent-in-Suit”) by
Best Buy Co., Inc. d/b/a Best Buy d/b/a Rocketfish, Best Buy Stores, LP, Bestbuy.com, LLC
(collectively referred to herein as “Best Buy”), Fry’s Electronics, Inc. (“Fry’s”), Gear Head, LLC
(“Gear Head”), Hewlett-Packard Company (“HP”), Kohl’s Corporation d/b/a Kohl’s, Kohl’s
Illinois, Inc. (collectively referred to herein as “Kohl’s”), Micro Electronics, Inc. d/b/a Micro
Center (“Micro Center”), Newegg, Inc., Newegg.com, Inc. (collectively referred to herein as
“Newegg”), Office Depot, Inc. (“Office Depot”), Sakar International, Inc. (“Sakar”), Wal-mart
Stores, Inc. (“Walmart”) (collectively referred to herein as “Defendants”). 1

3.      For purposes of my analysis, I have assumed the asserted claims of the ‘343 Patent (i.e.,
claims 1, 7 and 19) are valid, enforceable, and have been infringed by the Defendants.




1
 It is my understanding that Jasco Products Company LLC, jWin Electronics Corp., Intcomex, Inc. & Klip Extreme,
LLC & Software Brokers of America, Inc., Phoebe Micro, Inc., Trippe Manufacturing Company, RadioShack
Corporation, Baltic Latvian Universal Electronics, LLC, Creative Technology, Ltd., Creative Labs, Inc., Dell Inc.,
J&R Electronics Inc., Mace Group, Inc, Macally Peripherals, Inc. d/b/a Macally U.S.A., Overstock.com, Inc.,
Auditek Corporation, and Digital Innovations, LLC, CDW Corporation f/k/a CDW Computer Centers, Inc. and
CDW, Inc. have entered settlement and license agreements with AdjustaCam and are no longer involved in the
current litigation. See Exhibit 7.


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4.         This report reflects my analysis and opinions to date in this matter.              It is my
understanding that discovery in this matter is ongoing. As additional data, information, or
testimony become available to me, I intend to consider this information. Therefore, I may
modify or update my opinions in light of any additional information received subsequent to this
report date.


3.0        INFORMATION REVIEWED


5.         In connection with this report, OverMont professionals working under my supervision
and direction and I have reviewed certain documents, information and testimony in this matter.
The information I have reviewed and considered is identified in the body and footnotes of this
report as well as in Exhibit 3. In addition, I interviewed the following:


           •    Steve Wong, Acacia Research Group LLC vice president and AdjustaCam’s licensing
                representative;
           •    Joel Barthelemy, president of GlobalMedia Group LLC; and
           •    John Muskivitch, Ph.D., AdjustaCam’s technical expert.


4.0        SUMMARY OF OPINIONS


6.         My analysis of a reasonable royalty rate for the Patent-in-Suit is based on the construct of
a hypothetical negotiation between GlobalMedia Group, LLC (“GlobalMedia”) or Acacia Patent
Acquisition LLC (“APAC”), and the Defendants for a license to the Patent-in-Suit that would
take place at the time of first infringement. The royalty base to which the reasonable royalty rate
is applied is based on my analysis of data produced by each Defendant related to unit sales of
products (the “Accused Products”) 2 which are deemed by AdjustaCam’s technical expert, Dr.
Muskivitch, to infringe the ‘343 Patent.


7.         Based on my review and analysis of the documents, information, and testimony, in this
matter, the interviews which were conducted, and my education, training, and experience in

2
    A list of Accused Products are identified in Exhibit 6.

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intellectual property matters, including licensing, it is my opinion that a reasonable royalty based
upon a hypothetical negotiation between the pa1ties for the Patent-in-Suit would be no less than
$1.25 per unit of U.S. sales of Accused Products. Additionally, a reasonable royalty rate of
$1.25 represents the contribution of the Accused Feature to the overall device and is not
dependent on the sales price of the Accused Product. The fact that so many suppliers (including
a market leader,                                      and resellers of licensed products, embodying the
teachings of the '343 patent, agreed to pay actual and implied royalty rates of at least $1.25 to
$1.50 per unit clearly establishes the value associated with the patented invention to be no less
than $1.25 per unit. Therefore, the value of the '343 Patent is not dependent upon the sales price
of the Accused Product.


8.      As a result of applying a royalty rate of $1.25 to U.S. sales of Accused Products, I
calculated reasonable royalty damages owed to AdjustaCam for each of the Defendants as
follows:




                                   --                           --
                                  •-                             --
                                  II
                                    -                            --
                                                                  --
                                                                   -
9.      The royalty damages above are not additive as the Defendants involve both suppliers and
resellers 3 and therefore include an overlap in sales among the Defendants. In an eff01t to


3
 Defendant's Motion to Sever and Stay Claims as to Reseller Defendants Based on the Customer Suit Exception of
Januaty 13, 2011.

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                                                      A0532
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eliminate any duplication, I have eliminated overlapping sales in my royalty base at the retail
level due to the exhaustion principle. The following table provides a break down of royalty
damages by Defendant, eliminating any such overlapping sales:




                                   --                                   --
                                  •-                                     --
                                  II
                                    -                                    -          I
                                                                                    I
                                                                          -
                                                                          -     I


5.0        BACKGROUND INFORMATION


           5.1      Parties-in-Suit

10.        AdjustaCam is a Texas Limited Liability Company with its place of business in Frisco,
Texas .4


11.        Best Buy, founded in 1966, is a leading multi-channel global retailer an d developer of
technology products and services. 5 Best Buy is a multinational retailer of consumer electm nics,
computing an d mobile phone products, ente1iainment products, appliances, and related services.



4
    First Amended Complaint, pg. 4.
5
    http://pr. bby.comlphoenix.zhtml ?c=24415 2&p=irol-factSheet.

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                                                         A0533
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Best Buy operates retail stores and call centers and conduct online retail operations under a
variety of brand names. 6


12.     Fry’s, a closely-held private company, was founded in 1985 in Sunnyvale, California by
three brothers: John, Randy and Dave; and Kathy Kolder. 7 Fry’s runs a chain of 28 electronics
superstores ranging in size from 50,000 square feet to more than 180,000 square feet. 8

13.     Gear Head is a limited liability company that manufactures, engineers, imports, markets,
tests and supports a comprehensive line of high quality Computer Peripherals/Accessories
including Mobile Mice, Desktop Mice, Wireless Desktops, Keyboards, Cooling Pads, Webcams,
Desktop Accessories, Tablet Accessories, Apple Accessories, USB Devices and Cables, Card
Readers, Speakers, Headsets, Optical Drives, Home/Office Shredders, and a new line of Screen
Gear Universal Cleaning Kits. 9

14.     HP was founded in 1939 and is headquartered in Palo Alto, California. 10 HP is a
technology company that operates in more than 170 countries around the world offering
consumers a wide range of products and services from digital photography to digital
entertainment and from computing to home printing. 11

15.     Kohl’s is a family-focused, value-oriented store founded in 1962 with its principal place
of business in Menomonee Falls, Wisconsin. 12 Today it operates approximately 1,134 stores in
49 states and offers moderately price, exclusive and national brand apparel, shoes, accessories,
beauty, and home products. 13




6
  Best Buy Form 10-K for the fiscal year ended March 3, 2012, pg. 4.
7
  http://www frys.com/template/isp/index/Frys/isp/Middle_Topics/ G1%20Store%20History/.
8
  http://www fundinguniverse.com/company-histories/fry-s-electronics-inc-history/.
9
  http://pcgearhead.com/about.php.
10
   First Amended Complaint for Patent Infringement, pg. 5; http://www8 hp.com/in/en/hp-information/about-
hp/index.html.
11
   http://www8 hp.com/in/en/hp-information/about-hp/index.html.
12
   Third Amended Complaint for Patent Infringement, pg. 4;
http://investing.businessweek.com/research/stocks/snapshot/snapshot.asp?ticker=KSS:US.
13
   http://www kohlscorporation.com/InvestorRelations/press.htm.

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16.     Micro Center was founded in 1979 on the principle of providing “technical retailing” at
its best. 14 Micro Center offers a large selection of competitively price, high-quality products and
a wealth of information to help customers make thoughtful buying decisions. 15

17.     Newegg, founded in 2001, is the leading electronics-focused e-retailer in the United
States. 16 Newegg offers customers a comprehensive selection of the latest consumer electronic
products, detailed product descriptions and images, as well as how-to information and customer
reviews. 17

18.     Office Depot, founded in 1986, opened its first store in Fort Lauderdale, Florida and
today provides office supplies and services through 1,678 worldwide retail stores, catalogues and
global e-commerce operations. 18

19.     Sakar is a 30-year old consumer electronics manufacturer with a mission to deliver great
product at affordable prices. 19 Sakar was founded nearly 30 years ago as a small family business
and is now a leader in technology trends, with showrooms and worldwide distribution. 20 Sakar
has evolved from selling camera lenses for SLR cameras, to being the #1 supplier of digital
cameras to the mass retail channel. 21


20.     Walmart was founded in 1962, with the opening of the first Walmart discount store in
Rogers, Ark. 22 Walmart serves its customers in retail outlets, online, and on mobile devices and
has a place of business in Bentonville, Arkansas. 23 Walmart operates under 69 different banners
in 27 countries and employs 2.2 million associates worldwide. 24




14
   http://www microcenter.com/at_the_stores/history.html.
15
   http://www microcenter.com/at_the_stores/history.html.
16
   http://www newegg.com/Info/FactSheet.aspx
17
   http://www newegg.com/Info/FactSheet.aspx
18
   http://www.officedepot.com/specialLinks.do?file=/companyinfo/companyfacts/index.jsp&template=
companyInfo.
19
   http://www.sakar.com/aboutus.aspx.
20
   http://www.sakar.com/aboutus.aspx.
21
   http://www.sakar.com/aboutus.aspx.
22
   http://www.walmartstores.com/aboutus/
23
   First Amended Complaint for Patent Infringement, pg. 9.
24
   http://www.walmartstores.com/aboutus/

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        5.2      Patent-in-Suit

21.     The ‘343 Patent entitled “Camera Clip” issued on January 5, 1999, 25 and was
subsequently assigned to GlobalMedia on or around February 1, 2002. 26 On February 22, 2010,
GlobalMedia granted an exclusive license to all substantial rights of the ‘343 Patent to APAC.27
On June 11, 2010, APAC assigned all of its rights in the ‘343 Patent to AdjustaCam.28
AdjustaCam is the present exclusive licensee of, and owner of all substantial rights to the ‘343
Patent. 29


22.     According to Dr. Muskivitch, the claimed invention generally relates to a “highly
versatile and configurable camera clip which is ideal for webcams used in conjunction with
laptop computers and desktop computers” (“Accused Feature”).             The invention focuses on a
versatile, configurable camera clip which may optionally be configured to sit on a generally
horizontal, substantially planar surface or an object having a first surface, a second surface, and
an edge the first surface and the second surface upon which one may perch a webcam. 30 The
“highly desirable configurability allows for versatile and unobstructed angles of view for the
webcam, as well as stability of the camera clip and webcam.” 31

23.     The claims of the ‘343 Patent cover apparatuses for supporting cameras comprising: (1)
a hinge member adapted to be rotatably attached to the camera, and the camera rotates about a
single axis of rotation relative to the hinge member, (2) a support frame rotatably attached to the
hinge member and configured to support the hinge member on the surface (for example, the
table) and the object (for example, a laptop computer). The hinge member rotates about a second
axis of rotation relative to the support frame, with the first axis of rotation being generally
perpendicular to said second axis of rotation, and the second axis being substantially parallel to a
first surface when said hinge member is supported on the object, (3) the support frame has a first


25
   U.S. Patent No. 5,855,343.
26
   GLOBALMEDIA000001 – 012 at 1.
27
   http://assignments.uspto.gov/assignments/q?db=pat&pat=5855343; ADJCAM000133-147.
28
   Assignment and Assumption Agreement between Acacia Patent Acquisition LLC (“APAC”) and AdjustaCam
LLC effective June 11, 2010.
29
   Assignment and Assumption Agreement between Acacia Patent Acquisition LLC (“APAC”) and AdjustaCam
LLC effective June 11, 2010.
30
   Interview of John Muskivitch Ph.D.
31
   Interview of John Muskivitch Ph.D.

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disposition positioned on a generally horizontal, substantially planar surface, and a second
disposition attached to the object when the first surface and said second surface are inclined from
a generally horizontal orientation with the camera being maintained adjacent the edge in said
second disposition of said support frame. 32


        5.3      Accused Products


24.     For purposes of this report, I have been asked to assume that the Defendants have
infringed one or more asserted claims of the ‘343 Patent as a result of selling the Accused
Products, which are listed in Exhibit 6.

        5.4      Market for Accused Products

25.     I understand that the Defendants’ Accused Products are webcams, generally defined as
video devices (cameras) that are typically mounted on a computer above the monitor / display
screen. 33    Webcams are typically tethered to a personal computer and offer both still and
streaming video-image capture capabilities for the primary purchase of Internet posting,
videoconferencing, video instant messaging, or video mail. 34 Webcams allow users to transmit
visual images of themselves to correspondents with whom they are communicating by VoIP,
email, or instant messaging. 35 In addition to being popular for consumer use, webcams enable
business applications such as videoconferencing and security. 36


26.     The webcam market blossomed in 2006 due to the proliferation of video instant
messaging, broadband video, and a strong uptake in the use of webcams to record videos posted
to social networking sites. 37 Consumer fascination with social networking and sharing photos
online was expected to continue to support the expanding use of webcams. 38 Also, Skype’s
addition of video in 2007 contributed to further growth of the webcam market. 39 Webcams

32
   Expert Report of John Muskivitch Ph.D.; Interview of John Muskivitch Ph.D.
33
   HP000296 – 370, at 312.
34
   HP000201 – 214, at 203.
35
   HP000296 – 370, at 312.
36
   HP000296 – 370, at 312.
37
   HP000201 – 214, at 204.
38
   HP000296 – 370, at 335.
39
   HP000215 – 229, at 219.

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generated about 12% of all worldwide aftermarket computer accessory revenues in 2008. 40 In
2007,               dominated the U.S. webcam market, with 47% market share. 41


27.       The following tables illustrate IDC’s reporting of actual webcam sales from 2005 through
2008 and estimates of webcam sales for 2009 through 2013: 42


                        United States                                       Worldwide
                       Units        Sales                                  Units        Sales
                 (in thousands) (in millions) ASP                    (in thousands) (in millions) ASP
        2005                6,284 $   358.20 $ 57.00        2005              22,420 $ 1,480.80 $ 66.05
        2006                7,818     422.20   54.00        2006              30,987     1,995.90 64.41
        2007                7,821     414.50   53.00        2007              38,759     2,415.70 62.33
        2008                8,296     456.30   55.00        2008              47,543     2,931.50 61.66
      2009 (E)              8,325     449.60   54.01      2009 (E)            49,685     3,023.10 60.85
      2010 (E)              8,400     453.60   54.00      2010 (E)            49,575     2,989.10 60.29
      2011 (E)              7,850     431.80   55.01      2011 (E)            47,536     2,889.40 60.78
      2012 (E)              7,560     415.80   55.00      2012 (E)            45,765     2,763.20 60.38
      2013 (E)              6,700     375.20   56.00      2013 (E)            41,825     2,512.50 60.07



28.       In 2009, NextGen Research estimated that webcams would grow at a compound annual
growth rate (“CAGR”) of 4.71% from 2009 through 2013, outpacing the growth of the overall
aftermarket for computer accessories, which was expected to grow only at a CAGR of 3.05%
over the same period. 43


6.0       REASONABLE ROYALTY ANALYSIS

29.       I understand that in patent infringement cases, economic damages are awarded pursuant
to 35 U.S.C. § 284, which requires that:




40
   HP000296 – 370, at 335.
41
   HP000201 – 214, at 205.
42
   HP00230 - 243, at 235 and 238.
43
   HP000296 – 370, at 335.

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         “Upon finding for the claimant the court shall award the claimant damages
         adequate to compensate for the infringement, but in no event less than a
         reasonable royalty for the use made of the invention by the infringer, together
         with interests and costs as fixed by the court.” 44


30.      Determination of a reasonable royalty is based on the hypothetical negotiation set forth in
Georgia-Pacific Corp. v. United States Plywood Corp (“Georgia-Pacific”). 45                            In Georgia-
Pacific, the Court held that determination of reasonable royalties generally reflects various
factors which might have been considered by a willing licensor and willing licensee in trying to
reach an agreement at the time of first infringement. Furthermore, I have considered recent
district court and Federal Circuit opinions as they relate to my opinion of economic damages in
this matter and my opinions comply with court mandates. 46


         6.1      Hypothetical Negotiation Date

31.      In determining reasonable royalties for a license to the Patent-in-Suit, a hypothetical
license scenario is considered in which the parties negotiate the terms of a non-exclusive license
for the Patent-in-Suit. The hypothetical negotiation is assumed to have occurred at the time of
first alleged infringement. The Defendants are assumed to infringe the Patent-in-Suit at the time
of their respective first date of alleged infringement.                 This is the first date, on which the
Defendants made, used, sold, or offered for sale the Accused Products after the Patent-in-Suit
issued. I understand that the date of first alleged infringement for each of the Defendants is as
follows:




44
   35 U.S.C. § 284.
45
   Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 116 (S.D.N.Y. 1970).
46
   Lucent Technologies, Inc. et al. v. Gateway, Inc. et al., 580 F.3d 1301, 1324 (Fed. Cir. 2009); Cornell University
v. Hewlett-Packard Company, 2008 U.S. Dist. LEXIS 41848, Case. No. 01- CV01974, *4 (N.D.N.Y. May 27,
2008); ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 868, (Fed.Cir.2010), Uniloc USA, Inc. v. Microsoft Corp.,
632 F.3d 1292 (Fed. Cir. 2011).

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                           Defendant            Date of First Sale / Infringement

                      Micro Center                     October 2, 2005 47

                      Newegg                                 2006 48

                      Office Depot                           2006 49

                      HP                               November 2006 50

                      Gear Head                        January 1, 2007 51

                      Best Buy                            June 2007 52

                      Fry’s                             August 8, 2007 53

                      Walmart                         September 1, 2008 54

                      Sakar                           September 9, 2009 55

                      Kohl’s                             Spring 2010 56


32.     The hypothetical negotiation would have occurred for each of the Defendants’ rights to
the ‘343 Patent owned either by GlobalMedia or APAC. As noted above, GlobalMedia is a
subsequent assignee of the ‘343 Patent. 57 On February 22, 2010, GlobalMedia granted to APAC
an exclusive license to all substantial rights to the ‘343 Patent. 58 On June 11, 2010, APAC
assigned all of its rights in the ‘343 Patent to AdjustaCam. 59 As a result, the hypothetical
negotiation would have occurred between GlobalMedia and each of the Defendants, except for
Kohl’s, on or around the date of first infringement as identified in the table above. At the time of
first alleged infringement by Kohl’s, the rights to the ‘343 Patent resided with APAC and

47
   See Exhibit 5.7.
48
   See Exhibit 5.8.
49
   See Exhibit 5.9.
50
   See Exhibit 5.5.
51
   See Exhibit 5.4.
52
   See Exhibit 5.1.
53
   See Exhibit 5.3.
54
   See Exhibit 5.10.
55
   See Exhibit 5.2.
56
   I understand that Kohl’s spring season beings on February 1 and ends on July 31; See Exhibit 5.6.
57
   http://assignments.uspto.gov/assignments/q?db=pat&pat=5855343; ADJCAM000133-147.
58
   ADJCAM000133-147 at 133.
59
   Assignment and Assumption Agreement between Acacia Patent Acquisition LLC (“APAC”) and AdjustaCam
LLC effective June 11, 2010.

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therefore the hypothetical negotiation would have occurred between APAC and Kohl’s on or
around Spring 2010. 60


33.     According to Mr. Barthelemy, GlobalMedia would have considered similar information
to the information that APAC and AdjustaCam considered in a hypothetical negotiation for the
rights to the ‘343 Patent. 61 In fact, Mr. Barthelemy advised me that he was involved in PAR’s
negotiations with Philips Electronics North America Corporation (“Philips”) and                                   . 62
Accordingly, GlobalMedia 63 and APAC would have both relied upon the licensing history of the
‘343 Patent as guidance in a hypothetical negotiation, and more specifically the licenses between
PAR and Philips and PAR and                     as a benchmark for reasonable royalty rate.

34.     Furthermore, the hypothetical negotiation dates for the Defendants range from October 2,
2005 through Spring 2010. Based on my investigation, the economic conditions during this
period as it relates to the webcam market were such that the reasonable royalty rate that would
result from hypothetical negotiations between GlobalMedia, APAC and the Defendants would
not have been affected. This is consistent with the actual licenses, discussed below, which I
analyzed. During a period of about 1.76 years over which 20 licenses were executed, the royalty
rates that were agreed to for a license to the Patent-in-Suit were generally within a range of $1.25
to $1.50 per licensed product. Furthermore, as more licenses were entered into within this range
from 2006 forward, with the passage of time that royalty range would, if anything, increase in
usefulness as a benchmark.


        6.2      Georgia-Pacific Factor Analysis

35.     In the following paragraphs, I have analyzed the Georgia-Pacific factors to determine a
reasonable royalty rate in a patent infringement matter. I do not give the factors equal weight in
my analysis. Rather, I use the Georgia-Pacific factors as a part of my overall analysis in a
manner that has been approved of in a long line of court opinions.



60
   Kohl’s produced sales information based on seasons and therefore a specific date of infringement is unknown.
61
   Interview of Joel Barthelemy.
62
   Interview of Joel Barthelemy.
63
   Interview of Joel Barthelemy.

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Factor #1 – The royalties received by the patentee for the licensing of the patent-in-suit,
proving or tending to prove an established royalty.



36.      Georgia-Pacific factor #1 involves consideration of the existence of an established
royalty for the Patent-in-Suit. As of the date of this report, neither GlobalMedia nor APAC had
licensed the Patent-in-Suit to any third-party outside the settlement of litigation. 64 However, I
understand that AdjustaCam has entered into 20 settlement and license agreements that granted
rights to the Patent-in-Suit as a result of the current litigation. Additionally, PAR also entered
into two settlement and license agreements for the Patent-in-Suit.                      In some circumstances,
settlement agreements offer the most relevant guidance as to a reasonable royalty that would
have been negotiated by the parties in a hypothetical negotiation. In fact, I understand that in
ResQNet, the Federal Circuit observed that the “most reliable license” in that case arose out of
litigation of the asserted patents. 65


Foundational Agreements

37.      PAR, the previous owner of the ‘343 Patent, entered into two early settlements that
helped establish a royalty rate range (i.e., $1.25 to $1.50) that would be the basis for each of
AdjustaCam’s subsequent settlements. 66 These two agreements are discussed below.




38.      Effective October 22, 2001, PAR entered into a Settlement and License Agreement with
        .67 Under the agreement, PAR granted                      a non-exclusive right to make, have made,
use, offer to sell, sell, and/or import Licensed Products in the U.S. 68 PAR also granted

64
   On February 22, 2010, GlobalMedia entered into an Exclusive License Agreement with APAC wherein it granted
APAC exclusive rights to the ‘343 Patent in exchange for a portion of Net Proceeds obtained by APAC. As a result,
GlobalMedia has never licensed an operating entity that makes or sells a product outside the settlement of litigation.
Furthermore, I understand that Chicony anonymously contacted AdjustaCam for a license to the ‘343 Patent.
Chicony was indemnifying three of its customers, who were also anonymous. As a result, the license was negotiated
without any reference to Chicony or the parties that they represented and was based on good faith negotiations. It
was not until after the contract was agreed upon that Chicony and its customers were identified.
65
   ResQNet.com, Inc. v. Lansa, Inc., 2010 WL 396157 (Fed. Cir. 2010).
66
   Interview of Steve Wong.
67
   ADJCAM-SETTLE000001 – 15.
68
   ADJCAM-SETTLE000001 – 15 at 2 – 3.

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customers a non-exclusive right to use, offer to sell, sell, and/or import Licensed Products in the
U.S. made by or for             . 69 In consideration of the rights granted by PAR,        agreed to
make an initial, non-refundable payment of $90,000, which would be creditable toward royalty
payments for past and future sales, based upon the following per-unit royalty schedule and also
calculated separately for each past and future year: 70


                         •    0 – 20,000 units: $1.00 / unit
                         •    20,001 - 40,000: $2.00 / unit
                         •    40,001 - 60,000: $6.00 / unit
                         •    More than 60,000: $8.00 / unit

39.     The parties agreed that after the $90,000 initial payment was exhausted,           agreed to
pay running royalties for future manufacture or sales, in accordance to the schedule above.71
         was not entitled to any refund or reimbursement of any portions of the initial payment
regardless of its actual sales volume. 72 The parties agreed to submit to the court a dismissal of
the lawsuit and also issue a joint press release indicating that        has accepted a license under
the ‘343 Patent. 73 The agreement would remain in effect until the expiration date of the ‘343
Patent, or until every claim of the ‘343 Patent is held invalid or enforceable by a court of
competent jurisdiction in a final judgment from which no further appeal could be taken. 74


40.     Additionally, in the event that PAR entered into a settlement or license agreement under
the ‘343 Patent with a third party under overall terms and conditions that, taken as a whole were
more favorable to such a third party, then PAR was required to notify                 in writing and
        then had the right to elect the more favorable terms provided that             also accepted
any relevant less favorable terms in the same agreement. 75




69
   ADJCAM-SETTLE000001 – 15 at 2 – 3.
70
   ADJCAM-SETTLE000001 – 15 at 3 – 4.
71
   ADJCAM-SETTLE000001 – 15 at 3 – 4.
72
   ADJCAM-SETTLE000001 – 15 at 4 – 5.
73
   ADJCAM-SETTLE000001 – 15 at 5.
74
   ADJCAM-SETTLE000001 – 15 at 7.
75
   ADJCAM-SETTLE000001 – 15 at 7 – 8.

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41.       Using the unit ranges of 0 - 20,000 ($1.00 I unit) and 20,001 - 40,000 ($2.00 I unit) as a
consetvative baseline, PAR was expected to receive an average royalty payment of
approximately $1.50 per licensed product.




42.       Effective December 31, 2001 , Par and -                          entered a Settlement and License
Agreement for rights to the '343 Patent. 76 PAR granted -                            a worldwide, non-exclusive
license to make, have made, use, lease, sell, offer to sell, imp01t, exp01t, distribute, and otherwise
dispose of Licensed Products sold by -                    .77 The initial tenn of the license was 10 years. 78
-           paid a lmnp-sum fee of $100,000 as full and complete consideration for all previous
matters peliaining to the claimed infringement of the '343 Patent against the -
Smat1Clip. 79 Additionally, -                  agreed to pay future per unit royalties for each Licensed
Product at the following rates: 80


      •    Total aggregate royalties up to $2 million: $1.25 per unit81
      •    Total aggregate royalties between $2 to 4 million: $1.00 per unit
      •    Total aggregate royalties between $4 to 5 million: $0.75 per unit
      •    Total aggregate royalties between $5 to 6 million: $0.50 per unit
      •    Total aggregate royalties greater than $6 million: Royalty-free


43.       As patt of the Settlement and License Agreement, PAR and -                              agreed to finalize
and enter into a separate Distribution Agreement relating to -                                    manufacture and
distribution of Firewire and USB webcams using the                                  by March 31, 2002. 82 If the
patties were unable to mutually agree on the tetms and conditions of a defmitive Distribution

76
   GLOBALMEDIA0000013 - 34.
77
   GLOBALMEDIA0000013- 34.
78
   GLOBALMEDIAOOOOO 13 - 34.
79
   GLOBALMEDIA0000013 - 34.
80
   GLOBALMEDIA0000013 - 34.
81
   Pursuant to the most favored nations clause of                   agre.ement, upon execution of the-
agreement, the royalties payable under                     agreement were reduced to $1.25 I unit for total aggregate
royalties up to $2 million.                             - 34.
82
   PAR I WIYN Investments, Inc. I GlobalMedia did in fact enter into a License and Distribution Agreements.
However, this license is not indicative of a bare patent license that would have been negotiated by the parties for
rights to the '343 Patent. GLOBALMEDIAOOOOOOI - 12.

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Agreement, then                   agreed to pay PAR an additional license fee of $550,000 and PAR
would then extend the terms of the license granted in the Settlement and License Agreement into
a perpetual license for the life of the ‘343 Patent and at the same royalty rates above. 83


Settlement Agreements w/ Lump-Sum and Running Royalty

44.      From September 2010 to May 2012, AdjustaCam entered into 6 settlement and license
agreements which included a lump-sum payment plus a running royalty of $1.50 which would
kick in after a certain number of units were sold.                    According to Mr. Wong, AdjustaCam
understood, and the Defendants in the litigation appeared to understand, that AdjustaCam could
not recover past royalties due to the marking statute, 84 and the estimated future sales of these six
licensees (using linear projections based upon past sales) were relatively small. 85                           In each
instance the lump sum payment was a number higher than expected from future sales applying a
$1.50 rate. Further, in each instance the parties agreed to a running royalty ranging between
$1.25 and $1.50 in the event that future sales exceeded what was covered by the lump sum.
These agreements are discussed in more detail below.




45.      Effective September 21, 2010, AdjustaCam granted                            a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell and sell methods, apparatuses and systems covered by the claims of the Licensed
Patents. 86 The license would remain in force until the expiration or final determination of
invalidity of the last surviving Licensed Patent. 87 AdjustaCam also granted a covenant not to sue
          its affiliates, suppliers, subcontractors, distributors, resellers, and customers. 88
agreed that it would not challenge, or assist others in challenging in any way, the validity or

83
   GLOBALMEDIA0000001 – 12.
84
   35 U.S.C. § 287 (“No remedies for infringement under section 271(g) of this title shall be available with respect to
any product in the possession of, or in transit to, the person subject to liability under such section before that person
had notice of infringement with respect to that product.”). See Doc Nos. 426 (Court Order) and 489 (AdjustaCam
Response to Motion) regarding the parties’ awareness of non-marking. See also Defendant Answers asserting the
marking defense (e.g.. Doc Nos. 150, 153, 156, 159, 163, 169, 171, 172, 201, 202, 203, 204, 209, 211, 227 and
310)
85
   Interview of Steve Wong.
86
   ADJCAM-SETTLE000060 – 69 at 61.
87
   ADJCAM-SETTLE000060 – 69 at 63.
88
   ADJCAM-SETTLE000060 – 69 at 61.

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enforceability, including in connection with court or reexamination proceedings, of the Licensed
Patents unless required by law or a court of competent jurisdiction. 89 In consideration for the
rights granted in the license,            paid a non-refundable payment of $25,000 to AdjustaCam,
which would extend only to a cumulative total of 16,500 units of Licensed Products, resulting in
an implied per unit royalty of $1.52 per unit. 90 In the event that                 determined that more
than 16,500 units of Licensed Products were expected to be made, made for, sold, offered for
sale, or imported by            in the U.S.,           would have the option to purchase an additional
license at $1.50 per Licensed Product. 91




46.     Effective November 22, 2010, AdjustaCam granted
         a worldwide, non-exclusive, non-transferable, fully paid-up license to the ‘343 Patent to
make, have made, use, import, offer to sell and sell methods, apparatuses and systems covered by
the claims of the Licensed Patents. 92 The license would remain in force until the expiration of
the last surviving Licensed Patent. 93 AdjustaCam also granted a covenant not to sue
                                  its affiliates, suppliers, subcontractors, distributors, resellers, and
customers. 94                                              also agreed that they would not challenge, or
assist others in challenging in any way, the validity or enforceability, including in connection
with court or reexamination proceedings, of the Licensed Patents unless required by law or a
court of competent jurisdiction. 95         In consideration for the rights granted in the license,
                                                     paid a non-refundable payment of $25,000 to
AdjustaCam, which covered cumulative sales of 16,500 units of Licensed Products, resulting in
an implied per unit royalty of $1.52 per unit. 96 In the event that
         determined that more than 16,500 units of Licensed Products were expected to be made,
made for, sold, offered for sale, or imported by                                                    in the
89
   ADJCAM-SETTLE000060 – 69 at 64.
90
   ADJCAM-SETTLE000060 – 69 at 61 – 62 ($25,000 / 16,500 = $1.52 per unit.).
91
   ADJCAM-SETTLE000060 – 69 at 62.
92
   ADJCAM-SETTLE000038 – 48.
93
   ADJCAM-SETTLE000038 – 48 at 41.
94
   ADJCAM-SETTLE000038 – 48 at 39.
95
   ADJCAM-SETTLE000038 – 48 at 42.
96
   ADJCAM-SETTLE000038 – 48 at 39. ($25,000 / 16,500 = $1.52 per unit.)

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United States,                                                  then had the option to purchase an
additional license at $1.50 per Licensed Product. 97




47.     Effective March 17, 2011, AdjustaCam granted                  a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 98 The license would be in force until March 7, 2017. 99
AdjustaCam also granted a covenant not to sue                   its affiliates, suppliers, subcontractors,
distributors, resellers, and customers. 100             agreed that it would not challenge, or assist
others in challenging in any way, the validity or enforceability, including in connection with
court or reexamination proceedings, of the Licensed Patents unless required by law or a court of
competent jurisdiction. 101 In consideration for the rights granted in the license,                paid a
non-refundable payment of $15,000 to AdjustaCam, which covered cumulative sales of 12,000
units of Licensed Products, resulting in an implied per unit royalty of $1.25 per unit. 102 In the
event that           determined that more than 12,000 units of Licensed Products were expected to
be made, made for, sold, offered for sale, or imported by                       in the United States, then
         had the option to purchase an additional license at $1.50 per Licensed Product. 103
Additionally, if           breached the agreement by contesting the validity or enforceability of the
Patent-in-Suit, then the per unit royalty would double to $3.00 per unit. 104




48.     Effective March 23, 2011, AdjustaCam granted                 a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 105 The license was in force until the expiration or final



97
   ADJCAM-SETTLE000038 – 48 at 39.
98
   ADJCAM-SETTLE000049 – 59.
99
   ADJCAM-SETTLE000049 – 59 at 52.
100
    ADJCAM-SETTLE000049 – 59 at 50.
101
    ADJCAM-SETTLE000049 – 59 at 53.
102
    ADJCAM-SETTLE000049 – 59 at 50 – 51. ($15,000 / 12,000 = $1.25 per unit.)
103
    ADJCAM-SETTLE000049 – 59 at 51.
104
    ADJCAM-SETTLE000049 – 59 at 51.
105
    ADJCAM-SETTLE000027 – 37.

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determination of invalidity of the last surviving Licensed Patent. 106 AdjustaCam also granted a
covenant not to sue              its affiliates, suppliers, subcontractors, distributors, resellers, and
             107
customers.               agreed that it would not challenge, or assist others in challenging in any
way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 108 In consideration for the rights granted in the license,        paid a non-refundable
payment of $18,000 to AdjustaCam, which covered cumulative sales of 12,000 units of Licensed
Products. This resulted in an implied per unit royalty of $1.50 per unit. 109 In the event that
       determined that more than 12,000 units of Licensed Products were expected to be made,
made for, sold, offered for sale, or imported by             in the United States,         then had the
option to purchase an additional license at $1.50 per Licensed Product. 110 Additionally, if
breached the agreement by contesting the validity or enforceability of the Patent-in-Suit, then the
per unit royalty would double to $3.00 per unit. 111




49.     Effective June 3, 2011, AdjustaCam granted                                   a worldwide, non-
exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use,
import, offer to sell, and sell the Licensed Products. 112 The term of the license would continue
until March 7, 2017. 113 AdjustaCam also granted a covenant not to sue                              , its
affiliates, suppliers, subcontractors, distributors, resellers, and customers. 114
also agreed that it would not challenge, or assist others in challenging in any way, the validity or
enforceability, including in connection with court or reexamination proceedings, of the Licensed
Patents unless required by law or a court of competent jurisdiction. 115 In consideration for the
rights granted in the license,                         made a non-refundable payment of $15,000 to
AdjustaCam, which covered cumulative sales of 10,000 units of Licensed Products.                   This
106
    ADJCAM-SETTLE000027 – 37.
107
    ADJCAM-SETTLE000027 – 37.
108
    ADJCAM-SETTLE000027 – 37.
109
    ADJCAM-SETTLE000027 – 37.
110
    ADJCAM-SETTLE000027 – 37.
111
    ADJCAM-SETTLE000027 – 37.
112
    ADJCAM-SETTLE000106 – 116.
113
    ADJCAM-SETTLE000106 – 116.
114
    ADJCAM-SETTLE000106 – 116.
115
    ADJCAM-SETTLE000106 – 116.

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resulted in an implied per unit royalty of $1.50 per unit. 116 In the event that
determined that more than 10,000 units of Licensed Products were expected to be made, made
for, sold, offered for sale, or imported by                          in the U.S.,                        then
had the option to purchase an additional license at $1.50 per Licensed Product. 117 Additionally,
if                       breached the agreement by contesting the validity or enforceability of the
Patent-in-Suit, the per unit royalty would double to $3.00 per unit. 118




50.     Effective May 10, 2012, AdjustaCam granted                      a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 119            The license was in force until March 7, 2017. 120
AdjustaCam also granted a covenant not to sue                     its affiliates, suppliers, subcontractors,
distributors, resellers, and customers. 121                agreed that it would not challenge, or assist
others in challenging in any way, the validity or enforceability, including in connection with
court or reexamination proceedings, of the Licensed Patents unless required by law or a court of
competent jurisdiction. 122 In consideration for the rights granted in the license,                   made a
non-refundable payment of $20,000 to AdjustaCam, which covered cumulative sales of 13,333
units of Licensed Products. This resulted in an implied per unit royalty of $1.50 per unit. 123


Settlement Agreements w/ Lump-Sum Only

51.     From December 2010 to June 2012, AdjustaCam entered into 14 settlement and license
agreements that included only a lump-sum payment. According to Mr. Wong the lump-sum
payments were negotiated using a benchmark of at least $1.25 to $1.50 to estimated future
sales. 124 Furthermore, these licensees had low sales and were not expected to exceed the volume


116
    ADJCAM-SETTLE000106 – 116.
117
    ADJCAM-SETTLE000106 – 116.
118
    ADJCAM-SETTLE000106 – 116.
119
    ADJCAM-SETTLE000235-243.
120
    ADJCAM-SETTLE000235-243.
121
    ADJCAM-SETTLE000235-243.
122
    ADJCAM-SETTLE000235-243.
123
    ADJCAM-SETTLE000235-243.
124
    Interview of Steve Wong. I understand that Chicony was a unique agreement in which Chicony anonymously
approached AdjustaCam seeking a license without being a named party in the litigation. As such, Chicony was

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derived by AdjustaCam for estimated future sales, which was the benchmark for the lump-sum
payment. 125 These agreements are discussed in more detail below.




52.     Effective December 28, 2010, AdjustaCam granted                          a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell, and sell the Licensed Products. 126 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 127 AdjustaCam also granted a
covenant not to sue               its affiliates, suppliers, subcontractors, distributors, resellers, and
customers. 128           agreed that it would not challenge, or assist others in challenging in any
way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 129 In consideration of the rights granted in the license,                 paid a non-refundable
payment of $212,500 to AdjustaCam. 130




53.     Effective March 24, 2011, AdjustaCam granted                       a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 131 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 132 AdjustaCam also granted a
covenant not to sue               its affiliates, suppliers, subcontractors, distributors, resellers, and
customers. 133           agreed that it would not challenge, or assist others in challenging in any


granted a license at a discounted rate of approximately $1.05. Furthermore, based on the circumstances of the
license, one could argue that this agreement was executed outside the settlement of litigation.
125
    Interview of Steve Wong.
126
    ADJCAM-SETTLE000016 – 26.
127
    ADJCAM-SETTLE000016 – 26.
128
    ADJCAM-SETTLE000016 – 26.
129
    ADJCAM-SETTLE000016 – 26.
130
    ADJCAM-SETTLE000016 – 26.
131
    ADJCAM-SETTLE000244-254.
132
    ADJCAM-SETTLE000244-254.
133
    ADJCAM-SETTLE000244-254.

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way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 134 In consideration for the rights granted in the license,           paid a non-refundable
                                            135
payment of $100,000 to AdjustaCam.




54.     Effective June 28, 2011, AdjustaCam granted                    a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 136 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 137 AdjustaCam also granted a
covenant not to sue                  its affiliates, suppliers, subcontractors, distributors, resellers, and
              138
customers.                    agreed that it would not challenge, or assist others in challenging in any
way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 139 In consideration for the rights granted in the license,                    made a non-
refundable payment of $100,000 to AdjustaCam. 140


55.     I understand that                initially approached AdjustaCam when it became aware that
three of its customers were named as Defendants in this lawsuit. I understand that during the
negotiations of the agreement, AdjustaCam was unaware of the identity of                             or the
identity of                 customers in the suit. It was only after the agreement was verbally reached
that                and its customers were divulged to AdjustaCam for purposes of including them in a
written agreement. I understand that AdjustaCam provided                        with a discounted royalty
rate of approximately $1.05, due to the fact that                 approached AdjustaCam anonymously
and represented that it was beyond the reach of the U.S. patent laws. The                      license was
not executed as a result of litigation against


134
    ADJCAM-SETTLE000244-254.
135
    ADJCAM-SETTLE000244-254.
136
    ADJCAM-SETTLE000097 – 105.
137
    ADJCAM-SETTLE000097 – 105.
138
    ADJCAM-SETTLE000097 – 105.
139
    ADJCAM-SETTLE000097 – 105.
140
    ADJCAM-SETTLE000097 – 105.

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56.     Effective August 8, 2011, AdjustaCam granted                        a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell, and sell the Licensed Products. 141 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 142 AdjustaCam also granted a
covenant not to sue                     its affiliates, suppliers, subcontractors, distributors, resellers,
and customers. 143                  agreed that it would not challenge, or assist others in challenging
in any way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 144 In consideration for the rights granted in the license,                    made a non-
refundable payment of $80,000 to AdjustaCam. 145




57.     Effective August 11, 2011, AdjustaCam granted                                 a worldwide, non-
exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use,
import, offer to sell, and sell the Licensed Products. 146 The license was in force until the
expiration or final determination of invalidity of the last surviving Licensed Patent.147
AdjustaCam also granted a covenant not to sue                                 , its affiliates, suppliers,
subcontractors, distributors, resellers, and customers. 148                         agreed that it would
not challenge, or assist others in challenging in any way, the validity or enforceability, including
in connection with court or reexamination proceedings, of the Licensed Patents unless required
by law or a court of competent jurisdiction. 149 In consideration for the rights granted in the
license,                     made a non-refundable payment of $50,000 to AdjustaCam. 150


141
    ADJCAM-SETTLE000117 – 126.
142
    ADJCAM-SETTLE000117 – 126.
143
    ADJCAM-SETTLE000117 – 126.
144
    ADJCAM-SETTLE000117 – 126.
145
    ADJCAM-SETTLE000117 – 126.
146
    ADJCAM-SETTLE000127 – 139.
147
    ADJCAM-SETTLE000127 – 139.
148
    ADJCAM-SETTLE000127 – 139.
149
    ADJCAM-SETTLE000127 – 139.
150
    ADJCAM-SETTLE000127 – 139.

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58.     Effective September 12, 2011, AdjustaCam granted                               a worldwide, non-
exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use,
import, offer to sell, and sell the Licensed Products. 151 The term of the license would continue
until the latest date of the expiration of the Licensed Patent. 152 AdjustaCam also granted a
covenant not to sue                     , its affiliates, suppliers, subcontractors, distributors, resellers,
and customers. 153                         agreed that it would not challenge, or assist others in
challenging in any way, the validity or enforceability, including in connection with court or
reexamination proceedings, of the Licensed Patents unless required by law or a court of
competent jurisdiction. 154 In consideration for the rights granted in the license,
made a non-refundable payment of $25,000 to AdjustaCam. 155




59.     Effective November 3, 2011, AdjustaCam granted                 a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 156 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 157 AdjustaCam also granted a
covenant not to sue               its affiliates, suppliers, subcontractors, distributors, resellers, and
customers. 158         agreed that it would not challenge, or assist others in challenging in any way,
the validity or enforceability, including in connection with court or reexamination proceedings,
of the Licensed Patents unless required by law or a court of competent jurisdiction. 159 In
consideration for the rights granted in the license,               made a non-refundable payment of
                            160
$20,000 to AdjustaCam.


151
    ADJCAM-SETTLE000191 – 201.
152
    ADJCAM-SETTLE000191 – 201.
153
    ADJCAM-SETTLE000191 – 201.
154
    ADJCAM-SETTLE000191 – 201.
155
    ADJCAM-SETTLE000191 – 201.
156
    ADJCAM-SETTLE000153 – 163.
157
    ADJCAM-SETTLE000153 – 163.
158
    ADJCAM-SETTLE000153 – 163.
159
    ADJCAM-SETTLE000153 – 163.
160
    ADJCAM-SETTLE000153 – 163.

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60.     Effective November 11, 2011, AdjustaCam granted                                                  a
worldwide, non-exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make,
have made, use, import, offer to sell, and sell the Licensed Products. 161 The license was in force
untill March 7, 2017. 162 AdjustaCam also granted a covenant not to sue
         , its affiliates, suppliers, subcontractors, distributors, resellers, and customers. 163
                         agreed that it would not challenge, or assist others in challenging in any
way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 164 For the rights granted in the license,                                  made a non-
refundable payment of $225,000 to AdjustaCam. 165




61.     Effective November 18, 2011, AdjustaCam granted                   a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell, and sell the Licensed Products. 166 The license was in force until March 7, 2017. 167
AdjustaCam also granted a covenant not to sue                 its affiliates, suppliers, subcontractors,
distributors, resellers, and customers. 168             agreed that it would not challenge, or assist
others in challenging in any way, the validity or enforceability, including in connection with
court or reexamination proceedings, of the Licensed Patents unless required by law or a court of
competent jurisdiction. 169 In consideration for the rights granted in the license,             made a
non-refundable payment of $65,000 to AdjustaCam. 170



161
    ADJCAM-SETTLE000176 – 190.
162
    ADJCAM-SETTLE000176 – 190.
163
    ADJCAM-SETTLE000176 – 190.
164
    ADJCAM-SETTLE000176 – 190.
165
    ADJCAM-SETTLE000176 – 190.
166
    ADJCAM-SETTLE000142 – 152.
167
    ADJCAM-SETTLE000142 – 152.
168
    ADJCAM-SETTLE000142 – 152.
169
    ADJCAM-SETTLE000142 – 152.
170
    ADJCAM-SETTLE000142 – 152.

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62.     Effective December 30, 2011, AdjustaCam granted                              a worldwide, non-
exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use,
import, offer to sell, and sell the Licensed Products. 171 The license was in force until the latest
date of the expiration of the Licensed Patent. 172 AdjustaCam also granted a covenant not to sue
                  , its affiliates, suppliers, subcontractors, distributors, resellers, and customers. 173
                    agreed that it would not challenge, or assist others in challenging in any way,
the validity or enforceability, including in connection with court or reexamination proceedings,
of the Licensed Patents unless required by law or a court of competent jurisdiction. 174 In
consideration for the rights granted in the license,                           made a non-refundable
payment of $20,000 to AdjustaCam. 175




63.     Effective March 15, 2012, AdjustaCam granted                      a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell, and sell the Licensed Products. 176 The license was in force until the March 7, 2017.177
AdjustaCam also granted a covenant not to sue                                 its affiliates, suppliers,
subcontractors, distributors, resellers, and customers. 178                   agreed that it would not
challenge, or assist others in challenging in any way, the validity or enforceability, including in
connection with court or reexamination proceedings, of the Licensed Patents unless required by
law or a court of competent jurisdiction. 179 In consideration for the rights granted in the license,
             paid a non-refundable payment of $25,000 to AdjustaCam. 180



171
    ADJCAM-SETTLE000164 – 175.
172
    ADJCAM-SETTLE000164 – 175.
173
    ADJCAM-SETTLE000164 – 175.
174
    ADJCAM-SETTLE000164 – 175.
175
    ADJCAM-SETTLE000164 – 175.
176
    ADJCAM-SETTLE000202 – 212.
177
    ADJCAM-SETTLE000202 – 212 at 203.
178
    ADJCAM-SETTLE000202 – 212 at 203.
179
    ADJCAM-SETTLE000202 – 212 at 205 – 206.
180
    ADJCAM-SETTLE000202 – 212 at 203.

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64.     Effective March 22, 2012, AdjustaCam granted                      a worldwide, non-exclusive,
non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer
to sell, and sell the Licensed Products. 181 The license was in force until the expiration or final
determination of invalidity of the last surviving Licensed Patent. 182 AdjustaCam also granted a
covenant not to sue                its affiliates, suppliers, subcontractors, distributors, resellers, and
             183
customers.                 agreed that it would not challenge, or assist others in challenging in any
way, the validity or enforceability, including in connection with court or reexamination
proceedings, of the Licensed Patents unless required by law or a court of competent
jurisdiction. 184 In consideration for the rights granted in the license,                   paid a non-
refundable payment of $40,000 to AdjustaCam. 185




65.     Effective May 31, 2012, AdjustaCam granted                                   a worldwide, non-
exclusive, non-transferable, fully paid-up license to the ‘343 Patent to make, have made, use,
import, offer to sell, and sell the Licensed Products. 186 The license was in force until March 7,
2017. 187 AdjustaCam also granted a covenant not to sue                                   , its affiliates,
suppliers, subcontractors, distributors, resellers, and customers. 188                             agreed
that it would not challenge, or assist others in challenging in any way, the validity or
enforceability, including in connection with court or reexamination proceedings, of the Licensed
Patents unless required by law or a court of competent jurisdiction. 189 In consideration for the
rights granted in the license,                         made a non-refundable payment of $50,000 to
AdjustaCam. 190



181
    ADJCAM-SETTLE000213 – 222.
182
    ADJCAM-SETTLE000213 – 222 at 14.
183
    ADJCAM-SETTLE000213 – 222 at 14.
184
    ADJCAM-SETTLE000213 – 222 at 17.
185
    ADJCAM-SETTLE000213 – 222 at 15.
186
    ADJCAM-SETTLE000202 – 213.
187
    ADJCAM-SETTLE000223 – 234.
188
    ADJCAM-SETTLE000223 – 234.
189
    ADJCAM-SETTLE000223 – 234.
190
    ADJCAM-SETTLE000223 – 234.

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66.      Effective June 22, 2012, AdjustaCam granted                        a worldwide, non-exclusive, non-
transferable, fully paid-up license to the ‘343 Patent to make, have made, use, import, offer to
sell, and sell the Licensed Products. 191 The license was in force until the expiration of the last
surviving Licensed Patent plus an additional 6 years. 192 AdjustaCam also granted a covenant not
to sue           its affiliates, suppliers, subcontractors, distributors, resellers, and customers. 193 In
consideration for the rights granted in the license,                     made a non-refundable payment of
$25,000 to AdjustaCam. 194


Conclusion

67.      The           and              agreements discussed above set the benchmark for a reasonable
royalty rate involving a hypothetical negotiation for rights to the ‘343 Patent. 195 As discussed
above,            agreed to pay per unit royalty rates ranging from $1.00 to $8.00 per unit for rights
to the ‘343 Patent. It appears that                 did not intend to sell more than 40,000 units, because
running royalties escalate significantly from $2.00 to $6.00 per unit after an initial 40,000 units
have been sold. I understand that AdjustaCam believed that the $1.00 to $2.00 per unit royalty
(average of $1.50 per unit) included in the                   license to be representative of an appropriate
royalty rate for rights to the Patent-in-Suit. 196


68.      As discussed above,                   agreed to pay per unit royalties from $1.25 to $0.50 per
unit for rights to the ‘343 Patent under the Settlement and License Agreement. I understand that
AdjustaCam believed that the $1.25 per unit royalty was the most appropriate rate as this rate
applies to sales of up to 1.6 million                    units, which significantly exceeds the volume of
Accused Products sold by any of the Defendants. 197 It is my understanding that AdjustaCam
utilized the $1.50 to $1.25 per unit royalties from the Philips and                            licenses, and from

191
    Settlement and Patent License Agreement between AdjustaCam and CDW dated June 22, 2012, pg. 1.
192
    Settlement and Patent License Agreement between AdjustaCam and CDW dated June 22, 2012, pg. 2.
193
    Settlement and Patent License Agreement between AdjustaCam and CDW dated June 22, 2012, pg. 2.
194
    Settlement and Patent License Agreement between AdjustaCam and CDW dated June 22, 2012, pg. 2.
195
    Interview of Steve Wong.
196
    Interview of Steve Wong.
197
    Interview of Steve Wong. $2 million in aggregate royalties / $1.25 per unit = 1.6 million units. See Exhibit 7.

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other licenses as they were entered into, in its successful negotiations with the various parties
discussed below. 198


69.     AdjustaCam entered into 6 settlement and license agreements for rights to the ‘343 Patent
that included both a lump-sum payment relating to a certain number of units of webcams and
also a running royalty rate for sales of webcams that exceed the units sold that were covered by
the lump-sum payment. 199 The implied royalty rate related to the lump-sum payments was
approximately $1.50 per unit for five license agreements and $1.25 per unit for one license
agreement. 200 The running royalty rates for sales of units exceeding the volume included in the
lump-sum payments for each of the 6 licenses were $1.50 per unit. 201          I understand that
AdjustaCam utilized this royalty structure because these licensees had a low volume of past sales
and it would be highly unlikely that total volume sales would exceed the units included in the
lump-sum payment. 202


70.     AdjustaCam entered into 14 settlement and license agreements for rights to the ‘343
Patent that included only a paid up, lump-sum payment. 203 I understand that these licensees
provided AdjustaCam with past sales information for the accused products. 204 Being aware that
it could not recover royalties for past sales due to the marking statute, AdjustaCam then
estimated future sales through the expiration of the Patent-in-Suit to determine the total sales
volume that would be covered by the lump-sum payment included in the various licenses. 205
Furthermore, I understand that AdjustaCam also considered, and negotiated using the benchmark
of, the same $1.25 to $1.50 per unit royalty rates its predecessor had obtained from the Philips
and             licenses discussed above. 206 I understand that AdjustaCam utilized a lump-sum
only royalty structure because it understood these licensees generated low volumes of past sales
and it was unlikely that total volume sales would exceed the units included in the lump-sum
payment, and because in many cases through successful negotiation it was able to obtain a lump
198
    Interview of Steve Wong.
199
    See Exhibit 7.
200
    See Exhibit 7.
201
    See Exhibit 7.
202
    Interview of Steve Wong.
203
    See Exhibit 7.
204
    Interview of Steve Wong.
205
    Interview of Steve Wong.
206
    Interview of Steve Wong.

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sum which exceeded an implied royalty rate of $1.25 to $1.50 based upon expected future sales.
Also, AdjustaCam was able to use the past volume data the licensees provided to estimate future
sales that were reflected in the paid up, lump sum payment. 207


71.      The 22 agreements described above, especially the                      and Philips agreements
which preceded infringement by the Defendants, provide evidence of an established royalty
($1.25 to $3.00) for the Patent-in-Suit. In Rude v. Westcott, the Supreme Court found that “it is
undoubtedly true that where there has been such a number of sales by a patentee of licenses to
make, use, and sell his patents as to establish a regular price for a license, that price may be taken
as a measure of damages against infringers.” 208 Although these agreements are the result of a
settlement of litigation, they provide the most guidance as to a royalty that would have been
agreed upon in a hypothetical negotiation between the parties. The fact that so many suppliers
and resellers of licensed products, embodying the teachings of the ‘343 patent, agreed to pay
actual and implied royalty rates of at least $1.25 to $1.50 per unit clearly establishes the value
associated with the patented invention to be no less than $1.25 per unit. This also confirms that
the value of the ‘343 Patent is not dependent upon the sales price of the Accused Product.


Factor #2 – The rates paid by the licensee for the use of other patents comparable to the
patent-in-suit.


72.      As of the date of this report, the Defendants have not produced any licenses involving
technology comparable to the Patent-in-Suit.                Micro Center produced five licenses related
generally to video encoding and video anti-copying processes and semiconductor integrated
circuit packaging technology. According to Dr. Muskivitch, the patented technology involved in
the Micro Center licenses is not comparable to the inventions of the ‘343 Patent. 209 Furthermore,
these licenses are not indicative of a bare patent license negotiated between the parties for rights
to the Patent-in-Suit. As a result, this factor would have a neutral effect on a negotiated royalty
between the parties.



207
    Interview of Steve Wong.
208
    Rude et al. v. Westcott et al., 130 U.S. 152 (1889)
209
    Interview of John Muskivitch, Ph.D.

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Factor #3 – The nature and scope of the license, as exclusive or non-exclusive; or as
restricted or non-restricted in terms of territory or with respect to whom the manufactured
product may be sold.

73.        The hypothetical licenses negotiated between GlobalMedia or APAC and the Defendants
would have involved a non-exclusive, U.S., bare patent license to practice the Patent-in-Suit,
including the right to manufacture and sell licensed products in the United States. It would not
have included a license to any know-how, trade secrets, or other non-patented intellectual
property. As a result, this factor would have a neutral effect on a negotiated royalty between the
parties.


Factor #4 – The licensor’s established policy and marketing program to maintain his
patent monopoly by not licensing others to use the invention or by granting licenses under
special conditions designed to preserve that monopoly.

74.        I am not aware of any established policy of any of the Defendants to maintain their
respective patent monopoly. At the time of the hypothetical negotiations, no one had licensed
the Patent-in-Suit outside the settlement of litigation. Although GlobalMedia and APAC had not
licensed the rights to the Patent-in-Suit outside the settlement of litigation, given their business
model, 210 they would have been motivated to license the ‘343 Patent in order to generate a return
on its intellectual property. Further, PAR had already entered into litigation licenses with
             a market leader, and Philips. As a result, this factor would have a downward effect on
a negotiated royalty between the parties.


Factor #5 – The commercial relationship between the licensor and licensee, such as,
whether they are competitors in the same territory in the same line of business; or whether
they are inventor and promoter.

75.        I understand that GlobalMedia is an operating company in the area of telemedicine, but
does not operated in the webcam market. 211             Therefore, neither GlobalMedia nor APAC makes

210
    I understand that GlobalMedia is an operating company in the area of telemedicine, but does not operated in the
webcam market.
211
    Interview of Joel Barthelemy.

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or distributes any products that would compete with the Accused Products sold by the
Defendants. In the context of a hypothetical negotiation, the relationship between GlobalMedia
or APAC and the Defendants would be considered inventor and promoter and not as competitors.
As a result, this factor would have a neutral effect on a negotiated royalty between the parties.


Factor #6 – The effect of selling the patented specialty in promoting sales of other products
of the licensee; the existing value of the invention to licensor as a generator of sales of his
non-patented items; and the extent of such derivative or convoyed sales.

76.        In general, convoyed sales would be the sales of parts, supplies, accessories and related
products, which flow or would be expected to flow to the licensee from the right to manufacture,
use, or sell the patented invention. David Birt, Director of Merchandise Operations for the
Computer Department of Fry’s, testified that Fry’s sometimes sells the Accused Products below
cost “to generate traffic and bring more potential customers into the store.” 212 As of the date of
this report, no information specifically concerning non-infringing products or services which
may be sold by the Defendants as a result of sales of the Accused Products has been produced.
As a result, this factor would have a neutral effect on a negotiated royalty between the parties.


Factor #7 – The duration of the patent and the term of the licensee.

77.        A license resulting from the hypothetical negotiation would have been for the unexpired
term of the Patent-in-Suit. I understand that the Patent-in-Suit will expire on March 6, 2017.
Assuming that the hypothetical negotiation would occur on or around the date of first
infringement, which is identified in the table below, the term of the license would encompass the
majority of the statutory life of the Patent-in-Suit.




212
      Deposition of David Birt, June 5, 2012, pgs. 13 – 14.

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                             Defendant             Date of First Sale / Infringement

                       Micro Center                         October 2, 2005 213

                       Newegg                                      2006 214

                       Office Depot                                2006 215

                       HP                                   November 2006 216

                       Gear Head                            January 1, 2007 217

                       Best Buy                                June 2007 218

                       Fry’s                                August 8, 2007 219

                       Walmart                            September 1, 2008 220

                       Sakar                              September 9, 2009 221

                       Kohl’s                                 Spring 2010 222


78.        As a result, this factor would have a neutral effect on a negotiated royalty between the
parties.


Factor #8 - The established profitability of the product made under the patent; its
commercial success; and its current popularity.

79.        In order to evaluate this factor, it is important to not only review actual sales and profits
realized by the Defendants during the period of alleged infringement, but also the Defendants’
expectations regarding future sales at the time of the hypothetical negotiation. However, based



213
    See Exhibit 5.7.
214
    See Exhibit 5.8.
215
    See Exhibit 5.9.
216
    See Exhibit 5.5.
217
    See Exhibit 5.4.
218
    See Exhibit 5.1.
219
    See Exhibit 5.3.
220
    See Exhibit 5.10.
221
    See Exhibit 5.2.
222
    I understand that Kohl’s spring season beings on February 1 and ends on July 31; See Exhibit 5.6.

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upon reading the Defendants' depositions I understand that none have provided past sales
projections.

Established Profitabilitv

80.        The Defendants realized significant revenues and profits from the sale of Accused
Products.        The following tables illustrate the revenues and profits realized by each of the
Defendants: 223




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                        -- -- -- --
                       II
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                        - -- -- --  -
                             -- -- --
                        -- -- - --
81.        The profitability figures identified above may not be an accmate reflection of the value of
the Accused Products to each of the Defendants. Products often are not sold for profit, or
sometimes even a loss, in order to generate foot traffic and additional sales I profits of other
products. In fact, Mr. Bitt testified that Fty's sometimes sells the Accused Products below cost



223
      See Exhibit 5.

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“to generate traffic and bring more potential customers into the store.” 224 The Defendants would
have been aware of the profitability of the Accused Products and would have felt pressure to
accept a license in order to remain competitive and provide a product that was versatile,
configurable, stable, and portable.

Commercial Success/Popularity

82.      The commercial success and popularity of the Accused Products were discussed in a May
4, 2007 HP consumer study, entitled “HP Accessories Form and Feature Study”. Ninety percent
of consumers responded that the clamp to adjust to the monitor or LCD screen either is essential
or adds value to a webcam. 225 Ninety percent of consumers also responded that the tilt function
is either essential or adds value to a webcam. 226 The clamp to adjust to the monitor or LCD
screen was the 3rd highest ranked feature or functionality of a webcam while the tilt function was
the 5th highest ranked. 227 Additionally, 86% of respondents stated that the clamp to attach to a
Notebook PC was either essential or adds value to a webcam. 228 According to 59% of
respondents, this functionality was the 2nd highest ranked feature or functionality in terms of
being essential to a webcam. 229


83.      In or around 2005, a HP web survey of U.S. webcam home users reported that 47% of
users placed webcams on top of an LCD monitor, 16% placed it directly on the desk, and 19%
placed it upon other items. 230 Additionally, HP has also indicated that one of the trends in the
webcam market is the large adoption of LCD monitors and flat screen TVs, demonstrating the
increased importance of clips that would attach to the monitors and TVs. 231 The survey results
above and the trends in the webcam market demonstrate the importance of a versatile and
configurable webcam clip.




224
    Deposition of David Birt, June 5, 2012, pgs. 13 – 14.
225
    HP00023 – 57, at 36.
226
    HP00023 – 57, at 36.
227
    HP00023 – 57, at 36.
228
    HP00023 – 57, at 36.
229
    HP00023 – 57, at 36.
230
    HP000371 – 406, at 374.
231
    HP000371 – 406, at 383.

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84.     Furthermore, HP, which is clearly a substantial and sophisticated player in this market,
touted the benefits of a versatile and configurable webcam clip. In a HP presentation for three of
its webcams, HP indicated that one of the key features for these three webcams was the “best-in
class LCD clip”. 232 Also, when HP prepared a competitive comparison of the various webcams
on the market, one area of focus was the “versatile clip” of the webcams. 233 HP also touted the
importance of the clip by stating that the “back packaging must highlight the key features /
customer benefits, different attachment options (LCD, Stand, Easy Clip)…” 234 As part of the
hardware specifications for one of its webcams, HP stated that it “must” work on all LCD
monitors (HP easy clip), and a desk (stand). 235 In a competitive analysis performed by HP and
provided to Lora Yadon of Walmart, HP touted that its webcam’s “flexible versatile clip mounts
anywhere”. 236 HP also discussed that its webcam has 360-degree rotation and tilt compared to
the competing Microsoft webcam having only tilt adjustment. 237

85.     I believe that HP’s survey results regarding the patented technology, the benefits touted
by HP, and the significant sales of the patented products sold by licensees and Defendants
indicate that the patented technology is a commercial success and very popular. As such, the
Defendants recognized the need to offer a versatile and configurable webcam clip for its Accused
Products to remain competitive and would have been unwilling to be excluded from competing
in the market and forego future profits from sales of Accused Products. Furthermore, a licensee
is willing to pay higher royalty rates for a patented invention incorporated in products which
generate significant profits. As a result, this factor would have an upward effect on a negotiated
royalty between the parties.




232
    HP000371 – 406, at 387 - 389.
233
    HP000244 – 295, at 252.
234
    HP000244 – 295, at 258.
235
    HP000244 – 295, at 266.
236
    WMT-ACAM0001128 – 1131, at 1129.
237
    WMT-ACAM0001128 – 1131, at 1130.

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Factor #9 – The utility and advantages of the patent property over old modes or devices, if
any, that had been used for working out similar results.

Factor #10 – The nature of the patented invention; the character of the commercial
embodiment of it as owned and produced by the licensor; and the benefits of those who
have used the invention.

86.     Georgia-Pacific Factors Nos. 9 and 10 are often considered together because of their
similar nature. Georgia-Pacific Factors Nos. 9 and 10 both relate to the advantages conveyed
due to use of the patented invention and the related benefits enjoyed by the user of the patented
invention over alternative means of achieving similar results. I have interviewed AdjustaCam’s
technical expert, Dr. Muskivitch, who I have relied upon to form my understanding about the
teachings and benefits of the Patent-in-Suit.


87.     Based on my interview of Dr. Muskivitch, I understand the teachings of the Patent-in-
Suit represent a novel technology advancement. 238 According to Dr. Muskivitch, the teachings
of the ‘343 Patent “revolutionized” personal and business communication through the ability to
attach and configure a device, such as a webcam, to a variety of objects. 239


Utility and Advantages

88.     I understand that prior to the invention disclosed in the ‘343 Patent, camera support
apparatus were relatively large and not easily transportable. 240 They also did not provide means
to protect the camera during transport, and if constructed of hard, exposed materials, tended to
damage the cameras. 241 Furthermore, the prior art apparatus could not easily accommodate the
variety of applications desired for portable cameras and often times more than one camera
support apparatus was necessary in order to support the desired range of applications. 242 This
created a “desire…within the industry for a small, easily transportable camera support apparatus
for supporting the camera on both horizontal surfaces, such as the surface of a desk or table, and


238
    Interview of John Muskivitch, Ph.D.
239
    Interview of John Muskivitch, Ph.D.
240
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
241
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
242
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.

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vertical surfaces, such as the display screen of a laptop computer, and to protect the camera
during storage.” 243


89.     I understand that the Accused Feature supports the camera in any number of desired
configurations and accommodates repositioning the camera to new orientations during use and is
easily transportable. 244      Additionally, the Accused Feature is lightweight and versatile in
accommodating new camera and laptop designs. 245 According to Dr. Muskivitch, the Accused
Feature “is highly advantageous over the prior art due to its versatility, configurability, stability
and portability.” 246 The Accused Feature allows for webcams to be configurable for different
angles and views, and ensures that they have a secure, stable perch, which is also “highly
desirable”. 247 Furthermore, the ‘343 Patent has revolutionized visual communications because it
has allowed for ease of accessibility of the visual connection to a computer. 248

Conclusion

90.     According to Dr. Muskivitch, the teachings of the Patent-in-Suit represents a novel
technology advancement and the teachings of the ‘343 Patent “revolutionized” personal and
business communication through the ability to attach and configure a device, such as a webcam,
to a variety of objects. 249        There was a “desire…within the industry for a small, easily
transportable camera support apparatus for supporting the camera on both horizontal surfaces,
such as the surface of a desk or table, and vertical surfaces, such as the display screen of a laptop
computer, and to protect the camera during storage.” 250 The Accused Feature answered the
desires of the industry as it “is highly advantageous over the prior art due to its versatility,
configurability, stability and portability.” 251        HP touted the benefits of the ability to offer a
versatile and configurable webcam clip and considered it a competitive advantage. As a result,
this factor would have an upward effect on a negotiated royalty between the parties.


243
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
244
    Interview of John Muskivitch, Ph.D.
245
    Interview of John Muskivitch, Ph.D.
246
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
247
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
248
    Interview of John Muskivitch, Ph.D.
249
    Interview of John Muskivitch, Ph.D.
250
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
251
    Interview of John Muskivitch, Ph.D.

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Factor #11 - The extent to which the infringer has made use of the invention and any
evidence probative of the value of that use.


91.        The Defendants are accused of making substantial use of the Patent-in-Suit, and have
profited substantially from that alleged use.             As noted above, the Defendants have realized
significant revenues and profits from its sale of Accused Products:252




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92.        The Defendants would have recognized that the Accused Feature "is highly advantageous
over the prior art due to its versatility, configurability, stability and portability." 253       The
Defendants would have recognized the need in the market for "for a small, easily transp01table
camera support apparatus for supp01t ing the camera on both horizontal surfaces, such as the
surface of a desk or table, and veliical surfaces, such as the display screen of a laptop computer,


252
      See Exhibit 5.
253
      Interview of Jolm Muskivitch, Ph .D.

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                                                         A0568
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and to protect the camera during storage.” 254 As a result, the Defendants would be reluctant to
forgo the opportunity to offer the Accused Feature in the Accused Products. This would impose
upward pressure on a negotiated royalty between the parties.


Factor #12 – The portion of the profit or the selling price that may be customary in the
particular business or in comparable businesses to allow for the use of the invention or
analogous inventions.

93.        The relevant inquiry with respect to this factor is whether there is a customary royalty
rate for analogous inventions in the public domain. As a result, I obtained information from
RoyaltySource, 255 an online database and provider of publicly-available information on licenses
of intellectual property, based on descriptions of licenses responsive to keyword search terms
provided by AdjustaCam’s technical expert Dr. Muskivitch.                    These search terms included:
“Camera clip, Camera stand, Camera mount, Camera holder, Camera support, Camera tripod,
Camera monopod, Webcam clip, Webcam stand, Webcam mount, Webcam holder, Webcam
support, Webcam tripod, Video clip, Video stand, Video mount, Video holder, Video support,
Video tripod, Video monopod, Photography clip, Photography stand, Photography mount,
Photography holder, and Photography support.”

94.        Based on the above search terms, a search of the RoyaltySource database did not yield
any publicly-available licenses that involved patented technology comparable to the ‘343
Patent. 256 As a result, this factor would have a neutral effect on a negotiated royalty between the
parties.


Factor #13 – The portion of the realizable profit that should be credited to the invention as
distinguished from non-patented elements, the manufacturing process, business risks, or
significant features or improvements added by the infringer.


95.        This factor takes into account the relative contribution of the patented feature(s) to the
success of the product(s). In evaluating this factor, I am aware of and have taken into account

254
    Expert Report of John Muskivitch, Ph.D.; Interview of John Muskivitch, Ph.D.
255
    http://www.royaltysource.com.
256
    Interview of John Muskivitch, Ph.D.

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recent developments in the case law in this area as reflected in such decisions as Lucent and
Uniloc. I understand that the teachings of the Patent-in-Suit represents a novel technology
advancement and the teachings of the ‘343 Patent “revolutionized” personal and business
communication through the ability to attach and configure a device, such as a webcam, to a
variety of objects. 257 According to Dr. Muskivitch, the Accused Feature substantially creates the
value of the component parts. 258 The Accused Feature “is highly advantageous over the prior art
due to its versatility, configurability, stability and portability.” 259


96.     HP touted the benefits of the ability to offer a versatile and configurable webcam clip and
considered it a competitive advantage. In a HP presentation for three of its webcams, HP
indicated that one of the key features for these three webcams was the “best-in class LCD
clip”. 260 Also, when HP prepared a competitive comparison of the various webcams on the
market, one area of focus was the “versatile clip” of the webcams. 261 HP also touted the
importance of the clip by stating that the “back packaging must highlight the key features /
customer benefits, different attachment options (LCD, Stand, Easy Clip)…” 262 As part of the
hardware specifications for one of its webcams, HP stated that it “must” work on all LCD
monitors (HP easy clip), and a desk (stand). 263 In a competitive analysis performed by HP and
provided to Lora Yadon of Walmart, HP touted that its webcam’s “flexible versatile clip mounts
anywhere”. 264 HP also discussed that its webcam has 360-degree rotation and tilt compared to
the competing Microsoft webcam having only tilt adjustment. 265


97.     The benefits touted by HP indicate that it would be significantly impacted by an inability
to offer the Accused Feature, which would place the HP at a significant competitive
disadvantage. The benefits identified above indicate that a greater portion of the realizable
profits from sales of the Accused Products should be credited to the inventions of the Patent-in-
Suit, vis-à-vis other related technology incorporated in the Accused Products. Furthermore,
257
    Interview of John Muskivitch, Ph.D.
258
    Interview of John Muskivitch, Ph.D.
259
    Interview of John Muskivitch, Ph.D.
260
    HP000371 – 406, at 387 - 389.
261
    HP000244 – 295, at 252.
262
    HP000244 – 295, at 258.
263
    HP000244 – 295, at 266.
264
    WMT-ACAM0001128 – 1131, at 1129.
265
    WMT-ACAM0001128 – 1131, at 1130.

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GlobalMedia and APAC would also seek to extract full value from the Patent-in-Suit. As a
result, this would impose upward pressure on a negotiated royalty between the parties.

98.      Based on my review and analysis of the documents and information in this case, I noted
that numerous suppliers and resellers agreed to pay actual or imputed royalty rates of at least
$1.25 per unit which was not tied to the sales price or the profitability of the webcam. Therefore,
the industry recognized that the value associated with the ‘343 Patent was at least $1.25 per
licensed webcam.


Factor #14 – The opinion testimony of qualified experts.

99.      This factor includes by reference all of the opinions of Dr. Muskivitch which I rely on as
part of my analysis. 266


Factor #15 – The royalty that a licensor (such as the patentee) and a licensee (such as the
infringer) would have agreed upon if both had reasonably and voluntarily trying to reach
an agreement; that is, the amount which a prudent licensee – who desired, as a business
proposition, to obtain a license to manufacture and sell a particular article embodying the
patented invention – would have been willing to pay as a royalty and yet be able to make a
reasonable profit and which amount would have been acceptable by a prudent patentee
who was willing to grant a license

100.     The discussions above reflect my analysis of the factors influencing the hypothetical
negotiation that would have occurred in this matter.


         6.3      The Hypothetical Negotiation

101.     GlobalMedia and APAC would have entered into a hypothetical negotiation with the
Defendants for a non-exclusive, bare patent license for rights to the Patent-in-Suit on or around
the respective first date of alleged infringement. In determining a reasonable royalty, it is
important to consider the respective economic bargaining positions of GlobalMedia, APAC, and

266
   As of the date of this report, I have been provided a final or near final draft of Dr. Muskivitch’s report, which is
consistent with my interviews of them, and which I am relying upon in addition to my interviews of him.

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the Defendants at, or about the time of first alleged infringement. Based on the documents,
information, and deposition testimony in this matter, the parties would have considered the
information discussed throughout this report. In addition to the factors discussed above in the
Georgia-Pacific analysis, the parties would have also considered the following factors at the
respective hypothetical negotiations:


GlobalMedia’s and APAC’s Bargaining Position:

        •    The Patent-in-Suit is assumed to be valid and has been infringed by Defendants;
        •    There was an established royalty rate, from the             and Philips licenses, for the
             Patent-in-Suit at the time of the hypothetical negotiation. The           license would
             have been especially relevant because             was the leader in this market;
        •    The technology taught by the Patent-in-Suit represents a novel technology
             advancement and has “revolutionized” personal and business communication through
             the ability to attach and configure a device, such as a webcam, to a variety of objects;
        •    The Accused Feature “is highly advantageous over the prior art due to its versatility,
             configurability, stability and portability;”
        •    HPhas touted the benefits of providing the Accused Feature with its Accused
             Products;
        •    Based upon the results of the HP survey, the Defendants would have known the
             importance of providing the Accused Feature;
        •    Numerous AdjustaCam licensees acknowledged that they would not contest the
             validity and enforceability of the Patent-in-Suit. This is consistent with the
             hypothetical negotiation whereby the Defendants recognize the Patent-in-Suit is valid
             and has been infringed;
        •    Numerous AdjustaCam licensees acknowledged that if they challenged the validity
             and enforceability of the Patent-in-Suit they would lose their pre-paid license rights,
             and in some cases would be required to pay a royalty of $3.00 per licensed product
             sold, which in effect would double the royalty due;
        •    The Defendants realized significant revenues and profits from its sale of Accused
             Products; and


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        •     The term of the license would encompass the majority of the statutory life of the
              Patent-in-Suit.


Defendants’ Bargaining Position:

        •     Defendants would have known that neither GlobalMedia nor APAC had made or
              distributed any products that would compete with the Accused Products;
        •     Although neither GlobalMedia nor APAC had licensed the rights to the Patent-in-Suit
              outside the settlement of litigation, given their business model, they would have been
              motivated to license the Patent-in-Suit in order to generate a return on its intellectual
              property; and
        •     The Accused Products incorporated technologies other than the Patent-in-Suit.


        6.4      Royalty Rate Conclusion


102.    The parties to the hypothetical negotiation would have considered the above-discussed
Georgia-Pacific factor analysis at the time of the respective hypothetical negotiation in
determining a reasonable royalty rate. The parties would have also considered the other factors
and considerations described throughout this report at the time of the hypothetical negotiation in
determining a reasonable royalty rate.


103.    In concluding a royalty rate which would result from the hypothetical negotiation, I have
taken into account my analysis of the Georgia-Pacific factors, all of the considerations discussed
in this report, the documents, information, and testimony reviewed to date, interviews I have
conducted, and my education, training, and experience in intellectual property matters. Based on
the licensing expectations of GlobalMedia and APAC and the established royalty detailed above,
it is my opinion that a reasonable royalty rate for the Patent-in-Suit would be no less than $1.25
per unit of sales of Accused Products, which was also discounted due to the risk of the pending
litigation.


104.     GlobalMedia and APAC would have had greater bargaining power than did the
Defendants in each of the respective hypothetical negotiations. In addition, under the Book of

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Wisdom, the parties to the hypothetical negotiations would have recognized that a significant
number of companies in the industry accepted $1.25 to $1.50 as an appropriate royalty rate to
reflect the value associated with rights to practice the teachings of the ‘343 Patent.


105.    In addition, I noted that several of AdjustaCam’s licensees agreed to not challenge the
validity and enforceability of the ‘343 Patent.         From a financial or economic perspective,
agreeing not to challenge the validity and enforceability of the ‘343 Patent is similar to
acknowledging the validity and enforceability of the ‘343 Patent.               In the hypothetical
negotiations in this case, AdjustaCam and the Defendants are to assume the ‘343 Patent is valid
and infringed. Therefore, the running royalty of $1.25 to $1.50 per unit paid by those licensees
who agreed not to challenge the ‘343 Patent reflects a royalty scenario analogous to the
hypothetical negotiations with respect to assumed validity and infringement. However, the $1.25
to $1.50 per unit agreed to in these specific licenses included the downward adjustment
AdjustaCam made to account for litigation risk, which is not a factor to be considered in the
respective hypothetical negotiations with the Defendants.


106.    Numerous licensees also agreed that if they challenged the validity and enforceability of
the ‘343 Patent, then they would pay an additional $1.50 per unit, in effect doubling the royalty
rate to $3.00 per unit. The $3.00 per unit royalty includes an upward component related to
litigation risk of $1.50 per unit.


107.    My conclusion regarding a reasonable royalty rate of $1.25 per unit to be paid by the
Defendants is conservative because it incorporates the downward litigation risk adjustment, and
various licensees agreed to pay an additional $1.50 per unit above the baseline royalty in the
event they challenged the patent validity and enforceability. Therefore, my concluded royalty
rate of $1.25 per unit is conservative.


        6.5      Royalty Base

108.    It is my opinion that damages for infringement in this matter are appropriately measured
by a reasonable per-unit royalty rate applied to a royalty base comprised of the number of
Accused Products which have been sold by each of the Defendants during the infringement

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period. It is my understanding that damages for each of the Defendants can only begin on July 2,
2010, as this is the date upon which the Defendants were first notified of the '343 Patent. Based
upon a damage period of July 2, 2010 through June 25 , 2012, I have calculated the royalty base
by Defendant as follows:267




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           6.6         Reasonable Royalty Conclusion


109.       It is my opinion that damages for infringement in this matter are appropriately measured
by a reasonable royalty rate applied to a royalty base comprised of the total U.S. lmit sales of the
Accused Products as calculated above. As a result of applying a royalty rate of $1.25 to U.S.
sales of Accused Products, I calculated reasonable royalty damages owed to AdjustaCam for
each of the Defendants as follows: 268




267
      See Exhibit 4.
268
      See Exhibit 4.

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110.        The royalty damages above are not additive as the Defendants involve both suppliers and
resellers and therefore include an overlap in sales among the Defendants. In an effort to
eliminate any duplication, I have eliminated overlapping sales in my royalty base at the retail
level due to the exhaustion principle. The following table provides a breakdown of royalty
damages by Defendant, eliminating any overlapping sales:269




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      See Exhibit 4. 1.

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111.       As noted above, it is my lmderstan ding that the Accused Featme is sold only as a
component of the Accused Products. Various licensees, including suppliers and resellers, have
taken a license to the '343 Patent. In all 22 executed licenses the actual or implied royalty base
was the accused webcam . This is the least saleable unit into which the Accused Feature is found.
None of the Defendants, an d none of AdjustaCam 's licensees sell the Accused Feature separate
and apart from the accused webcam product. Therefore, my damage model is properly focused
on the least salable unit.

112.       Fmt he1more, in Uniloc the Federal Circuit stated:

                    The entire mark.et value rule allows a patentee to assess damages
                    based on the entire market value of the accused product only
                    where the patented feature creates the "basis for customer
                    demand" or "substantially create[s} the value of the component
                   parts. "270



270
      Uniloc USA, Inc. v. Mircosoft C01poration, 2011 WL 9738 (Fed. Cir. Jan. 4, 2011).

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It is my understanding that the teachings of the Patent-in-Suit represent a novel technology
advancement and substantially creates the value of the component parts. 271 Additionally, a
reasonable royalty rate of $1.25 represents the contribution of the Accused Feature to the overall
device and is not dependent on the sales price of the Accused Product.

113.       I understand various courts have recognized that a post-verdict royalty rate can be
predicated on potentially different circumstances than a pre-trial royalty rate. For example,
courts have recognized that as a result of a finding of infringement, the infringer is considered a
willful infringer. This stands in contrast to the hypothetical negotiation at the time of first
infringement whereby the infringer is assumed to be a willing licensee. I am prepared to analyze
a post-verdict royalty rate if requested by counsel to do so.


7.0        RESERVATION OF RIGHTS

114.       It is my understanding that additional documents may be produced in this matter that
could provide information relevant to my analysis. If information I determine to be relevant is
produced or presented in this matter after the date of issuance of this report, I may revise my
analyses and/or my report to reflect the relevant information. I further reserve the right to
consider and comment on any opinion and reports offered by the Defendants’ expert(s)
pertaining to the subject matter hereof. Furthermore, I may prepare demonstrative graphs and/or
charts to assist in the presentation of my opinions at deposition or at hearing or trial, if I am
requested to testify.




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      Interview of John Muskivitch, Ph.D.

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                           CERTIFICATE OF SERVICE


         I, John J. Edmonds, being duly sworn according to law and being over the age

of 18, upon my oath depose and say that:

         On December 11, 2014, a copy of the foregoing CORRECTED NON-

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was filed electronically with the Clerk of the Court using the CM/ECF System,

which will serve via electronic mail notice of such filing to all counsel registered as

CM/ECF users.

         Upon acceptance by the Court of the electronically filed document, six paper

copies will be filed with the Court via courier within the time provided by the Court’s

rules.



 Dated: December 11, 2014                 /s/ John J. Edmonds
                                          John J. Edmonds

                                          COLLINS, EDMONDS, POGORZELSKI,
                                          SCHLATHER & TOWER, PLLC




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